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Table 4. Damage Studies and Income Elasticities Used to Estimate DICE-1999 Damage Function

                     Source of
                      Damage
                                                                                                        Income
     Sector           Estimate                                       Notes
                                                                                                       Elasticity
                    (2.5 degrees
                      Celsius)

                    Darwin et al        Sub-regional impact estimates: Darwin et al (1995) and
                     (1995) and         Dinar et al (1998); mainly uses Appendix Table B6 from
  Agriculture                                                                                             0.1
                    Dinar et al         Darwin et al (1995) assuming second most unfavorable GCM
                       (1998)           and land use is unrestricted.


                                        Unknown sources for sub-regional damage estimates.
                                        No damages to temperate climates based on Cline (1992),
 Other Market         Author
                                        Nordhaus (1991), and Mendelsohn and Neumann (1999).               0.2
   Sectors           discretion
                                        Damages in non-temperature climates (cold, tropical, and
                                        semi-tropical) based on energy sector alone.

                                        Not directly based on one specific study, but highly
   Coastal            Author            influenced by Yohe and Schlesinger (1998); study omits
                                                                                                          0.2
 Vulnerability       discretion         storms, undeveloped land, and settlement so accounted for
                                        by author discretion.

                    Murray and          Assign regional impacts based on the region from Murray
     Health                                                                                                0
                    Lopez (1996)        and Lopez (1996) with which it most overlaps.

                                        Use the Nordhaus (1998) estimate from climate-related
  Non-market          Nordhaus
                                        time use in the U.S.; focusing mainly on increased outdoor         0
   Impacts             (1998)           recreation.

                                        Cite their own unpublished estimates of the capital value
    Human
                                        of climate sensitive human settlements and natural
  Settlement          Author
                                        ecosystems in each sub-region, and estimate that each sub­        0.1
     and             discretion
                                        region has an annual WTP of 1% of the capital value of the
  ecosystems
                                        vulnerable system for a 2.5 degrees increase.

                                        Assume 30% loss of global GDP for such an event and
                                        a rate of relative risk aversion of 4 for catastrophic risk.
 Catastrophic                           They use expert opinions of probabilities of a cataclysmic
                      Nordhaus
   Climate                              change drawn from Nordhaus (1994); the authors double             0.1
                       (1994)
  Change*                               the probabilities in the study for increasing concerns about
                                        these events for both 2.5 (measured at 3 degrees in study)
                                        and 6 degrees.

*Calibration sources are provided for 2.5 degrees of warming, but not 6 degrees of warming.
The one exception is catastrophic events.

Source: Nordhaus and Boyer (2000) and Warren et al (2006)



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Table 5. Sector-Region Specific Damage Estimates for DICE-1999

                                                  Non-catastrophic impacts                                Catastrophic impact         TOTAL

                                      Other                                                                 2.5         6         2.5         6
                                                                           Non-market   Settlements and
  Subregion       Agriculture       vulnerable       Coastal     Health                                   degrees    degrees    degrees    degrees
                                                                            time use*     ecosystems*
                                      market                                                              Celsius    Celsius    Celsius    Celsius

     Africa           0.050/0          0.090/0       0.02%       3.00%       0.250/0        0.10%          0.390/0    2.68%      3-9i°/o      -

     China           -0.37%            0.130/0       0.070/0     0.090/0     -0.26%         0.050/0        0.520/0    3-51%     0.22%         -
    Eastern
                     0.46%             0.00%          0.01%      0.02%       -0.360/0       0.10%          0.470/0    3-23%      0.71%        -
    Europe
 High Income
                     0.00%             0.91%         0.06%       0.230/0     0.240/0        0.050/0        0.46%      3-14%      1.95%        -
    OPEC
     India            1.08%            0.40%         0.090/0     0.69%       0.300/0        0.10%          2.270/0   15.410/0   4-93%         -

     Japan           -0.46%            0.00%         0.56%       0.02%       -0.310/0       0.250/0        0.450/0    3.040/0   0.50%         -

  Low Income         0.040/0           0.46%         0.090/0     0.66%       0.20%          0.10%          1.09%      7-44%     2.64%         -

 Lower-middle
                     0.040/0           0.290/0       0.090/0     0.320/0     -0.040/0       0.10%          1.01%     6.86%       1.810/0      -
   Income

    Middle
                      1.13%            0.41%         0.040/0     0.320/0     -0.040/0       0.10%          0.470/0    3.210/0   2.440/0       -
    Income

 OECD Europe         0.490/0           0.00%         0.60%       0.02%       -0.430/0       0.250/0        1.91%     13.000/0   2.830/0       -

  Other High
                     -0.950/0          -0.310/0      0.16%       0.02%       -0.35%         0.10%          0.940/0    6.390/0   -0.390/0      -
   Income

     Russia          -0.69%           -0.37%         0.090/0     0.02%       -0.75%         0.050/0        0.990/0    6.74%     -0.650/0      -

 United States       0.06%             0.00%          0.11%      0.02%       -0.28%         0.10%          0.440/0    2.97%     0.450/0       -

 Global: 2100 GDP weights (i.e., 2.5 degrees Celsius)
   Output-
                      0.130/0          0.050/0        0.320/0    0.10%       -0.290/0        0.170/0       1.020/0    6.94%      1.500/0   8.230/0
   weighted

Source: Nordhaus and Boyer (2000) and Warren et al (2006)
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Table 6. Sector-Region Specific Damage Estimates for DICE-2007

                                                   Non-catastrophic impacts                             Catastrophic impact        TOTAL

                                      Other                                                               2.5         6         2.5        6
                                                                           Non-market Settlements and
                  Agriculture       vulnerable        Coastal    Health                                 degrees    degrees    degrees   degrees
                                                                            time use*   ecosystems*
                                      market                                                            Celsius    Celsius    Celsius   Celsius

 United States        0.030/0          0.00%          0.10%      0.02%       -0.28%        0.10%         0.940/0   4.00%       0.91%     5-34%
   European
                      0.030/0          0.00%          0.46%      0.02%       -0.430/0      0.250/0       1.09%     4.80%      1.42%     9.06%
    Union
  Add’l High
                     -0.050/0          -0.320/0       0.090/0    0.02%       -0.35%        0.10%         l.llO/o   4.80%       0.61%    8.99%
   Income
     Russia          -0.820/0         -0.800/0        0.050/0    0.02%       -0.75%        0.050/0       1.120/0   4.80%      -1.13%    8.43%

    Eurasia           0.030/0          0.00%           0.01%     0.02%       -0.360/0      0.10%         0.940/0   4.00%       0.73%    4.76%
     Japan            0.02%            0.00%           0.270/0   0.02%       -0.310/0      0.250/0       1.070/0   4.80%       1.31%    8.84%

     China            0.02%            0.32%          0.08%      0.090/0     -0.26%        0.050/0       1.04%     4.00%       1.34%     7-92%
     India            0.32%            0.290/0        0.090/0    0.40%       0.30%         0.10%         1.57%     6.00%      3.08%     12.94%

  Middle East         0.35%            0.20%          0.040/0    0.230/0     0.240/0       0.050/0       0.96%     4.00%      2.08%     8.41%

     Africa           0.67%            0.32%          0.02%      1.00%       0.250/0       0.10%         1.78%      7.00%     4-13%     16.55%

 Latin America        0.42%            0.28%          0.10%      0.32%       -0.040/0      0.10%         1.30%      5.20%     2.48%     10.36%

   Other Asia         0.52%            0.21%          0.090/0    0.32%       -0.040/0      0.10%         1.230/0   5.00%      2.43%     10.00%

 Global: 2105 weights (i.e. 2.5 degrees Celsius)
    Output
                          -               -               -         -           -             -          1.16%      4-72%      1.77%    8.23%
   weighted

Source: Nordhaus (2007)
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Table 7. Damage Studies Used to Estimate the DICE-2013 Damage Function

                                                                         Damage
  Study                                                 Temperature
                                                                         Estimate

  Tol (2002)                                                   1          -2.875
  Rehdanz and Maddison (2005)                                  1            0.5
  Hope (2006)                                                 2.5         -1.125

  Mendelsohn, Schlesinger, and Williams (2000)                2.5           0

  Maddison (2003)                                             2.5         0.125

  Nordhaus (2006)                                             2.5          1.125

  Fankhauser (1995)                                           2.5          1.75
  Nordhaus and Boyer (2000)                                   2.5          1.875
  Nordhaus and Yang (1996)                                    2.5          2.125

  Tol (1995)                                                  2.5          2.375
  Plambeck and Hope (1996)                                    2.5          3.125
  Nordhaus (1994a)                                             3           1.625

  Nordhaus (1994b)                                             3            6

Source: Tol (2009)




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Table 8. PAGE 2002 Damage Function Parameters and Data Sources

  Damage parameter                       Mean      Min      Mode       Max                  Source

  Market Damages

  Econ impact in EU
                                          0.5       -0.1         0.6       1       IPCC (2001a, pp. 940, 943.)
  (%GDP for 2.5°C)

  Drop in econ impact OECD (%)             90                                            As in PAGE95a

  Drop in econ impact RoW (%)              50                                            As in PAGE95a

  Tolerable temp OECD economic (°C)        2                                             As in PAGE95a

  Non-Market Damages
  Non-economic impact in EU
                                          0.73       0           0.7   1.5         IPCC (2001a, pp. 940, 943.)
  (%GDP for 2.5°C)

  Drop in non-econ impact (%)              25                                            As in PAGE95a

  Market and Non-market

  Impact function exponent                1.76       1           1.3       3             As in PAGE95
  Eastern Europe &
                                         -0.35       -1      -0.25     0.2            IPCC (2001a, p. 940.)
  FSU weights factor
  USA weights factor                      0.25       0       0.25      0.5            IPCC (2001a, p. 940.)

  China weights factor                    0.2        0           0.1   0.5            IPCC (2001a, p. 940.)

  India weights factor                    2.5       1.5          2         4          IPCC (2001a, p. 940.)

  Africa weights factor                   1.83       1           1.5       3          IPCC (2001a, p. 940.)

  Latin America weights factor            1.83       1           1.5       3          IPCC (2001a, p. 940.)

  Other OECD weights factor               0.25       0       0.25      0.5            IPCC (2001a, p. 940.)

  Tipping Point Damages

  Tolerable before discontinuity (°C)      5         2       5         8              IPCC (2001a, p. 952.)
  Chance of discontinuity
                                         10.33       1       10        20
  (% per °C)
  Loss if discontinuity occurs, EU
                                         11.66       5       10        20             IPCC (2001a, p. 947.)
  (%GDP)

Source: Hope (2006)




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Table 9. PAGE 2009 Damage Function Parameters and Data Sources

  Damage parameter                      Mean       Min       Mode       Max               Source

  Sea Level Rise

  Initial Benefit (%GDP/°C)                0         0            0      0                    -

  Calibration sea level rise (m)           0.5      0.45         0.5    0.55        Anthoff et al., 2006

  Sea level impact (% GDP)                  1       0.5           1     1.5         Warren et al., 2006*

  Sea level exponent                      0.73      0.5          0.7     1          Anthoff et al., 2006

  Market Damages
  Economic Initial benefits
                                          0.13       0           0.1    0.3               Tol, 2002
  (%GDP/°C)
  Econ impact in EU                                                                 Warren et al., 2006*;
                                           0.5      0.2          0.5    0.8
  (%GDP for Cal. Temp.)                                                                  IPCC AR4
  Economic exponent                       2.17      1.5           2      3         Ackerman et al, 2009

  Non-Market Damages
  Non-economic Initial benefits
                                         0.08        0           0.05   0.2               Tol, 2002
  (%GDP/°C)
  Impact in EU                                                                      Warren et al., 2006*;
                                          0.53      0.1          0.5     1
  (%GDP for Cal. Temp.)                                                                  IPCC AR4
  Non-economic exponent                   2.17      1.5           2      3         Ackerman et al, 2009

  Market and Non-market

  Calibration temperature (°C)             3        2.5           3     3.5         Warren et al., 2006*

  Sea Level Rise, Market, and Non-market
  Impacts saturate beyond
                                         33.33      20           30     50            Weitzman, 2009
  (% consumption)
  US weights factor                        0.8      0.6          0.8     1

  OT weights factor                        0.8      0.4          0.8    1.2

  EE weights factor                        0.4      0.2          0.4    0.6
                                                                                    Anthoff et al, 2006;
  CA weights factor                        0.8      0.4          0.8    1.2
                                                                                    Stern 2007, p143.**
  IA weights factor                        0.8      0.4          0.8    1.2

  AF weights factor                        0.6      0.4          0.6    0.8

  LA weights factor                        0.6      0.4          0.6    0.8



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  Damage parameter                          Mean        Min       Mode        Max                   Source

  Tipping Point Damages
                                                                                          Lenton et al, 2008, table
  Tolerable before discontinuity (°C)          3          2          3          4
                                                                                          1; Stern, 2007, box 1.4

                                                                                          Ackerman et al, 2009;
  Chance of discontinuity
                                              20         10         20          30        Lenton et al, 2008, table
  (% per °C)
                                                                                          1; Stern, 2007, box 1.4


                                                                                          Anthoff et al, 2006 is the
                                                                                          lower number; middle
  Loss if discontinuity occurs,
                                              15          5          15         25        range is Nicholls et al,
  EU (%GDP)
                                                                                          2008, and the upper fig­
                                                                                          ure is Nordhaus, 1994.

                                                                                          Hansen (2007) for short
                                                                                          values; medium and
  Half-life of discontinuity                  90         20         50         200        long-run effects from
                                                                                          Nicholls et al. (2008) and
                                                                                          Lenton et al. (2008)

* Hope (2011) states that “They produce a mean impact before adaptation of just under 2% of GDP for a temperature rise
of 3 °C (Warren et al, 2006), including the associated sea level rise of just under half a meter (Anthoff et al, 2006).”




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Table 10. Taxonomy of Omitted Damages - Used in This Paper


             Damage Category                    Missing Damage Sector


                                                Fisheries

                                                Pests, pathogens, and weeds

                                                Erosion

                                                Fire
               Market Damages                   Energy Supply

                                                Transportation

                                                Communication

                                                Ecological dynamics

                                                Decreasing growth rate

                                                Recreational goods and services

                                                Ecosystem services*

            Non-Market Damages                  Biodiversity and habitat*

                                                Health care costs*

                                                Relative prices

                                                Migration

        Socially-Contingent Damages             Social and political conflict

                                                Violence and crime

                                                Tipping point*

            Catastrophic Damages                Fat tails

                                                Black swan events

            Inter-Sector Damages                Inter-sector damages

                                                Inter-regional damages

                                                Destabilizers of existing non-climate stressors
            Cross-Sector Damages
                                                Weather variability and climate extremes

                                                Ocean acidification.

*Partially and/or insufficiently captured in current versions of DICE, FUND, and PAGE




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Table 11. Alternative taxonomy of Omitted Damages


  Damage Category          Damage sub-category                     Missing Damage Sector


                                                                   Fisheries

                                                                   Energy Supply
                           Missing market and
                                                                   Transportation
                           non-market sectors
                                                                   Communication

                                                                   Recreational goods and services
     Missing Sector
                                                                   Inter-sector damages
                           Missing interactions
                                                                   Inter-regional damages

                                                                   Biodiversity and habitat*
                           Poorly/incompletely estimated
                                                                   Ecosystem services*
                           sectors
                                                                   Health care costs*

                                                                   Tipping point*

                                                                   Fat tails

                           Broad system changes                    Black swan events

                                                                   Weather variability and climate extremes

                                                                   Ocean acidification
        Missing                                                    Ecological dynamics
        Climate
        Effects            Specific impacts from broad sys­        Pests, pathogens, and weeds
                           tem changes                             Erosion

                                                                   Fire

                                                                   Decreasing growth rate

                           Missing dynamic climate effects         Relative prices

                                                                   Socially contingent damage

*Partially and/or insufficiently captured in current versions of DICE, FUND, and PAGE




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Table 12. Percentage Difference in Damages (with respect to European Damages) by Region and IAM (%)

                                       Mendelson       Nordhaus                                Tol’s     Tol’s
                                                                         Tol       Tol’s
                            PAGE02       et al         and Boyer                              Lower      Upper
                                                                       (1999)       SE
                                        (2000)           (2000)                                95%        95%
  US                           25            -            17.86        91.89         -        -171.24     71.79
  Europe                      100            -            100           100          -             100     100
  Japan/
                               25            -            17.86         27.03        -        188.89      39.39
  Other OECD
  Eastern Europe               -35           -         25 and -25      54.05         -        890.20      117.92

  Middle East                   -            -              -           29.73        -        524.84      67.55
  Latin America               183            -            71.43         -2.70        -        208.50      13.43
  South East Asia/India       250            -             175         -45.95        -        630.07       5.69
  China                        20            -            7.14          56.76        -        1258.17     148.53
  Africa                      183            -           139.29        -110.81       -        1374.51      2.65

Source: IPCC (2001)




Table 13. Damages by Region (as a % of GDP) and IAM

                                       Mendelson      Nordhaus                              Tol’s        Tol’s
                                                                          Tol
                           PAGE02        et al        and Boyer                            Lower         Upper
                                                                        (1999)
                                        (2000)          (2000)                              95%           95%
  US                         -0.32          0.3           -0.5            3.4              1.048         5.752
  Europe                     -1.28           -            -2.8            3.7              -0.612        8.012

  Japan/
                             -0.32         -0.1           -0.5             1               -1.156        3.156
  Other OECD
  Eastern Europe
                             0.448         11.1       -0.7 and 0.7         2               -5.448        9.448
  and Russia (FSU)
  Middle East                  0             -            0.7             1.1              -3.212        5.412
  Latin America/Brazil      -2.3424        -1.4            -2            -0.1              -1.276        1.076

  South East Asia/India       -3.2          -2            -4.9            -1.7             -3.856        0.456

  China                      -0.256        1.8            -0.2            2.1               -7.7          11.9

  Africa                    -2.3424          -            -3.9           -4.1              -8.412        0.212

Source: IPCC (2001)


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Table 14. Extreme Events

                                                                                         Likelihood of future
                                          Likelihood that           Likelihood
                                                                                           trends based on
  Phenomenon and                         trend occurred in          of a human
                                                                                         projections for 21st
  direction of trend                     late 20th century        contribution to
                                                                                         century using SRES
                                       (typically post 1960)      observed trend
                                                                                              scenarios

  Warmer and fewer cold days
                                             Very likely                 Likely            Virtually certain
  and nights over most land areas

  Warmer and more frequent
  hot days and nights over                   Very likely           Likely (nights)         Virtually certain
  most land areas

  Warm spells/heat waves.
                                                                    More likely
  Frequency increases over                     Likely                                         Very likely
                                                                     than not
  most land areas

  Heavy precipitation events.
  Frequency (or proportion of                                       More likely
                                               Likely                                         Very likely
  total rainfall from heavy falls)                                   than not
  increases over most areas


  Area affected by                        Likely in many            More likely
                                                                                                Likely
  droughts increases                    regions since 1970s          than not


  Intense tropical cyclone                 Likely in some           More likely
                                                                                                Likely
  activity increases                     regions since 1970          than not

  Increased incidence of
                                                                    More likely
  extreme high sea level                       Likely                                           Likely
                                                                     than not
  (excludes tsunamis)

Source: IPCC (2007a) - Summary for Policymakers, Table SPM.2 on page 8




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Figure 1. Damage Estimates as a % of Global GDP vs. Global Mean Temperature




                                                                                                   9




                       —Mendelsohn, output
                       .... . Nordhaus, output
                       ....... Nordhaus, population
                       ....... Tol, output
                       —Tol, equity




Source: Figure 20.3a in IPCC (2007) and Figure 19.4 in IPCC (2001b)




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Figure 2. Map of types of damages in lAMS by level of scientific and economic uncertainty


                                          UNCERTAINTY IN VALUATION       ^
                                              MARKET                   NON MARKET           (SOCIAL CONTINGENT)

                                                 I                          IV                     VII
                    PROJECTION          Coastal projection              Heat stress           Regional costs

                        (e.g.            Loss of dryland             Loss of wetland            Investment
                      sea level
                        rise)                Energy
                                        (heating/cooling)

  UNCERTAINTY
  UliULRInllll 1

       IN                                        II                          V                     VIII
   PREDICTING
                      BOUNDED               Agriculture             Ecosystem change         Comparative
    CLIMATE                                                                                   advantage &
                       RISKS
     CHANGE                                   Water                    Biodiversity         market structures
                         (e.g.
       ^              droughts,
                       floods,
                                            Variability
                                         (drought, flood,
                                             storms)
                                                                        Loss of life

                                                                 Secondary social effects
                       storms)


                                                III                         VI                      IX
                      SYSTEM
                     CHANGE &              Above, plus                 Higher order         Regional collapse
                     SURPRISES          Significant loss of            Social effects
                                       land and resources
                        (e.g.
                                                                    Regional collapse
                        major
                                      Noon-marginal effects
                       events)



Source: Yohe and Tirpak (2007)




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                                                                                                        NOTES
1    In other words, the SCC is the marginal cost of carbon as measured by the present value of all future damages.
2 This integration is necessary to capture the various steps of the climate process that translate an additional unit of
  carbon into a social welfare loss: economic and population growth emissions atmosphere concentrations temperature
  changes economic damages welfare loss.
3 FUND 3.5 and FUND 3.8 were released in 2009 and 2012, respectively. At the time that this report was written,
  documentation for FUND was only available up until version 3.6. Since then, Tol released the documentation for version
  3.7. Only small changes were made between versions 3.7 and 3.8 based upon peer reviewed science updates.
4 The IWG provides four SCC estimates. Averaging SCC estimates across all IAMs and socio-economic scenarios (giving
  each equal weight), the updated estimates for the 2015 social cost of carbon are $11, $37, and $57 for discount rates of
  5 percent, 3 percent, and 2.5 percent, respectively, and $109 for the 95th percentile SCC at a 3 percent discount rate
  averaged across all IAMs and scenarios.
5 This includes maintaining assumptions about the climate sensitivity parameter, socio-economic and emissions
     scenarios, and discount rates used in 2010 estimates.
6 While continued effort is necessary to update damage estimates currently included in IAMs, which often date back to
  the 1990s (Ackerman 2010; Dietz et al., 2007; Warren et al., 2006; Tol 2009), Yohe & Hope (2013) demonstrates, within the
  context of the PAGE model, that updates to market damage estimates (equivalent to a 10 percent increase or decrease)
  will only slightly affect the SCC. Instead, Yohe & Hope (2013) highlight non-economic (also known as non-market)
  damages, some of which are omitted from IAMs, as areas for more effective improvement (Yohe & Tirpak 2008). In other
  words, significant downward bias is more likely to result from omitted damages than from outdated damages.
7 The three models we discuss in this report are not those used by the 2013 IWG. Similar to the 2013 IWG, we discuss
     PAGE09. Unlike the 2013 IWG, we also discuss DICE-2013 and FUND 3.6. The 2013 IWG utilized DICE-2010 in their
     calculations instead of DICE-2013. However, because DICE-1999 is utilized in the calibration of PAGE09 and the damage
     function in DICE-2010 is very similar to the damage function in DICE-1999, we implicitly discuss the omitted damages
     in DICE-2010. The 2013 IWG utilized FUND 3.8 in their calculations instead of FUND 3.6. However, at the time this report
     was researched, documentation for FUND was only available up until FUND 3.6. Tol only made minor changes between
     versions 3.6 and 3.8. For the purposes of this report, no additional damages were included by the author.
8 Market damage estimates are generally based on either an enumerative approach or a statistical approach. The enumerative
     approach takes estimates of the physical impacts of climate change by sector (e.g., impact on crop yield or land lost
     through sea level rise) and then applies economic indicators (e.g., market crop prices or coastal land values) to estimate
     damages. Specifically, analysts combine physical impact studies from the sciences with prices from economic studies to
     determine damage estimates, and then, because many of these damage studies are region and sector (e.g., agriculture,
     forestry, etc.) specific in nature, utilize benefit transfer and aggregation methods to produce a global damage estimate.
     The statistical approach estimates welfare changes by observing variations in prices and expenditures across space
     under varying climate conditions. Specifically, analysts estimate climate damages using econometric techniques based
     on current observations of the climate and economic variables (income, budget shares, and happiness measurements).
     Enumerative studies have been criticized for ignoring overlaps and interactions between sectors. Statistical surveys
     draw criticism for overlooking important, non-climate regional differentiators such as structural institutions and for
     excluding damages that vary temporally but not spatially (i.e., sea level rise and catastrophic impacts). In other words,
     both estimation methods rely heavily on extrapolation (Goulder & Pizer, 2006; Tol, 2009; Brouwer & Spaninks, 1999).
9 For example, in the United States, climate-related increases in morbidity and mortality comprise 6 percent to 9 percent
  of the decrease in GDP but 13 percent to 16 percent of the decrease in household welfare (Jorgenson et al., 2004).
10 While the transition point from climate benefits to climate damages in Tol (2009) is incorrect in magnitude due to a sign
   error in the citation of the damage estimate from PAGE02 (Hope 2006) and several other citation errors, the general result
   of positive net benefits from climate change will likely still hold for low temperature increases after their correction.
   However, the transition point is likely to occur at a lower temperature threshold.

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11 While Nordhaus assumes no initial benefits from climate change in DICE-2007 and DICE-2013, he allows for initial
  benefits in DICE-1999 and DICE-2010; Nordhaus estimates net global benefits from climate change up until a i.29°C
  increase in global surface temperature in DICE-1999, and no initial benefits in DICE-2010. Hope explicitly models initial
  benefits in PAGE09, but does not in PAGE02; only Eastern Europe and the former Soviet Union experience climate
  benefits in PAGE02, which is captured implicitly through a negative damage weighting factor. In PAGE09, Hope includes
  an additional term in the market and non-market damage functions to account for climate benefits for low temperature
  increases above pre-industrial levels. This allows for the possibility of positive benefits from climate change, though the
  exact threshold depends on the parameters drawn; see discussion below. In FUND 2.0, Tol (2002a) finds a net global
  benefit from climate change equivalent to 2.3 percent of GDP for a one degree Celsius increase; the resulting threshold is
  less clear.
12 Because prices are not directly associated with non-market goods as they are with market commodities, a range of
   alternative valuation methodologies estimating preferences can be used. The value methodologies are traditionally
   grouped into revealed and stated preference techniques. Revealed preference techniques use market goods to estimate
   the value of environmental or safety amenities embedded in their prices (e.g., property value variations as a function
   of parks or pollution levels associated with different homes). In other words, these revealed preference methodologies
   assume that the price of market goods (e.g., property values) reflect the value of the ecological services or that, ceteris
   paribus, people will pay more to travel to places with greater ecological value. The usefulness of revealed preference
   methods in assessing non-market damages is limited because most non-market impacts do not induce price or quantity
   changes; this is particularly true for the valuation of species, habitat, and ecosystem services. Stated preference
   methods use interviews or surveys asking participants to identify either the price they would pay for a given ecological
   commodity, or the amount of a non-market commodity they would demand at a given monetary amount. While stated
   preference methods can be utilized to assess the willingness to pay (WTP) for non-market goods (Tol 2009; Smith et al.,
   2003), they have other limitations. In particular, answers depend on question wording, ordering effects, and practical
   or cognitive limitations in putting dollar values on intangible goods. They may also suffer from information limitations,
  depending on the good being valued.
  With respect to environmental non-market goods, Boyd & Krupnick (2009) and others have compared ecological and
  economic production systems, arguing that valuation of ecosystem services implies a valuation of their respective
  outputs. These “outputs” (e.g., reduced flood risk, flourishing fish populations) can be reliably understood and valued
  by the public in ways that specific ecosystem services (e.g., nutrient cycling) cannot. Because an individual values the
  endpoint and not the process itself, when asked to value a specific ecosystem service, an individual will base his WTP for
  the service on his WTP for the “output” of that service. Stated preference valuation that focuses on the value of specific
  services (instead of outputs) often prove inaccurate because those surveyed assume ecological production factors that
  may not be consistent with each other or with reality (Boyd & Krupnick 2009).
13 In other words, tipping points are generally more common in systems with intricate, codependent processes that
   when altered by exogenous conditions result in the failure of beneficial negative feedback loops or the propagation of
  detrimental positive feedback loops.
14 Using a similar set of tipping elements, Nordhaus (2013) identifies four global tipping points: (1) collapse of large ice
   sheets, (2) large-scale change in ocean circulation, (3) feedback processes that trigger more warming, and (4) enhanced
  warming over the long-run.
15 Anthoff and Tol (2013a) claim that FUND implicitly captures catastrophic damages. Specifically, catastrophic impacts
   arise by modeling the uncertainty of 900 parameters in the FUND model.
16 More formally, Weitzman (2009) defines a probability distribution function as having fat tails “when its moment
   generating function (MGF) is infinite—that is, the tail probability approaches 0 more slowly than exponentially.”
   Conversely, he defines a thin-tailed distribution as one characterized by “a [probability distribution function] whose
   [moment generating function] is finite.” Nordhaus (2012) defines a fat-tail distribution as a distribution that follows a
   power law, which is a “distribution in which the probability is proportional to a value to a power or an exponent.”
17 For clarification purposes, medium-tailed distributions are sometimes referred to as thin-tailed distributions. This paper
   follows the convention laid out in Nordhaus (2012).
18 Weitzman (2011) states that the “recipe” for fat tails is “deep structural uncertainty about the unknown unknowns of what
   might go very wrong ^ coupled with essentially unlimited downside liability on possible planetary damages.” In other
   words “the operation of taking ‘expectations of expectations’ or ‘probability distributions of probability distributions’
   spreads apart and fattens the tails of the reduced-form compounded posterior-predictive PDF (Weitzman 2009).”



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19   Weitzman argues that existing IAMs underestimate the decrease in welfare-equivalent output for extremely high changes
     in global temperature. The DICE-2010 model, for example, predicts that a io°C increase in the mean global temperature
     would result in a 19 percent loss in global welfare equivalent output. Weitzman contends that for very large increases
     in global temperature damage functions lose much of their predictive ability as complications in spatial and temporal
     averaging as well as a priori conjecture compound (Weitzman 2011). This implies that there is considerable uncertainty
     over climate damages at high temperature levels.
20
     Using the value of civilization, Weitzman (2009) calculates a lower bound on consumption (i.e., survival level of
     consumption), and demonstrates that it is decreasing in the value of civilization.
21
     Citing Yohe & Tirpak (2008) and Tol (2008), Mastrandrea (2009) states that “while there certainly may be unassessed
     positive impacts from climate change, such summaries suggest that they are likely to be outweighed by unassessed
     negative impacts.”
22
     The choice of functional form determines how climate damages are projected to higher temperatures and does not
     determine which damages are accounted for and which are omitted.
23   IAM damage functions are usually calibrated with one point estimate (i.e., at one temperature level), though DICE-1999
     is calibrated with two point estimates (i.e., at two temperature levels). In both cases, the lack of damage estimates
     from climate change at high temperatures makes results unreliable at high temperature (Kopp & Mignone 2012). On
     the one hand, if analysts use a point estimate (i.e., damage estimates at a particular temperature increase) to calibrate
     damage functions, the functional form determines damages at high future temperatures. However, without estimates
     at higher temperatures, analysts cannot determine the correct functional form (Kopp & Mignone 2012). On the other
     hand, if analysts use multiple point estimates, analysts must extrapolate low temperature damage estimates to high
     temperatures; this requires a multitude of assumptions, as in DICE-1999, making damage estimates at high temperature
     unreliable. There are several alternatives. One alternative, utilized by Ackerman & Stanton (2012), is to assume that
     climate damages reach 100 percent of GDP at a particular temperature level based on the Weitzman argument that
     humans cannot live at 12 degrees Celsius higher. Another alternative, utilized by Hope (2006; 2011), is to conduct
     sensitivity analysis over the calibration temperature and damage value.
24
     FUND calibrates sector damage functions to a one degree Celsius increase in temperature. Unlike DICE and PAGE, which
     assume that climate damages are power functions of temperature increases, Tol assumes sector-specific equations of
     motion (equations that specify how damages evolve over time based on how physical systems, emissions, income, and
     population underlying these damages change over time) to extrapolate damage estimates to higher temperatures (and
     time periods). These equations rely on various assumptions about physical and economic processes, and rely heavily on
     parameter calibration.
25   In terms of author discretion, all three IAMs rely heavily on author discretion. However, this reliance has declined with
     newer versions of the models.
26
     In addition to the default versions of these IAMs, various other versions of these models exist in publication where
     analysts (including the original developers) modify the default versions to capture differing growth paths or other
     potential variations.
27   Whether the damage functions have a linear term, which allows for initial benefits from climate change, in addition
     to the quadratic term, depends on the version of the model. Only DICE-1999 and DICE-2010 include these linear terms,
     while Nordhaus sets this parameter equal to zero in DICE-2007 and DICE-2013.
28
     The regions in the DICE-1999 model are: United States, China, Japan, OECD Europe, Russia, India, other high income,
     high-income OPEC, Eastern Europe, middle income, lower middle income, Africa, and low income.
29
     Because the DICE-1999 climate damages are a function of temperature and temperature squared, two data points are
     necessary to calibrate the damage equation: damage estimates at 2.5 degrees and 6 degrees Celsius. Damage estimates
     for a 2.5 degree Celsius increase are available in the literature. Due to unavailability of damage estimates at 6 degrees,
     damage estimates at 2.5 degrees Celsius are extrapolated to 6 degrees Celsius.
30
     Nordhaus makes several updates to the damage estimates because some regions had climate benefits for high temperatures
     and catastrophic damages could have been calibrated more carefully in DICE-2000. First, Nordhaus calibrates the damage
     function using agricultural damage estimates drawn from “Cline’s agricultural studies.” However, it is unclear which
     of Cline’s papers were used. Second, he no longer accounts for risk aversion when calculating catastrophic damages.
     This adjustment lowers catastrophic damage estimates. Third, Nordhaus utilizes updated regional GDP estimates to
     aggregate regional damage estimates to the global scale. In addition, Nordhaus drops the linear term from the quadratic


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     damage function (Nordhaus, 2008). Fourth, though not mentioned in Nordhaus (2008), Nordhaus does not extrapolate
     damages from low levels to high levels as discussed in Nordhaus and Boyer (2000); this is possible because Nordhaus
     eliminates the linear temperature term in the damage function. Last, Nordhaus changes the regions in the model to: the
     United States, Western Europe/European Economic Zone, Other-High Income, Russia, Eastern Europe/Former Soviet
     Union, Japan, China, India, Middle Eastern, Sub-Saharan Africa, Latin America, and Other Asian. See Table 6 for DICE-
     2007 region-sector specific damage estimates.
31   Anthoff and Tol (2013a) states that “FUND does not assume that there is a probability of disastrous impacts of climate
     change. Rather, we vary all parameters randomly and it so happens that particular realizations are catastrophic.”
32
     Again, this discussion refers to the default version of PAGE09.
33   According to Hope (2006), in PAGE02, the economic and non-economic damage estimates for 2.5 degree Celsius increase
     in temperature is based on pages 940 and 943 of the IPCC (2001a) and the tipping point damages are based on pages
     947 and 952 of the IPCC (2001a). The combined market and non-market damage estimates on page 940, i.e., Table 19-4,
     include Pearce et al. (1996), Tol (1999), Mendelsohn et al., (2000), and Nordhaus and Boyer (2000), and the estimates
     on page 943, i.e., Figure 19-4, include Tol (2002a), Mendelsohn & Schlesinger (1997), and Nordhaus & Boyer (2000).
     Because the IPCC (2001a) cites only global damage estimates for Pearce et al., (1996) in Table 19-4 and it does not include
     estimates for Pearce et al., (1996) in Figure 19-4, it is likely that Hope (2006) does not base his regional damage estimates
     on this source. Similarly, because the IPCC(2001a) does not cite European climate damage estimates for Mendelsohn et
     al., (2000) in Table 19-4 and cites different estimates from Mendelsohn, i.e., Mendelsohn & Schlesinger (1997), in Figure
     19-4 , it is again likely that Hope (2006) does not base his damages estimates on this source. Furthermore, the damage
     estimate of a 1.23 percent decline in GDP (with a range of -0.1 percent to 2.5 percent) used in PAGE2002 for Europe
     for a 2.5 degree Celsius increase in temperature do not match the damage estimates from Tol (1999) of a 3.7 percent
     increase in GDP for Europe with a standard deviation of 2.2 percent and a -2.8 percent decline in European GDP from a
     2.5 degree Celsius increase in temperature; see Tables 10 and 11. Instead the damage estimates are closer to the Nordhaus
     & Boyer (2000) damage estimates. However, the Hope (2006) damage estimates do not replace Nordhaus & Boyer (2000).
     Similarly, it is unclear what source Hope (2006) uses to breakdown damage estimates between his market and non­
     market sectors. The market and non-market damage estimates, including their distribution parameters and breakdown
     between the two sectors, are best described as based on author’s judgment informed by Nordhaus & Boyer (2000), Tol
     (1999), and Tol (2002a).
34    In Page2002, only Eastern Europe could potentially reap climate benefits from temperature increases.
35    For market damages, this temperature threshold increases with adaptation.
36
     Hope (2006) calibrates his discontinuous damage function parameters based on discussions in the IPCC (2001a) on
     pages 947 and 952. Specifically, Hope (2006) calibrates the parameters corresponding to the percentage GDP loss in
     Europe for a discontinuity and the tolerable temperature risk using general statements about discontinuous damages in
     the IPCC (2001a). This implies that Hope (2006) utilized his discretion to calibrate the discontinuous damage function
     parameters.
37    See footnote 12 for a discussion of revealed and stated preference.
38
     Ecosystem services and secondary social effects (such migration) are for the most part excluded from IAMs.
39   Note that FUND implicitly accounts for catastrophic damages; see footnotes 15 and 31. As a consequence, FUND may
     implicitly capture market and non-market catastrophic damages to the extent that the assumed probability distribution
     functions for uncertain parameters capture tipping points.
40
     With respect to FUND 3.6, Tol (2013) explicitly states: “Some impacts are missing altogether - air quality, violent conflict,
     labour productivity, tourism, and recreation. Weather variability is poorly accounted for, and potential changes in
     weather variability ignored. The model assumes that there are few barriers to adaptation. There are no interactions
     between the impact sectors, and therefore are no higher order effects on markets or development.”
41   Ocean acidification, wildfires, and pests, pathogens, and weeds affect the market sector via agriculture, forestry, and or
     fisheries and the non-market sector via biodiversity, ecosystem services, human health, and/or human settlements.
42   In many of the enumerative studies that do include fisheries, fisheries are abstractly captured under “other market”
     damages.
43    See footnote 8 for a discussion of the enumerative and statistical approaches to estimating climate damages.



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44
     Given the uncertainty of the effect of climate change on fisheries, Sumaila et al., (2011) argues that fisherman may
     increase their current fishing efforts given the possibility of lower future fishing stocks.
45   Phytoplankton are essential to the ocean food web and the global climate system. In terms of the latter, “Marine
     phytoplankton are responsible for [approximately] 50 percent of the CO2 that is fixed annually worldwide (Toseland et
     al., 2013).”
46
     For example, ozone emissions from fuels lower crop yields (Ackerman and Stanton 2011).
47   Ozone impacts are counted separately in BCA analysis as traditional pollutants, not caused by climate change.
48
     The CO2 fertilization effect in FUND 3.6 is drawn from studies that assume a fertilization effect based on enclosure
     experiments, as do the studies behind DICE-2013 that account for this effect. However, DICE-1999, and therefore to some
     extent PAGE09, and several of the other studies behind DICE-2013 exclude the CO2 fertilization effect altogether.
49   As discussed in Koetse and Rietveld (2009), some research casts doubt on the possibility of the Northwest Passage being
     a valid future shipping route.
50
     Due to lower water levels, substantial increases of inland water-way transportation costs are possible. High water levels
     due to heavy precipitation events can also result in river closures (Koetse and Rietveld, 2009).
51   Network effects are delays, detours, and cancellations due to disruptions in the transportation network. In other words,
     transportation costs may be incurred in areas not directly affected by an extreme event due the propagation of costs
     throughout the network. These costs may be substantial (Koetse and Rietveld, 2009).
52
     Bigano et al. (2007) state that “world aggregate expenditures hardly change, first rising slightly and then falling slightly.”
     However, there is a considerable noise in the resulting estimates.
53
     As noted, DICE-2013 uses a combination of enumerative and statistical studies. While the statistical studies may capture
     some dynamic effects indirectly, all of these studies are cross-sectional in nature.
54
     As a consequence, Moyer et al., (2013) argues that DICE assumes a weak propagation of damages on growth.
55
     The modified version of DICE used by the IWG eliminates the potential effect of climate change on economic growth
     through how it models changes in the savings rate.
56
     The intuition is that mitigation spending in the present is equivalent to asking the current generation earning
     approximately $50,000 per household to transfer money to a future generation in 2300 earning $1.5 million per household
     (Moyer et al., 2013).
57
     This point is made by Dasgupta (2006) with respect to Nordhaus’ DICE model. “Despite the serious threats to the global
     economy posed by climate change, little should be done to reduce carbon emissions ^ [Norhduas’] idea is not that
     climate change shouldn’t be taken seriously, but that it would be more equitable (and efficient) to invest in physical
     and human capital now, so as to build up the productive base of economies (including, especially, poor countries),
     and divert funds to meet the problems of climate change at a later year. These conclusions are reached on the basis of
     an explicit assumption that global GDP per capita will continue to grow over the next 100 years and more even under
     business as usual, an assumption that the [Stern] Review would appear to make as well.” Given that the Stern Review
     utilized PAGE02, Dasgupta is in a sense making this point about PAGE as well.
58
     According Hope, it is possible in PAGE09 for climate change damages to be large enough to negatively affect consumption
     growth, such that the discount rate becomes negative (personal correspondence with Hope, 2014).
59
     While the Dell, Jones, & Olken (2012) estimate relies on annual data rather than medium-run or long-run average of
     temperature and precipitation, the authors do provide medium-run estimates that compare average growth rates
     between 1979 and 1985 and from 1985 to2000. In these medium-run cases, they again find negative effects of higher
     temperatures on the growth rates of poor nations.
60
     Butkiewicz and Yanikkaya (2005) do find that the costs of social-political instability increase the higher the level of
     national income and democracy of a nation.
61
     Higher temperatures require workers to take more breaks, work fewer hours, and/or decrease work intensity (i.e., slow
     down) (Kjellstrom et al., 2009).
62
     While not discussed here, it is possible that as vector-borne diseases spread, more countries could become mired in
     poverty-disease traps, such as in current sub-Saharan Africa (Fankhauser and Tol, 2005).


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63
      “The impacts on labor supply are non-trivial. If temperatures were to rise by 5 degrees Celsius in the United States by the
      end of the coming century and no adaptation occurs, U.S. labor supply would fall by roughly 0.6 hours per week in high-
      exposure industries, representing a 1.7 percent decrease in hours worked and thus earnings. In developing countries,
      where industrial composition is generally skewed toward climate-exposed industries and prevailing temperatures are
      already hotter than those in most of the United States, the economic impacts are likely to be much larger (Zivin & Neidell,
      2010).”
64
      Modeling such changes in DICE may be difficult. On the one hand, Hall & Behl (2006) argue that “with irregular flickering
      between climate states, characteristic of past climatic transitions, we would expect the destruction of capital stock. If
      the flickering is forced by human activity, then policy or lack thereof results in the destruction of capital stock and a
      discontinuity of the rate of return on capital, violating the equilibrium condition.” On the other hand, computer general
      equilibrium models, including ICES and ENVISAGE, have no such problem. ICES and ENVISAGE do not model capital
      losses as shocks, but instead use expected losses (Bosello et al., 2012; Roson & van der Mensbrugghe, 2010).
65
      The simplicity of the Cass-Koopmans model is particularly useful for making generalizations about the impact of climate
      change on factor productivity and economic growth. However, this simplicity also ignores certain empirical realities of
      economic growth (Lecocq & Shalizi, 2007). For example, the Cass-Koopmans model assumes a single aggregate good,
      while economies consist of multiple industries that are possibility affected differently by climate change. In another
      example, the Cass-Koopmans model assumes a production function with constant returns to scale, whereas, an economy
      characterized by increasing returns to scale may become “trapped” at a low growth rate if climate change causes large
      and frequent shocks to capital or labor productivity or stocks (Aziadaris & Stachurski, 2005).
66
      In DICE, it could be argued that declines in labor and capital productivity are already captured by their expression for
      “climate damages as fraction of output.”
67
      Both the health and labor productivity damage sectors are effects on labor productivity. However, health effects are loss
      of labor productivity due to a decrease in labor stock through death and inability to work from disease, while the labor
      productivity damage sector accounts for decline in “on-the job” performance due to humidity and high temperatures.
68
      Like ENVISAGE, the authors of ICES model health damage as an effect on labor productivity.
69
      Environmental goods and services will become relatively scarcer than market goods and services due to climate change
      and other anthropomorphic drivers. As explained later in this subsection, because current damage estimates are
      estimated using willingness to pay estimates derived from data from the current time period, they fail to account for
      the future increases in the value of environmental goods relative to market goods due to the law of scarcity. By adopting
      structural modeling assumptions that also imply constant relative prices (i.e., that the relative value of non-market to
      market goods is constant over time), the developers of IAMs bias the SCC downward.
70
      Another example is disease regulation services, which are captured via health damage functions.
71    Another example is air quality regulation, which is partially captured in PAGE09 via the DICE-1999 damage function.
      DICE-1999 captures the health effects of air pollution, which is omitted from FUND altogether. DICE-2013 mostly likely
      omits this damage because Nordhaus and Boyer (2000) is only one of 13 studies utilized to calibrate its damage function.
72
      Another example includes ecosystem services related to biochemicals, natural medicines, and pharmaceuticals.
73
      Another example is climate amenities, which includes cultural services, such as aesthetics, and outdoor leisure
      activities (i.e., non-market time use). Only earlier versions of DICE (i.e., DICE-1999 and DICE-2007) explicitly attempt
      to capture these services via Nordhaus’ estimate of non-market amenities. However, DICE-1999 only captures outdoor
      leisure activities, and omits all cultural values. However, even these estimates have come under considerable fire from
      Hanemann (1998) and Ackerman (2010).
74
      The assessment of damages on ecosystem services depends on a valuation of those services based on public WTP. Boyd
      and Krupnick (2009) and others have compared ecological and economic production systems, arguing that valuation of
      ecosystem services implies a valuation of their respective outputs. These “outputs” (e.g., reduced flood risk, flourishing
      fish populations) can be reliably understood and valued by the public in ways that specific ecosystem services (e.g.,
      nutrient cycling) cannot. Because an individual values the endpoint and not the process itself, when asked to value a
      specific ecosystem service, an individual will base his WTP for the service on his WTP for the “output” of that service.
      Stated preference valuation that focuses on the value of specific services (instead of outputs) often prove inaccurate
      because those surveyed assume ecological production factors that may not be consistent with each other or with reality
      (Boyd & Krupnick, 2009).



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75
     One such improvement could be to value the final outputs of species. In addition to their aesthetic and non-use values,
     analysis could estimate the value of the genetic material of species, an ecosystem service discussed in the previous
     subsection.
76
     In addition to his own criticism of how FUND values biodiversity, the model has also come under criticism by other
     economists. They argue that assuming that biodiversity loss is a function of temperature change, instead of temperature
     level, is incorrect because it implies ecosystem adaptation to climate change (Warren et al., 2oo6). As a consequence,
     ecosystem damages decline in the long run as temperature increases level off (Warren et al., 2006).
77
     This aggregate consumption good, often referred to as a numeraire, equals the combined economic values of all market
     and non-market goods divided by the global population.
78
     Constant relative prices imply that a decline in the supply of a consumption good (market or non-market) does not
     affect its price relative to all other goods and services. If the relative price of the good were to increase in response to this
     decline in supply, there would be no demand for the good because consumers could obtain more utility (i.e., welfare) by
     switching their expenditure to all other goods and services (due to the perfectly substitutable assumption). This would
     put downward pressure on the good’s price until it reached its original value relative to all other prices.
79
     Discussions about changing relative prices date back to earlier literatures. Neumayer (1999) calls this argument the
     Krutilla-Fisher rationale from Krutilla and Fisher (1975). In the context of manufactured and public goods, Baumol (1967)
     describes a similar phenomenon called Baumol’s disease. The discussion of changing relative prices also has roots in
     the earlier literatures of weak sustainability and strong sustainability.
8o
     In this context, the elasticity of substitution measures the ease at which market goods can be substituted for non-market
     goods. An elasticity of substitution less than one implies that market goods and non-market goods are complements in
     the long run. In the extreme, perfect complements are when market goods cannot be substituted at any level to make up
     for the loss of non-market goods. An example would be subsistent water levels, where no amount of a market good can
     replace its value. An elasticity greater than one implies that market goods and non-market goods are substitutes (Heal,
     2009). In the extreme, perfect substitutes are when market goods can be substituted at a constant rate to make up for a
     loss of non-market goods, regardless of the level of non-market goods available.
81
     In the language of sustainability, an elasticity less than one implies strong sustainability in the long run. An elasticity
     greater than one implies weak sustainability in the long run.
82
     It should be unsurprising that the discount rate requires updating because growth rates of man-made and environmental
     goods and services differ. In addition, the rationale for discounting, i.e., that the future will be better off due to continued
     economic growth, is weakened with the elimination of the perfect substitutability assumption.
83
     For example, the results can also apply to agricultural and non-agricultural goods. Heal (2009) argues that food shortages
     could result in the relative value of agricultural goods increasing from its currently insignificant level in most developed
     nations.
84
     Initially, Sterner and Persson (2008) assume that elasticity of substitution is equal to 0.5, 10 percent of current utility
     comes from non-market goods, and that 50 percent of damages are attributable to non-market goods. The remaining
     parameters follow the standard assumptions of DICE.
85
     The utility function chosen in Sterner and Persson (2008) assumes a constant elasticity of substitution, and implies only
     that a positive level of environmental services is essential (i.e., not zero).
86
     A small example of the possible magnitude of these relocation costs are Alaskan native villages. In the case of relocating
     three villages (Kivalina, Shishmaref, & Newtok), the cost is estimated by the U.S. Army Corps of Engineers to be between
     $275 million and $455 million. While these costs are high, they should be interpreted as an upper bound on costs due to
     the remoteness of these villages (Lynn & Donoghue, 2011).
87
     A decline in income may also decrease the opportunity cost of engaging in violence and civil conflict (Dell, Jones, &
     Olken, 2013).
88
     There is an argument in the literature that higher temperatures and extreme weather may not actually cause conflict,
     but actually just shifts future conflicts to the period of higher temperatures or more extreme weather. Hsiang, Meng,
     and Crane (2011) demonstrate that climate change will actually cause “new” conflicts, rather than just shifting the time
     periods of “existing” conflicts.




74                                                                                         Rvsd Plan - 00002761N-ORG
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89   While the studies vary in their focus over time and space, all 6o studies rely on the same general panel or time-series
     model. Cross-sectional studies and studies that control for confounding factors are avoided because these confounding
     factors are potential avenues through which climate can affect conflict. These 60 studies utilize 45 different conflict
     datasets. Two-thirds of these studies have been published since 2oo9.
90 The number of inter-personal conflicts far exceeds inter-group conflicts. Thus, a smaller percentage increase in inter­
   personal conflicts than inter-group conflicts can result in a far greater increase in the number of inter-personal conflicts
     than inter-group conflicts.
91 Violence on an individual scale, such as increased aggression in the police force, can result in more inter-group conflict.
   Thus, these two types of conflicts are correlated, such that an increase in interpersonal violence can increase the
   possibility of intergroup conflict.
92 These 60 studies find that: an increase in temperature raises violent crime faster than it increases property crime;
   increases in precipitation increase personal and intergroup violence in poorer, agricultural-dependent communities;
   low and high temperatures and low water availability lead to organized political conflicts; windstorms and floods affect
   the level of civil conflicts; institutional breakdowns occur in developing economies when they become sufficiently
     climate stressed.
93 These mechanisms include: decreased supply of resources leads to disagreements over their allocation; climate change
   makes conflict more appealing with regards to achieving a stated objective; declines in labor productivity make conflict
   relatively more desirable; declining state capacity reduces the ability of government institutions to suppress crime and
   provides incentives for competitors to increase the conflict; increased pressure for a redistribution of assets because
   of increased social and income inequality; increases in food prices; increasing migration and urbanization leading
   to conflict over geographically stationary non-climate related resources; changes in the logistics of human conflict
   increases incentives for conflict; a physiological response with respect to cognition, attribution, and/or aggression
   resulting from higher temperatures increases human propensity for conflict.
94 Certainty equivalent catastrophic damages are the guaranteed magnitude of catastrophic climate damages that humanity
   finds equally desirable as (that is, is indifferent to) risky (that is, the unknown magnitude of) catastrophic damages that
   we currently face. Due to humanity’s general aversion to risk, humans are willing to pay a premium to avoid risk.
95 In DICE-2013, Nordhaus excluded damages from tipping points. Only two out of the 13 studies used include catastrophic
   damages. One of these studies, Hope (2006), does so at temperatures above the temperature used to calibrate the DICE-
   2013 damage function, that is, 2.5 degrees Celsius. As a consequence, the meta-analysis really only includes one study
   that accounts for tipping points. To rectify this shortcoming and other omitted damages, Nordhaus and Sztorc (2013) refit
   the damage curve after multiplying the damage estimates in Tol (2009) by 1.25. Specifically, Nordhaus and Sztorc (2013)
   state that “current studies generally omit several important factors (the economic value of losses from biodiversity,
   ocean acidification, and political reactions), extreme events (sea level rise, changes in ocean circulation, and accelerated
   climate change), impacts that are inherently difficult to model (catastrophic events and very long-term warming), and
   uncertainty (of virtually all components from economic growth to damages).” Comparing the unadjusted and adjusted
   damage estimates (that is, estimates that do not and do assume a 25 percent increase in damages, respectively), Nordhaus
   and Sztorc (2013) implicitly assume omitted damages of 0.34 percent of GDP at 2.5 degree Celsius and 1.94 percent of
   GDP at 6 degree Celsius. In contrast, catastrophic damages in DICE-1999 are 1.02 percent at 2.5 degrees Celsius and 6.94
   percent degrees Celsius according to Nordhaus and Boyer (2000), while they are 1.16 percent at 2.5 degrees Celsius and
   4.72 percent at 6 degrees Celsius in DICE-2007; DICE-2010 makes the same assumption as DICE-2007. To achieve the levels
   of catastrophic damages observed in DICE-1999, Nordhaus and Sztorc (2013) would have used an adjustment of between
   77 percent and 91 percent. Similarly, to achieve the catastrophic damages observed in DICE-2007, the authors would
   need to have chosen an adjustment of between 62 percent and 87 percent. Therefore, if we believe that the certainty
   equivalent measure of catastrophic damages is anywhere near the scale proposed in these earlier versions of DICE,
   the 25 percent increase by Nordhaus is nowhere near sufficient to account for the potential cost of tipping points in the
   climate system, let alone the other omitted damages.
96 Nordhaus and Sztorc (2013), which is the source code for the default version of DICE-2013, specifies that the damage
   function is
     where is the percentage loss in GDP from climate tipping points and T is the global average surface temperature.
     However, the tipping point damage is turned off in the default version, implying that it is excluded in the catastrophic
     damage function. In Nordhaus (2013), the tipping-point damage function in his recent book (Chapter 18 - footnote 5) is
     This appears to only be used in a very limited analysis, and Nordhaus (2013) states that this damage function is “at


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     the outer limit of what seems plausible and have no solid basis in empirical estimates of damages, so that should be
     interpreted as illustrating how tipping points might affect the analysis.”
97 The first scenario could be driven by the accelerated increase in atmospheric GHG concentrations driven by the release
   of greenhouse gas stocks or by the reduced albedo (i.e., the reflectivity of the Earth’s surface) due to melting ice sheets.
   In either case, the rate of radiative forcing per unit of CO2 is greater. The second tipping-point scenario is motivated
   by increased GHG atmospheric longevity due to the degradation of carbon sinks (e.g., forests, algae, and agricultural
   crops). Climate-driven dieback of trees in boreal and tropical forests or algae deaths would reduce Earth’s capacity
   to sequester carbon, effectively increasing the amount of time carbon lingers in the atmosphere by decreasing the
   decay rate of atmospheric carbon. More persistent carbon would then place carbon sinks under increased pressure,
   presumably decreasing the decay rate further.
98   Anthoff and Tol (2013a) states that “FUND does not assume that there is a probability of disastrous impacts of climate
     change. Rather, we vary all parameters randomly and it so happens that particular realizations are catastrophic.”
99 “A Monte Carlo simulation will run an integrated assessment model thousands of times, each time randomly picking the
   value of uncertain parameters from a probability distribution function, i.e., a function that assigns a probability to each
   possible parameter value. For example, the Working Group ran 10,000 Monte Carlo simulations for each of the three
   IAMs and five socio-economic scenarios, randomizing the value of climate sensitivity, i.e., the change in average global
   temperature associated with a doubling of CO2, and all other uncertain parameters in the IAMs by the original authors.
   For each randomly drawn set of values, the IAM estimated the associated damages, with the final SCC estimate equaling
   the average value across all 10,000 runs, five socio-economic scenarios, and then across all three models. Therefore,
   each SCC estimate is calculated using 150,000 runs (EDF, NRDC, Policy Integrity, and UCS comments, 2013).”
100 These distributions, according to Anthoff and Tol (2013a), “are occasionally derived from meta-analyses of published
    estimates, but more often based on ‘expert guesses’.”
101 Specifically, Anthoff and Tol (2013a) state that “the fat tails found in the Monte Carlo analyses in FUND are a result,
     rather than an assumption.”
102 Pycroft et al., (2011) uses similar definitions of thin, medium, and fat tails as discussed earlier. To summarize, Pycroft
    et al., (2011) state that “thin-tailed probabilities, declining exponentially or faster; fat-tailed probabilities, declining
    polynomially or slower; intermediate-tailed probabilities, declining slower than exponentially but faster than
    polynomially.”
103 Considering only the change in the climate-sensitivity parameter distribution from the default assumption in PAGE09
    (i.e., the triangular distribution) to the three modified distributions, the PAGE09 SCC estimate increases from $102 to $131
    (thin), $146 (medium), and $188 (fat); even larger percentage increases are observed for the 95th and 99th percentile SCC
    estimates. After accounting for a decline in the PAGE09 SCC estimate from $102 to $76 from turning off the catastrophic
    damage function, the SCC increases from $76 to $99 (thin), $94 (medium), and $114 (fat) when considering only changes
    in the distributions of the damage function exponents.
104 See footnote 8 for a discussion of the enumerative and statistical approaches to estimating climate damages.

105 Yohe and Hope (2013) emphasize this concern. They warn that “to beware of analyses that are so narrow that they miss
    a good deal of the important economic ramifications of the full suite of manifestations of climate change; i.e., that they
    miss interactions in the climate system that allow climate change, itself, to be a source of multiple stress even within one
     particular sector.”
106 Tol (2009) states that “In the enumerative studies, effects are usually assessed independently of one another, even if
    there is an obvious overlap—for example, losses in water resources and losses in agriculture may actually represent the
     same loss.”
107 See footnote 8 for a discussion of the enumerative and statistical approaches to estimating climate damages.

108 In the statistical approach, analysts estimate climate damages using econometric techniques. While there are several
    identification strategies, which differ in method and types of climate damages captured, all econometric methods rely
    on current observations of the climate to estimate future climate damages.
109 While trade is not a positive spillover per se, it is an inter-regional benefit that is only captured through the modeling of
     connections between regions.




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110
      Tradable goods represent only a fraction of market goods. They do not include market services, non-market goods and
      services, or market goods with prohibitively high transportation costs.
111
      Tol (2009) states: “In Bosello, Roson, and Tol (2007) and Darwin and Tol (2001), my coauthors and I show that sea level rise
      would change production and consumption in countries that are not directly affected, primarily through the food market (as
      agriculture is affected most by sea level rise through land loss and saltwater intrusion) and the capital market (as sea walls
      are expensive to build). Ignoring the general equilibrium effects probably leads to only a small negative bias in the global
      welfare loss, but differences in regional welfare losses are much greater.”
112
      Technology spillovers between nations do not guarantee that the worldwide cost of mitigation and adaptation will decrease.
113
      In FUND 3.6, the number of migrants from the loss of dry land is equal to the product of land loss and average population
      density. The number of migrants between two regions is assumed to be a constant proportion of the overall number of
      migrants from the origin (sending) region: migrants from developed regions (United States, Canada, Western Europe, Japan
      and South Korea, Australia and New Zealand, Central and Eastern Europe, and the former Soviet Union) all resettle within
      their region of origin; 90 percent of migrants from developing regions (Middle East, Central America, South America, South
      Asia, Southeast Asia, China plus other nearby nations, North Africa, and sub-Saharan Africa) resettle within their region of
      origin, and the remaining 10 percent of migrants emigrate to developed regions; migrants from small island nations resettle
      in other regions: developed and developing (Anthoff and Tol, 2010).
114
      Cline (1992) cites data showing that state and local government spending in 1989 was approximately $3,000 per capita and
      assumes that immigrants do not pay taxes for their first 18 months in the United States and subsequently cover their share in
      state and local government expenditures. This yields an estimated cost per migrant of $4,500, which was approximately 25
      percent of U.S. per capita income in 1990; a 40 percent cost per migrant, as assumed by FUND, however, would correspond
      to a $7,200 cost per migrant in the U.S. scenario. The average non-agricultural wage in the United States was $17,994 in 1990
      (Economic Report of the President, February 1991, 336 from Cline, 1992). The 40 percent figure likely comes from Fankhauser
      (1995; 50), who cites Cline (1992) in assuming that global warming will increase immigration by 17 percent worldwide; this
      figure from Cline (1992), however, was simply an illustration of the cost of migration to the United States and was hardly
      a “guesstimate,” as stated by Fankhauser. Further, Fankhauser applies the $4,500 cost per migrant from Cline (1992) to
      estimate cost of migration to OECD countries, and follows Ayres and Walter (1991) in assuming a $1,000 cost per migrant to
      non-OECD regions (Fankhauser, 1995; 51). The latter figure is based on foregone output a person would have produced had
      he or she not migrated. These assumptions are used to estimate a global cost of migration of $4.33 billion (Fankhauser, 1995;
      50), which is likely the source of the estimated cost of migration used in FUND.
115
      See http://www.economist.com/news/europe/21590946-bulgaria-struggling-cope-syrian-refugees-nightmare-all .
116
      See http://www.bbc.co.uk/news/world-23813975.
117
      Freeman and Guzman (2009) state that “In addition to ecological changes, several of the other factors which contribute to
      the emergence of new diseases will very likely be exacerbated by global warming, including migration (as noted above) and
      breakdowns in public health infrastructures. It is impossible to say with certainty that climate change will result in new
      diseases—such emergences are highly complex, multi-factored developments—but it is very clear that climate change will
      substantially increase this risk.”
118
      The United Nations’ Millennium Ecosystem Assessment states that “The loss of species and genetic diversity decreases
      the resilience of ecosystems, which is the level of disturbance that an ecosystem can undergo structure or functioning. In
      addition, growing pressures from drivers such as overharvesting, climate change, invasive species, and nutrient loading
      push ecosystems toward thresholds that they might otherwise not encounter. ^ The most important direct drivers of change
      in ecosystems are habitat change (land use change and physical modification of rivers or water withdrawal from rivers),
      overexploitation, invasive alien species, pollution, and climate change.”
119
      There are many threats to future water supplies other than climate change. First, many regions in the United States are
      currently overpumping their ground water (http://ga.water.usgs.gov/edu/gwdepletion.html ), In developing nations, water
      withdrawals are expected to increase over the next 50 years (Millennium Ecosystem Assessment). Furthermore, water
      pollution and increased water demand due to a growing population are also issues.
120
      Given that gross revenue of marine captured fisheries (i.e., excluding aquaculture) equals approximately $80 billion to $85
      billion annually globally (Sumaila et al., 2011), the effect on U.S. shellfish is small.
121
      For example, the agricultural damage estimates used by Nordhaus include the benefits of farmer adaptation to climate
      change; see forthcoming Appendix A.
122
      The adaptation assumptions underlying PAGE09 are more conservative than PAGE02. As a consequence, this downward bias
      is likely less significant for PAGE, as it is for the other two IAMs (Hope, 2006; Hope, 2011).

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'   23This paper uses FUND 3.6 instead of FUND 3.8 as mentioned earlier; at the time this report was researched, documentation
    for FUND was only available up until FUND 3.6. Tol only made minor changes between versions 3.6 and 3.8. For the purposes
    of this report, no additional damages were included by the author.
124 DICE-1999 and FUND 3.6, and PAGE09 as a consequence of being greatly informed by these two IAMs, exclude the value of
    firewood. The studies underlying the forestry damage estimates, i.e., Perez-Garcia et al., 1997; Sohngen et al., 2001, focus on
    industrial products manufactured from wood, but do not consider the use of wood for fuel. Perez-Garcia et al. (1997) note
    that fuel uses of wood accounted for roughly half of all timber harvests at the time of the study. Additionally, non-timber
    aspects of forests (e.g., recreation, water, wildlife, etc.) are only considered to the extent that they are captured in other
    sectors.
125 It should be noted, however, that some of these categories also have damages associated with them that are omitted, such as
    increased energy supply costs due to increased weather variability and extreme events.
126 Tol (2009) believes that unless a fundamental shift in the literature occurs, improving estimates of willingness to pay for
    biodiversity and ecosystem services will not affect the SCC. Citing Pearce and Moran (1994), he states that individuals are
    limited in their willingness to pay for conservation.
127 This argument is based on statements by David Anthoff at the Cost-Benefit Analysis and Issue Advocacy Workshop on
    October 28, 2013 at New York University School of Law.
128 This type of analysis does not represent new data or methodologies as discussed in the previous paragraph.

129 Only DICE and FUND fail to account for the uncertainty in the functional form of damage equation.

130 By utilizing the Ramsey discount rate equation, the three IAMs allow for declining discount rates resulting from declining
    economic growth rates. However, the 2010 and 2013 IWG estimates impose an external assumption of constant discount
    rates.




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10/26/2016                                      U.S. GAO - Regulatory Impact Analysis: Development of Social Cost of Carbon Estimates


     REGULATORY IMPACT ANALYSIS:
     Development of Social Cost of Carbon Estimates
     GAO-14-663: Published: Jul 24, 2014. Publicly Released: Aug 25, 2014.



     What GAO Found
     To develop the 2010 and 2013 social cost of carbon estimates, the Office of Management and Budget (OMB) and Council of Economic Advisers convened and led an informal
     interagency working group in which four other offices from the Executive Office of the President (EOP) and six federal agencies participated. Participating agencies were the
     Environmental Protection Agency (EPA) and the Departments of Agriculture, Commerce, Energy, Transportation (DOT), and the Treasury. According to several working group
     participants, the working group included relevant subect-matter experts and the agencies likely to use the estimates in future rulemakings. According to OMB staff, there is no
     single approach for convening informal interagency working groups and no requirement that this type of working group should document its activities or proceedings. However,
     OMB and EPA participants stated that the working group documented all major issues discussed in the Technical Support Document, which is consistent with federal
     standards for internal control. According to the Technical Support Document and participants GAO interviewed, the working group's processes and methods reflected the
     following three principles:

         • Used consensus-based decision making. The working group used a consensus-based approach for making key decisions in developing the 2010 and 2013 estimates.
           Participants generally stated that they were satisfied that the Technical Support Document addressed individual comments on draft versions and reflected the overall
           consensus of the working group.

         • Relied on existing academic literature and model s. The working group rel ied largely on existing academic literature and model s to devel op its estimates. Specifical ly,
           the working group used three prevalent academic models that integrate climate and economic data to estimate future economic effects from climate change. The group
           agreed on three modeling inputs reflecting the wide uncertainty in the academic literature, including discount rates. Once the group reached agreement, EPA officials—
           sometimes with the assistance of the model developers—calculated the estimates. All other model assumptions and features were unchanged by the working group,
           which weighted each model equally to calculate estimates. After the academic models were updated to reflect new scientific information, such as in sea level rise and
           associated damages, the working group used the updated models to revise its estimates in 2013, resulting in higher estimates.

         • Took steps to disclose limitations and incorporate new information. The Technical Support Document discloses several limitations of the estimates and areas that
           the working group identified as being in need of additional research. It also sets a goal of revisiting the estimates when substantially updated models become available.
           Since 2008, agencies have published dozens of regulatory actions for public comment that use various social cost of carbon estimates in regulatory analyses and,
           according to working group participants, agencies received many comments on the estimates throughout this process. Several participants told GAO that the working
           group decided to revise the estimates in 2013 after a number of public comments encouraged revisions because the models used to develop the 2010 estimates had
           been updated and used in peer-reviewed academic literature.


     Why GAO Did This Study
     Executive Order 12866 directs federal agencies to assess the economic effects of their proposed significant regulatory actions, including a determination that a regulation's
     benefits justify the costs. In 2008, a federal appeals court directed DOT to update a regulatory impact analysis with an estimate of the social cost of carbon—the dollar value
     of the net effects (damages and benefits) of an increase in emissions of carbon dioxide, a greenhouse gas.

     In 2009, the Interagency Working Group on Social Cost of Carbon was convened to develop estimates for use governmentwide, and it issued final estimates in its 2010
     Technical Support Document. In 2013, the group issued revised estimates that were about 50 percent higher than the 2010 estimates, which raised public interest.

     GAO was asked to review the working group's development of social cost of carbon estimates. This report describes the participating entities and processes and methods they
     used to develop the 2010 and 2013 estimates. GAO reviewed executive orders, OMB guidance, the Technical Support Document, its 2013 update, and other key documents.
     GAO interviewed officials who participated in the working group on behalf of the EOP offices and agencies involved. GAO did not evaluate the quality of the working group's
     approach.

     GAO is making no recommendations in this report. Of seven agencies, OMB and Treasury provided written or oral comments and generally agreed with the findings in this
     report. Other agencies provided technical comments only or had no comments.

     For more information, contact J. Alfredo Gomez at (202) 512-3841 or gomezj@gao.gov.




http://www.gao.gov/products/GAO-14-663
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                       Climate Change
                       Evaluating Climate Policy Options, Costs and
                       Benefits
                       On This Page

                             •   Common-sense Approaches Through the Clean Air Act
                             •   Analysis of Proposed Climate Legislation
                             •   Understanding Benefits
                             •   Research Underlying EPA Economic Modeling of Climate Policies


                       EPA analyzes the anticipated economic effects of proposed standards and policies
                       to reduce greenhouse gas emissions. These analyses have shown that there are a
                       variety of cost-effective policies available to reduce greenhouse gas emissions.

                       Policy options range from comprehensive market-based legislation to targeted
                       regulations to reduce emissions and improve the efficiency of vehicles, power
                       plants and large industrial sources. Underlying these analyses are economic
                       models and detailed studies of technologies to reduce emissions.


                       Common-sense Approaches Through the Clean Air
                       Act
                       EPA is taking action under the Clean Air Act to reduce greenhouse gas emissions
                       from the largest sources by increasing the efficiency of our power plants, cars, and
                       trucks. Our analyses show that these regulations will save consumers money at
                       the pump, improve the air we breathe, promote jobs in the green technology
                       sector, and cut millions of tons of harmful greenhouse gas emissions.

                             • EPA's regulatory initiatives for greenhouse gases under the Clean Air Act
                             • Historical economic benefits from taking action under the Clean Air Act


                       Analysis of Proposed Climate Legislation
                       Congress periodically proposes legislation to lower greenhouse gas emissions,
                       and EPA economists analyze these bills as part of the legislative process. EPA
                       analyses have shown that comprehensive, market-based climate legislation can
                       transform the U.S. energy system and reduce greenhouse gas emissions, all at
                       relatively low cost.

                             • EPA Legislative Analyses
                             • Climate Economic Modeling


https://www.epa.gov/climatechange/evaluating-climate-policy-options-costs-and-benefits
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                       Understanding Benefits
                       Taking actions to reduce greenhouse gas emissions yields important economic
                       benefits. These benefits are from the reduced risk to human health and welfare
                       that results from lower emissions of greenhouse gases and less global warming
                       and climate change. EPA and other federal agencies have developed Social Cost
                       of Carbon (SC-CO2) estimates to assess the economic benefits of rulemakings
                       that reduce carbon dioxide (CO2) emissions. When agencies prepare to issue
                       regulations implementing the laws enacted by Congress, they must justify
                       proposed regulations by assessing their cost and benefits to the economy and
                       society. The SC-CO2 is typically used in the benefits part of the cost-benefit
                       analysis. For a regulation that decreases emissions, the SC-CO2 represents the
                       damage avoided--or the benefit of the regulation--for marginal reductions of CO2.

                       As discussed in the supporting technical documentation, (PDF, 21pp, 1.4MB)
                       however, these benefit estimates are not complete because current models do not
                       yet capture all of the important physical, ecological, and economic impacts of
                       rising levels of CO2 in the atmosphere that are recognized in the literature.
                       Nonetheless, these estimates and the discussion of their limitations in the
                       supporting technical documentation represent the best available information about
                       the social benefits of CO2 reductions to inform benefit-cost analysis.

                       EPA is exploring approaches to further understand the benefits of CO2 reductions
                       that complement the analysis conducted with the SC-CO2. While the SC-CO2 is a
                       useful metric to assess marginal changes in CO2 emissions in the context of cost­
                       benefit analysis, bottom-up approaches, such as the Climate Change Impacts and
                       Risks Analysis (CIRA) project, may offer additional insights about the impact of
                       significant global action.

                       CIRA is a peer-reviewed study comparing impacts in a future with significant
                       global action on climate change to a future in which current greenhouse gas
                       emissions continue to rise.

                       In 2015, EPA released a report, Climate Change in the United States: Benefits of
                       Global Action, estimating the physical and monetary benefits to the U.S. of
                       reducing global greenhouse gas emissions. This report summarizes results from
                       the CIRA. Although no specific mitigation policies were analyzed, the report
                       shows that global action on climate change will significantly benefit Americans
                       by saving lives and avoiding costly damages across the U.S. economy.


                       Research Underlying EPA Economic Modeling of
                       Climate Policies:
                       Climate Economic Modeling
                       EPA uses a variety of economic models and analytical tools when conducting
                       climate economic analyses of climate legislation or policy. These models help
                       researchers estimate the future effects of proposed policies on energy production,
                       the economy, emissions of CO2, and land use trends in agriculture and forestry.
https://www.epa.gov/climatechange/evaluating-climate-policy-options-costs-and-benefits
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                       Air Quality and Climate Modeling

                       EPA is creating decision support tools to evaluate policy options for both air
                       quality and climate change

                       Transportation Sector Analyses

                       EPA conducts modeling and feasibility analyses to understand the potential of
                       technologies and strategies to reduce greenhouse gas emissions from the
                       transportation sector.

                       International Emissions Projections for Non CO2 Gases

                       EPA conducts studies of projected global emissions of the methane, nitrous oxide,
                       and fluorinated greenhouse gases which account for about 30 percent of human-
                       caused warming. Projected emissions studies for the non-CO2 gases provide a
                       benchmark that can be used to measure the potential environmental and economic
                       impact of proposed climate policies across all relevant gases.

                       International Mitigation Technologies to Reduce Emissions of
                       Non CO2 Gases

                       Numerous technologies are available to reduce emissions of methane, nitrous
                       oxide, and fluorinated greenhouse gases. EPA develops reports that evaluate the
                       costs of various technologies to reduce non-CO2 greenhouse gas emissions. These
                       reports also provide cumulative marginal abatement cost curves which are used by
                       researchers to represent mitigation costs in their models.




                       Last updated on October 6, 2016




https://www.epa.gov/climatechange/evaluating-climate-policy-options-costs-and-benefits
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   NATURE CLIMATE CHANGE | LETTER



   Temperature imPessJIcoW eprovnomierigrwihwthtwciiipdi'ii o,iri n'gent mitigation
   policy
   Frances C. Moore & Delavane B. Diaz

   Nature Climate Change 5, 127-131 (2015)                  doi:10.1038/nclimate2481
   Received 24 June 2014          Accepted 25 November 2014              Published online 12 January 2015          Corrected online 28 January 2015
   Erratum (March, 2015)



   Integrated assessment models compare the costs of greenhouse gas mitigation with damages from climate change to evaluate the social
   welfare implications of climate policy proposals and inform optimal emissions reduction trajectories. However, these models have been
   criticized for lacking a strong empirical basis for their damage functions, which do little to alter assumptions of sustained gross domestic
   product (GDP) growth, even under extreme temperature scenarios1,2, 3. We implement empirical estimates of temperature effects on GDP
   growth rates in the DICE model through two pathways, total factor productivity growth and capital depreciation4, 5. This damage
   specification, even under optimistic adaptation assumptions, substantially slows GDP growth in poor regions but has more modest effects in
   rich countries. Optimal climate policy in this model stabilizes global temperature change below 2 °C by eliminating emissions in the near
   future and implies a social cost of carbon several times larger than previous estimates6. A sensitivity analysis shows that the magnitude of
   climate change impacts on economic growth, the rate of adaptation, and the dynamic interaction between damages and GDP are three
   critical uncertainties requiring further research. In particular, optimal mitigation rates are much lower if countries become less sensitive to
   climate change impacts as they develop, making this a major source of uncertainty and an important subject for future research.


   Subject terms: Climate-change impacts               Climate-change policy        Climate sciences        Environmental economics




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   Change history

   Corrected online 28 January 2015 In the version of this Letter originally published, in equation (1) and in the explanatory sentence
   following the equation, jy^P should have read rypP. In the second line of the equation, Idjo. should have read rDJQ                    These errors have
                                                                                                                  J,t               j,t
   been corrected in the online versions of the Letter.


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   Author information
   Affiliations
   Emmett Interdisciplinary Program in Environment and Resources, Stanford University, California 94305, USA
   Frances C. Moore


   Center on Food Security and Environment, Stanford University, California 94305, USA
   Frances C. Moore


   Department of Management Science and Engineering, Stanford University, California 94305, USA
   Delavane B. Diaz


   Contributions
   F.C.M. and D.B.D. designed the analysis. D.B.D. performed the analysis. F.C.M. and D.B.D. analysed results and wrote the paper.


   Competing financial interests
   The authors declare no competing financial interests.


   Corresponding author
   Correspondence to: Frances C. Moore


   Supplementary information

             PDF files
        1. Supplementary Information (1,327KB)



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                      Environmental Assessment
                    DOI-BLM-ID-B010-2014-0036-EA

                      Little Willow Creek
                 Protective Oil and Gas Leasing


                              February 10, 2015




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   1 .0      Introduction
    Leasing
   The Mining and Minerals Policy Act of 1970 declares that it is the continuing policy of the
   Federal Government to foster and encourage private enterprise in the development of a stable
   domestic minerals industry and the orderly and economic development of domestic mineral
   resources. The Mineral Leasing Act of 1920, as amended, authorizes the Secretary of the
   Interior to lease federal oil and gas. The Bureau of Land Management (BLM) is the Interior
   agency delegated the authority to manage the United States’ mineral resources. The BLM’s oil
   and gas leasing programs are codified under 43 CFR 3100, in accordance with the authority of
   the Mineral Leasing Act of 1920, as amended, the Federal Land Policy and Management Act
   (FLPMA) of 1976, and the Energy Policy Act of 2005.

   The decision as to which public lands and minerals are open for leasing and what leasing
   stipulations may be necessary is made during the land use planning process. Surface
   management/use for mineral extraction on non-BLM administered land overlaying federal
   minerals will be determined by the BLM in consultation with the appropriate surface
   management agency or the private surface owner at the time such surface use is proposed by the
   leaseholder or designated agent. Under the Mineral Lease Act, issuing oil and gas leases is a
   discretionary authority conveyed to the Secretary of Interior. In carrying out the mineral leasing
   authority conveyed through the Mineral Leasing Act, the BLM must comply with other
   applicable federal laws and regulations, including, but not limited to the Endangered Species
   Act, the National Historic Preservation Act, the Clean Water Act, the Clean Air Act, and the
   Energy Policy Act.

   Offering federal mineral estate parcels for lease and subsequently issuing oil and gas leases are
   strictly administrative actions, which, in and of themselves, do not cause or directly result in any
   surface disturbance. Issuance of an oil and gas lease does convey to the lessee the exclusive
   right to use as much of the leased land as is reasonably necessary to explore for and extract oil
   and gas resources from the lease area, subject to the terms of the lease, including stipulations (43
   CFR 3101.1-2 and 3101.1-3), regulations pertaining to oil and gas leasing, Onshore Orders, and
   with prior approval of the Authorized Officer. However, depending on lease stipulations, post­
   leasing activities may or may not result in impacts to surface resources. Only where stipulations
   or conditions do not preclude disturbance to surface resources is the action considered an
   irretrievable commitment of resources. The BLM may issue leases to protect the public interest
   when uncompensated drainage is occurring or may occur, provided the lease does not convey an
   irreversible or irretrievable commitment of resources.

   As part of the lease issuance process, nominated parcels are reviewed against the appropriate
   land use plan, and stipulations are attached to mitigate any known environmental or resource
   conflicts that may occur on a given lease parcel. As stated above, on-the-ground impacts would
   potentially occur when a lessee applies for and receives approval to explore, occupy and/or drill



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   on the lease. The BLM cannot determine at the leasing stage whether or not a lease would
   actually be explored or developed.
   Oil and gas leases are issued for a 10-year period and continue for so long thereafter as oil or gas
   is produced in paying quantities. If a lessee fails to produce oil and/or gas, does not make annual
   rental payments, does not comply with the terms and conditions of the lease, or relinquishes the
   lease, then ownership of the minerals leased revert back to the federal government and may be
   offered for lease again. Drilling wells on a lease is not permitted until the lessee or operator
   secures BLM’s approval of a drilling permit and a surface use plan as specified in 43 CFR
   3162.3-1 (Drilling applications and plans) and submits a reclamation bond. Subsequent well
   operations, such as re-drilling, deepening, repairing casing, plugging-back, performing non­
   routine fracturing jobs, etc. also require the prior approval of the authorized officer (43 CFR
   3162.3-2).

   Leasing in the Four Rivers Field Office
   While parcels totaling over 180,000 acres of federal land in southwest Idaho have been
   nominated for competitive oil and gas leasing, BLM has to-date deferred leasing any lands until
   completion of the Four Rivers Resource Management Plan/EIS (FRMP). Currently, there are no
   federal oil and gas leases in the field office. The FRMP will replace the 1987 Cascade RMP
   which currently addresses leasing in the western portion of the Four Rivers Field Office. BLM is
   considering leasing in this isolated circumstance because of the federal mineral reserve drainage
   that may occur existing wells are put into production in sections with federal minerals in the
   Willow Field or on private lands in the proposed leasing area.

   There are currently 15 wells that have been drilled on private or State leases in and/or near the
   Willow and Hamilton Fields and are capable of production, and three wells that have been
   approved but haven’t been drilled. Four existing wells and two proposed wells are within 0.5
   miles of federal mineral resources. Several of the wells are located in sections with federal
   mineral estate (Map 1). The existing wells are classified as “shut in pending a pipeline”
   indicating that they are capable of production.

   The BLM determined the boundary of the proposed leasing area by including all lands with
   federal minerals in the industry-designated Willow Field, as well as those lands with federal
   minerals located in sections that are within one mile of a well that has been drilled or permitted.
   Only the lands with federal minerals would be leased within the proposed leasing area boundary.
   There are no lands with federal minerals in the Hamilton Field.

   In November 2013, Alta Mesa Services, Inc., a company that is currently developing a newly
   discovered natural gas field, made application to the Idaho Oil and Gas Conservation
   Commission (IOGCC) to omit federal lands in T. 8 N., R. 4 W., Section 3, from a drilling unit it
   proposed in Section 3. If the federal minerals are omitted from the drilling unit and a producing
   well is drilled on the private lands (with private minerals) in Section 3, drainage of the federal
   mineral estate could occur. The opportunity to recover the underlying resource would be lost,
   and the federal government, acting on behalf of the American taxpayer, would be unable to
   collect royalties on the extracted mineral resources.


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   Leasing would protect the American taxpayers’ correlative rights, and production royalties could
   be collected. The BLM considers Alta Mesa’s application to the IOGCC to be evidence of
   potential drainage in Section 3. Lands that are otherwise unavailable for leasing may be leased if
   there is an imminent threat of drainage [see 43 CFR 3120.1-1(d)]. Because of this threat and the
   likelihood of IOGCC receiving more applications to omit the federal mineral estate in sections
   where wells have been drilled or proposed, BLM is considering leasing the federal mineral estate
   within this limited area at this time.

   1.1     Need for and Purpose of Action
   The purpose of this proposal is to protect the federal mineral resource from uncompensated
   drainage, and surface resources from potential damage, in and near the Willow Field, Payette
   County, Idaho. Drainage is defined as the migration of oil and gas in an underground reservoir,
   due to a pressure reduction caused by production from wells bottomed in the reservoir. Because
   oil and gas are fluids, they can flow underground across property boundaries. Subsurface (i.e.
   mineral) ownership boundaries are the same as those upon the surface, projected downward to
   the center of the earth. Sub-surface mineral rights in the U.S. generally belong to the owner of
   the surface land, unless they have been severed from the surface. According to an old common
   law concept termed the rule of capture, the first person to gain control over the resource (by
   extracting the resource from the ground) gains exclusive ownership over that resource. In this
   way, an operator may permissibly extract, or drain, oil and gas from beneath the land of another,
   if the extraction is lawfully conducted on his own property. The rule of capture gives land
   owners an incentive to pump out oil as quickly as possible by speeding up their operations or
   drilling multiple, closely spaced wells to capture, or drain, the oil or gas resource of their
   neighbors. Very dense drilling can result in dissipation of the pressure within a reservoir, and
   therefore incomplete extraction of the resource.

   To mitigate this danger, many state governments have sought to supersede the rule of capture
   with conservation acts that enforce prorationing, pooling, and limits on density of drilling, to
   avoid physical waste, ensure maximum ultimate recovery, and to protect the correlative rights of
   neighboring owners. The correlative rights doctrine is a legal doctrine limiting the rights of
   landowners to an oil or gas reservoir to a reasonable share, based on the amount of land owned
   by each on the surface above. Correlative rights concepts such as pooling and unitization replace
   the rule of capture in those states that have them, thereby protecting the rights of mineral estate
   owners from drainage.

   Uncompensated drainage means that federal mineral resources are being produced by wells on
   adjacent lands without compensation to the United States in the form of royalties that would
   otherwise be required if the federal mineral estate were leased under the Mineral Leasing Act, as
   amended. A prime responsibility of the BLM is to protect the United States from the loss of
   royalty that results from drainage (uncompensated drainage). For unleased lands, the objectives
   of BLM’s drainage protection program may be accomplished by leasing and requiring the lessee
   to take protective measures to prevent uncompensated drainage of oil or gas from the lease.




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   This action is needed because natural gas wells have been or are proposed to be drilled on private
   land adjacent to BLM-administered lands and/or adjacent to lands where BLM owns only the
   subsurface mineral estate (referred to as split estate). The current and proposed wells in and
   north of the Willow Field constitute a threat, or potential threat, of uncompensated drainage to
   the federal mineral estate. Drilling has resulted in the discovery of commercial quantities of
   natural gas and natural gas condensate in the Willow and Hamilton fields, and those areas are
   being developed for commercial production. According to the current Idaho well spacing order,
   only one well can be drilled per 640-acre governmental section (IDAPA 20.07.02.330.02;
   IOGCC 2013a). The Idaho Department of Lands has approved drilling permit applications for
   several wells on private lands which would drain minerals reserved to the United States within
   the well spacing unit designated by the State of Idaho (IOGCC 2014).

   In a September 4, 2014 IOGCC hearing, the commission voted 4-1 to reconsider a request by
   Alta Mesa to omit federal mineral resources. If federal minerals are omitted from a drilling unit,
   BLM would be unable to collect the royalties it is due for its proportionate share of production
   from the drilling unit; therefore, the BLM considers these resources threatened by
   uncompensated drainage. While 43 CFR 3162.2-2 offers several protective measures BLM may
   take to avoid uncompensated drainage on unleased lands besides leasing, they require the
   cooperation of the owner-of-interest in the producing well. BLM has offered several times to
   enter into a communitization or compensatory royalty agreement; however. Alta Mesa has
   refused to do so, leaving leasing as the only alternative to address drainage.

   1.2     Decision to Be Made
   The responsible official will decide whether to recommend that the BLM Idaho State Office
   offer lands in the proposed lease area and which, if any, stipulations and/or notices should be
   attached to the leases.

   1.3     Summary of Proposed Action
   The BLM proposes to offer five parcels (totaling 6,349 acres; Map 2) at a spring 2015
   competitive oil and gas lease sale. Stipulations and lease notices would apply on BLM-
   administered surface and subsurface in the lease area. The offering and subsequent issuance of
   oil and gas leases is strictly an administrative action, which, in and of itself, would not cause or
   directly result in any surface disturbance.

   1.4     Location and Setting
   The proposed 15,644-acre Little Willow Creek oil and gas lease area is located 4-12 miles east of
   Payette, Idaho (Map 1). The topography is characterized by gently rolling hills. Vegetation is
   dominated by annual and perennial grass with occasional shrub stands. Rural homes and
   agricultural fields are primarily associated with Little Willow Creek.

   In the proposed lease area, only 6% of surface lands are BLM-administered and the remaining
   are privately owned; however, the BLM administers 41% of the subsurface mineral estate. Two
   oil and gas fields to the south have been designated by oil and gas developers. The Willow Field
   overlies a portion of the Little Willow Creek proposed lease area and currently has eight oil and

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   gas wells. Further south, the Hamilton Field has six wells. Most wells in the area are classified
   as shut in pending a pipeline (IOGCC 2014).

   1.5     Conformance with Applicable Land Use Plan
   Leasing is in conformance with the 1988 Cascade Resource Management Plan (CRMP) which
   makes 456,289 acres (94% of area) available for leasable mineral exploration and development
   (CRMP Record of Decision page 3). The proposed lease parcels are within the area determined
   available for leasable mineral exploration and development. The CRMP directs the BLM to
   manage geological, energy, and minerals resources on the public lands so that significant
   scientific, recreational, ecological and educational values will be maintained or enhanced.
   Generally, the public lands are available for mineral exploration and development, subject to
   applicable regulations and Federal and State laws. The CRMP states that: “Approval of an
   application for lease is subject to an environmental analysis and may include stipulations to
   protect other resources.” Additional NEPA documentation is needed prior to leasing to address
   new circumstances or information bearing on the environmental consequences of leasing that
   was not considered within the broad scope analyzed in the CRMP Environmental Impact
   Statement.

   1.6     Relationship to Statutes, Regulations, and Other Requirements
   This EA was prepared in accordance with the National Environmental Policy Act of 1969
   (NEPA) and in compliance with all applicable laws and regulations, including Council on
   Environmental Quality (CEQ) regulations (40 CFR Parts 1500-1508), U.S. Department of the
   Interior (DOI) requirements (Department Manual 516, Environmental Quality), and/or other
   federal statutes and executive orders.

   Other applicable Federal laws to which the lessee must comply include but are not limited to, the
   following:

   Leasable Minerals
   It is BLM policy, as derived from various laws, including the Mineral Leasing Act of 1920
   (MLA) and the Federal Land Policy and Management Act of 1976 (FLPMA), to make mineral
   resources available for disposal and to encourage development of mineral resources to meet
   national, regional, and local needs. Ensuring that the federal mineral estate is protected from
   uncompensated drainage of fluid mineral resources is a basic BLM function. 43 CFR 3100.2-1
   states “Upon a determination by the authorized officer that lands owned by the U.S. are being
   drained of oil or gas by wells drilled on adjacent lands . . . Such lands may also be offered for
   lease in accordance with part 3120 of this title.” 43 CFR 3120.1-1 states that “All lands
   available for leasing shall be offered for competitive bidding under this subpart, including but
   not limited to . . . (d) Lands which are otherwise unavailable for leasing but which are subject to
   drainage (protective leasing).”

   Any purchaser of a federal oil and gas lease is required to comply with all applicable federal,
   state, and local laws and regulations, including obtaining all necessary permits required prior to
   the commencement of project activities.

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   Environmental Quality
   Clean Water Act of1972 (33 U.S.C. §1251 et seq.): Regulates surface water discharges and
   storm-water runoff. Section 313 requires federal agencies be in compliance with all federal,
   state, interstate, and local requirements. In Idaho, the Idaho Department of Environmental
   Quality (IDEQ) implements the Clean Water Act. Additionally, the IDEQ develops total
   maximum daily loads (TMDLs) for water bodies.

   Safe Drinking Water Act of1974 as amended: Authorizes the U.S. Environmental Protection
   Agency (EPA) to set national health-based standards for drinking water to protect against both
   naturally-occurring and man-made contaminants that may be found in drinking water. The EPA,
   IDEQ, and others work together to make sure that the standards are met.

   Clean Air Act of1970 as amended (42 U.S.C. §7401 et seq.): Sets rules for air emissions from
   engines, gas processing equipment and other sources associated with drilling and production
   activities.

   Special_StatusSpecies
   Endangered Species Act (ESA) of1973 as amended (16 USC 1531): Section 7 of the ESA
   outlines the procedure for federal interagency cooperation to conserve federally listed species
   and their designated habitats. Section 7(a) (2) of the ESA states that each federal agency shall, in
   consultation with Secretary, ensure that any action it authorizes, funds, or carries out is not likely
   to jeopardize the continued existence of a listed species or result in the destruction or adverse
   modification of a listed species’ habitat within the project area.

   Special Status Species Management Manualfor the Bureau ofLand Management (BLM Manual
   6840): National policy directs BLM State Directors to designate sensitive species in cooperation
   with the state fish and wildlife agency. This manual establishes policy for management of
   species listed or proposed for listing pursuant to the ESA and Bureau sensitive species that are
   found on BLM-administered lands; this policy is to conserve and to mitigate adverse impacts to
   sensitive species and their habitats. Where relevant to the activities associated with this action,
   effects to special status species are analyzed in this EA.

   Migratory Bird Treaty Act, Executive Order 13186, and BLM Memorandum of Understanding
   WO-230-2010-04 (between BLM and US Fish and Wildlife Service [USFWS]): Federal
   agencies are required to evaluate the effects of proposed actions on migratory birds (including
   eagles) pursuant to the National Environmental Policy Act of1969 (NEPA) “or other established
   environmental review process;” and restore and enhance the habitat of migratory birds, as
   practicable. Federal agencies are also required to identify where unintentional take reasonably
   attributable to agency actions is having, or is likely to have, a measurable negative effect on
   migratory bird populations. With respect to those actions so identified, the agency shall develop
   and use principles, standards, and practices that will lessen the amount of unintentional take,


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   developing any such conservation efforts in cooperation with the Service. Effects to migratory
   birds are analyzed in this EA.

   Bald and Golden Eagle Protection Act of1940 as amended (16 USC 668-668d): This act
   provides for the protection of bald and golden eagles by prohibiting, except under certain
   specified conditions, the taking, possession and commerce of such birds. Agencies are required
   to evaluate: 1) whether take is likely to occur from activities associated with the proposed
   activity and 2) the direct, indirect, and cumulative impacts the proposal may have on the ability
   to meet the preservation standard of the Act that the USFWS has interpreted to mean
   “compatible with the goal of stable or increasing breeding populations.” Effects to bald and
   golden eagles are analyzed in this EA.

   Cultural Resources
   Idaho BLM has the responsibility to manage cultural resources on public lands pursuant to the
   National Historic Preservation Act of 1966 (as amended), the 2012 Programmatic Agreement
   Among the Bureau of Land Management, the Advisory Council on Historic Preservation, and the
   National Conference of State Historic Preservation Officers and the State Protocol Agreement
   Between the Idaho State Director of the BLM and the Idaho State Historic Preservation Officer
   (1998) and other internal policies.

   Social and Economic
   Executive Order 12898 (February 1994): Federal agencies are directed to “make achieving
   environmental justice part of its mission by identifying and addressing, as appropriate,
   disproportionately high and adverse human health or environmental effects of its programs,
   policies, and activities on minority populations and low-income populations,” including tribal
   populations. The accompanying Presidential Memorandum emphasizes the importance of using
   the NEPA review process to promote environmental justice.

   1.7     Scoping and Development of Issues
   Scoping
   BLM began scoping for the Little Willow Creek lease sale on July 8, 2014 when the Four Rivers
   Field Manager sent a scoping packet and/or letter to all land owners with property in or adjacent
   to the Little Willow Creek proposed lease area and to the Four Rivers Field Office’s interested
   public mailing list seeking scoping comments on the lease proposal. BLM also activated a web
   page on the BLM NEPA Register to make scoping and informational materials available to the
   public. The webpage can be reviewed at: https://www.blm.gov/epl-front-
   office/eplanning/planAndProiectSite.do?methodName=renderDefaultPlanOrProiectSite&proiectI
   d=39064&dctmId=0b0003e8806d22d8 .

   On Thursday July 17, 2014 the BLM hosted a public meeting at the Payette County Courthouse.
   BLM answered questions and accepted comments at the meeting and provided an address and
   website to send in additional scoping comments about the proposed leasing. Approximately 45
   people attended the meeting and 12 individuals and organizations provided scoping comments.
   Many of the issues were outside the scope of the leasing decision. The public was primarily


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   concerned with drilling which would be analyzed in a subsequent NEPA document if an
   Application for Permit to Drill (APD) is received by BLM (Appendix 1). The intent of BLMs
   scoping effort was to identify issues related to the proposed leasing.

   Issues Development
   Issues may be defined as a point or matter of discussion, debate, or dispute about a proposed
   action based on the potential environmental effects (BLM Handbook H-1790-1). Issues are
   concerns directly or indirectly caused by implementing the proposed action; these are used to
   develop alternatives to the proposed action. Relevant public comments and issues were used in
   the development of this EA, including those received in response to the Scoping Document
   mailed July 8, 2014. Comments not considered issues to analyze in this EA are ones that are: 1)
   outside the scope of the proposed action and thus irrelevant to the decision being made; 2)
   already decided by law, regulation, RMP, or other higher level decision; 3) conjectural and not
   supported by scientific or factual evidence; or 4) not necessary for making an informed decision.
   The following issues were identified from comments and scoping letters received during the
   scoping effort:

         1. Leasing could indirectly impact air quality in the proposed lease area if exploration and
            development occur.
         2. Leasing could indirectly impact water quality in the proposed lease area if exploration
            and development occur.
         3. Leasing could indirectly pollute ground water in the proposed lease area if exploration
            and development wells require hydraulic fracturing (fracking).
         4. Leasing could indirectly impact sensitive plant species in the proposed lease area if
            exploration and development occur.
         5. Leasing could indirectly impact sensitive wildlife species in the proposed lease area if
            exploration and development occur.

   These issues are addressed in Section 3.0. Although development in the Willow and Hamilton
   fields has not indicated the need for substantial fracking (Johnson et. al. 2013), the issue is
   addressed primarily in Water Resources (Section 3.5). The IDT also analyzed the indirect effects
   of leasing on the following resources: soils, vegetation, cultural resources, recreation, visual
   resources, lands and realty, livestock management, minerals, and social and economics.

   2 .0       Description of the Alternatives

   2.1      Alternative A - No Federal Mineral Estate Leasing/Continue Present
            Management
   The federal mineral estate in a 15,644 acre area in Payette County, including 996.85 (997) acres
   of BLM-administered lands and 5,352.35 (5,352) acres of split estate, would not be offered for
   lease. Development of State and private leases could occur in the area; however, the federal
   mineral estate would not be available at least until the FRMP is completed. State (Appendix 2)
   or other stipulations developed by the lessor and lessee would apply to other leases.


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   2.2     Alternative B - Leasing Federal Mineral Estate with No Surface or
           Subsurface Occupancy Stipulations
   The federal mineral estate in a 15,644 acre area in Payette County, including 997 acres of BLM-
   administered lands and 5,352 acres of split estate, would be offered for lease in up to five
   parcelsA (Table 1, Map 2, Appendix 3).

   Table 1. Mineral estate acreages by parcel, surface, and subsurface ownership, proposed Little Willow
   Creek oil and gas leasing area, Payette County, Idaho.
                             Federal Mineral Estate1                Other Mineral Estate2
         Parcel                                                                                   Total
                   Federal/Federal Private/Federal     Total    Private/Private Private/State
           A            212              1,536         1,748         3,811            0           5,549
           B            237               312           549          1,353            0            1,903
           C            235              1,140         1,374         1,142            0           2,516
           D            274              1,311         1,585         1,186           394          3,165
           E             39              1,052         1,091         1,313            98          2,502
          Total         997              5,352         6,349         8,799           492          15,644
   1Acreages presented in this table and throughout the document are rounded to the nearest acre. More

   accurate figures would be developed if a lease is offered.
   2 The BLM has no control over these resources. The values are provided strictly for informational

   purposes.

   The following stipulations would apply to the federal mineral estate:

   No Surface Occupancy (NSO) -1: Surface occupancy and use on BLM-administered and split
   estate lands would be prohibited until the Four Rivers Resource Management Plan (FRMP) is
   finalized.

   No Sub-surface Occupancy (NSSO) -1: Subsurface occupancy and use on federal mineral estate
   lands would be prohibited until the FRMP is finalized.

   Upon finalization of the FRMP, the leases would be modified by replacing NSO-1 and NSSO-1
   with stipulations consistent with the FRMP. Development of State and private leases would be
   as described in Section 2.1; however, drainage of the federal mineral estate would be allowed
   and typical royalties would be applied.




   A Because an oil and gas lease cannot be larger than 2,560 acres (43 CFR 3120.2-3), the 6,352-acre
   federal mineral estate was divided into smaller parcels. BLM has the discretion to parcel the lands in any
   configuration. During public scoping, at least one split estate land owner expressed a desire to bid on
   parcels to which he/she owns the surface estate. BLM has addressed the land owner’s concern by making
   the leases smaller, and by dividing the federal mineral estate in a manner that minimizes the number of
   split estate landowners on a single lease (the only exception to this is Parcel A, which has multiple split
   estate landowners, but lies entirely within the industry-designated Willow Field).

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   2.3     Alternative C - Leasing Federal Mineral Estate with Cascade RMP
           Stipulations and Additional Lease Notices
   The federal mineral estate in a 15,644 acre area in Payette County, including 997 of BLM-
   administered lands and 5,352 acres of split estate, would be offered for lease in up to five parcels
   (Table 1, Map 2, Appendix 3). The leases would be subject to standard lease terms and the
   following stipulations associated with listed species (S-1) and cultural resources (S-2), applicable
   CRMP stipulations, and lease notices. Lease notices were developed for sensitive resources that
   were not addressed in the CRMP. Development of State and other leases would be as described
   in Section 2.1. The following stipulations and lease notices would apply where appropriate
   (Appendix 3):

   Freshwater Aquatic Habitat
   Controlled Surface Use (CSU) -1: Surface occupancy and use would be prohibited within 500
   feet from the edge of reservoirs, ponds, streams, wetlands, and riparian habitat. Introduction of
   chemical toxicants or sediments to riparian areas as a result of exploration or production would
   not be allowed.

   CSU-2: A minimum 100 foot riparian buffer zone would be provided from the edge of any
   riparian habitat to protect riparian vegetation, fisheries, and water quality. The following
   activities would be generally excluded: new road construction that parallels streams. Best
   management practices would be used when construction cannot be avoided.

   Special Status Plant Species
   CSU-3: Occupancy and use, including surface and subsurface rights-of-way, would be
   prohibited in Type 1-4 special status plant element occurrences.

   Big Game RangeB
   CSU-4: No surface use would be allowed in crucial winter range from November 15 to May 15
   or crucial antelope fawning range between May 1 and June 30.

   Sensitive Wildlife Species
   CSU-5: No surface use would be allowed within a 0.75 mile radius of ferruginous hawk or
   Swainson’s hawk nests from March 15 to June 30.

   CSU-6: No surface use would be allowed within a 0.75 mile radius of an osprey nest from April
   15 to August 31.

   CSU-7: No surface use would be allowed within a 0.25 mile radius of a burrowing owl nest
   from March 15 to June 30.

   BFrom the CRMP: “Those areas where big game animals have demonstrated a definite pattern of use
   each year or an area where animals tend to concentrate in significant numbers (from Interagency
   Guidelines for Big Game Range Investigation-Idaho Department of Fish & Game, Bureau of Land
   Management, U.S. Forest Service).” For the purposes of this action, the BLM worked in cooperation
   with IDFG to delineate winter ranges using current animal distribution data.

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   Wildlife Species of Concern
   CSU-8: No surface use would be allowed within a 0.75 mile radius of a golden eagle nest from
   February 1 to June 30.

   CSU-9: No surface use would be allowed within a 0.75 mile radius of a prairie falcon nest from
   March 15 to June 30.

   CSU-10: No surface occupancy would be allowed within a 0.5 mile radius of a heron rookery.

   Fragile Soils
   Lease Notice (LN) -1: The lessee is hereby notified that special location, design and
   construction mitigation measures may be required to minimize, to the extent possible, the
   potential long-term and short-term adverse impacts of oil and gas operations within fragile soils,
   and to avoid them wherever there is a practicable alternative.

   Fragile soil areas, in which the performance objective would be enforced, are defined as follows:
       1) Areas rated as highly or severely erodible by wind or water, as described by the National
           Cooperative Soil Survey for Payette County or as described by on-site inspection.
      2) Areas with slopes >30%, if they also have one of the following soil characteristics:
               a. a surface texture that is sand, loamy sand, very fine sandy loam, fine sandy loam,
                   silty clay or clay;
               b. a depth to bedrock <20 inches;
               c. an erosion condition that is rated as poor; or
               d. a K-factor >0.32.

   Floodplain Management
   LN-2: The lessee is hereby notified that special location, design and construction mitigation
   measures may be required to minimize, to the extent possible, the potential long-term and short­
   term adverse impacts of oil and gas operations within the 100-year floodplain associated with
   occupancy and modification of the floodplain, and to avoid direct and indirect floodplain
   development wherever there is a practicable alternative. Under Executive Order 11988:
   Floodplain Management; the BLM is required to restore and preserve the natural and beneficial
   values served by floodplains for actions related to federal activities and programs affecting land
   use.

   Endangered Species (Mandatory)
   Stipulation (S) -1: The lease area may now or hereafter contain plants, animals, or their habitats
   determined to be threatened, endangered, or other special status species. BLM may recommend
   modifications to exploration and development proposals to further its conservation and
   management objective to avoid BLM-approved activity that will contribute to a need to list such
   a species or their habitat. BLM may require modifications to or disapprove proposed activity
   that is likely to result in jeopardy to the continued existence of a proposed or listed threatened or
   endangered species or result in the destruction or adverse modification of a designated or
   proposed critical habitat. BLM will not approve any ground-disturbing activity that may affect
   any such species or critical habitat until it completes its obligations under applicable

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   requirements of the Endangered Species Act as amended, 16 U.S.C. § 1531 et seq., including
   completion of any required procedure for conference or consultation.

   Special StatusMammals
   LN-3: The lease may, in part or in total, contain important southern Idaho ground squirrel
   (SIDGS), a candidate species, and pygmy rabbit habitats as identified by the BLM, either
   currently or prospectively. The operator may be required to implement specific measures to
   reduce impacts of oil and gas operations on SIDGS populations and habitat quality. Such
   measures shall be developed during the application for permit to drill on-site and environmental
   review process and will be consistent with the lease rights granted. Measures may include (in
   order of priority):
       1. Avoid areas occupied by SIDGS and pygmy rabbits.
       2. When oil and gas facilities are deemed necessary within unoccupied SIDGS or pygmy
           rabbit habitat, minimize pad size, road width, and the size of other disturbed areas.
       3. New construction of roads, pipelines, and rights-of-way would be planned to minimize
          the effects of fragmenting wildlife habitat.
       4. Restore unneeded areas to native or other appropriate vegetation (shrubs, perennial
           grasses, and forbs as identified by the SIDGS Working Group) immediately upon
           vacancy of temporary use sites or permanent closure of well sites to provide forage for
           nearby SIDGS.
       5. Construct power transmission lines outside of SIDGS occupied habitat (including a 0.25-
           mile buffer) whenever possible. If transmission lines are deemed necessary through or
           within 0.25 miles of SIDGS colonies, locate poles outside of active burrow systems and
           consider 1) burying transmission lines, or 2) installing raptor anti-perching devices on
          transmission lines.

   Migratory Birds and Raptors
   LN-4: The Operator is responsible for compliance with provisions of the Migratory Bird Treaty
   Act by implementing one of the following measures: a) avoidance by timing - ground disturbing
   activities would not occur from April 15 to July 15; b) habitat manipulation - render proposed
   project footprints unsuitable for nesting prior to the arrival of migratory birds (blading or pre­
   clearing vegetation must occur prior to April 15 within the year and area scheduled for activities
   between April 15 and July 15 of that year to deter nesting; or c) survey-buffer-monitor surveys
   would be conducted by a BLM approved biologist within the area of the proposed action and a
   300 foot buffer from the proposed project footprint between April 15 to July 15 if activities are
   proposed within this timeframe. If nesting birds are found, activities would not be allowed
   within 0.1 miles of nests until after the birds have fledged. If active nests are not found,
   construction activities must occur within 7 days of the survey. If this does not occur, new
   surveys must be conducted. Survey reports would be submitted to the appropriate BLM Office.

   CSU-11: No surface occupancy would be allowed within 1 mile of an active bald eagle or
   peregrine falcon nest. No surface use would be allowed from December 1 and March 31 where
   wintering bald eagles or peregrine falcons occur.



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   Water Quality
   LN-5: The operator may be required to implement specific measures to reduce impacts of oil
   and gas operations on water quality and quantity. Such measures shall be developed during the
   application for permit to drill on-site and environmental review process and will be consistent
   with the lease rights granted.

   Cultural Resources (Mandatory)
   S-2: This lease may be found to contain historic properties and/or resources protected under the
   National Historic Preservation Act (NHPA), American Indian Religious Freedom Act, Native
   American Graves Protection and Repatriation Act, E.O. 13007, or other statutes and executive
   orders. The BLM would not approve any ground disturbing activities that may affect any such
   properties or resources until it completes its obligations under applicable requirements of the
   NHP A and other authorities. These obligations may include a requirement that you provide a
   cultural resources survey conducted by a professional archaeologist approved by the State
   Historic Preservation Office (SHPO). If currently unknown burial sites are discovered during
   development activities associated with this lease, these activities must cease immediately,
   applicable law on unknown burials will be followed and, if necessary, consultation with the
   appropriate tribe/group of federally recognized Native Americans will take place. The BLM
   may require modification to exploration or development proposals to protect such properties, or
   disapprove any activity that is likely to result in adverse effects that cannot be successfully
   avoided, minimized or mitigated.

   LN-6: The Surface Management Agency is responsible for assuring that the leased lands are
   examined to determine if cultural resources are present and to specify mitigation measures.

   Lands and Realty
   LN-7: Land Use Authorizations incorporate specific surface land uses allowed on BLM-
   administered lands by authorized officers and those surface uses acquired by BLM on lands
   administered by other entities. These BLM authorizations include rights-of-way, leases, permits,
   conservation easements, and recreation and public purpose leases and patents.

   Paleontological Resources
   CSU-12: No surface occupancy would be allowed on sites with known paleontological values.
   Surface rights-of-way would be routed to avoid paleontological resources.

   LN-7: This lease has is located in geologic units rated as being moderate to very high potential
   for containing significant paleontological resources. The locations meet the criteria for Class 3,
   4 and/or 5 as set forth in the Potential Fossil Yield Classification System, WO IM 2008-009,
   Attachment 2-2. The BLM is responsible for assuring that the leased lands are examined to
   determine if paleontological resources are present and to specify mitigation measures. Guidance
   for application of this requirement can be found in WO IM 2008-009 dated October 15, 2007,
   and WO IM 2009-011 dated October 10, 2008. Prior to undertaking any surface-disturbing
   activities on the lands covered by this lease, the lessee or project proponent shall contact the
   BLM to determine if a paleontological resource inventory is required. If an inventory is
   required, the lessee or project proponent will complete the inventory subject to the following:

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     •   The project proponent must engage the services of a qualified paleontologist, acceptable to
         the BLM, to conduct the inventory.
     •   The project proponent will, at a minimum, inventory a 10-acre area or larger to incorporate
         possible project relocation which may result from environmental or other resource
         considerations.
   A paleontological inventory may identify resources that may require mitigation to the
   satisfaction of the BLM as directed by WO IM 2009-011 including possible project relocation
   which may result from environmental or other resource considerations.

   2.4     Additional Considerations for Alternatives B-C
   For split estate portions of the lease area, the BLM provided courtesy notification to private
   landowners that their lands are considered in this NEPA analysis and would be considered for
   inclusion in an upcoming lease sale. If any activity were to occur on such split estate parcels, the
   lessee and/or operator would be responsible for adhering to BLM requirements as well as
   formulating and reaching an agreement with the private surface landowners regarding access,
   surface disturbance, and reclamation (Onshore Oil and Gas Order No. 1). Standard lease terms,
   stipulations, conditions, and operating procedures would apply to these parcels (43 CFR 3101
   and 3160 and 3162).

   Standard operating procedures, best management practices, conditions of approval (COA), and
   lease stipulations could change over time to meet overall RMP and BLM policy objectives. The
   COA’s would be attached to permits for oil and gas lease operations to address site-specific
   concerns or new information not previously identified in this environmental assessment process.
   In some cases new lease stipulations may need to be developed, and these types of changes may
   require an RMP amendment. For example, if climate change results in hotter and drier
   conditions, RMP objectives would be unreachable under current management. In this situation,
   management practices might need to be modified to continue meeting overall RMP management
   objectives. An example of a climate related modification is the imposition of additional
   conditions of approval to reduce surface disturbance and implement more aggressive dust
   treatment measures. Both actions reduce fugitive dust, which would otherwise be exacerbated
   by the increasingly arid conditions that could be associated with climate change.

   Oil and gas leases would be issued for a 10-year period and would continue for as long thereafter
   as oil or gas is produced in paying quantities. If a lessee fails to produce oil and gas, does not
   make annual rental payments, does not comply with the terms and conditions of the lease, or
   relinquishes the lease, ownership of the minerals leased would revert back to the federal
   government, and the lease could be resold.

   Well drilling on a lease would not be permitted until the lease owner or operator secures
   approval of a drilling permit and a surface use plan specified at 43 CFR 3162.




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   Drainage
   LN-A: Parts of this lease may potentially be subject to drainage by wells located on adjacent
   private lands. The lessee shall, within 6 months of the drilling and completion of any productive
   well on the adjacent private lands, submit for approval by the authorized officer:

    1. Plans for protecting the lease from drainage (43 CFR § 3162.2-3). The plan must include
       either (a) a completed Application for Permit to Drill for each of the necessary protective
       wells, or (b) a proposal for inclusion in a unitization or communitization agreement for the
       affected portion of the lease. Any agreement should provide for an appropriate share of the
       production from the offending well to be allocated to the lease; or
    2. Engineering, geologic and economic data to demonstrate to the authorized officer’s
       satisfaction that no drainage has occurred or is occurring and/or that a new protective well(s)
       would have little or no chance of production sufficient to yield a reasonable rate of return in
       excess of the costs of drilling, completing and operating the well.

   If no plan, agreement, or data is submitted and drainage is determined to be occurring,
   compensatory royalty will be assessed. Compensatory royalty will be assessed on the first day
   following expiration of the 6-month period, and shall continue until a protective well has been
   drilled and placed into production status, or until the offending well ceases production,
   whichever occurs first. The lessee shall be obligated to pay compensatory royalty to the Office
   of Natural Resources Revenue (ONRR) at a rate to be determined by the BLM authorized
   officer.

   Split Estate
   LN-B: Portions of the surface estate of this lease are privately owned (i.e. split estate lands).
   While the Federal mineral lessee has the right to enter the property for necessary purposes
   related to lease development, the lessee is responsible for making arrangements, formalized in a
   Surface Use Agreement, with the surface owner prior to entry upon the lands. Lessee is hereby
   informed that the United States will not participate as a third party in negotiations between the
   lessee and the surface owner. Any agreement reached between the lessee and the surface
   owner(s) will not be binding on the United States.

   Prior to submitting an Application for Permit to Drill (APD) for BLM’s approval, lessee is
   required to submit the name, address, and phone number of the surface owner, if known, in its
   APD. The lessee must also make a good faith effort to provide a copy of their Surface Use Plan
   of Operations to the surface owner. After the APD is approved, the operator must make a good
   faith effort to provide a copy of the Conditions of Approval to the surface owner.

   The lessee will be required to certify to the BLM in writing that: (1) It made a good faith effort to
   notify the surface owner before entry; and (2) That a Surface Use Agreement with the surface
   owner has been reached, or that a good faith effort to reach an agreement failed. If no agreement
   can be reached with the surface owner, the lessee must submit an adequate bond (minimum of
   $1,000) to the BLM, for the benefit of the surface owner, sufficient to pay for loss or damages.
   The surface owner has the right to appeal the sufficiency of the bond.


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   Once a parcel is leased, the lessee has the right to explore for and develop oil and gas resources,
   subject to standard lease terms and special stipulations pertaining to the conduct of operations.
   The conduct of operations by the lessee on all parcels would be subject to the following terms
   from the back of the standard lease form, which state:

   “Conduct of Operations (SF-3100-11, Section 6)
     Lessee shall conduct operations in a manner that minimizes adverse impacts to the land, air,
     and water, to cultural, biological and other resources, and to uses or users. Lessee shall take
     reasonable measures deemed necessary by the lessor to accomplish the intent of this section.
     To the extent consistent with lease rights granted, such measures may include, but not limited
     to, modification to siting or design of facilities, timing of operations, and specification of
     interim and final reclamation measures. Lessor reserves the right to continue existing uses
     and to authorize future uses upon or in leased lands, including the approval of easements or
     right-of-way. Such uses shall be conditioned so as to prevent unnecessary or unreasonable
     interference with rights of lessee.

      Prior to disturbing the surface of the leased lands, lessee shall contact lessor to be apprised of
      procedures to be followed and modifications or reclamation measures that may be necessary.
      Areas to be disturbed may require inventories or special studies to determine the extent of
      impacts to other resources. Lessee may be required to complete minor inventories or short­
      term special studies under guidelines provided by lessor. If in the conduct of operations,
      threatened or endangered species, objects of historic or scientific interest, or substantial
      unanticipated environmental effects are observed, lessee shall immediately contact lessor.
      Lessee shall cease any operations that would result in destruction of such species or objects.”

   3.0     Affected Environment and Environmental Consequences

   3.1     Introduction
   Direct and indirect impacts of the proposed actions will be discussed for BLM-administered and
   split estate lands. Cumulative impacts for other activities will be discussed for all ownerships in
   the cumulative impacts analysis area. Analyses will be based on the RFDS created for this
   document (Table 2, Section 3.1.2, and Appendix 1)

   Impact Descriptors
   Effects can be temporary (short-term) or long lasting/permanent (long-term). These terms may
   vary somewhat depending on the resource; therefore, each will be quantified by resource where
   applicable. Generally speaking:
     • Short-term: 0-3 years (effects are changes to the environment during and following
         ground-disturbing activities that revert to pre-disturbance conditions, or nearly so,
         immediately to within a few years following the disturbance).
     • Long-term: >3 years (effects are those that would remain beyond short-term ground
         disturbing activities).



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   The magnitude of potential effects is described as being major, moderate, minor, negligible, or
   no effect and is interpreted as follows:
     • Major effects have the potential to cause substantial change or stress to an environmental
         resource or resource use. Effects generally would be long-term and/or extend over a wide
         area.
     • Moderate effects are apparent and/or would be detectable by casual observers, ranging
         from insubstantial to substantial. Potential changes to or effects on the resource or resource
         use would generally be localized and short-term.
     • Minor effects could be slight but detectable and/or would result in small but measurable
         changes to an environmental resource or resource use.
     • Negligible effects have the potential to cause an indiscernible and insignificant change or
         stress to an environmental resource or use.
     • No effect = no discernible effect.

   3.1.1     General Discussion of Impacts
   The act of leasing parcels, itself, does not affect resources. If the proposed parcels are leased, it
   remains unknown whether development would actually occur, and if so, where specific wells
   would be drilled and where facilities would be placed. This would not be determined until the
   BLM receives an application for permit to drill (APD) in which detailed information about
   proposed wells and facilities would be provided for particular leases. Therefore, this EA
   discusses potential effects that could occur in the event of development. The amount of
   development is based on potential well densities and associated activities described in a
   Reasonably Foreseeable Development Scenario (RFDS) developed for the proposed lease area
   (Section 3.1.2). As per NEPA regulations at 40 CFR 1502.14(f), 40 CFR 1502.16(h), and 40
   CFR 1508.20, mitigation measures to reduce, avoid, or minimize potential impacts are identified
   by resource below.

   Upon receipt of an APD, the BLM would initiate a site-specific NEPA analysis to more fully
   analyze and disclose site-specific effects of specifically identified activities. In all potential
   exploration and development scenarios, the BLM would require the use of best management
   practices (BMP) documented in “Surface Operating Standards and Guidelines for Oil and Gas
   Exploration and Development” (USDI and USDA 2007), also known as the “Gold Book.” The
   BLM could also identify APD Conditions of Approval (COA), based on site-specific analysis
   that could include moving the well location, restrict timing of the project, or require other
   reasonable measures to minimize adverse impacts (43 CFR 3101.1-2 Surface use rights; Lease
   Form 3100-11, Section 6) to protect sensitive resources, and to ensure compliance with laws,
   regulations, and land use plans.

   3.1.2     Reasonably Foreseeable Development Scenario Summary and Assumptions
   If the proposed area is leased, the RFDS describes four phases of exploration and development
   that could occur: exploration, drilling, field development and production, and abandonment
   (Appendix 1). The RFDS and EA use the following assumptions.




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          1. One well would be drilled per government section of approximately 640 acres (based on
             State well spacing order).
          2. Federal lease wells would require an APD and subsequent site-specific NEPA analysis.
             Additional site-specific requirements, termed Conditions of Approval (COA), may be
             attached to the approved APD.
          3. The total surface disturbance, including well pad, pipeline, and road construction, is
             assumed to be approximately 5 acres per well. After the well is drilled, the pad size and
             road widths would be minimized and unneeded acreage would be reclaimed.
          4. The lessee would seek approval for a drilling permit from IDL for fee land wells.
          5. Wells would be drilled using conventional drilling techniques (i.e., vertical holes that
             would not require hydraulic fracturing - based on recent drilling in the adjacent Willow
             and Hamilton fields and on the geologic characteristics of the reservoir).
          6. Producing wells would be incorporated into the Willow Field unit development. Dry
             wells would be plugged and abandoned in accordance with State and federal
             requirements, and the site would be reclaimed.
          7. Oil and gas leases would be issued for an initial term of 10 years, subject to extension if
             there is drilling occurring or if there is a producing well on the lease.
          8. Where gas is present at more than one layer, dual completion would be identified,
             targeted, and permitted resulting in 1 well/640 acres.
   The level of drilling and associated activities would depend on available lease parcels and the
   effect of stipulations. Between 2 and 25 wells could be drilled in the proposed lease area
   resulting in 7 to 87.5 acres of surface disturbance (Table 2). The Lessee on adjacent State and
   private leases is currently bonded for 11-30 wells and they have drilled eight. A total of 17 wells
   have been permitted and drilled, three within the proposed lease area (Map 1). Within the
   boundaries of the Hamilton and Willow (exclusive of the proposed lease area) fields, up to 53
   new wells could be developed at 1 well/640 acres (Table 2).

   Table 2. Acres of surface disturbance for new wells and associated infrastructure, Little Willow Creek
   lease area (Alternatives A-C) and potential wells in the Hamilton and Willow fields, Payette County,
   Idaho.
         Activity                                          Alternative                       Field1
                                                    A           B           C         Hamilton      Willow
         New Wells (#)                              2          22           25          47            6
         Well Pad Disturbance (2.5 acres/pad)       5          55          62.5        117.5          15
         New Roads (0.25 miles/well)               0.5         5.5         6.25        11.75         1.5
         Road Disturbance (4 acres/mile)            2          22           25          47            6
         Total Surface Disturbance (acres)          7          77          87.5        164.5         21
   1   Based on 1 well/640 acres for sections that do not currently have a well.

   3.2       Soils
   3.2.1     Affected Environment - Soils
   Detailed soil surveys for Idaho have been published by the Natural Resources Conservation
   Service (NRCS). The proposed lease area is characterized by sloping lava plateaus with gently
   to moderately sloping alluvial fans (cone-shaped deposits of sediment crossed and built up by
   streams), terraces, and bottom lands. Soils in the lease area are mainly coarse sandy loams,

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   sandy loams, and silt loams (USDA NRCS 2014). Soil erosion susceptibility indices (K-factors)
   are categorized into the following ranges: low (K < 0.15), moderate (K = 0.16 - 0.40), and high
   (K > 0.41). Erosion potential of these soils ranges from moderate (coarse sandy loams) to high
   (silt loams). K-factors range from 0.20 to 0.64.

   The majority of soils are moderately susceptible to erosion (Table 3, Map 3). Approximately
   79% of soils (784 acres) are moderately susceptible and 21% (213 acres) are highly susceptible
   to erosion in the BLM/BLM category; 65% of soils (3,495 acres) are moderately susceptible and
   35% (1,899 acres) are highly susceptible in the Private/BLM category. In the Private/Private
   category 49% of soils are moderately susceptible to erosion and 51% are highly susceptible to
   erosion (Table 3).

   Table 3. Acres of Ownership Categories (Surface/Subsurface Management) in Each K-factor Range.
                                   Management or Ownership Surface/Subsurface)'
          K-factor Range                                                                   Total
                                   BLM/BLM       Private/BLM     Private/Private
      Moderate (K = 0.16­
      0.40)                            784 (79%)      3,495 (65%)      4,495 (49%)        8,774 (56%)
      High (K > 0.41)                  213 (21%)      1,899 (35%)      4,758 (51%)        6,870 (44%)
      Total Acres                            997            5,394             9,253            15,644
      K-factor < 0.32                  682 (68%)      3,031 (56%)      3,891 (42%)        7,604 (49%)
      K-factor > 0.32                  314 (32%)      2,364 (44%)      9,253 (58%)        8,040 (51%)
      Total Acres                            997            5,394             9,253            15,644
   ^BLM/BLM = BLM manages land surface and subsurface minerals; Private/BLM = BLM manages
   subsurface minerals (federal mineral estate); Private/Private = land surface and subsurface minerals
   privately owned.

   Alternative C stipulations (Section 2.3) specific to Fragile Soils provide a lease notice (LN-1)
   indicating mitigation would be required in certain situations. In particular, soils with K-factors
   greater than 0.32 on slopes greater than 30% would require mitigation to limit erosion.
   Approximately 51% of the proposed lease area contains soils with K-factors above this threshold
   (Table 3, Figure 1).

   3.2.2    Environmental Consequences - Soils
   Impacts to soils are based on the RFDS created for this document (Table 2, Appendix 1).

   3.2.2.1     General Discussion of Impacts
   Soils are investigated to determine erosion hazard and reclamation suitability by evaluating slope
   and soil properties such as texture, organic matter content, structure, permeability, depth,
   available water capacity, and salt concentration. Site specific mitigation would limit but not
   eliminate impacts to soils in the proposed lease area. The extent of impacts to soils would
   depend on the amount and type of disturbance associated with particular activity, as well as the
   erosion risk of a given area. As slopes become steeper, the risk of soil instability increases.
   Actions that alter soil characteristics such as plant cover and composition (amount and species),
   soil structure, permeability, and compaction may increase erosion potential.


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   Figure 1. Typical topography, slope, and soil conditions of BLM land in the proposed lease area.

   Direct impacts from exploration and development include mixing and breaking down soil
   components, compaction, and removal of soils in the short term (0-3 years) and long term (>3
   years). Compaction alters soil structure (e.g., reduced porosity, increased bulk density) and,
   therefore, its functionality (e.g., its ability to support healthy vegetation communities and to
   properly cycle water and nutrients) over the long term (USDA and USFS 2006). Indirect
   impacts to soils would include removal of ground cover (e.g., vegetation, microbiotic crusts, and
   litter) in the short term, thus exposing soil surface to wind and water erosion and colonization by
   weedy, invasive, disturbance related vegetation (e.g., cheatgrass) and or noxious weeds (e.g.,
   rush skeletonweed) over the long term. Reclamation would be required once wells and
   infrastructure are no longer in use; therefore, soil structure and function would improve from
   disturbance related levels over the long term.

   Oil and gas exploration and development could increase the potential for fire ignitions due to
   sparks from heavy equipment and/or vehicles, particularly when soils and vegetation are dry. If
   a fire burns hot enough, it may impact soil directly by altering its physical properties. Physical
   properties of soils that are dependent on organic matter (e.g., soil structure, pore space,
   aggregation) could be affected by heating during a fire (USFS RMRS 2014). Fire could also
   impact soil hydrology (i.e., infiltration) by increasing water repellency (USFS RMRS 2014).
   However, fires generally move quickly through shrub and grass communities like those in the
   proposed lease area. Therefore, it is more likely that soils would be indirectly impacted by the
   loss of vegetative cover leaving them exposed to erosion, as well as alterations in vegetation
   which, in turn, could alter soil chemistry and overall productivity over the long term.




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   3.2.2.2 Alternative A
   No BLM managed surface or subsurface/federal mineral estate parcels would be leased, so soils
   would not be directly impacted in these parcels. Oil and gas activities (wells, well pads, and road
   construction) on private surface/subsurface could disturb up to 7 acres of soils and remove up to
   7 acres of vegetation per the RFDS. Moderate to major, direct and indirect, adverse impacts to
   soils (compaction, soil loss, loss of structure and function, and colonization by weedy plants)
   would occur over the short and long term on the 7 acres (<0.1% of the proposed lease area).
   Soils in the high range for erosion susceptibility would incur greater impacts than soils in the
   moderate range if disturbed (Table 3). Risk of fire starts would be low because there would be
   little oil and gas development (two wells plus infrastructure); therefore, fire related soil impacts
   would be minor. Overall impacts to soils would be negligible due to the very small disturbance
   footprint possible under this scenario.

   3.2.2.3 Alternative B
   The BLM would issue leases on 997 BLM surface acres and 5,352 acres of federal mineral
   estate; however, the NSO and NSSO stipulations would preclude any direct disturbance to soils
   in these parcels until the FRMP is completed. Impacts to soils, including potential fire related
   impacts, would be identical to Alternative A (i.e., up to 7 acres of moderate to major disturbance)
   until implementation of the FRMP.

   The RFDS for this alternative indicates up to 22 wells and associated infrastructure would cause
   direct soil impacts on up to 77 acres (0.5% of the proposed lease area) including BLM surface
   and federal mineral estate, and private surface/subsurface lands. These soils could sustain
   moderate to major, adverse, direct impacts, such as compaction and removal, and indirect
   impacts, such as reduction in productivity, over the short and long term associated with well and
   well pad development and road building. Minor (e.g., limited vegetation disturbance and
   wildfires) to major (e.g., roads and activities increase disturbances and wildfires) indirect
   impacts could occur where vegetation shifts to exotic annual dominated communities (e.g.,
   associated with roads or wildfires) occur and soil protection is reduced or eliminated. These
   areas would be more susceptible wind and water erosion over the long term. However, the
   extent (magnitude and scale) of impacts would depend on land use designations and stipulations
   set forth in the FRMP.

   3.2.2.4 Alternative C
   Impacts would be similar to those described in Alternative B (Section 3.2.2.3); however, per the
   RFDS, direct impacts on up to 88 acres (0.6% of the proposed lease area) could occur on BLM
   surface, federal mineral estate, and private lands. Indirect impacts would be more likely to affect
   federal mineral estate lands in this scenario because of the increased amount of disturbance and
   closer proximity of disturbances. Direct and indirect impacts associated with well and road
   construction could be reduced where fragile soils are avoided (LN-1, Section 2.3).

   3.2.3     Mitigation
   Prior to authorization, proposed actions (APDs) would be evaluated on a case-by-case basis and
   would be subject to mitigation measures in order to maintain the soil system. Where residual

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   impacts are expected based on future site specific APD analyses, measures would be taken to
   reduce, avoid, or minimize potential impacts to soil resources from exploration and development
   activities. Examples of mitigation include avoiding excessively steep slopes and areas poorly
   suited to reclamation, limiting the total area of disturbance, rapid reclamation, erosion/sediment
   control, soil salvage, re-vegetation, weed control, slope stabilization, surface roughening, and
   protective fencing.

   3.2.4   Cumulative Impacts - Soils
   Cumulative impacts to soils are based on the RFDS created for this document (Appendix 1), the
   Willow Field RFDS, and the actions identified below.

   3.2.4.1    Scope of Analysis
   The cumulative impact analysis area (CIAA) includes the proposed lease area and the Willow
   Field southwest of the lease area plus a 0.5-mile buffer totaling approximately 32,460 acres (50
   square miles) (Map 3). The CIAA contains private, State, and BLM surface and federal mineral
   estate lands. This area was selected because the lands it encompasses have similar topographic,
   geologic, and soil attributes; soil condition (due to land use and wildfire) and susceptibility to
   erosion (K-factors) are also similar.

   3.2.4.2    Current Conditions, Effects of Past and Present Actions, and Reasonably
              Foreseeable Future Actions
   Soil conditions in the CIAA are nearly identical to those in the proposed leased area; the
   proposed lease area makes up the majority of the CIAA and the Willow Field has undergone
   similar disturbances. The levels and intensities of anthropogenic activities across all land
   jurisdictions in the CIAA has perpetuated increases of early successional, highly disturbed
   landscapes (Leu and Hanser 2011) that are at higher risk for cumulative soil impacts. Past,
   ongoing, and future land uses contributing to soil conditions include livestock grazing,
   agricultural development, rights-of-way, and oil and gas development. Wildfire, though not a
   land use, has also influenced soil conditions.

   Livestock Grazing - Both BLM and private lands within CIAA, the proposed lease area in
   particular, encompass portions of the Sand Hollow, Rock Quarry Gulch, Dahnke, Hashegan, and
   Kaufman grazing allotments. Livestock grazing can damage soils via compaction, disruption of
   the soil profile, and remove vegetative cover exposing soils to erosion, particularly where
   livestock tend to congregate. Historic and recent grazing management in these allotments have
   contributed to overall soil condition. Livestock grazing would continue at current levels into the
   foreseeable future.

   Agricultural Development - Conversion from shrub and grass communities to cultivated
   croplands on private land has altered soils on approximately 28% (8,962 acres) of the CIAA.
   Future agricultural development is unlikely (or would be negligible) because water necessary for
   crop production is limited.

   Rights-of-way (power lines, roads) - Three short power line segments totaling approximately one
   mile are present in the CIAA. Power lines typically have two-track roads associated with them

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   which disturb and impact soils. Approximately 9 miles of developed roads including the Little
   Willow Road (7.8 miles) and Big Willow Road (1.2 miles) run through the CIAA. These
   features combined have a disturbance footprint of approximately 40 acres; which, to a small
   degree, have contributed to present soil conditions across the CIAA. Future roads would be
   constructed in association with development of wells, well pads, and other infrastructure or
   facilities necessary to maintain oil and gas production. Road construction and maintenance
   would continue to affect soil erosion and displacement within maintained buffers. These effects
   are spatially restricted and occur over a continuous temporal scale.

   Oil and Gas Development - Currently there are 11 wells and 1 well surface site in the CIAA. An
   estimated 30-41 acres (depending on infrastructure) of soils have been disturbed in the CIAA to
   date due to oil and gas exploration and development. An additional 6 wells could be drilled in
   the Willow Field portion of the CIAA in the future disturbing 21 acres of soils.

   Wildfire - Approximately 16,655 acres (51 %) of the CIAA has burned at least one time.
   Multiple fires have burned within the CIAA, mainly in the 1980s, with some overlap. These
   fires have perpetuated increases of disturbance related plants, which are indicative of decreased
   soil productivity.

   3.2.4.3 Alternative A - Cumulative Impacts
   Disturbance from two wells and related infrastructure (7-acre footprint) would produce
   negligible short and long term impacts to soils when combined with ongoing and future land uses
   and disturbance. An additional 6 wells in the Willow Field portion of the CIAA would disturb
   soils on approximately 21 acres (<0.1% of the CIAA). Livestock grazing, rights-of-way
   construction and maintenance, and Willow Field oil and gas development combined would
   produce overall minor to moderate soil impacts over the short and long term. No or negligible
   additional impacts would occur from development of agriculture due limited water availability
   necessary for these actions. Wildfires could produce minor to major direct and indirect impacts
   to soils depending on their size and frequency.

   3.2.4.4 Alternatives B and C- Cumulative Impacts
   Development of 22 to 25 wells (77-87.5-acre footprint) and related infrastructure would produce
   minor short and long term impacts to soils in the CIAA when combined with ongoing and future
   land uses and disturbance. Cumulative impacts to soils from ongoing and future actions
   including livestock grazing, agricultural development, roads and ROWs, oil and gas
   development, and wildfire would be identical to those described for Alternative A.

   3.3     Vegetation
   3.3.1     Affected Environment - Vegetation
   General Vegetation
   Two ecological sites comprise the majority of the proposed lease area. South Slope Granitic 8­
   12 is associated with coarse sandy loams and is the primary ecological site occurring on steeper
   slopes and upper portions of gentle slopes. Loamy 8-12 is associated with sandy loams and silt
   loams which are present in the bottoms, on toe slopes, and lower portions of steeper slopes.

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   Basin big sagebrush and bluebunch wheatgrass vegetation communities are characteristic of
   South Slope Granitic 8-12 sites, and Wyoming big sagebrush and bluebunch wheatgrass with
   Thurber’s needlegrass are characteristic of Loamy 8-12 sites. However, based on 2014 site
   visits, current plant communities on BLM-administered lands are largely dominated by
   cheatgrass, an invasive annual grass, and introduced annual forbs (e.g., tall tumblemustard,
   tansymustard, and clasping pepperweed); which is a result of frequent wildfires in the 1980s and
   recurring spring livestock grazing (Map 4). Between 1980 and 1986, approximately 49% of the
   area burned once, 15% burned twice, and 3% burned three times. Perennial plant species
   occasionally present include Sandberg bluegrass, crested wheatgrass, rabbitbrush, and small
   pockets of remnant bitterbrush, stiff sagebrush, and Wyoming big sagebrush. In general, north­
   facing slopes are wetter and contain slightly more perennial vegetation than south-facing, drier
   slopes; therefore, northerly slopes tend to be more resistant to disturbance and support more
   resilient plant communities.

   General vegetation cover types mapped for the proposed lease area are consistent with
   observations made during site visits (
   Table 4). Exotic Annuals (i.e., cheatgrass and introduced annual mustards) is the dominant cover
   type for all ownership configurations (Figure 2). Big Sagebrush (mainly Wyoming big
   sagebrush and/or basin big sagebrush with cheatgrass and Sandberg bluegrass) is the second
   most common cover type followed by Bunchgrass (mainly Sandberg bluegrass with cheatgrass
   and occasionally shrubs) and Stiff Sagebrush (mainly stiff sagebrush with cheatgrass, Sandberg
   bluegrass, and introduced forbs) on BLM/BLM and Private/BLM. On Private/Private,
   agriculture is the second most common cover type followed by Big Sagebrush. All remaining
   cover types comprise 4% each or less for all ownership configurations.

   Table 4. Acres of general vegetation cover types' and percent composition by mineral ownership, Little
   Willow Creek proposed lease area, Payette County, Idaho.
                                           .Z-X  1 • zn  n   mi     n   \2
       General Cover                       Ownership (Surface/Subsurface)
                                                                                             Total Acres
           Type                 BLM/BLM               Private/BLM        Private/Private
    Agriculture                       3.3 (<1%)            145.6 (3%)        3,004.6 (33%)   3,153.5 (20%)
    Big Sagebrush3                  258.4 (26%)          1,216.3 (23%)       1,478.6 (16%)   2,953.3 (19%)
    Bitterbrush                       6.6 (<1%)            15.6 (<1%)          15.8 (<1%)       38.0 (<1%)
    Bunchgrass                      112.5 (11%)            434.2 (8%)          336.2 (4%)       883.0 (6%)
    Exotic Annuals                  460.4 (46%)         3,125.0 (59%)        3,756.8 (41%)   7,342.2 (47%)
    Greasewood                         29.8 (3%)            63.1 (1%)            95.6 (1%)      188.5 (1%)
    Salt Desert Shrub                  28.2 (3%)           155.3 (3%)           112.9 (1%)      296.4 (2%)
    Stiff Sagebrush                    91.4 (9%)           162.0 (3%)          346.5 (4%)       599.9 (4%)
    Wet Meadow                         1.1 (<1%)            3.5 (<1%)          29.0 (<1%)       34.0 (<1%)
    Other4                            3.1 (<1%)            13.9 (<1%)          30.1 (<1%)       47.1 (<1%)
    Total Acres3                             995                5,335                9,206          15,536
   ' Pacific Northwest National Laboratory vegetation mapping data (2002).




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   2 BLM/BLM = BLM manages land surface and subsurface minerals; Private/BLM = BLM manages
   subsurface minerals (federal mineral estate); Private/Private = land surface and subsurface minerals
   privately owned.
   3 Big Sagebrush Mix and Big Sagebrush were combined because the two have nearly identical

   components.
   4 Other includes Mountain Big Sagebrush, Mountain Shrubs, Rabbitbrush, Sparse Vegetation, Urban, and

   Water; which were combined because they represent a small portion (<15 acres in each ownership
   category) of the proposed lease area.
   5 Total acres are slightly less than 15,644 due to GIS processing of PNNL data set (raster data vs. vector

   data).




       Figure 2. Typical vegetation on BLM surface and mineral estate land in the proposed lease area. Note
       tall tumble mustard, cheatgrass, and Sandberg bluegrass in the foreground and a patch of green
       rabbitbrush in the background.

   Riparian Vegetation
   There are 39 acres (<1% of the total lease acres) in the Wet Meadow cover type, which is
   indicative of riparian vegetation (e.g., cottonwoods, willows, rushes, and sedges) (
   Table 4). The vast majority of the Wet Meadow cover type (35 acres) is on private lands with
   private subsurface; only 1.1 acres are on BLM surface managed lands (BLM/BLM) and 3.5 acres
   are on federal mineral estate (Private/BLM). These areas are mainly associated with Little
   Willow Creek and the McIntyre Canal and are primarily on private land with private subsurface
   (Map 5). Additionally, National Wetland Inventory mapping shows approximately 56 acres
   (which overlap the Wet Meadow cover type to a small degree) of water features (e.g., emergent
   wetlands, ponds, seeps, and reservoirs) (Map 6). These features are typically used as livestock
   water sources and are generally sparsely vegetated as a result.

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   Special Status Plants (SSP)
   Two sensitive plant species are mapped in the proposed lease area, an element occurrence (EO)
   of Snake River goldenweed (BLM Type 3 SSP) and an historical EO of calcareous buckwheat
   (BLM Type 3 SSP). Three additional EOs of Snake River goldenweed and one EO of Aase’s
   onion (BLM Type 2 SSP) are present within 1 mile of the proposed lease area (Map 5). The
   calcareous buckwheat was last observed in 1933 and may no longer exist; further, the mapping
   precision for this EO is very low (G precision)^, so it is possible that the EO is actually outside
   the proposed lease area.

   Three of the Snake River goldenweed EOs (which includes the EO in the proposed lease area)
   were not given condition ranks. However, EO records from 2000 indicated that these EOs
   occurred in dry grasslands-annual grasslands with some perennial species-within weedy
   rangeland with occasional fire disturbance. Based on the degradation of the vegetation
   communities across the proposed lease area, and that these EOs are largely mapped in the annual
   grass cover type, population viability is likely poor. The fourth EO was given a condition rank
   of D signifying poor estimated viability; the 2006 EO report indicated that the area had burned
   multiple times and was dominated by annual weeds with few remaining shrubs, and population
   numbers were drastically lower than previous years. The Aase’s onion EO was ranked B for
   condition in 1995 indicating good estimated viability; however, the EO report states the area had
   burned, shrubs had not re-established, and cheatgrass was common.

   Noxious Weeds
   ‘Noxious’ is a legal designation given by the Director of the Idaho State Department of
   Agriculture to any plant having the potential to cause injury to public health, crops, livestock,
   land or other property (Idaho Statute 22-2402). The Boise District BLM has an active weed
   control program that annually updates the locations of noxious weeds and treats known weed
   infestations utilizing chemical, mechanical, and biological control techniques. Infestations of
   noxious weeds are treated contingent upon the BLM annual weed budget, employee availability,
   and noxious weed priority.

   There are no noxious weeds mapped in the proposed lease area according to BLM Boise District
   noxious weeds database. However, numerous infestations of rush skeletonweed and Scotch
   thistle have been recorded in the vicinity (within three to five miles). Many of these infestations
   have been chemically treated at least once since 2001. Although no noxious species have been
   recorded within the proposed lease area boundary, it is likely that they do occur to some degree
   based on the degraded state of vegetation communities.

   3.3.2    Environmental Consequences - Vegetation
   Impacts to vegetation are based on the RFDS created for this document (Table 2, Appendix 1).

   C G is the lowest precision and is typically applied by the Idaho Fish and Game’s Idaho Natural Heritage

   program to historic observations and or observations lacking GPS data. A large buffer is created around a
   centroid, indicating that the location of the EO likely occurs/occurred somewhere within the polygon, but
   confidence is low as to its precise location. This EO is not depicted on the map provided because the
   location polygon is so large (77miles-).

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   3.3.2.1    General Discussion of Impacts
   Site specific mitigation and stipulations would limit impacts to sensitive vegetation (SSPs) and
   sensitive areas (riparian areas). The level of impacts to vegetation would depend on the amount
   and type of disturbance associated with a given activity.

   General Vegetation
   Lease development would directly impact vegetation by removing, damaging (i.e., breakage,
   trampling), or burying plants. When vegetation is removed and soil is exposed, noxious and
   invasive species may spread degrading overall condition of plant communities. The influx of
   machinery and vehicle travel associated with development, production, and improved access
   would increase the risk of fire starts, especially once vegetation has cured (late summer). Fire
   would damage or remove vegetation and potentially further degrade vegetation community
   structure and function. Burned areas would be more susceptible to noxious and invasive species
   colonization/spread and overall habitat degradation. Roads and degraded habitats would increase
   fragmentation by reducing the size of and increasing the distance between native vegetation
   stands.

   Surface disturbing activities could also indirectly affect vegetation by disrupting seed banks and
   mixing, eroding, or compacting soils. Soil erosion would reduce the substrate available for
   plants and soil compaction could limit seed germination. Fugitive dust generated by construction
   activities and travel along dirt roads could affect nearby plants by depressing photosynthesis,
   disrupting pollination, and reducing reproductive success. Impacts to plants occurring after
   germination but prior to seed set could be particularly harmful as both current and future
   generations would be affected.

   Riparian Vegetation
   Direct and indirect impacts to riparian vegetation by surface disturbing activities would be the
   same as those described for general vegetation. However, mitigation and stipulations would
   likely prevent direct impacts to riparian vegetation, except on private lands with private mineral
   estate.

   Special Status Plants
   Direct impacts by surface disturbing activities would be the same as those described for general
   vegetation; however, mitigation and stipulations could prevent direct impacts. Networks of oil
   and gas infrastructure, roads in particular, could create pollinator and seed dispersal barriers.
   Vegetation removal and displacement by invasive and/or noxious species would also cause
   indirect impacts to sensitive plants via habitat degradation. Habitat fragmentation could also
   lead to a decrease in pollinators over time. All of these factors could decrease long-term EO
   viability.

   Noxious Weeds
   Both rush skeletonweed and Scotch thistle are capable of invading and dominating disturbed
   areas (roadsides, areas burned by wildfire, etc.) over a wide range of precipitation regimes and
   habitats (Sheley and Petroff 1999). Road building and use would create corridors and seed


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   sources for noxious weed establishment and spread. Noxious weed inventories and treatments
   could offset some impacts.

   3.3.2.2 Alternative A
   General Vegetation
   Development and production on private surface with private subsurface could disturb up to 7
   acres (<0.1% of the proposed lease area) of vegetation. Moderate to major, direct (i.e., removal,
   breakage, and burying of vegetation) and indirect (e.g., influx of noxious and invasive species,
   disruption of seed bank, and plant community degradation) impacts would occur over the short
   (0-3 years) and long (>3 years) term in the isolated areas associated with wells and roads. The
   federal mineral estate (6,349 acres) would not be leased, so vegetation would not be directly
   affected in these parcels.

   Vegetation in the unleased area could receive similar negligible to minor indirect impacts where
   invasive annuals, noxious weeds, or fires spread from developed areas. The degree of indirect
   impacts would depend on the condition and components of plant communities prior to
   disturbance. Those plant communities maintaining shrubs and native perennial grasses could
   better resist invasive and noxious weed invasions; however, they would be less resistant if
   affected by fire. New and upgraded roads would cause minor increased fragmentation.

   The threat of fire ignitions could increase a minor amount by equipment use and vehicles
   travelling on existing and new (0.5 miles) access roads. The extent of impacts to vegetation
   across all jurisdictions would be influenced by fire size and behavior, as well as the pre-fire
   vegetation community conditions.

   Riparian Vegetation
   There would be no impacts to riparian vegetation or habitat on BLM-administered land or federal
   mineral estate. The extent of short- and long- term direct impacts (i.e., removal or damage) and
   long-term indirect impacts (i.e., habitat degradation) to riparian vegetation on private mineral
   estate would depend on the proximity of the disturbance. Any impacts would likely come from
   access roads associated with wells/well pads.

   Special Status Plants
   The Snake River goldenweed EO, or other currently mapped special status plant EOs, would not
   be directly impacted (i.e., removed or damaged). Long-term indirect impacts, such as habitat
   degradation or fragmentation, would be negligible because overall habitat condition is already
   relatively poor and the 0.5 mile of new access roads would be >2.5 miles away.

   Noxious Weeds
   The 0.5 miles of new roads could serve as minor noxious and invasive species corridors over the
   long term.

   3.3.2.3     Alternative B



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   General Vegetation
   The NSO and NSSO stipulations would apply until the FRMP is finalized and implemented;
   therefore, until that time, direct impacts to vegetation would be similar to those described for
   Alternative A (Section 3.3.2.2).

   The RFDS for this alternative specifies up to 77 acres (0.5% of the proposed lease area) of
   vegetation on private surface and subsurface would sustain moderate to major, adverse, direct
   impacts (i.e., removal, breakage, and burying of vegetation). Minor to major indirect impacts
   (e.g., influx of noxious and invasive species, disruption of seed bank, and plant community
   degradation) could occur over the long term. Because wells and roads would occur throughout
   the proposed lease area, both private and federal mineral estate lands could be adversely affected.
   Moderate increases in habitat fragmentation could occur, especially where invasive species
   increase adjacent to roads. Minor (access restricted by private landowners and fire starts remain
   similar to current levels) to major (access not restricted and fire starts increase substantially)
   wildfire impacts could degrade vegetation conditions increasing fragmentation over the long
   term. However, the extent (magnitude and scale) of impacts to vegetation would depend on land
   use designations and stipulations set forth in the FRMP.

   Riparian Vegetation
   Direct impacts (i.e., removal or damage) to riparian areas would not occur on federal mineral
   estate lands. Long-term indirect impacts on BLM surface and federal mineral estate riparian
   vegetation would be similar to Alternative A (Section 3.3.2.2) and depend on the proximity of
   the disturbance. The extent of indirect impacts could be greater than Alternative A because more
   development would require more access roads (0.5 versus 5.5 miles of new access roads).

   Special Status Plants
   No direct impacts to the Snake River goldenweed EO or other currently mapped special status
   plant EOs would occur. Long-term indirect impacts to SSPs on BLM surface and federal
   mineral estate could be minor to moderate, but would depend on the proximity of the
   disturbance. However, the degree of these impacts could be greater than Alternative A because
   development could occur within 0.2 miles of the EO. Increased fragmentation and wildfire
   potential would adversely affect the EO over the long term.

   Noxious Weeds
   The 5.5 miles of new roads (and upgrades of existing roads) accessing 22 wells would serve as
   minor to moderate noxious and invasive species corridors over the long term.

   3.3.2.4 Alternative C
   General Vegetation
   The same area would be leased as Alternative B, but Cascade RMP stipulations and other lease
   notices for development would apply specific to riparian areas and SSPs. According to the
   RFDS, up to 87.5 acres (0.6% of the proposed lease area) would sustain moderate to major,
   adverse, direct impacts (i.e., removal, breakage, and burying of vegetation). Vegetation
   community degradation, increased invasive species, seed bank disruption, and wildfire impacts
   would be similar to those described in Alternative B (Section 3.3.2.3); however, federal mineral

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   reserve lands (with minor exceptions associated with avoidance buffers) would be more likely to
   be affected because direct disturbances would occur on rather than adjacent to these lands.

   Riparian Vegetation
   Negligible indirect impacts could occur over the short and long term. Stipulations CSU-1 and
   CSU-2 (Section 2.3) would preclude direct impacts and limit indirect impacts.

   Special Status Plants
   Impacts (habitat degradation and fragmentation) would be similar to those described for
   Alternative B (Section 3.3.2.3); however, development could occur closer to EOs producing
   greater indirect impacts.

   Noxious Weeds
   The 6.25 miles of new access roads associated with 25 wells would increase the threat of noxious
   and invasive species spread slightly more than Alternative B (Section 3.3.2.3), but would remain
   in the minor to moderate range, overall. There are no stipulations or mitigation specific to
   noxious weeds under this scenario, but the Boise District BLM’s annual weed control program
   could help mitigate noxious weed expansion.

   3.3.3     Mitigation
   Site specific mitigation would be addressed at the APD stage of exploration and development. If
   necessary, COAs could be applied including re-vegetation strategies using native and/or
   desirable non-native plant species, soil enhancement practices, modification of livestock grazing,
   and fencing of reclaimed areas. Noxious weed inventories and treatments may also be required.

   Special Status Plants
   Section 7 of the Endangered Species Act (ESA) requires BLM land managers to ensure that any
   action authorized, funded, or carried out by the BLM is not likely to jeopardize the continued
   existence of any threatened or endangered species and that it avoids any appreciable reduction in
   the likelihood of recovery of affected species. Consultation with the U. S. Fish and Wildlife
   Service (FWS) is required on any action proposed by the BLM or another federal agency that
   affects a listed species or that jeopardizes or modifies critical habitat.

   The BLM’s Special Status Species Policy outlined in BLM Manual 6840, Special Status Species
   Management, is to conserve listed species and the ecosystems on which they depend and to
   ensure that actions authorized or carried out by BLM are consistent with the conservation needs
   of special status species and do not contribute to the need to list any of these species. The
   BLM’s policy is intended to ensure the survival of those plants that are rare or uncommon, either
   because they are restricted to specific uncommon habitat or because they may be in jeopardy due
   to human or other actions. The policy for federal candidate species and BLM sensitive species is
   to ensure that no action that requires federal approval should contribute to the need to list a
   species as threatened or endangered.

   Prior to any exploration or development, the BLM would conduct site specific rare and sensitive
   plant surveys. If rare (threatened, endangered, proposed, or candidate species) or sensitive plants

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   (SSPs) are found, avoidance stipulations (e.g., disturbance buffers) would be applied. If listed
   species are found, BLM would consult with the USFWS during the analysis phase of processing
   an ADP.

   3.3.4     Cumulative Impacts - Vegetation
   Cumulative impacts to vegetation are based on the RFDS created for this document (Appendix
   1), the Willow Field RFDS, and the actions described below.

   3.3.4.1   Scope of Analysis
   The CIAA for vegetation, consistent with the soils CIAA, encompasses the proposed lease area
   and the Willow field totaling plus a 0.5-mile buffer totaling approximately 32,460 acres (50
   miles^) (Map 4). This area was selected because it contains similar ecological sites and plant
   community components, conditions are similar, and oils and gas leasing and development is
   occurring (land uses are comparable).

   3.3.4.2    Current Conditions, Effects of Past and Present Actions, and Reasonably
              Foreseeable Future Actions
   Conditions across the CIAA are similar to conditions in the proposed lease sale perimeter:
   vegetation communities have been degraded and are largely dominated by non-native, weedy,
   annual species with small patches of remnant native shrubs and perennial grasses. There are no
   additional special status plants or noxious weeds mapped within the CIAA. Past, ongoing, and
   future land uses contributing to condition of vegetation include livestock grazing, agricultural
   development, rights-of-way, and oil and gas development. Wildfire has also been instrumental
   in shaping the vegetation community components and overall condition.

   Livestock Grazing - Both BLM and private lands within CIAA, the proposed lease area in
   particular, encompass portions of the Sand Hollow, Rock Quarry Gulch, Dahnke, Hashegan, and
   Kaufman grazing allotments. Livestock grazing can damage and remove vegetation, especially
   where livestock tend to congregate. Historic and recent grazing management in these allotments
   have contributed to overall plant community condition. Livestock grazing would continue at
   current levels into the foreseeable future.

   Agricultural Development - Conversion from shrub and grass communities to cultivated
   croplands on private land has occurred on approximately 28% (8,962 acres) of the CIAA. Future
   agricultural development is unlikely (or would be negligible) because water necessary for crop
   production is limited.

   Roads and Rights-of-way (ROW) - Road or ROW (powerlines and pipelines) construction and
   subsequent ongoing maintenance (e.g., blading, grading, and/or spraying) along these features
   will continue to affect vegetation within and adjacent to maintained buffers. Blading and
   grading disturb soils and vegetation and often create conditions conducive to noxious and
   invasive species establishment. Spraying of these sites helps to keep weeds and weedy species
   relatively restricted to the maintained buffers or to a minimum (e.g., around powerline poles,
   which are kept relatively free of vegetation to prevent fire). As a result, upland vegetation is
   often sparse in these locations. Road construction and maintenance would continue to impact

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   vegetation within maintained buffers. These effects are generally spatially restricted and occur
   over a continuous temporal scale.

   Three short power line segments totaling approximately one mile are present in the CIAA.
   Power lines typically have two-track roads associated with them which disturb and impact
   vegetation. Approximately 9 miles of developed roads including the Little Willow Road (7.8
   miles) and Big Willow Road (1.2 miles) run through the CIAA. Combined, these features have a
   disturbance footprint of approximately 40 acres; which has contributed to present plant
   community conditions. Additional roads are anticipated to access wells, well pads, and other
   infrastructure or facilities necessary to maintain oil and gas production.

   Oil and Gas Development - Currently there are 11 wells and 1 well surface site in the CIAA.
   Vegetation on approximately 30-41 acres (depending on infrastructure) has been removed or
   disturbed to date due to oil and gas exploration and development. An additional 6 wells could be
   drilled in the Willow Field portion of the CIAA which would disturb approximately 21 acres of
   vegetation.

   Wildfire - Several fires have burned across the CIAA, mainly in the 1980s. Approximately 51 %
   (16,655 acres) of the CIAA has burned at least one time. These fires have perpetuated increases
   of disturbance related plants, degrading overall vegetation community conditions. Disturbance
   related vegetation often equates to fine fuels which burn readily creating a negative feedback
   loop.

   3.3.4.3 Alternative A - Cumulative Impacts
   Disturbance from two wells and related infrastructure would produce negligible additive short-
   and long-term impacts to vegetation. In the Willow Field portion of the CIAA, an additional 6
   wells would disturb vegetation on approximately 21 acres (<0.1% of the CIAA) combined with
   the 30-41 acres of existing disturbance would produce minor impacts over the short and long
   term. Ongoing livestock use in areas grazed each spring (before seed set) could perpetuate
   disturbance related plants. Sensitive plants could also be impacted directly via trampling by
   livestock. Rights-of-way construction and maintenance would produce overall minor impacts to
   vegetation including habitat degradation and fragmentation over the short and long term.
   Wildfires could produce minor to major direct and indirect impacts to vegetation depending on
   fire size and frequency. Further agricultural development is improbable, so no additional
   impacts to vegetation would take place.

   3.3.4.4 Alternatives B and C - Cumulative Impacts
   Development of 22 to 25 wells and related infrastructure totaling 77 to 87.5 acres of disturbance
   would produce minor short and long term additive impacts to vegetation in the CIAA.
   Cumulative impacts to vegetation from ongoing and future actions identified in section 3.3.3.2
   (livestock grazing, agricultural development, roads and ROWs, oil and gas development, and
   wildfires) would be identical to those described for Alternative A.




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   3.4     Air Resources
   Air resources include air quality, air quality related values (AQRVs), and climate change. As
   part of the planning and decision making process, the BLM considers and analyzes the potential
   effects of BLM and BLM-authorized activities on pollutant emissions and on air resources.

   The Environmental Protection Agency (EPA) has the primary responsibility for regulating air
   quality, including seven criteria air pollutants subject to National Ambient Air Quality Standards
   (NAAQS). Pollutants regulated under NAAQS include carbon monoxide (CO), lead, nitrogen
   dioxide (NO2), ozone, particulate matter with a diameter less than or equal to 10 microns
   (PM10), particulate matter with a diameter less than or equal to 2.5 microns (PM2.5), and sulfur
   dioxide (SO2). Two additional pollutants, nitrogen oxides (NOx) and volatile organic
   compounds (VOCs) are regulated because they form ozone in the atmosphere. Air quality
   regulation is also delegated to the IDEQ. Air quality is determined by pollutant emissions and
   emission characteristics, atmospheric chemistry, dispersion meteorology, and terrain. The
   AQRVs include effects on soil and water such as sulfur and nitrogen deposition and lake
   acidification, and aesthetic effects such as visibility.

   Climate is the composite of generally prevailing weather conditions of a particular region
   throughout the year, averaged over a series of years. Climate change includes both historic and
   predicted climate shifts that are beyond normal weather variations.

   3.4.1      Affected Environment - Air Resources
   Air Quality
   Based on data from monitors located in Baker County Oregon (west and generally upwind of the
   lease area) and Ada and Canyon counties (southeast and generally downwind of the lease area),
   air quality in Payette County is believed to be much better than required by the NAAQS. The
   EPA air quality index (AQI) is an index used for reporting daily air quality
   (http://www.epa.gov/airdata/) to the public. The index tells how clean or polluted an area’s air is
   and whether associated health effects might be a concern. The EPA calculates the AQI for five
   criteria air pollutants regulated by the Clean Air Act (CAA): ground-level ozone, particulate
   matter, carbon monoxide, sulfur dioxide, and nitrogen dioxide. For each of these pollutants,
   EPA has established NAAQS to protect public health. An AQI value of 100 generally
   corresponds to the primary NAAQS for the pollutant. The following terms help interpret the
   AQI information:

     •   Good - The AQI value is between 0 and 50. Air quality is considered satisfactory and air
         pollution poses little or no risk.
     •   Moderate - The AQI is between 51 and 100. Air quality is acceptable; however, for some
         pollutants there may be a moderate health concern for a very small number of people. For
         example, people who are unusually sensitive to ozone may experience respiratory
         symptoms.
     •   Unhealthy for Sensitive Groups - When AQI values are between 101 and 150, members
         of “sensitive groups” may experience health effects. These groups are likely to be affected
         at lower levels than the general public. For example, people with lung disease are at
         greater risk from exposure to ozone, while people with either lung disease or heart disease

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           are at greater risk from exposure to particle pollution. The general public is not likely to be
           affected when the AQI is in this range.
     •     Unhealthy - The AQI is between 151 and 200. Everyone may begin to experience some
           adverse health effects, and members of the sensitive groups may experience more serious
           effects.
     •     Very Unhealthy - The AQI is between 201 and 300. This index level would trigger a
           health alert signifying that everyone may experience more serious health effects.

   AQI data show that there is little risk to the general public from air quality in the analysis area
   (Table 5). Based on available aggregate data for Baker, Ada, and Canyon counties (the nearest
   counties with monitoring data) for years 2011-2013, more than 84% of the days were rated
   “good” and the three-year median daily AQI was 19 to 32. Moderate or lower air quality days
   were typically associated with winter inversions or summer wildfire activity.

   Table 5. Air Quality Index Report - Analysis Area Summary (2011-2013), Baker County Oregon and
   Ada Canyon Counties Idaho.
                                                                                      # Days                     # Days
                                                         Percent of
                        # Days                # Days                   # Days          Rated        # Days       Rated
                                    Median                 Days
         County1          in                   rated                   Rated        Unhealthy       Rated         Very
                                     AQI                   Rated
                        Period                 Good                   Moderate     for Sensitive   Unhealthy    Unhealthy
                                                           Good
                                                                                      Groups
        Baker      1,084              28       915          84           167             2             0            0
         Ada       1,088              32       917          84           157            11             2            1
       Canyon      1,019              19       925          91           87              4             3            0
   Source: EPA 2013 a.

   Emissions in Payette County are low, due to a small populations and little industrial activity.
   Based on 2011 emission inventory data available from the EPA National Emission Inventory,
   oxides of nitrogen, carbon monoxide, <10 micron particulate matter (PM10), volatile organic
   compounds, and carbon dioxide were the most common non-biogenic emissions in Payette
   County (EPA 2014a). As described above, these emissions occur in an area with good air
   quality.

   Table 6. Annual emissions (tons/year) of typical pollutants, typical annual emissions for a well (Upper
   Green River, Wyoming), and emissions for the reasonably foreseeable development scenario wells
   (Payette County) and cumulative impacts analysis area (Baker, Ada, Canyon, and Payette counties), Idaho
   and Oregon.______ ____________________________________________________________________
                                           Cumulative                 Alternative (%increase over Payette
                                                                                                                 Hamilton
                             Payette        Impacts        Per                  County values)
   Pollutant                                                                                                    and Willow
                             County         Analysis       Well1
                                                                         A              B             C           Fields(2)
                                             Area
   NOx (Oxides of                                                                         321.2           365
                                 1,445.4     24,851.4        14.6     29.2 (2%)                                  774 (3.1%)
   Nitrogen)                                                                           (22.2%)       (25.3%)
   CO (Carbon                                                                              85.8          97.5
                                 6,308.3     149,894.3        3.9     7.8 (0.1%)                                 207 (0.1%)
   Monoxide)                                                                            (1.4%)        (1.6%)
                                                                         0.0008         0.0088           0.01          0.02
   SO: (Sulfur Dioxide)             39.1       2,800.2     0.0004
                                                                       (<0.01%)        (0.02%)       (0.03%)      (0.001%)
   PM10 (Particulates            6,195.6      61,101.9        6.7           13.4          147.4         167.5         355.1

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                                     Cumulative                 Alternative (%increase over Payette
                                                                                                           Hamilton
                          Payette     Impacts         Per                 County values)
   Pollutant                                                                                              and Willow
                          County      Analysis        Well1
                                                                   A              B             C           Fields(2)
                                       Area
   with diameters <10                                              (0.2%)        (2.4%)        (2.7%)          (0.7%)
   microns or <10 x 10­
   6 meters)

   PM2.5 (Particulates
   with diameters < 2.5                                                             17.6          20.0
                             828.4      12,815.4          0.8   1.6 (0.2%)                                42.4 (0.3%)
   microns or <2.5 x                                                             (2.1%)        (2.4%)
   10-6 meters)
   VOCs (Volatile
                                                                      10.4         114.4         130.0          275.6
   Organic                 1,123.1      28,539.1          5.2
                                                                   (0.9%)       (10.2%)       (11.6%)          (1.0%)
   Compounds)
   HAPs (Hazardous
   Air Pollutants)
                                                                                      2.6           3.0
       Benzene                18.2         583.2         0.12   0.2 (1.3%)                                 6.4 (1.2%)
                                                                                 (14.5%)       (16.5%)
       Toulene                67.4        1,509.5        0.22   0.4 (0.7%)    4.8 (7.2%)    5.5 (8.2%)    11.7 (0.8%)
                                                                   0.00006        0.0007        0.0008          0.002
       Ethylbenezene           9.7         190.3      0.00003
                                                                 (<0.01%)        (0.01%)       (0.01%)      (0.001%)
                                                                                                    4.3
       Xylene                   39         801.5         0.17   0.3 (0.9%)    3.7 (9.5%)                   9.0 (1.1%)
                                                                                               (10.9%)
                                                                                     4.4            5.0
       n-Hexane                 23         615.1         0.20   0.4 (1.7%)                                10.6 (1.7%)
                                                                                (19.1%)        (21.7%)
                                                                                    15.8           18.0
   Total HAPs                157.3       3,654.6         0.72   1.4 (0.9%)                                38.2 (1.0%)
                                                                                (10.2%)        (11.4%)
   GHGs (Greenhouse
   Gases)
    CO2 (Carbon                                                    5,164.2      56,806.2      64,552.5      136,851.3
                          240,158      4,029,296      2,582.1
   Dioxide)                                                         (2.2%)       (23.7%)       (26.9%)        (3.4%)
                                                                       28.2        310.2         352.5          747.3
       CH4 (Methane)          28.6        1,478.8        14.1
                                                                  (98.6%)      (1,085%)      (1,233%)        (50.5%)
    NxO (Nitrous                                                                      1.1           1.3
                               8.4         169.0         0.05   0.1 (1.2%)                                 2.7 (1.6%)
   Oxides)                                                                       (13.1%)       (14.9%)
    CO2 eq (Global                                                 5,787.4      63,661.4      72,342.5      153,366.1
                          243,362      4,112,744      2,893.7
   Warming Potential)3                                              (2.4%)       (26.2%)       (29.7%)         (3.7%)
   1 Source: Kleinfelder (2014)
   2 %increase over CIAA

   3 GWP (Global Warming Potential/Carbon Dioxide Equivalent [CO2eq]) for CO2 =1, CH4 = 21, and N2O

   = 310.

   Air resources also include visibility, which can be degraded by regional haze caused in part by
   sulfur, nitrogen, and particulate emissions. Based on trends identified during 2000-2009,
   visibility has improved slightly near the analysis area on the haziest and clearest days. Blue-
   shaded circles in Figure 3 indicate negative deciview (dv) changes, which mean that people can
   see more clearly at greater distances.




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                              Tracking Progress 2000-2004 to 2005-2009




   Figure 3. Visibility trends on haziest and clearest days, 2000-2009 (IMPROVE 2011).

   Climate Change/Greenhouse Gasses
   Climate change is defined by the Intergovernmental Panel on Climate Change (IPCC) as “a
   change in the state of the climate that can be identified (e.g., using statistical tests) by changes in
   the mean and/or the variability of its properties, and persist for an extended period, typically
   decades or longer. It refers to any change in climate over time, whether due to natural variability
   or as a result of human activity” (IPCC 2007).



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   The Intergovernmental Panel on Climate Change (Climate Change SIRD 2010) states, “Warming
   of the climate system is unequivocal, as is now evident from observations of increases in global
   average air and ocean temperatures, widespread melting of snow and ice, and rising global
   average sea level.” Global average temperature has increased approximately 1.4°F since the
   early 20th century (Climate Change SIR 2010). Warming has occurred on land surfaces, oceans
   and other water bodies, and in the troposphere (lowest layer of earth’s atmosphere, up to 4-12
   miles above the earth). Other indications of global climate change described by the IPCC
   (Climate Change SIR 2010) include:

     •   Rates of surface warming increased in the mid-1970s and the global land surface has been
         warming at about double the rate of ocean surface warming since then;
     •   Eleven of the last 12 years rank among the 12 warmest years on record since 1850;
     •   Lower-tropospheric temperatures have slightly greater warming rates than the earth’s
         surface from 1958-2005.

   As discussed and summarized in the Climate Change SIR, earth has a natural greenhouse effect
   wherein naturally occurring gases such as water vapor, CO2, methane, and N2O absorb and retain
   heat. Without the natural greenhouse effect, earth would be approximately 60°F cooler (Climate
   Change SIR 2010). Current ongoing global climate change is caused, in part, by the atmospheric
   buildup of greenhouse gases (GHGs), which may persist for decades or even centuries. Each
   GHG has a global warming potential that accounts for the intensity of each GHG’s heat trapping
   effect and its longevity in the atmosphere (Climate Change SIR 2010). Increased GHG
   emissions of CO2, methane, N2O, and halocarbons since the start of the industrial revolution
   have substantially increased atmospheric concentrations of these compounds compared to
   background levels. At such elevated concentrations, these compounds absorb more energy from
   the earth’s surface and re-emit a larger portion of the earth’s heat back to the earth rather than
   allowing the heat to escape into space than would be the case under more natural conditions of
   background GHG concentrations.

   A number of activities contribute to the phenomenon of climate change, including emissions of
   GHGs (especially carbon dioxide and methane) from fossil fuel development, large wildfires,
   activities using combustion engines, changes to the natural carbon cycle, and changes to
   radiative forces and reflectivity (albedo) due to soot deposition and other surface changes. It is
   important to note that GHGs will have a sustained climatic impact over different temporal scales
   due to their differences in global warming potential (described above) and lifespans in the
   atmosphere. For example, CO2 may last 50 to 200 years in the atmosphere while methane has an
   average atmospheric life time of 12 years (Climate Change SIR, 2010).

   With regard to statewide GHG emissions, Idaho ranks in the lowest decile when compared to all
   states. The estimate of Idaho’s 2011 GHG emissions of 28.5 million metric tons (MMt) of


   D Although the Climate Change SIR was developed for oil and gas leasing activities in Montana,
   North Dakota, and South Dakota, conclusions from broader scale analyses/findings are
   applicable in Idaho.
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   carbon dioxide equivalent (CO2e) accounted for approximately 0.43% of the U.S. GHG
   emissions (WRI 2014).

   Some information and projections of impacts beyond the project scale are becoming increasingly
   available. Chapter 3 of the Climate Change SIR describes impacts of climate change in detail at
   various scales, including the state scale when appropriate. The following summary characterizes
   potential changes identified by the EPA (EPA 2014a) that are expected to occur at the regional
   scale, where the Proposed Action and its alternatives could occur. The EPA identifies Idaho as
   part of the Northwest region (EPA 2014a):

     •   The region is expected to experience warmer temperatures with less snowfall.
     •   Temperatures are expected to increase more in winter than in summer, more at night than
         in the day, and more in the mountains than at lower elevations.
     •   Earlier snowmelt means that peak stream flow would be earlier, weeks before the peak
         needs of ranchers, farmers, recreationalists, and others. In late summer, rivers, lakes, and
         reservoirs would be drier.
     •   More frequent, more severe, and possibly longer-lasting droughts are expected to occur.

   Other impacts could include:
    • Increased particulate matter in the air as drier, less vegetated soils experience wind erosion.
    • Shifts in vegetative communities which could threaten plant and wildlife species.
    • Changes in the timing and quantity of snowmelt which could affect both aquatic species
        and agricultural needs.

   Projected and documented broad-scale changes within ecosystems of the U.S. are summarized in
   the Climate Change SIR. Some key aspects include:
     • Large-scale shifts have already occurred in the ranges of species and the timing of the
        seasons and animal migrations. These shifts are likely to continue. Climate changes
        include warming temperatures throughout the year and the arrival of spring an average of
         10 days to two weeks earlier through much of the U.S. compared to 20 years ago. Multiple
        bird species now migrate north earlier in the year.
     • Fires, insect epidemics, disease pathogens, and invasive weed species have increased and
        these trends are likely to continue. Changes in timing of precipitation and earlier runoff
        increase fire risks.
     • Insect epidemics and the amount of damage that they may inflict have also been on the rise.
        The combination of higher temperatures and dry conditions have increases insect
        populations such as pine beetles, which have killed trees on millions of acres in western
        U.S. and Canada. Warmer winters allow beetles to survive the cold season, which would
        normally limit populations; while concurrently, drought weakens trees, making them more
        susceptible to mortality due to insect attack.
   More specific to Idaho, additional projected changes associated with climate change described in
   Section 3.0 of the Climate Change SIR (2010) include:
    • Temperature increases are predicted to be between 3 to 5°F at the mid-21st century.


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     •   Precipitation may increase in winter by up to 25%, remain stable during the spring and fall,
         and decrease by up to 25% during the summer.
     •   Predicted annual runoff for 2041-2060 compared to 1901-1970 is expected to remain
         stable.
     •   Wildland fire risk is predicted to continue to increase due to climate change effects on
         temperature, precipitation, and wind. One study predicted an increase in median annual
         area burned by wildland fires in southern Idaho based on a 1°C global average temperature
         increase to be 111%.

   While long-range regional changes might occur within this analysis area, it is impossible to
   predict precisely when they could occur. The following example summarizing climate data for
   the Idaho Southwestern Valleys illustrates this point at a regional scale. A potential regional
   effect of climate change is earlier snowmelt and associated runoff. This is directly related to
   spring-time temperatures. Over a 119-year record, temperatures increased 0.08 degrees per
   decade (Figure 4). This would suggest that runoff may be occurring earlier than in the past.
   However, data from 1994-2014 indicates a 0.5 degree per decade cooling trend (Figure 5). This
   example is not an anomaly, as several other 20-year windows can be selected to show either
   warming or cooling trends. Some of these year-to-year fluctuations in temperature are due to
   natural processes, such as the effects of El Ninos, La Ninas, and the eruption of large volcanoes.
   This information illustrates the difficulty of predicting actual short-term regional or site-specific
   changes or conditions which may be due to climate change during any specific time frame.




   Figure 4. Regional climate summary of spring temperatures (March-May) for Idaho Southwestern
   Valleys, from 1895-2014. (Source: NOAA website
   http://www.ncdc.noaa.gov/oa/climate/research/cag3/wn.html )



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   Figure 5. Regional climate summary of spring temperatures (March-May) for Idaho Southwestern
   Valleys, from 1994-2014. (Source: NOAA website
   http://www.ncdc.noaa.gov/oa/climate/research/cag3/wn.html )

   3.4.2    Environmental Consequences - Air Resources
   Impacts to air resources are based on the RFDS created for this document (Table 2, Appendix 1).

   3.4.2.1     General Discussion of Impacts
   Air Quality
   Potential impacts of development could include increased airborne soil particles blown from new
   well pads or roads; exhaust emissions from drilling equipment, compressors, vehicles, and
   dehydration and separation facilities; as well as potential releases of GHGs and VOCs during
   drilling or production activities. The amount of increased emissions cannot be precisely
   quantified at this time since it is not known for certain how many wells might be drilled, the
   types of equipment needed if a well were to be completed successfully (e.g., compressor,
   separator, dehydrator), or what technologies may be employed by a given company for drilling
   any new wells. The degree of impact would also vary according to the characteristics of the
   geologic formations from which production occurs, as well as the scope of specific activities
   proposed in an APD. Oxides of nitrogen, carbon monoxide, volatile organic compounds, carbon
   dioxide, and methane are the most common emissions from a typical well (Green River,
   Wyoming; Table 6). The Kleinfelder report provides estimated pollutants for wells in three
   locations (San Juan, Uinta/Piceance, and Upper Green River basins). This analysis uses the
   Upper Green River values which represent the upper end of pollution production in the
   examples. The majority of pollution occurs during the production phase, where fugitive
   emissions (e.g., leaking pipes and valves) and dump valves (used to control the amount of fluid
   in the product) are the primary sources.




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   Climate Change/Greenhouse Gases
   Sources of GHGs associated with development of lease parcels include construction activities,
   operations, and facility maintenance in the course of oil and gas exploration, development, and
   production. Estimated GHG emissions are discussed for these specific aspects of oil and gas
   activity because the BLM has direct involvement in these steps. Anticipated GHG emissions are
   based on emissions calculators developed by air quality specialists at the BLM National
   Operations Center in Denver, Colorado, based on a typical well in Green River Wyoming (Table
   6).
   3.4.2.2 Alternative A
   Air Quality
   Two new State lease wells and associated infrastructure would have minor adverse impacts on
   air quality over the long term. Small increases in nitrogen oxides (2%), carbon monoxide
   (0.1%), sulfur dioxide (<0.01%), and particulate matter (0.4%) would occur annually (Table 6).
   Good AQI values would likely predominate; however, well emissions could slightly increase the
   number of moderate AQI days especially during inversions. There would be negligible
   decreases in visibility, primarily within 1-2 miles of the wells.

   Climate Change/Greenhouse Gases
   Emissions from two new wells on State leases would increase Payette County’s annual carbon
   dioxide equivalent production by 2.4% (Table 6).

   3.4.2.3 Alternative B
   Air Quality
   Twenty-two new BLM lease wells and associated infrastructure would have moderate adverse
   impacts on air quality over the long term. Increases in nitrogen oxides (22%), carbon monoxide
   (1.4%), sulfur dioxide (0.02%), and particulate matter (4.5%) would occur annually (Table 6).
   The percent of days rated good AQI could decrease, especially during inversions. There would
   be minor decreases in visibility, primarily within 1-2 miles of the wells.

   Climate Change/Greenhouse Gases
   Twenty-two new wells on BLM leases would increase Payette County’s annual carbon dioxide
   equivalent production by 26.2% (Table 6).

   3.4.2.4 Alternative C
   Air Quality
   Twenty-five new BLM lease wells and associated infrastructure would have moderate adverse
   impacts on air quality over the long term. Controlled surface use stipulations could reduce some
   pollutants when or where they are in effect (e.g., the winter use restriction CSU-4 would reduce
   or eliminate some pollutants [e.g., PMio] between December 1 and March 31; minimizing
   disturbance of fragile soils could reduce dust over the long term). Increases in nitrogen oxides
   (25%), carbon monoxide (1.6%), sulfur dioxide (0.03%), and particulate matter (5.1%) would
   occur annually (Table 6). The percent of days rated good AQI could decrease, especially during
   inversions. There would be minor decreases in visibility, primarily within 1-2 miles of the wells.


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   Climate Change/Greenhouse Gases
   Twenty-five new wells on BLM leases would increase Payette County’s annual carbon dioxide
   equivalent production by 29.7% (Table 6).

   3.4.3     Mitigation
   The BLM encourages industry to incorporate and implement BMPs to reduce impacts to air
   quality and climate change by reducing emissions, surface disturbances, and dust from field
   production and operations. Measures may also be required as COAs on permits by either the
   BLM or IDEQ. The BLM also manages venting and flaring of gas from federal wells as
   described in the provisions of Notice to Lessees (NTL) 4A, Royalty or Compensation for Oil and
   Gas Lost.

   Some of the following measures could be imposed at the development stage:
    • flare or incinerate hydrocarbon gases at high temperatures to reduce emissions of
       incomplete combustion;
    • install emission control equipment of a minimum 95% efficiency on all condensate storage
       batteries;
    • install emission control equipment of a minimum 95% efficiency on dehydration units,
       pneumatic pumps, produced water tanks;
    • operate vapor recovery systems where petroleum liquids are stored;
    • use Tier II or greater, natural gas or electric drill rig engines;
    • operate secondary controls on drill rig engines;
    • use no-bleed pneumatic controllers (most effective and cost effective technologies
       available for reducing volatile organic compounds (VOCs));
    • operate gas or electric turbines rather than internal combustions engines for compressors;
    • use nitrogen oxides (NOx) emission controls for all new and replaced internal combustion
       oil and gas field engines;
    • water dirt and gravel roads during periods of high use and control speed limits to reduce
       fugitive dust emissions;
    • perform interim reclamation to re-vegetate areas of the pad not required for production
       facilities and to reduce the amount of dust from the pads.
    • co-locate wells and production facilities to reduce new surface disturbance;
    • use directional drilling and horizontal completion technologies whereby one well provides
       access to petroleum resources that would normally require the drilling of several vertical
       wellbores;
    • operate gas-fired or electrified pump jack engines;
    • install velocity tubing strings;
    • use cleaner technologies on completion activities (i.e. green completions), and other
       ancillary sources;
    • use centralized tank batteries and multi-phase gathering systems to reduce truck traffic;
    • forward looking infrared (FLIR) technology to detect fugitive emissions; and
    • perform air monitoring for NOx and ozone (O3).


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   Specifically with regard to reducing GHG emissions, Section 6.0 of the Climate Change SIR
   identifies and describes in detail commonly used technologies to reduce methane emissions from
   natural gas production operations. Technologies discussed in the Climate Change SIR and as
   summarized in Table 7 (reproduced from Table 6-2 in Climate Change SIR), display common
   methane emission technologies reported under the EPA Natural Gas STAR Program and
   associated emission reduction, cost, maintenance, and payback data.

   Table 7. Selected methane emission reductions reported under the EPA Natural Gas STAR Program.
                                       Annual                           Annual
                                      Methane         Capital Cost    Operating and                Payback
   Source Type / Technology           Emission         Including      Maintenance      Payback     Gas Price
                                     Reduction 1      Installation        Cost         (Years or     Basis
                                      (Mcf/yr)          ($1,000)        ($1,000)        Months)     ($/Mcf)
   Wells
   Reduced emission (green)
                                       7,000    2       $1 - $10           >$1          1 - 3 yr      $3
   completion
   Plunger lift systems                  630           $2.6 - $10          NR          2 - 14 mo      $7
   Gas well smart automation
                                        1,000             $1.2          $0.1 - $1       1 - 3 yr      $3
   system
   Gas well foaming                     2,520             >$10          $0.1 - $1      3 - 10 yr     NR
   Tanks
   Vapor recovery units on crude       4,900 -
                                                       $35 - $104        $7 - $17      3 - 19 mo      $7
   oil tanks                           96,000
   Consolidate crude oil
   production and water storage         4,200             >$10            <$0.1         1 - 3 yr     NR
   tanks
   Glycol Dehydrators
   Flash tank separators             237 - 10,643       $5 - $9.8       Negligible     4 - 51 mo      $7
   Reducing glycol circulation
                                     394 - 39,420      Negligible       Negligible    Immediate       $7
   rate
   Zero-emission dehydrators            31,400            >$10             >$1          0 - 1 yr     NR
   Pneumatic Devices and
   Controls
   Replace high-bleed devices
   with low-bleed devices
      End-of-life replacement         50 - 200         $0.2 - $0.3      Negligible     3 - 8 mo       $7
      Early replacement                  260              $1.9          Negligible       13 mo        $7
      Retrofit                           230              $0.7          Negligible       6 mo         $7
      Maintenance                     45 - 260        Negl. to $0.5     Negligible     0 - 4 mo       $7
   Convert to instrument air         20,000 (per
                                                          $60           Negligible       6 mo         $7
                                       facility)
   Convert to mechanical control
                                         500              <$1             <$0.1         0 - 1 yr     NR
   systems
   Valves
   Test and repair pressure safety
                                         170              NR            $0.1 - $1      3 - 10 yr     NR
   valves
   Inspect and repair compressor
                                        2,000             <$1           $0.1 - $1       0 - 1 yr     NR
   station blowdown valves




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                                       Annual                          Annual
                                      Methane         Capital Cost   Operating and                Payback
   Source Type / Technology           Emission         Including     Maintenance      Payback     Gas Price
                                     Reduction 1      Installation       Cost         (Years or     Basis
                                      (Mcf/yr)          ($1,000)       ($1,000)        Months)     ($/Mcf)
   Compressors
   Install electric compressors      40 - 16,000         >$10             >$1          >10 yr       NR
   Replace centrifugal
   compressor wet seals with dry        45,120           $324          Negligible      10 mo         $7
   seals
   Flare Installation                   2,000            >$10             >$1          None         NR
   Source: Multiple EPA Natural Gas STAR Program documents. Individual documents are referenced in
   Climate Change SIR (2010).
   1 Unless otherwise noted, emission reductions are given on a per-device basis (e.g., per well, per

   dehydrator, per valve, etc).
   2 Emission reduction (Mcf = thousand cubic feet of methane) is per completion, rather than per year.

   NR = not reported

   3.4.4   Cumulative Impacts - Air Resources
   Cumulative impacts to air resources are based on the RFDS created for this document (Appendix
   1), RFDS for Hamilton and Willow fields, and the actions discussed below.

   3.4.4.1   Scope of Analysis
   The CIAA includes the airshed associated with Ada, Baker, Canyon, and Payette counties.
   Because of prevailing wind patterns, changes in Baker County air quality would affect Payette
   County and impacts from Payette County air quality would dissipate at the eastern side of Ada
   County. The analysis period covers the 10-year lease period; however, pollutants are reported by
   their annual production levels.

   3.4.4.2 Current Conditions and Effects of Past and Present Actions
   Because of a large population base (615,335 people in 2013), Ada and Canyon counties
   contribute substantial amounts of nitrogen oxides (79%), PM10 (83%), volatile organic
   compounds (75%), hazardous air pollutants (87%), and GHG (80%) to the four-county total
   pollution (Table 6). Baker County, with a relatively small population (16,018 people in 2013)
   and large area (3,068 mi2 compared with 2,047 mi2 for the other three counties combined),
   accounts for 71% of methane production, while other pollutant contributions vary from 7-24% of
   totals. The majority of growth during the 10-year period is expected to occur in Ada and Canyon
   counties; therefore, pollutant contributions from growth-related activities (e.g., construction,
   vehicle emissions, dust, and manufacturing) in these counties would be expected remain similar
   or increase proportionately more than Baker and Payette counties.

   3.4.4.3 Reasonably Foreseeable Future Actions
   An estimated 53 wells could come into production in the Hamilton (33,400 acres) and Willow
   (7,000 acres outside the proposed lease area) fields (Map 1). These wells would contribute
   from<0.01-3.4% of most pollutants; however, they would cause a 51% increase in methane
   production annually. AM Idaho (Alta Mesa’s Idaho subsidiary) is constructing a hydrocarbon
   liquid treatment (dehydrator) facility (4 miles south of New Plymouth, Idaho), an ancillary

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   processing facility (1 mile east of New Plymouth), and associated pipelines from wells to the
   facilities. AM Idaho has applied for an IDEQ air quality permit for the facilities. Typical
   pollutants include NOx, CO, particulate matter, HAP, and VOCs; however, the levels are
   unknown.

   3.4.4.4 Alternative A - Cumulative Impacts
   Two additional wells in the proposed lease area would have negligible additive impacts to air
   quality and GHG pollutants over the long term. Wells in the Hamilton and Willow fields and gas
   processing facilities would have minor (e.g., 3.7% CO2 eq increase in CIAA) to major (51%
   methane increase in CIAA) additive impacts (Table 6), whereas, with the exception of methane
   gas, growth-related activities would account for the majority of pollutant increases.

   3.4.4.5 Alternative B- Cumulative Impacts
   Twenty-two wells in the proposed lease area would have negligible additive impacts to air
   quality and most GHG pollutants over the long term and would account for a 1.5% increase in
   methane over current levels (Table 6). Pollutants from other sources would be as described in
   Alternative A (Section 3.4.4.4).

   3.4.4.6 Alternatives C and D - Cumulative Impacts
   Twenty-five wells in the proposed lease area would have negligible additive impacts to air
   quality and most GHG pollutants over the long term and would account for a 1.6% increase in
   methane over current levels (Table 6). Pollutants from other sources would be as described in
   Alternative A (Section 3.4.4.4).

   3.5     Water Resources

   3.5.1      Affected Environment - Water Resources
   Surface Hydrology and Water Quality
   Surface water quality in the planning area is variable due to the highly erratic discharge and
   moderately to highly erosive nature of the geologic parent material and soils. Perennial streams
   retain water year-round and have variable flow regimes. Big Willow (0.8 miles) and Little
   Willow (5 miles) creeks, perennial streams in the proposed lease area, are not a directly
   associated with proposed lease parcels. Intermittent streams flow during the part of the year
   when they receive sufficient water from springs, ground water, or surface sources such as
   snowmelt or storm events. Ephemeral streams flow only in direct response to precipitation and
   snowmelt. Ephemeral and intermittent streams (approximately 22 miles) occur in the proposed
   lease area with 8.2 miles directly associated with federal mineral estate. The Bolton and Patton
   irrigation canals parallel the north side of Little Willow Creek and the McIntyre and Nelson
   canals parallel on the south side. These canals remove the majority of water from Little Willow
   Creek during the irrigation season.

   The National Wetland Inventory mapping identifies approximately 56 acres of wetland and
   riparian areas that are associated with perennial streams, canals, and ponds (Map 5). There are
   two springs and one seep associated with federal mineral estate. There are three ponds

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   associated with federal mineral estate and seven other ponds in the proposed lease area. The
   ponds are fed by intermittent ephemeral streams or irrigation runoff and are typically used as
   livestock water sources.

   Big Willow Creek has an EPA approved temperature total maximum daily level (TMDL) that is
   not being met (IDEQ 2014). Little Willow Creek below Paddock Valley Reservoir was rated as
   Unassessed Waters (IDEQ 2014). In 2007, Little Willow Creek suspended sediment levels
   ranged from 10-165 mg/L. High levels (>30 mg/L) were associated with the irrigation season
   (May 1 - September 30) and IDEQ recommended a target of 22 mg/L during that period to
   support cold water aquatic beneficial uses.

   There are 352 acres of 100-year floodplain associated with Little Willow and Big Willow creeks
   and an ephemeral drainage; however, only acre is associated with federal mineral estate.

   The lease parcels are located within four hydrologic unit code (HUC) 6 watershed subbasins:
   Little Willow Creek (HUC 1705012208), Big Willow Creek (HUC 1705012207), Payette River­
   Snake River (HUC 1705012209), and Jacobsen Gulch - Snake River (HUC 1705011502) (Table
   8). The acreage federal mineral reserve comprises between 0.06% (Payette River - Snake River)
   and 6.2% (Little Willow Creek) of each watershed.

   Table 8. Acres and percentage of Level 6 HUC watersheds associated with federal mineral estate and
   Little Willow Creek lease area, Payette County, Idaho.
         Watershed                                    Federal Mineral Reserve       Total Lease Area
         Name                          Acres          Acres     % Watershed       Acres    % Watershed
         Little Willow Creek             98,464          6,094             6.2     14,182            14.4
         Big Willow Creek                98,919             84            0.08        694             0.7
         Payette River - Snake
                                         177,466          106             0.06       629              0.4
         River
         Jacobsen Gulch -
                                          91,054           67             0.07        139             0.2
         Snake River

   Ground Water
   The quality and availability of ground water varies greatly across Idaho. Residents in Payette
   County commonly get their ground water from aquifers consisting of unconsolidated, alluvial
   valley-fill materials, typically sand and gravel deposits. Alluvial aquifers occur in terrace
   deposits and within the floodplains, and along the channels of larger streams, tributaries, and
   rivers, and are important sources of ground water. Based on 41 wells in the lease area authorized
   by IDWR, typical domestic supply wells in the area are between 37-405 feet deep with standing
   water occurring at 5-330 feet and production occurring between 7-533 feet. Well water is
   typically used for domestic, livestock, and irrigation purposes.

   Nitrate is present in shallow ground water beneath the Payette Valley at concentrations that
   occasionally exceed the drinking water standard of 10 milligrams per liter (mg/L; IDEQ 2012).
   Arsenic has been detected in exceedance of the drinking water standard of 0.010 mg/L. Fluoride
   has been detected occasionally at concentrations that exceed the drinking water standard of 4


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   mg/L, and dissolved iron and manganese have exceeded the secondary standards of 0.3 mg/L and
   0.05 mg/L, respectively.

   3.5.2    Environmental Consequences - Water Resources
   Impacts to water resources are based on the RFDS created for this document (Table 2, Appendix
   1).
   3.5.2.1    General Discussion of Impacts
   Surface Hydrology and Water Quality
   The magnitude of the impacts to water resources would be dependent on the specific activity,
   season, proximity to waterbodies, location in the watershed, upland and riparian vegetation
   condition, effectiveness of mitigation, and the time until reclamation success. Surface
   disturbance effects typically are localized, short-term, and occur from implementation through
   vegetation reestablishment. As acres of surface-disturbance increase within a watershed, so
   could the effects on water resources.

   Oil and gas exploration and development could cause the removal of vegetation, soil
   compaction, and soil disturbance in uplands within the watershed, 100-year floodplains of non­
   major streams, and non-riparian, ephemeral waterbodies. The potential effects from these
   activities could be accelerated erosion, increased overland flow, decreased infiltration, increased
   water temperature, channelization, and water quality degradation associated with increased
   sedimentation, turbidity, nutrients, metals, and other pollutants. Erosion potential can be further
   increased in the long term by soil compaction and low permeability surfacing (e.g. roads and
   well pads) which increases the energy and amount of overland flow and decreases infiltration,
   which in turn changes flow characteristics, reduces ground water recharge, and increases
   sedimentation and erosion.

   Water withdrawals for drilling operations would lead to reduced aquifer water levels, reduced
   streamflow, and impacts to some water quality parameters associated with stream flow. These
   impacts to water quality may include increased water temperature, decreased concentrations of
   dissolved oxygen, and increases in other parameters such as salinity levels, sodium adsorption
   ratio, and introduction of drilling pollutants (e.g., organic acids, alkalis, diesel oil, crankcase oils,
   hydrochloric and hydrofluoric acids, chloride, sodium, calcium, magnesium, potassium,
   polycyclic aromatic hydrocarbons, lead, arsenic, barium, antimony, sulfur, zinc, and naturally
   occurring radioactive materials) (TEEIC 2014). Ground water removal would result in a
   depletion of flow in nearby streams and springs if the aquifer is hydraulically connected to such
   features. Typically produced water from conventional oil and gas wells is from a depth below
   useable aquifers.

   Ground Water
   Spills, drilling fluids, fracking fluids, or produced fluids could potentially impact surface and
   ground water resources over the long term. Drilling in the proposed lease area would most likely
   pass through useable ground water. Potential impacts to ground water resources could occur if
   proper cementing and casing programs are not followed. This could include loss of well
   integrity, failed cement, surface spills, and/or the loss of drilling, completion, and hydraulic

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   fracturing fluids into groundwater. It is possible for chemical additives used in drilling activities
   to be introduced into ground water producing formations without proper casing and cementing of
   the well bore. Concentrations of these additives also vary considerably and are not always
   known because different mixtures can be used for different purposes in gas development and
   even in the same well bore. Changes in porosity or other properties of the rock being drilled can
   result in the loss of drilling fluids. When this occurs, drilling fluids can be introduced into
   ground water in the absence of proper cementing and casing. Site specific conditions and
   drilling practices determine the probability of this occurrence and determine the ground water
   resources that could be impacted. Some or all of the produced water from these leases is likely
   to be injected in wells for disposal. Improper construction and management of reserve and
   evaporation pits could degrade ground water quality through leakage and leaching.

   The potential for adverse ground water impacts caused from hydraulic fracturing are currently
   being investigated by the EPA. Currently, water use to drill one well ranges between 1 and 6
   million gallons. In fracturing a well, companies have estimated that generally they use a ratio of
   0.5% hydraulic chemical fluid mix to 1.5 million gallons of water. That translates to a minimum
   of 5,000 gallons of chemicals into one well for every 1.5 million gallons of water used to fracture
   a well. In addition to changing the producing formations’ physical properties by increasing the
   flow of water, gas, and/or oil around the well bore; hydraulic fracturing can also introduce
   chemical additives into the producing formations. Production zones generally do not contain
   fresh water. Types of chemical additives used in drilling activities may include acids,
   hydrocarbons, thickening agents, lubricants, and other additives that are operator and location
   specific. These additives are not always used in these drilling activities and some are likely to be
   benign such as bentonite clay and sand. Concentrations of these additives also vary considerably
   because different mixtures can be used for different purposes in oil and gas development and
   even in the same well bore. If contamination of aquifers from any source occurs, changes in
   ground water quality could impact springs and residential wells that are sourced from the
   affected aquifers.

   If contamination of freshwater aquifers from oil and gas development occurs, changes in ground
   water quality could impact springs and residential wells if these springs and residential wells are
   sourced from the same aquifers that have been affected. Direct impacts to surface water would
   likely be greatest shortly after the start of construction activities and would likely decrease in
   time due to natural stabilization, and reclamation efforts. Ground water impacts would be less
   evident and occur on a longer time scale. Construction activities would occur over a relatively
   short period (commonly less than a month); however, natural stabilization of the soil can
   sometimes takes years to establish to the degree that would adequately prevent accelerated
   erosion caused by compaction and removal of vegetation. Spills or produced fluids (e.g.,
   saltwater, oil, fracking chemicals, and/or condensate in the event of a breech, overflow, or spill
   from storage tanks) could result in contamination of the soil onsite, or offsite, and may
   potentially impact surface and ground water resources in the long term.

   Not all wells resulting from an APD would employ fracturing, and water consumption would be
   temporary. Oil and gas wells are cased and cemented at a depth below all usable water zones;
   consequently impacts to water quality at springs and residential wells are not expected.

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   However, faulty cementing or well casing could result in methane migration to upper zones.
   Should hydrocarbon or associated chemicals for oil and gas development in excess of
   EPA/IDEQ standards for minimum concentration levels migrate into culinary water supply
   wells, springs, or systems, it could result in these water sources becoming non-potable.

   For federal mineral estate wells, Onshore Order #2 requires that the proposed casing and
   cementing programs shall be conducted as approved to protect and/or isolate all usable water
   zones. For State-regulated wells, IDAPA 20.07.02 provides similar requirements from initial
   drilling to plugging. Authorization of exploration and production activities would require full
   compliance with local, state, and federal directives and stipulations that relate to surface and
   ground water protection.

   3.5.2.2 Alternative A
   Surface Hydrology and Water Quality
   Not leasing 6,349 acres would limit surface disturbance in those areas. Vegetation and soil
   conditions would be maintained over the long term minimizing sediment input to waterbodies
   from 6% of the Little Willow Creek watershed and negligible (0.2%) portions of other
   watersheds (Table 8). Development of two wells and associated infrastructure (7 acres of
   disturbance) would have negligible (~0.001% of Little Willow Creek watershed) direct impacts
   to surface hydrology. Negligible (>0.25 miles from stream) to moderate (<200 feet from stream)
   short-term sediment inputs could occur to Little Willow Creek until vegetation reestablishment
   occurs. Produced water and pollutants carried by natural events would cause adverse water
   quality impacts where pollutants reach Little Willow Creek. The longevity and severity of the
   impacts would depend on the type of pollutant. Ground water depletion could adversely affect
   Little Willow Creek.

   Ground Water
   Direct development and production ground water impacts would not occur on 6,349 acres.
   Development of two wells could have negligible (well casings are effectively implemented) to
   major (well casings fail and persistent, toxic pollutants are introduced) adverse effects to ground
   water quality in the Little Willow Creek drainage. Up to 15 domestic and agricultural wells in
   the immediate vicinity and downstream could be affected.

   3.5.2.3 Alternative B
   Surface Hydrology and Water Quality
   Leasing 6,349 acres with NSO and NSSO stipulations would limit surface disturbance in those
   areas. Vegetation and soil conditions would be maintained over the long term minimizing
   sediment input to waterbodies from 6% of the Little Willow Creek watershed and negligible
   (0.2%) portions of other watersheds (Table 8). Development of 22 wells and associated
   infrastructure (77 acres of disturbance) would have negligible to minor direct impacts to surface
   hydrology, primarily where roads collect and convey water rather than allowing infiltration.
   Impacts from sediment inputs would be similar to Alternative A (Section 3.5.2.2); however, four
   additional wells could be drilled near Little Willow and Big Willow creeks. Produced water and
   pollutant impacts could affect Little Willow and Big Willow creeks. Four additional wells
   would increase the probability of adverse water quality and ground water depletion impacts.

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   Ground Water
   Direct development and production ground water impacts would not occur on 6,349 acres.
   Development of 22 wells could have negligible (well casings are effectively implemented) to
   major (persistent, toxic pollutants are introduced) adverse effects to ground water quality in the
   Little Willow and Big Willow drainages; however, the number of wells could increase the
   probability of a pollution event. Up to 54 domestic and agricultural wells in the immediate
   vicinity and downstream could be affected.

   3.5.2.4 Alternative C
   Surface Hydrology and Water Quality
   Leasing 6,349 acres with CSU stipulations would limit surface disturbance in those areas.
   Vegetation and soil conditions would be maintained over the long term minimizing sediment
   input to waterbodies from 6% of the Little Willow Creek watershed and negligible (0.2%)
   portions of other watersheds (Table 8). Development of 25 wells and associated infrastructure
   (88 acres of disturbance) would have similar hydrology and sediment impacts to Alternative B
   (Section 3.5.2.3); however, 500 foot CSU buffers from waterbodies would help limit sediment
   inputs (Map 5). Fewer surface occupancy restrictions would allow wells to be placed further
   from streams relative to Alternative B. Produced water and pollutant impacts could affect Little
   Willow and Big Willow creeks; however, CSU buffers would reduce the probability of pollutants
   reaching waterbodies.

   Ground Water
   Direct development and production ground water impacts could occur on <6,162 acres.
   Development of 25 wells could have similar impacts to those described in Alternative B (Section
   3.5.2.3); however, the probability of a pollution event could be slightly greater.

   3.5.3     Mitigation
   Mitigation measures that minimize the total area of disturbance, control wind and water erosion,
   reduce soil compaction, maintain vegetative cover, control nonnative species, and expedite rapid
   reclamation (including interim reclamation) would maintain surface hydrology processes and
   water quality. Methods to reduce erosion and sedimentation could include: reducing surface
   disturbance acres; installing and maintaining adequate erosion control; proper road design, road
   surfacing, and culvert design; road/infrastructure maintenance; use of low water crossings; and
   use of isolated or bore crossing methods for waterbodies and floodplains. In addition, applying
   mitigation to maintain adequate, undisturbed, vegetated buffer zones around waterbodies and
   floodplains could reduce sedimentation and maintain water quality. Lining ponds would
   minimize seepage of potentially toxic chemicals into ground water. Closing and rehabilitating
   ponds promptly, when no longer functional or needed, would exposure to toxic substances.
   Appropriate well completion, the use of Spill Prevention Plans, and Underground Injection
   Control (UIC) regulations would mitigate ground water impacts. Site-specific mitigation and
   reclamation measures would be described in the COAs.

   Known water bearing zones in the lease area are protected by drilling requirements and, with
   proper practices, contamination of ground water resources would be unlikely (IOGCC 2013b;
   IDAPA 20.07.02). Casing along with cement would be extended well beyond fresh-water zones

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   to insure that drilling fluids remain within the well bore and do not enter ground water. Potential
   impacts to ground water at site specific locations are analyzed through the NEPA review process
   at the development stage when the APD is submitted. This process includes geologic and
   engineering reviews and onsite oversight to ensure that cementing and casing programs are
   adequate to protect all downhole resources. All water used would have to comply with State
   water rights regulations and a source of water would need to be secured by industry that would
   not harm senior water rights holders.

   3.5.4   Cumulative Impacts - Water Resources
   Cumulative impacts to water resources are based on the RFDS created for this document
   (Appendix 1), RFDS for Hamilton and Willow fields, and the actions discussed below.

   3.5.4.1    Scope of Analysis
   The 65,700-acre CIAA includes portions of the Little Willow Creek, Big Willow Creek, and
   Payette River-Snake River (north of the Farmers Canal) Level 6 HUC watersheds downstream of
   the eastern boundary of the proposed lease area and the majority of the Payette Valley Flow
   System (Map 5). This represents an area that could potentially be affected by surface runoff and
   ground water pollutants. The analysis period covers the 10-year lease period; however,
   pollutants would be expected to travel at different rates in different systems. Surface pollutants
   could reach the downstream portion of the CIAA relatively quickly once they enter flowing
   waters. Conversely, ground water pollutants would likely take considerably longer to travel
   beyond the source.

   3.5.4.2 Current Conditions and Effects of Past and Present Actions
   Sagebrush and other shrubs (11,067 acres; 17% of CIAA), exotic annuals (13,716 acres; 21%),
   agriculture (35,404 acres; 54%), urban (2,271 acres; 3%), and perennial bunchgrass (2,452 acres;
   4%) comprise the majority of cover types. Roads, ploughed fields and exotic annual cover
   provide the lowest degree of watershed protection. Watershed stability is at greatest risk where
   these cover types occur in moderate or highly erosive soils. Most agricultural lands are irrigated
   with surface (from canals) or ground water.

   There are approximately 56.5 miles of perennial streams (Payette River, Little Willow and Big
   Willow creeks) and all are influenced by irrigation outtake and return flows. There are
   approximately 2,000 acres of wetland, riparian, and pond habitat. Stream and riparian conditions
   are similar to those described in Section 3.6.1. The 9,760 acres of floodway are primarily
   associated with the Payette River. There are 1,305 water wells, most occur south of the Payette
   River or northwest of the confluence of Little Willow Creek and the Payette River.

   Potential pollutant sources include pesticides from agricultural and urban areas, chemicals from
   industrial and retail businesses, runoff from roadways, and 15 existing oil and gas wells. The
   amount of pollutants from these sources is unknown.




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   3.5.4.3 Reasonably Foreseeable Future Actions
   At least 37 additional oil and gas wells could be drilled (1 well/640 acres in the portions of the
   Willow and Hamilton fields in the CIAA). Pollutants from development and production would
   be as described in Section 0. Wildfires, as described in other sections, would be expected to
   cause short-term increases in sediment inputs and watershed instability until vegetation cover is
   reestablished.

   3.5.4.4 Alternative A - Cumulative Impacts
   Surface Hydrology and Water Quality
   Not leasing 6,349 acres (10% of the CIAA) would have negligible to minor additive benefits to
   surface hydrology and water quality. Wildfires, exotic annuals, and ploughed fields would
   potentially affect much larger areas. Rain events in these areas could result in minor to major
   sediment inputs to floodways and streams. Burned riparian areas would recover within five
   years, but upland areas would likely become dominated by exotic annuals and remain susceptible
   to erosion events. The extent of ground water withdrawal for irrigation is unknown. Irrigation
   water removal and return water pollutants (both agricultural and urban) would annually have
   moderate to major adverse water quality impacts to perennial streams. Development and
   production at up to 37 oil and gas wells would have negligible surface hydrology impacts, but
   could have negligible (no spills occur, spills are largely contained on site, or spills are non­
   pollutant materials) to major (spills affect domestic water supplies with toxic pollutants) adverse
   water quality impacts.

   Ground Water
   Not leasing 6,349 acres would have negligible additive ground water benefits. Agricultural
   activities (e.g., ground water pumping, pollution input from leaking wells) would have minor
   (seasonal reductions in water availability, pollution stays in immediate vicinity of well) to major
   (increased use of ground water during extended drought periods, pollutants migrate from well to
   domestic water supplies) adverse impacts to ground water availability and quality over the short
   and long term. Pollutants from industrial and urban sources could have minor to major short or
   long term adverse impact to ground water quality. Development and production at up to 37 oil
   and gas wells would have negligible (well casings are effectively implemented, ground water is
   not used to produce gas) to major (persistent, toxic pollutants are introduced; ground water is
   used to produce gas) adverse effects to ground water availability and quality.

   3.5.4.5 Alternatives B and C - Cumulative Impacts
   Surface Hydrology and Water Quality
   Leasing 6,349 acres with some surface stipulations and development of 22-25 wells and
   associated infrastructure would have negligible to minor additive impacts to surface hydrology
   and increased sediment input. Minor to moderate additive water quality impacts from produced
   water and pollutants could occur. Impacts from other activities would be as described in
   Alternative A (Section 3.5.4.4).




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   Ground Water
   Development and production at 22-25 wells would have negligible (well casings are effectively
   implemented) to major (persistent, toxic pollutants are introduced) adverse additive effects to
   ground water availability and quality. Impacts from other activities would be as described in
   Alternative A (Section 3.5.4.4).

   3.6      Wildlife/Special Status Animals

   3.6.1     Affected Environment - Wildlife/Special Status Animals
   Habitats support a variety of special status wildlife including southern Idaho ground squirrel
   (SIDGS), a candidate species under the ESA, 14 other mammal species, 17 bird species, three
   amphibian species, and three reptile species (Appendix 4). Habitat conditions are described for
   representative groups of animals (migratory birds, southern Idaho ground squirrels, big game,
   and amphibians/fish).

   Vegetation composition has been shaped by physical site characteristics such as aspect, soils,
   precipitation, and disturbances (primarily wildland fire, livestock grazing, and agricultural
   development). Fires and long-term spring grazing have reduced the diversity and abundance of
   native perennial forbs and grasses, favoring exotic annuals. The resulting conditions (Section
   3.2.1) generally provide poor quality habitat for most species. Shrub-dominated communities
   comprise 32% of cover, annual and perennial grasslands and agriculture characterize the
   remainder. Although these disturbances have occurred on all aspects, native vegetation is less
   resilient on the hotter, drier southerly aspects than the cooler, moister northerly aspects;
   therefore, southerly aspects are dominated by exotic grasses and northerly aspects are dominated
   by native vegetation. This has resulted in major habitat fragmentation. The proposed lease area
   has approximately 36.6 miles of roads and trails (1.5 miles/mi2). Access to many roads is
   restricted by private landowners; therefore, the majority of roads have minor fragmentation and
   disturbance impacts.

   Migratory Birds and Raptors
   The analysis area encompasses over 15,000 acres; therefore, bird habitat will be analyzed at a
   landscape scale, where birds are typically affected on a population level (Paige and Ritter 1999).
   Because the area lacks contiguous sagebrush habitat and suitable cover of native perennial
   bunchgrasses and forbs, it does not support stable populations of sagebrush-obligate species such
   as greater sage-grouseE. These sagebrush obligates require a large mosaic of big sagebrush cover

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     Based1 on 2014 sage-grouse habitat maps developed
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                                                                                  lek monitoring
   data, the proposed lease area is approximately 1 mile from R2 (sagebrush with annual grass
   understory) habitat, 5 miles (isolated habitat) from key (sagebrush with perennial grass
   understory) and preliminary general habitat [areas outside of breeding habitat that support
   important seasonal (winter, summer, fall habitat, migration corridors) or year-round habitat for
   sage-grouse], and 6.5 miles (contiguous habitat) from key and preliminary priority [areas that
   have the highest conservation value (breeding, nesting, brood-rearing) to maintaining sage­
   grouse populations] sage-grouse habitats. The closest leks are 9.5 (active) or 10.5 (inactive)
   miles away.
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   types, inter-mixed with native bunchgrasses and forbs. Other sagebrush obligates including
   Brewer’s sparrow, sage sparrow, and sage thrasher could be present during the spring and
   summer; however, these species are also sensitive to fragmented sagebrush habitats and they
   occur in low numbers.

   Grassland associated species such as long-billed curlew, western meadowlark, vesper sparrow,
   and horned lark utilize short grassland habitat for nesting, breeding, and brood-rearing. Long­
   billed curlew populations have declined in nearby areas (i.e., Long-billed Curlew Habitat Area of
   Critical Environmental Concern 8-20 miles southeast of the lease area) primarily due to
   recreational activities and development. Between 1966 and 2012, vesper sparrow, western
   meadowlark, and horned lark populations in Idaho have also declined. Northern harrier, red­
   tailed hawk, ferruginous hawk, golden eagle, American kestrel, and turkey vulture are common
   birds of prey that hunt for insects, small mammals, birds, and carrion throughout the area, year­
   round or during annual migrations.

   Riparian associated species including warblers, flycatchers, and sparrows utilize shrub and tree
   dominated habitat along Little Willow and Big Willow creeks for nesting, brood rearing, and
   foraging. Little Willow Creek provides marginal quality habitat that is substantially influenced
   by agricultural activities and is primarily characterized by herbaceous-dominated vegetation with
   scattered stands of cottonwood, willow, and Russian olive. Big Willow Creek provides good
   quality habitat that is characterized by a fairly contiguous cottonwood overstory with
   interspersed willow and herbaceous communities or understories.
   Resident (e.g., golden eagle, red-tailed hawk, Cooper’s hawk) and migratory (e.g., burrowing
   owl, short-eared owl, prairie falcon) birds use the area for nesting, brood rearing, foraging, and
   migration. Surveys for raptor nests have not occurred in or adjacent to the lease parcels.
   Although fires have degraded much of the habitat, it does provide suitable habitat for a variety of
   prey species including small mammals, song birds, reptiles, and insects.

   Burrowing Mammals
   Southern Idaho Ground Squirrel - Southern Idaho ground squirrels inhabit drainage bottoms and
   adjacent gradual slopes in small scattered populations, below approximately 3,200 feet elevation.
   Historically, SIDGS primarily occupied sandier soils that supported big
   sagebrush/bunchgrass/forb communities with antelope bitterbrush (Yensen 1991). In the
   absence of a reliable and nutritious diet provided by native grasses and forbs, SIDGS are subject
   to the highly variable productivity and nutritional value of exotic annuals. When annual
   precipitation is relatively low, poor productivity of exotic annuals may not provide enough
   nutritional sustenance to enable squirrels to store enough fat to survive their long over-wintering
   period (torpor). The availability of forbs plays a crucial role in the torpor persistence of juvenile
   male ground squirrels (Barrett 2005). Torpor begins in late June or early July when vegetation
   begins to dehydrate and desiccate, and lasts until late January or early February when squirrels
   emerge from their burrows.

   Currently, SIDGS habitat is dominated by exotic annuals and provides limited sagebrush cover
   with perennial herbaceous understories needed to support a stable squirrel population;
   medusahead is common throughout the area, especially on south aspects, and is indigestible for

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   SIDGS due to its high silica content. The majority of known SIDGS colonies occur on adjacent
   private lands (IDFG 2013). There is a paucity of SIDGS monitoring data for the area, but it is
   likely that SIDGS utilize habitat on the northerly aspects of public land to some degree, as these
   areas tend to support more native vegetation.

   Pygmy Rabbit - The pygmy rabbit is the smallest North American rabbit species (USFWS 2010).
   On September 30, 2010, the USFWS concluded that the pygmy rabbit does not currently warrant
   listing under the ESA (USFWS 2010). This species is typically found in areas of tall, dense
   sagebrush cover and are considered a sagebrush-obligate species because they are highly
   dependent on sagebrush to provide both food and shelter throughout the year (Green and Flinders
   1980; Katzner and Parker 1997). Pygmy rabbits have been found from 2,900 feet to over 6,000
   feet in elevation in southwestern Idaho. Although low sagebrush density and prevalence of
   cheatgrass provides marginal habitat, pygmy rabbits have been observed in the proposed lease
   area.

   Big Game
   The area provides limited winter habitat for antelope and mule deer as south slopes are typically
   dominated by annual grasses and do not support adequate shrub cover. Mule deer inhabiting the
   area are part of the Weiser-McCall Population Management Unit (IDFG 2010b). Deer winter
   range has been adversely impacted by wildfire, as fire has reduced the abundance of important
   shrub species such as bitterbrush and sagebrush that deer depend on for food and thermal cover
   during the winter. The spread of noxious weeds also poses a threat to mule deer winter range.
   The area may provide marginally better elk winter range because of their grass species dietary
   preferences even during winter. Elk inhabiting the area are part of the Weiser River Zone
   delineated by the Idaho Department of Fish and Game (IDFG). Threats to elk winter range
   habitat include noxious weed invasion such as yellow starthistle and whitetop (IDFG 2010a).
   Big game may avoid the area during late summer, fall, and winter due to lack of shrub cover on
   southerly slopes, reduced abundance of perennial grasses and forbs, and off-highway vehicle
   (OHV) activity. The proposed lease area occurs on the western edge of identified winter range
   and is characterized by regular human disturbance associated with low density rural residences
   and associated agricultural activities. Approximately 77% of the proposed lease area and 94% of
   lands associated with federal mineral reserves are considered big game winter range (Map 6).

   Aquatic Species
   Perennial and intermittent water sources provide breeding and brood-rearing habitat for a variety
   of amphibian, reptile, and fish species. Degraded water quality (e.g., increased temperature
   levels, sediment loads, and agricultural pollutants) and irrigation dewatering, especially in Little
   Willow Creek, may limit the suitability or productivity for some species. Adjacent uplands
   provide important foraging areas for amphibians and reptiles. Some species (e.g., western toad)
   may move up to 3.9 miles (1.2 miles on average) from breeding areas and occupy areas away
   from water sources (Bull 2006).

   Bats
   Up to 11 special status bat species could occur in the area. The species rely on natural (e.g.,
   tress, cliffs, and caves) or manmade (e.g., buildings) structures for roosting and hibernating.

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   They are typically nocturnal insect foragers in a variety of habitats including forest, shrub, grass,
   or agriculture dominated areas. Little brown bats typically forage up to 0.6 miles from a roost
   area; however, ranges diminish to predominantly 0.1 miles in July when females are lactating
   and insect densities are high (Henry et. al. 2002).

   3.6.2    Environmental Consequences - Wildlife/Special Status Animals
   Impacts to wildlife are based on the RFDS created for this document (Table 2, Appendix 1).

   3.6.2.1    General Discussion of Impacts
   The use of standard lease terms and stipulations could minimize, but not preclude impacts to
   wildlife. Oil and gas development which results in surface disturbance could directly and
   indirectly impact aquatic and terrestrial wildlife species. The scale, location, and pace of
   development, combined with implementation of mitigation measures and the specific tolerance
   of the species to human disturbance all influence the severity of impacts to wildlife species and
   habitats.

   Direct impacts would include disturbance or interruption of activities, vehicle collisions,
   powerline collisions and electrocutions, nest abandonment, habitat avoidance, displacement of
   wildlife species resulting from human presence and increased predation. Disturbances (e.g.,
   natural gas development activities, OHV use) can adversely affect songbird habitat use
   (Ingelfinger 2001; Barton and Holmes 2007). The impacts were greatest within 330 feet of high
   traffic volume roads where <60% population reductions occurred even when traffic volumes
   were less than 12 vehicles/day. Noise and human activities can disrupt key activities such as
   breeding displays, brooding, and foraging. Road mortality can be influenced by travel speed,
   species abundance, species susceptibility, coincidence of vehicle and animal activity, and
   proximity to key habitats. Hawks and owls are more susceptible to electrocution especially
   where wingspans are wider than the line spacing, whereas quail, pheasants, ducks, and songbirds
   are more susceptible to collision hazards (Bevanger 1998).

   Indirect impacts would include loss or reduction in suitability of habitat, improved habitat for
   undesirable (non-native) competitors, species or community shift to species or communities
   more tolerant of disturbances, barriers to species migration and dispersal, and habitat
   fragmentation. Increases in invasive and noxious weed species that displace native plant species
   would adversely affect habitat structure and quality, reducing habitat suitability for most species
   while favoring species that tolerate poor habitat quality.

   Migratory Birds and Raptors
   Construction and development activities can effect migratory bird’s nesting season from as early
   as February 15; however, activity from March 15th through August 15th poses the greatest
   impact to migratory birds by disrupting breeding behavior and breeding success. Nest
   occupancy for some species (e.g., golden eagle and ferruginous hawk) may not be affected
   during the production phase (Wallace 2014). Response to disturbances during winter, when
   birds are stressed by environmental conditions could adversely affect survivability. During the
   winter, 97% of raptors flushed when humans on foot were within 385 feet and 38% flushed

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   when vehicles were within 245 feet (Holmes et. al. 1993). Take of bald and golden eagles or
   any other migratory species would not be anticipated; however, take may occur indirectly as a
   result of vehicle collisions and other related actions associated with development.

   Burrowing Mammals
   Construction of well pads and roads could directly eliminate habitat. Vehicle traffic and
   increased raptor perch sites associated with powerlines and other infrastructure would increase
   mortality. Reduced habitat quality (e.g., increases in invasive annuals and noxious weeds) and
   increased fragmentation would adversely affect SIDGS annual body condition, survival rates,
   and population viability (Barrett 2005) and pygmy rabbit diet quality and cover (Larrucea and
   Brussard 2008).

   Big Game
   Well pad and road construction would reduce available habitat. Roads and associated
   disturbances would reduce suitability of adjacent habitat. Short and long-term responses to
   development and production activities vary by species and habitat type (Hebblewhite 2008).
   Mule deer avoided areas when development was initiated and did not become acclimated to
   activities as time passed; instead, avoidance distances increased as development progressed
   (Sawyer et. al. 2006). The distance animals were displaced increased from 1.7 to 2.3 miles away
   from well pads during the first three years of development. Mule deer densities decreased 46%
   in the developed area over a four year period. Animals forced to winter at higher elevations with
   increased snow levels would have reduced survival rates. Habitat loss and fragmentation were
   better predictors of antelope winter habitat use than distance to well pads and roads (Beckman et.
   al. 2008). In areas with relatively limited pre-development disturbance, major ungulate
   responses (e.g., avoidance or abandonment) could occur when oil and gas development of 0.3­
   1.3 wells/mi2 and 0.3-1.6 linear road miles/mi2 occurred (Hebblewhite 2008).

   Aquatic Species
   Noise and lights from development activities could disrupt breeding behavior annually. Road
   mortality would affect species that spend part of their life cycle in terrestrial habitats (Carr 2002).
   Pollutants discharged into aquatic systems could cause behavioral changes, mutations, or
   mortality at all life stages (Lefcort et. al. 1998).

   Bats
   Lights and noise associated with human activities could cause short-term disruptions in foraging
   behavior and success. Persistent disturbances near roost sites could cause avoidance or
   abandonment. Bat responses to disturbances vary by species, and some species (e.g., big brown
   bat) may be more tolerant than others (Duchamp et. al. 2004). Infrastructure (e.g., powerlines)
   could cause increased collision mortality. Actions that reduce insect productivity (e.g., reduced
   habitat quality, pollutants) would reduce available prey.

   3.6.2.2 Alternative A
   Migratory Birds and Raptors
   Development of two wells and associated infrastructure would have minor adverse short- and
   long-term disturbance, mortality, and habitat quality reduction impacts. An additional 0.5 miles

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   of roads would cause a negligible increase in fragmentation and disturbance. Low levels of
   localized disturbance would occur throughout the year over the long term. Up to 7 acres of
   habitat would be directly eliminated and use would be reduced on 70 acres because of
   disturbance.

   Burrowing Mammals
   Development of two wells and associated infrastructure would have minor adverse short- and
   long-term mortality and habitat quality reduction impacts. An additional 0.5 miles of roads and
   powerlines would cause a minor increase in SIDGS mortality. Up to 7 acres of habitat would be
   directly eliminated. Depending on the location of roads and well pads, impacts to pygmy rabbits
   could be negligible (development >0.35 miles from sagebrush) to major (development in an
   occupied sagebrush stand).

   Big Game
   Depending on their location and animal responses, development of two wells and associated
   infrastructure would have minor (wells adjacent to existing disturbances that animals have
   become habituated to) to major (at least one well on the east side of the lease area that effectively
   keeps animals from using the remainder of the lease area) disturbance impacts. Changes in
   habitat fragmentation (beyond the disturbance component) and habitat quality would have minor
   adverse long-term impacts. Animals habituated to low levels of disturbance could be displaced
   to adjacent agricultural areas over the short term when moderate or greater development
   disturbances occur during winter use periods.

   Aquatic Species
   Depending on their location, development of two wells and associated infrastructure would have
   negligible (>0.5 miles from wetland/riparian habitat with no possibility of pollution input) to
   moderate (<0.1 miles from wetland/riparian habitat with potential pollution input) disturbance
   and pollutant impacts.

   Bats
   Development of two wells and associated infrastructure would have negligible (located >0.75
   miles from roost sites) to minor (located <0.5 miles from roost sites) adverse short- and long­
   term disturbance, mortality, and prey reduction impacts.

   3.6.2.3 Alternative B
   No direct habitat loss (77 acres of well pads and roads) would occur on the 6,349 acre federal
   mineral estate until the FRMP was implemented; however, loss could occur in adjacent areas that
   are developed prior to FRMP implementation. Stipulations derived from the FRMP could help
   mitigate impacts described below.

   Migratory Birds and Raptors
   Development of 22 wells and associated infrastructure would have moderate to major adverse
   short- and long-term disturbance, mortality, and habitat quality reduction impacts. An additional
   5.5 miles of roads would cause a major increase in fragmentation and disturbance because
   regular activity would occur in most of the proposed lease area. Moderate levels of disturbance

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   would occur throughout the year and lease area over the long term. Up to 77 acres of habitat
   would be directly eliminated and use would be reduced on 770 acres because of disturbance.

   Burrowing Mammals
   Development of 22 wells and associated infrastructure would have moderate to major adverse
   short- and long-term mortality and habitat quality reduction impacts. An additional 5.5 miles of
   roads and powerlines would cause minor to moderate increases in SIDGS mortality. Up to 77
   acres of habitat could be directly eliminated. Habitat quality changes would adversely affect
   both species; however, impacts to pygmy rabbits would be greater because of their year-round
   activity patterns. Depending on the location of roads and well pads, impacts to pygmy rabbits
   could be negligible (development >0.35 miles from sagebrush) to major (development in an
   occupied sagebrush stand).

   Big Game
   Development of 22 wells (1 well/mi2) and associated infrastructure would have moderate to
   major adverse short- and long-term disturbance, habitat fragmentation, and habitat quality
   reduction impacts. Road densities would increase to 1.7 miles/mi2, but vehicle traffic throughout
   the area would increase substantially, especially during the development phase. Existing
   unmaintained roads would be upgraded and become potentially more accessible throughout the
   year and to a greater number of users, increasing disturbance and fragmentation. Access
   restrictions by private landowner could limit disturbances to development and production
   activities. The activities would make the area unsuitable winter range for animals that do not
   become habituated to higher disturbance levels. Animals habituated to low levels of disturbance
   could be displaced to adjacent agricultural areas over the short and long (until development is
   completed) term when moderate or greater development disturbances occur during winter use
   periods. Increases in invasive and noxious weed species would further degrade habitat; however,
   improved access that helps fire suppression efforts could reduce fire size and associated habitat
   loss.

   Aquatic Species
   Development of 22 wells and associated roads would have minor to moderate adverse short- and
   long-term disturbance, mortality, and pollutant impacts. Ponds and streams downslope from
   well pads would be most susceptible to surface-flow pollutant impacts. Contaminated ground
   water that connects to streams could have negligible (short-term, non-toxic pollutants) to major
   (persistent toxicant introduced) adverse impacts on up to 5.8 miles of perennial streams in the
   proposed lease area and potentially downstream areas.

   Bats
   Development of 22 wells and associated infrastructure would have minor (disturbance located
   >0.75 miles from roost sites) to moderate (located <0.5 miles from roost sites) adverse short- and
   long-term disturbance, mortality, and prey reduction impacts. Disturbance tolerant species
   would be less affected than intolerant species. Reduced insect production associated with
   decreased habitat quality would adversely affect all species over the long term.



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   3.6.2.4 Alternative C
   Migratory Birds and Raptors
   Development of 25 wells and associated infrastructure would have similar disturbance, mortality,
   and habitat quality reduction impacts as described in Alternative B (Section 3.6.2.3). An
   additional 6.8 miles of roads would cause a major increase in fragmentation because roads would
   occur throughout the lease area. Up to 88 acres of habitat would be directly eliminated and use
   would be reduced on 875 acres because of disturbance. Winter and spring surface use
   restrictions would reduce or eliminate lessee-related disturbance and mortality impacts during
   critical periods; however, increased access by non-lessee users could offset those benefits. No
   surface occupancy within 0.5 miles of heron rookeries would minimize lessee-related
   disturbances and habitat impacts.

   Burrowing Mammals
   Development of 25 wells (1 well/mi2) and associated infrastructure would have moderate adverse
   short- and long-term mortality and habitat quality reduction impacts. An additional 6.8 miles of
   roads and powerlines would cause minor to moderate increases in SIDGS mortality. Avoidance
   of burrow sites would eliminate direct impacts to those important areas, but up to 88 acres of
   foraging habitat could be eliminated and infrastructure that increases disturbance and raptor
   perch sites could adversely affect adjacent burrow sites. Habitat quality change impacts would
   be as described in Alternative B (Section 3.6.2.3). Controlled surface use restrictions would
   benefit burrowing mammals that occur in restricted areas by reducing (winter and spring
   restrictions that coincide with critical periods of pygmy rabbits) or eliminating (spring
   restrictions that coincide with SIDGS active periods) lessee-related disturbances.

   Big Game
   Development of 25 wells and associated infrastructure would have moderate to major adverse
   short- and long-term disturbance, habitat fragmentation, and habitat quality reduction impacts.
   Road densities would increase to 1.8 miles/mi2, but controlled surface use restrictions would
   reduce or eliminate lessee-related disturbances during the winter. If exceptions are granted to
   surface use restrictions, then disturbances from development and production activities could have
   minor (1-2 one-day exceptions during the course of a winter) to major (exceptions throughout the
   winter) short and long terms impacts similar to those described in Alternative B (Section
   3.6.2.3). If exceptions are minimalized, animals would be less likely to move to adjacent
   agricultural lands (as described in Alternative B, Section 3.6.2.3). Other road-related and habitat
   quality impacts would be as described in Alternative B (Section 3.6.2.3). Overall winter range
   suitability could be similar to Alternative B or slightly improved depending on how animals
   respond to infrastructure and wells despite surface use restrictions.

   Aquatic Species
   Surface occupancy and pollutant restrictions would minimize or eliminate development and
   production related disturbance, mortality, and pollutant impacts to key aquatic habitat.
   Development of 25 wells and associated roads would have minor to moderate adverse short- and
   long-term disturbance and mortality impacts to species that utilize areas >500 feet from riparian
   habitats.


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   Bats
   Development of 25 wells and associated infrastructure would have similar disturbance, mortality,
   and prey reduction impacts described in Alternative B (Section 3.6.2.3). Spring controlled
   surface use restrictions and riparian habitat buffers would benefit bats by reducing or eliminating
   activities in important foraging and roosting areas.

   3.6.3     Mitigation
    Measures would be taken to prevent, minimize, or mitigate impacts to terrestrial and aquatic
    species from exploration and development activities. Lease stipulations to mitigate impacts on
    wildlife would be placed on leases for crucial winter range (timing limitation), migratory birds
    and raptors (controlled surface use), burrowing mammals (lease notice), Endangered Species
    Act (Section 7 Consultation), and fragile soils (lease notice) stipulations which would protect
    additional habitat. Prior to authorization, activities would be evaluated on a case-by-case basis,
    and the project could be subject to additional mitigative COAs. Mitigation could include rapid
    revegetation, project relocation (<660 feet), or pre-disturbance wildlife species surveying. If oil
    and gas development is proposed in suitable habitat for threatened or endangered species,
    consultation with the USFWS would occur to determine if additional terms and conditions
    would need to be applied. Adherence to Avian Powerline Interaction Committee (APLIC)
    guidelines could help reduce or eliminate electrocution mortality.

    The following operational measures would help reduce wildlife impacts. If drilling operations
    require evaporation ponds, cover ponds with nets to exclude migratory birds. Ponds should be
    checked frequently (daily) for trapped wildlife. Report trapped wildlife (live and dead) to BLM,
    FWS, and IDFG no later than 24 hours of initial discovery. Lighting at sites should be directed
    specifically to where needed to minimize potential impacts to wildlife and turned off when not
    in use. To minimize predators or nuisance wildlife at work sites, place an appropriately sized
    dumpster with lid at each site during construction activities and check/dump as needed. Prohibit
    workers from bringing dogs to well sites during drilling and site maintenance actions to avoid
    predation/harassment of wildlife. Enforce speed limits of 25 MPH on spur roads and well pads
    to reduce wildlife collision risk.

   3.6.4     Cumulative Impacts - Wildlife/Special Status Animals
   Cumulative impacts to wildlife are based on the RFDS created for this document (Appendix 1)
   and the actions discussed below.

   3.6.4.1    Scope of Analysis
   The 81,518-acre CIAA (13% BLM, 4% State, and 83% private) includes a 3-mile buffer around
   the proposed lease area and north of the Payette River (Map 6). This area was selected because
   it corresponds to typical foraging or dispersal movements or disturbance response distances for a
   variety of species. The lease period of 10 years will be used for the temporal analysis limit
   because most disturbance impacts are associated with lease activities and site reclamation would
   address some longer term impacts such as habitat quality and fragmentation.




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   3.6.4.2 Current Conditions and Effects of Past and Present Actions
   The CIAA supports the same species described above. Migratory birds and raptors are common
   throughout the area. Pygmy rabbits are uncommon and SIDGS are present throughout most of
   the area. About 60% of the area, primarily in the north and east, is considered big game winter
   range. Approximately 36 miles of perennial streams and river provide marginal to suitable
   habitat for aquatic species.

   Vegetative Cover and Habitat Conditions - Sagebrush and other shrubs (26,809 acres; 33% of
   CIAA), exotic annuals (29,807 acres; 37%), agriculture/urban (16,531 acres; 20%), and perennial
   bunchgrass (7,936 acres; 10%) comprise the majority of cover types. Sagebrush understory
   conditions vary by slope and aspect, with steeper and north facing slopes generally having a
   more intact native understory than gentler and south facing slopes. Approximately 79% of the
   area has burned one or more times, with most of the fires occurring during the 1980s. Where
   shrubs have become re-established in areas burned prior to 1990, exotic annuals are dominant or
   co-dominant in the understory. Conditions on the Little Willow (14 miles) and Big Willow (11.8
   miles) creeks are similar to those described above. The Payette River (9.8 miles) is characterized
   by cottonwood and willow overstories with shrub and herbaceous understories.

   Disturbance - The CIAA is characterized by low density rural development. Disturbance factors
   include agricultural activities, OHV use, hunting, and other recreational uses. Nonresident
   access is restricted in much of the CIAA by private landowners. Recreational use is greatest
   during the spring and fall.

   Roads - There are approximately 197 miles of roads (1.5 miles/mi2) including 9.3 miles of
   highway, 45 miles of maintained roads, and 142.7 miles of unmaintained roads. The majority of
   maintained roads are associated with developed areas on Little Willow and Big Willow creeks or
   the Payette River. There are 9 miles of designated trails east of the Big Willow and Stone
   Quarry roads junction. Within big game winter range, approximately 1,172 acres are designated
   as closed to motorized vehicles, 127 acres are designated as open, and the remainder are
   designated limited to existing roads.

   Powerlines - The CIAA includes two transmission lines (26.5 miles) and numerous distribution
   lines (74.7 miles). Transmission lines are built to APLIC standards; however, most distribution
   lines are not. Therefore, both types represent collision hazards, but only the distribution lines
   represent electrocution hazards. The majority of distribution lines are within 0.3 miles of Little
   Willow and Big Willow creeks or the Payette River.

   Livestock Grazing - The CIAA includes all or portions of 10 BLM-administered livestock
   grazing allotments (32,550 acres; 40% of CIAA). The allotments are used primarily during the
   spring, with some season long (e.g., Kauffman) or winter (e.g., Sand Hollow) use occurring.
   Undeveloped private lands outside BLM allotments and agricultural fields (fall-winter) are also
   used for grazing.




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   3.6.4.3 Reasonably Foreseeable Future Actions
   Oil and Gas Lease Development and Production - There are 11 existing or planned wells (Map
   1, lOGCC 2014). There are approximately 4,960 acres of State-managed mineral resources,
   some of which have been leased, but drilling has not been initiated. Exploration is currently
   being conducted in the eastern two-thirds of the CIAA. Approximately 15 wells could be drilled
   in the Willow Field between the Payette River and the proposed lease area.

   Agricultural/Residential Development - Development causes a direct loss of wildlife habitat and
   activities associated with the developed areas can cause disturbance over the long term. Limited
   residential development would occur on the western boundary of the CIAA. Negligible
   increases in agricultural development would be expected because of limited water resources. If
   water resources decline, some fields could go fallow, creating marginal wildlife habitat. New
   development would require additional powerlines and other infrastructure.

   Recreation Uses - Off-highway vehicle use would be expected to remain static (e.g., increased
   access restrictions imposed by private landowners) or increase (e.g., in response to increasing
   populations) over time. Approximately 384 acres along the Payette River are managed by the
   IDFG in the Payette River Wildlife Management Area to benefit wildlife and sportsmen.

   Wildfire - Although not planned events, wildfires would be expected to periodically occur and
   may increase in size and frequency in response to climate change. Loss of shrubs and increased
   dominance of exotic annuals in burned areas would reduce habitat structure and quality over the
   short term. Adverse effects would persist over the long term where native perennials don’t re­
   establish.

   3.6.4.4 Alternative A - Cumulative Impacts
   Two additional wells and associated infrastructure would have negligible additive disturbance,
   mortality, habitat quality reduction, and fragmentation impacts over the short and long term.
   Ongoing activities and existing roads and powerlines would cause minor (away from developed
   areas) to moderate (adjacent to developed areas along Little Willow and Big Willow creeks)
   disturbance and mortality impacts throughout the CIAA. Livestock grazing, especially in
   consistent spring use areas, would favor exotic annuals and early seral native and non-native
   species throughout undeveloped portions of the CIAA. Development and production activities
   of at least 26 wells would have moderate disturbance, mortality, and fragmentation impacts over
   the short and long term on approximately 20% of the CIAA. The majority of wells would be
   within 0.5 miles of perennial streams, but only nine wells would be within 1.5 miles of big game
   winter range. Additional agricultural and residential development would have minor
   disturbance, habitat loss, and fragmentation impacts over the long term. Depending on size,
   wildfires would have minor to major long-term adverse impacts on habitat quality and
   fragmentation.

   3.6.4.5 Alternatives B and C - Cumulative Impacts
   Development and production activities at 22 to 25 wells in the proposed lease area would have
   moderate additive disturbance, mortality, habitat quality reduction, and fragmentation impacts

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   over the short and long term. Timing and other restrictions in Alternative C wells would help
   reduce spatial and temporal overlap with other disturbances (e.g., other oil and gas development,
   recreation use) and habitat quality and fragmentation impacts. Impacts from ongoing and
   foreseeable future actions would be as described in Alternative A (Section 3.6.4.4).

   3.7     Cultural Resources

   3.7.1     Affected Environment - Cultural Resources
   The BLM is responsible for identifying, protecting, managing, and enhancing cultural resources
   which are located on public lands, or that may be affected by BLM undertakings on non-Federal
   lands, in accordance with the National Historic Preservation Act (NHPA) of 1966, as amended.
   The procedures for compliance with the NHPA are outlined in regulation under 36 CFR 800.
   Cultural resources include archaeological, historic, and architectural properties, as well as
   traditional life-way values and/or traditional cultural properties important to Native American
   groups.

   Common prehistoric archaeological site types in Payette County include rock art, artifact
   scatters, burials, and tool manufacture. Common historic archaeological sites are the remains of
   farmsteads, homesteads, depressions, artifact scatters, foundations, cabins, sheepherder camps,
   and historic inscriptions.

   A literature search (Level I or Class I) of Idaho State Historic Preservation Office records and a
   2001 Class III survey (498 acres associated with Idaho Power right-of-way) identified 11 sites
   within a one-mile search radius. Records were reviewed to determine what types and numbers of
   known cultural resources are present within or adjacent to the lease area. Seven sites are
   prehistoric, three sites are historic, and one site includes prehistoric and historic artifacts. None
   of the sites were considered eligible for listing on the National Register of Historic Places
   (NRHP).

   3.7.2    Environmental Consequences - Cultural Resources
   Impacts to cultural resources are based on the RFDS created for this document (Table 2,
   Appendix 1).

   3.7.2.1     General Discussion of Impacts
   Ground disturbing activities could alter the characteristics of an eligible property by diminishing
   the integrity of the property's location, design, setting, materials, workmanship, feeling, or
   association. Other effects to cultural resources from surface disturbance activities include the
   destruction, damage, or alteration to all or part of the cultural resource and diminishing the
   property’s significant historic features as a result of the introduction of visual, atmospheric, or
   audible elements. Activities that adversely affect adjacent vegetation conditions and soil
   stability could increase erosion that would degrade or destroy site context.




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   3.7.2.2 Alternative A
   Development of two wells and associated infrastructure could adversely affect cultural resources
   on private lands.

   3.7.2.3 Alternative B
   Leasing with a NSO stipulation would preclude ground disturbing impacts to cultural resources
   on 6,349 acres. Changes in vegetation condition and erosion could have negligible long-term
   impacts for eligible properties adjacent to ground disturbing activities.

   3.7.2.4 Alternative C
   Compliance with Cultural Resources S-2 would ensure that no sites would be disturbed or
   destroyed before they are inventoried and evaluated for eligibility for listing in the NRHP.
   Historic and archeological sites that are eligible for listing in the National Register of Historic
   Places or potentially eligible to be listed would either be avoided or have the information in the
   sites extracted through archeological data recovery prior to surface disturbance.

   3.7.3     Mitigation
   Specific mitigation measures including site avoidance, excavation, or data recovery would have
   to be determined when site-specific development proposals are received. Most surface­
   disturbing situations for cultural resources would be avoided by project redesign or relocation.
   Unavoidable, significant properties would be site-specifically mitigated with concurrence with
   the State Historic Preservation Office prior to implementation of a project.

   3.7.4    Cumulative Impacts - Cultural Resources
   Because the alternatives would cause none to negligible impacts to cultural resources,
   cumulative impacts will not be discussed.

   3.8     Paleontological Resources

   3.8.1     Affected Environment - Paleontological Resources
   According to Section 6301 of the Paleontological Resource Protection Act of 2009 Omnibus
   Public Lands Bill, Subtitle D, SEC. 6301, paleontological resources are defined as “any
   fossilized remains, traces, or imprints of organisms, preserved in or on the earth’s crust, that are
   of paleontological interest and that provide information about the history of life on earth”
   (Paleontological Resource Protection Act of 2009 Omnibus Lands Bill, Subtitle D, SEC. 6301­
   3612 (P.L. 59-209; 34 Stat. 225; 16 U.S.C. 431-433). Significant fossils are defined by BLM
   policy as including all vertebrate fossil remains and those plant and invertebrate fossils
   determined to be scientifically unique, on a case-by-case basis. Paleontological resources do not
   include archaeological and cultural resources.

   The proposed lease area includes Miocene (sedimentary rocks associated with flood basalts; 5-23
   million years BP) and Pleistocene and Pliocene (older sediments and sedimentary rocks, gravel,
   sand, and silt deposited in fans; 11,700 to 5.3 million years BP) epochs, and Quaternary (alluvial
   gravel, sand, and silt deposits associated with Little and Big Willow creeks; 0-2.6 million years

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   BP) period deposits. Paleontological surveys have not been conducted in the proposed lease
   area; however, a diversity of fossiliferous resources could be expected to occur and fossilized
   remains of horse, beaver, camel, and elephant-like animals have been found in the Glenns Ferry
   Formation (Erasthem-Vanir 2009).

   The BLM utilizes the Potential Fossil Yield Classification (PFYC) as a planning tool for
   identifying areas with high potential to yield significant fossils. The system consists of numbers
   ranging from 1 -5 (low to high) assigned to geological units, with 1 being low potential and 5
   being high potential to have significant fossil resources. The potential to yield significant fossil
   resources is never 0. It is anticipated that most significant fossil resources are located in those
   geologic units with a PFYC of 3 or greater. However, significant fossil resources could be
   discovered anywhere. Rock units not typically fossiliferous can in fact contain fossils in unique
   circumstances.

   The BLM classified geologic formations that have a high Potential Fossil Yield Classification
   (PFYC) of 3 or higher should be specifically reviewed for paleontological resources. Much of
   the proposed lease area falls within the Glenns Ferry Formation which has a Class 5
   PFYC and should be evaluated for fossil resources before and potentially during ground­
   disturbing activities.

   3.8.2    Environmental Consequences - Paleontological Resources
   Impacts to paleontological resources are based on the RFDS created for this document (Table 2,
   Appendix 1). The analysis assumes that surveys conducted prior to ground disturbing activities
   would identify paleontological resources on the surface (see CSU 12 and LN 7).

   3.8.2.1    General Discussion of Impacts
   Surface-disturbing activities could potentially alter the characteristics of paleontological
   resources through damage, fossil destruction, or disturbance of the stratigraphic context in which
   paleontological resources are located, resulting in the loss of important scientific data. Identified
   paleontological resources could be avoided by project redesign or relocation before project
   approval which would negate the need for the implementation of mitigation measures. Increased
   public access could result in vandalism or collection of paleontological resources. Conversely,
   surface-disturbing activities could potentially lead to the discovery of paleontological localities
   that would otherwise remain undiscovered due to burial or omission during review inventories.
   The scientific retrieval and study of these newly discovered resources would expand our
   understanding of past life and environments of Idaho.


   3.8.2.2 Alternative A
   Infrastructure development associated with two wells could directly impact paleontological
   resources on up to 7 acres on private lands. Increased public access could expose areas
   surrounding new roads to negligible to minor vandalism or collection impacts.




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   3.8.2.3 Alternative B
   Infrastructure associated with 22 wells would not occur on 6,349 acres of BLM-administered and
   split estate lands; therefore, there would be no direct impacts to paleontological resources in
   these areas. Direct impacts could occur on up to 77 acres of private lands where development
   does occur. Increased access could have negligible (private landowners restrict public access) to
   moderate (access is not restricted) vandalism and collection impacts.

   3.8.2.4 Alternative C
   Infrastructure development associated with 25 wells could directly affect up to 88 acres;
   however, identification and avoidance or documentation/collection would minimize these
   impacts. Impacts from increased access would be as described in Alternative B (Section
   3.8.2.3).

   3.8.3     Mitigation
   The application of lease terms, the paleontological conditional surface use stipulation (CSU 11),
   and the paleontological lease notice (LN 7) at leasing, provides protection to paleontological
   resources during development. The paleontological lease notice is applied to all lease parcels,
   requiring a field survey prior to surface disturbance. These survey requirements could result in
   the identification of paleontological resources. Avoidance of significant paleontological
   resources or implementation of mitigation prior to surface disturbance would protect
   paleontological resources.

   However, the application of lease terms only allows the relocation of activities up to 200 meters,
   unless otherwise documented in the NEPA document, and cannot result in moving the activity
   off lease. Specific mitigation measures could include, but are not limited to, site avoidance or
   excavation. Avoidance of paleontological properties would be a best management practice.
   However, should a paleontological locality be unavoidable, significant fossil resources must be
   mitigated prior to implementation of a project. These mitigation measures and contingencies
   would be determined when site specific development proposals are received.

   3.8.4      Cumulative Impacts - Paleontological Resources
   Because paleontological resource impacts would be avoided or mitigated on BLM-administered
   and split estate lands, cumulative impacts will not be discussed.

   3.9     Recreation

   3.9.1     Affected Environment - Recreation
   BLM only manages recreational opportunities and experiences on BLM-administered surface
   lands. Recreational activities enjoyed by the public on BLM lands in the proposed lease area
   include hunting, hiking, and OHV activities. Benefits and experiences enjoyed by recreational
   users include opportunities for solitude, spending time with families, enhancing leisure time,
   improving sports skills, enjoying nature, and enjoying physical exercise. The 997 acres of BLM-
   administered lands proposed for lease have limited legal public access (i.e., no public easements
   or rights-of-way across private property). The lack of public access limits use of the BLM

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   parcels for recreational use by the general public. None of the BLM-administered lands occur in
   special recreation management areas (SRMAs) or recreation areas. Motorized use on BLM-
   administered lands is limited to existing roads and trails.

   3.9.2    Environmental Consequences - Recreation
   Impacts to recreation are based on the RFDS created for this document (Table 2, Appendix 1).

   3.9.2.1   General Discussion of Impacts
   Road construction that leads to or across BLM-administered lands would create or improve
   public access to those lands. However, access across private lands between public rights-of-way
   and public lands would still be at the discretion of the landowner. Noise and traffic associated
   with development and production could detract from the rural physical and social setting or
   disrupt some activities (e.g., hunting).

   3.9.2.2 Alternative A
   Infrastructure development associated with two wells would create none to negligible increases
   in BLM-administered land access. Public lands would be beyond the potential well sites;
   therefore, no new roads would be constructed to BLM-administered lands. Development and
   production activities would cause negligible adverse changes in user experiences.

   3.9.2.3 Alternative B
   Infrastructure associated with 22 wells would not occur on 6,349 acres of BLM-administered and
   split estate lands; therefore, there would be none to negligible increases in BLM-administered
   land access. Development and production activities would cause minor to moderate (e.g.,
   activities adversely affect game species) adverse changes in user experiences.

   3.9.2.4 Alternative C
   Infrastructure development associated with 25 wells would create minor improvements in BLM-
   administered land access. Most BLM parcels have existing road access; therefore, upgrading
   those roads could allow better year-round access by a wider range of users. Development and
   production activities could cause minor to moderate (e.g., activities adversely affect game
   species) adverse changes in user experiences.

   3.9.3   Mitigation
   Because of the isolated nature of public lands in the area, no mitigation would be required.

   3.9.4     Cumulative Impacts - Recreation
   Because the alternatives would cause primarily none to minor impacts to recreation activities and
   experiences and public land access is at the discretion of private landowners, cumulative impacts
   will not be discussed.

   3.10    Visual Resources Management



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   3.10.1 Affected Environment - Visual Resources Management
   Visual Resource Management (VRM) is the system used to designate and manage the visual
   resources on public land. In the lease area, the CRMP designated 112 acres as Class III and 885
   acres as Class IV (Map 7). A Class III VRM area classification means the level of change to the
   character of the landscape should be moderate. Changes caused by management activities
   should not dominate the view of the casual observer and should not detract from the existing
   landscape features. Any changes made should repeat the basic elements found in the natural
   landscape such as form, line, color and texture. A Class IV VRM area classification means that
   the characteristic landscape can provide for major modification of the landscape. The level of
   change in the basic landscape elements can be high. However, every attempt should be made to
   minimize the impact of these activities through careful location, minimal disturbance, and
   repeating the basic elements. An existing 230 kV line traverses Class III and IV lands in the
   northern portion of the proposed lease area. Human influences are relatively unnoticeable on the
   remainder of BLM-administered lands that are characterized by mixed vegetation communities,
   fencing, and unimproved two-track roads.

   3.10.2 Environmental Consequences - Visual Resources Management
   Impacts to visual resources are based on the RFDS created for this document (Table 2, Appendix
   1).

   3.10.2.1 General Discussion of Impacts
   Disturbance of existing vegetation and creation of permanent linear (e.g., roads, powerlines) and
   point (e.g., well pads and structures) features would alter the form, line, color, and texture of the
   natural landscape.

   3.10.2.2 Alternative A
   Development of two wells on private lands would have no impact on VRM characteristics.

   3.10.2.3 Alternative B
   Development of 22 wells on private lands would have no impact on VRM characteristics.

   3.10.2.4 Alternative C
   Development of wells and associated infrastructure on BLM-administered lands could have
   negligible (Class IV) to minor (Class III) adverse impacts on visual resources. It would
   introduce more noticeable man-made structures to the natural environment.

   3.10.3 Mitigation
   All oil and gas development would implement, as appropriate for the site, BLM BMPs for VRM,
   regardless of the VRM class. This includes, but would not be limited to, proper site selection,
   reduction of visibility, minimizing disturbance, selecting color(s)/color schemes that blend with
   the background and reclaiming areas that are not in active use. Repetition of form, line, color
   and texture when designing projects would reduce contrasts between landscape and
   development. Wherever practical, no new development would be allowed on ridges. Overall,
   the goal would be to not reduce the scenic values that currently exist.

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   3.10.4 Cumulative Impacts - Visual Resources Management
   Because the changes associated with the potential development would be in conformance with
   VRM guidance for Class III and IV lands, cumulative impacts will not be discussed.

   3.11     Lands and Realty

   3.11.1 Affected Environment - Lands and Realty
   Lands and realty actions will only occur on BLM-administered surface lands. The affected
   environment consists of 997 acres of BLM-administered public lands (or 16% of the total
   acreage proposed for lease). Rights-of-way currently exist for an Idaho Power 230-kV powerline
   (IDI-13054; 0.53 miles long by 100 feet wide; 6.4 acres) and associated access roads (1.71 miles
   of roads 14 feet wide; 2.9 acres) and for the Little Willow Irrigation District’s Nelson Canal
   (IDB-0019666; 0.12 miles) (Map 7).

   3.11.2     Environmental Consequences - Lands and Realty

   3.11.2.1 General Discussion of Impacts
   Standard oil and gas lease terms recognize prior existing rights. Development activities could
   require rights-of-way that overlay and adversely affect existing rights-of-way. Rights-of-way
   applications would be analyzed through a NEPA process that would identify potential resource
   impacts which would likely be similar to impacts described in this document.

   3.11.2.2 Alternative A
   Development of two wells and associated infrastructure would not affect existing public lands or
   rights-of-way. The IDI-13054 right-of-way is >2 miles north of the proposed well sites.

   3.11.2.3 Alternative B
   Development of 22 wells and infrastructure outside BLM-administered mineral rights would not
   directly affect IDI-13054. Activity could occur within a 0.6-mile segment of the powerline
   corridor that occurs on private lands.

   3.11.2.4 Alternative C
   Development of 25 wells and associated infrastructure would have a negligible impact on IDI-
   13054. Roads associated with the right-of-way could be improved and used for oil and gas
   infrastructure which would improve access to the powerline. The powerline right-of-way
   occupies <1% of BLM-administered lands and occurs to the north of where infrastructure would
   likely occur; therefore, it could be readily avoided.

   3.11.3 Mitigation
   The split estate lease notice would require the lessee to attempt to work with the surface owner
   through execution of a Surface Use Agreement. A bond would be required, for the benefit of the
   surface owner, if no agreement was reached. Measures would be taken to avoid disturbance or
   impacts to existing rights-of-way, in the event of any oil and gas development activities. Any
   new “off-lease” or third party rights-of-way required across federal surface for exploration

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   and/or development would be subject to lands and realty stipulations to protect other resources as
   determined by environmental analyses. In order to protect the existing rights-of-way it is
   recommended that LN-7 be applied to lease parcels associated with IDI-13054 and IDB-
   0019666.

   3.11.4 Cumulative Impacts - Lands and Realty
   Because the alternatives would cause no or negligible impacts to the existing rights-of-way,
   cumulative impacts will not be discussed.

   3.12    Livestock Management

   3.12.1 Affected Environment - Livestock Management
   The proposed lease area includes portions of five BLM-administered grazing allotments (Map 8).
   The allotments are permitted for cattle and use periods are in the spring, spring through fall, or
   winter (Table 9). Total allotment sizes range from 1,488 acres (Danke Allotment) to 15,643
   acres (Sand Hollow Allotment), with federal mineral estate affecting 306 acres (Sand Hollow
   Allotment) to 1,095 acres (Danke Allotment) (Table 10). The allotments have several range
   improvements including fences, stock ponds, wells, and roads (Map 8). Livestock grazing is not
   currently permitted on 184 acres of BLM-administered lands in the proposed lease area.

   Table 9. Permit information for five allotments affected by proposed Little Willow Creek lease, Payette
   County, Idaho.
     Allotment                         Permittee             Livestock         Season of Use     Permitted
     Name                  Number                        Kind        #                           AUMs
     Dannke                 00084      Larry Dahnke        C        150          4/1 - 5/15          58
     Hashagen               00248      Wolfe Ranches       C        112         3/16 - 4/15*        114
     Kauffman               00163      Randall             C        200        4/1 - 10/10**         25
     Rock Quarry Gulch      20131      Kauffman            C        130          4/11-8/10          115
                                       Rocky Comfort
     Sand Hollow            00254                          C       1,302       10/26-3/15***          1,509
                                       Cattle Co.
   *Season and numbers are not restricted to those shown above provided overuse and deterioration do not
   occur to the federal range.
   **Livestock numbers will be coordinated between BLM and the Lessee and may vary within the
   permitted use period, however, AUMs may not be exceeded. Any change to the scheduled use requires
   prior approval.
   ***Season and numbers of livestock are not restricted to those shown above provided overuse and
   deterioration does not occur to the public lands and the use is covered by the OX CRMP.

   Table 10. Federal mineral reserve acres by allotment, amount of allotment in lease area, and total
   allotment size (acres) for five allotments affected by proposed Little Willow Creek lease, Payette County,
   Idaho.
    Allotment            Federal Mineral Reserve         Lease Area                 Allotment Total
                           BLM         Private         BLM     Private     BLM      State Private       Total
    Dannke                      269          826         269        992       496        0      992      1,488
    Hashagen                    198          743         198      1,619       511        0    1,901      2,412
    Kauffman                     57          613          57      1,335        67        0    1,770      1,837
    Rock Quarry Gulch           217          824         217      1,620       563        0    1,940      2,503
    Sand Hollow                  59          247          59        669     4,935     603    10,105     15,643

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   There are 23.1 miles of allotment boundary and 3.5 miles of pasture fencing in the five
   allotments. Natural or reservoir water sources occur in the Hashagen and Kaufman allotments.

   3.12.2 Environmental Consequences - Livestock Management
   Impacts to livestock management are based on the RFDS created for this document (Table 2,
   Appendix 1).

   3.12.2.1 General Discussion of Impacts
   Standard oil and gas lease terms recognize prior existing rights. Oil and gas development would
   result in a loss of vegetation for livestock grazing (e.g., direct removal, introduction of
   unpalatable plant species), decreased vegetation palatability due to fugitive dust, disrupted
   livestock management practices, increased vehicle collision injuries and mortalities, altered
   water quality and availability, and decreased grazing capacity (Fowler and Witte 1985). These
   impacts would vary from short-term impacts to long-term impacts depending on the development
   level, reclamation success, and the type of vegetation removed.

   Oil and gas development activity would reduce BLM’s ability to manage livestock grazing while
   meeting or progressing towards meeting the Idaho Standards of Rangeland Health (USDI 1997).
   Development and associated disturbances could reduce available forage or alter livestock
   distribution which could lead to overgrazing or other localized grazing impacts. Construction of
   roads, especially in areas of rough topography could improve livestock distribution.

   3.12.2.2 Alternative A
   Development of two wells and associated infrastructure would occur outside and, therefore,
   would not directly affect BLM-administered allotments. Negligible impacts from fugitive dust
   could occur.

   3.12.2.3 Alternative B
   Development of 22 wells and associated infrastructure on private lands would have negligible
   (Sand Hollow Allotment) to minor (Hashagen and Rock Quarry Gulch allotments) vegetation
   loss, palatability, collision, and capacity impacts over the short and long term. Approximately
   32% of the development could occur in the allotments (2,982 acres of private lands with no split
   estate minerals in the allotments/9,292 acres in the proposed lease area); therefore, direct habitat
   loss would occur on approximately 25 acres (7 wells and 1.75 miles of roads). Changes in
   palatability and desirable species composition adjacent to roads would depend on the amount of
   dust generated and the distance it travelled. Roads that cross allotment or pasture boundaries
   could have moderate to major disruption impacts where animals are able to freely move between
   use areas. Changes in water availability and quality could occur in the Hashagen and Kaufman
   allotments. Minor adverse rangeland health impacts could occur on BLM-administered lands,
   primarily in the Danke, Hashagen, and Rock Quarry Gulch allotments where BLM-administered
   lands make up 21-25% of the allotment within the proposed lease area.




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   3.12.2.4 Alternative C
   Development of 25 wells and associated infrastructure on private lands would have negligible
   (Sand Hollow Allotment; e.g., no direct impacts, possible dust and disturbance impacts) to
   moderate (Danke Allotment; e.g., reduced forage capacity caused by increased weeds) vegetation
   loss, palatability, collision, and capacity impacts over the short and long term. Based on
   allotment acreages and well spacing, none (Sand Hollow Allotment) to two wells (Danke,
   Hashagen, and Rock Quarry Gulch allotments) could be developed. Direct loss of vegetation
   would be <7 acres in a given allotment and 25 acres total in the five allotments. Impacts to
   livestock operations, water, and rangeland health would be as described in Alternative B (Section
   3.12.2.3).

   3.12.3 Mitigation
   Measures would be taken to prevent, minimize, or mitigate impacts to livestock grazing from
   exploration and development activities. Prior to authorization, activities would be evaluated on a
   case-by-case basis, and the project would be subject to mitigation measures. Mitigation could
   potentially include controlling livestock movement by maintaining fence line integrity, fencing
   facilities, installing cattleguards, re-vegetation of disturbed sites, and fugitive dust control.

   3.12.4 Cumulative Impacts - Livestock Management
   Cumulative impacts to livestock management are based on the RFDS created for this document
   (Appendix 1) and the actions identified below.

   3.12.4.1 Scope of Analysis
   The 23,891-acre CIAA includes all lands associated with the five allotments associated with
   proposed lease (Table 10). Allotments represent an administrative boundary that addresses most
   components of an individual’s livestock operation. Changes in vegetation conditions outside the
   allotments that could indirectly affect the allotments are discussed in Soils and Vegetation
   Cumulative Impacts (Section 3.2.4). The lease period of 10 years will be used for the temporal
   analysis limit because most impacts are associated with lease activities and site reclamation.

   3.12.4.2 Current Conditions and Effects of Past and Present Actions
   Vegetation Conditions - Major cover types include shrubs (10,793 acres; 45% of CIAA), exotic
   annuals (9,511 acres; 40%), and perennial grasses (3,512 acres; 15%). Exotic annuals are the
   dominant cover type in the Danke, Hashagen, and Rock Quarry Gulch (southern portion
   allotments. All of the Danke, Hashagen, and Rock Quarry Gulch and significant portions of the
   Sand Hollow and Kaufman allotments burned in the 1980s. Where shrubs have recovered,
   exotic annuals are dominant or co-dominant with perennial species in the understory. Species
   composition is the most important palatability influence, with areas dominated by medusahead
   providing the least palatable forage except during early spring green-up. Rangeland health
   assessments have not been conducted on the allotments. Consistent moderate or greater
   livestock use during the growing period would result in downward perennial grass trends and
   increased exotic annuals. Perennial grasses would be less affected by dormant season use and
   could be maintained in the absence of other disturbances (e.g., wildfire).



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   Disturbance - Disturbance impacts include leaving gates open, harassing livestock, and shooting
   livestock. There are approximately 46 miles of roads in the allotments, but almost all are
   unimproved 2-tracks that require access through private lands. Non-livestock related use occurs
   primarily during the spring and fall by OHV users and hunters. There are existing gas wells on
   the Hashagen (one well) and Kauffman (two wells) allotments. There are approximately 84
   miles of allotment and pasture fences.

   3.12.4.3 Reasonably Foreseeable Future Actions
   Oil and Gas Lease Development and Production - There are approximately 765 acres of State­
   managed mineral resources (679 acres in Sand Hollow Allotment, 75 acres in Hashagen
   Allotment, and 5 acres in Dannke Allotment), some of which may have been leased, but drilling
   has not been initiated. An unknown amount of private land has also been leased. One additional
   well could be drilled in the Kaufman Allotment and up to seven wells could be drilled in the
   Sand Hollow Allotment that would not affect federal mineral estate.

   Wildfire - Although not planned events, wildfires would be expected to periodically occur and
   may increase in size and frequency in response to climate change. Conversion of perennial grass
   understories to exotic annuals in burned areas would reduce forage quality and availability over
   the long term. Loss of shrub cover would reduce soil moisture and shorten growing periods.
   Burned public lands are typically rested one or more growing seasons until recovery objectives
   are met.

   3.12.4.4 Alternative A - Cumulative Impacts
   Not leasing federal mineral estate would have no additive impacts. Changes in vegetation
   conditions caused by livestock grazing and wildfires would have moderate to major adverse
   impacts to livestock forage where exotic annuals replace perennials and rangeland health
   standards would not be met over the long term. Larger wildfires would have moderate to major
   short-term adverse impacts to livestock operations where post-fire rest is implemented.
   Recreation, OHV, and development/production would cause negligible to moderate short-term
   disturbance impacts. An additional eight wells and associated infrastructure would cause
   negligible direct forage loss and decreased forage palatability, but could cause minor to moderate
   decreases in vegetation conditions where increased access and use increased exotic annuals and
   noxious weeds.

   3.12.4.5 Alternatives B and C- Cumulative Impacts
   Development and production activities at 7 to 10 wells in the proposed lease area would have
   minor to moderate additive vegetation condition and disturbance impacts over the short and long
   term. Impacts from ongoing and foreseeable future actions would be as described in Alternative
   A (Section 3.12.4.4).

   3.13    Minerals (Fluid)




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   3.13.1 Affected Environment - Minerals (Fluid)
   The proposed lease area occurs in the Payette River Valley, at an elevation of between 2,000 and
   3,000 feet. It is on the northern edge of the western Snake River Plain, an approximately 40-mile
   wide, northwest-trending graben structure, filled with sediments of Plio-Pleistocene Lakes Idaho
   and Bruneau and intercalated basalts. These sediments are referred to as the Idaho Group
   (Pliocene) and Payette Formation (Miocene). While there is no type section for the Payette
   Formation, it is described as a thick body of fresh-water and continental sediments, generally
   made up of ash, clay, shale, and sandstone, with an occasional lignite bed (Buwalda 1923). The
   sediments are known to contain organic material, including petrified tree stumps, fresh-water
   shells and mammalian fossils, such as ancestral horses and camels. Strata seen at Payette extend
   westward across the Snake River for long distances into Oregon. The Payette Formation has
   been measured at over 4,000 feet in a deep well at Ontario, Oregon.

   The Willow and Hamilton fields have been designated by the oil industry to delineate areas
   believed to have a natural gas reservoir large enough to sustain commercial development (Map
   1). Developers describe the reservoir as being a sequence of fluvial sands, ranging from 500 to
   800 feet thick, except where replaced/interrupted by volcanics (IOGCC 2013a). In the ML
   Investments #1-10 well, located in T. 8 N., R. 4 W., Section 10, the fluvial sand was found at
   4,100 feet. Another sand layer is described at the 3,750 foot depth. The fluvial sands are porous
   and have consistent characteristics across the reservoir. They are overlain by 1,700 - 3,500 feet
   of lacustrine shale, which provides a regional topseal. Both sands are believed to be adequately
   drained by a well spacing of one well per 640 acres (IOGCC 2013a). The Western Idaho Basin
   is characterized primarily by conventional non-associated gas; however, conventional associated
   (with oil) and tight sand gasses may also be present, but shale-associated gas resources are not
   thought to be present (Johnson et. al. 2013). Conventional non-associated and associated gases
   typically can be extracted with smaller scale fracking (well-bore stimulation; Johnson et. al. 2013
   pg. 8); however, tight sand and shale-associated gases likely would require fracking to extract.

   Although BLM had numerous leases in the 1980’s in the area, there are no current federal oil and
   gas leases in Payette County. In 2014, the Idaho Department of Lands (IDL) leased
   approximately 4,100 acres of State-owned minerals in Payette County. The remainder of the
   20,288 acres of State-owned minerals in Payette County were leased between 2006 and 2013.
   The State currently has approximately 85,000 acres leased for oil and gas development
   statewide. There are no wells on federal mineral estates in Payette County; however, there is one
   producing well and 10 shut-in wells pending pipelines located on private lands (Table 11).

   Table 11. Existing development activity on federal and State leases, Payette County, Idaho.
                Well Type                             Federal Estate    Private and State Leases
                Drilling Well(s)                            0                      4
                Producing Gas Well(s)                       0                       1
                Shut-in Well(s) (pending pipeline)          0                      10
                Permitted, not Drilled Well(s)              0                      2
                Temporarily Abandoned Well(s)               0                       1

   3.13.2 Environmental Consequences - Minerals (Fluid)
   Impacts to minerals are based on the RFDS created for this document (Table 2, Appendix 1).

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   3.13.2.1 General Discussion of Impacts
   Issuing a lease provides the lessee with the exclusive right to explore for and develop oil and gas.
   Natural gas produced from federal mineral estate would enter the public markets. The
   production of oil and gas would result in the irreversible and irretrievable loss of these resources.
   Royalties and taxes would accrue to the federal and state treasuries from the lease parcel lands.
   There would be a reduction in the known amount of oil and gas resources. If the federal mineral
   estate is not leased, but is omitted by the Idaho Oil and Gas Conservation Commission (IOGCC),
   then they could be drained without compensation.

   Stipulations applied to various areas with respect to occupancy, timing limitation, and control of
   surface use could affect oil and gas exploration and development, both on and off the federal
   parcel. Leases issued with major constraints (NSO stipulations) may decrease some lease values,
   increase operating costs, and require relocation of well sites, and modification of field
   development. Leases issued with moderate constraints (timing limitation and controlled surface
   use stipulations) may result in similar but reduced impacts, and delays in operations and
   uncertainty on the part of operators regarding restrictions.

   3.13.2.2 Alternative A
   The federal mineral estate could remain in place over the short and long terms if they were not
   leased. The two additional wells would occur in privately-owned mineral estate >0.5 miles from
   federal mineral estate. However, if the federal mineral estate were omitted by the IOGCC, then
   at least 493 acres of the federal mineral estate within 0.5 miles of existing wells (based on 1
   well/640 acre spacing) could be drained.

   Because of mineral ownership patterns, not leasing 6,349 acres of federal mineral estate could
   have moderate to major adverse effects on the ability to develop and produce State- and
   privately-owned fluid minerals. Lease values and operating costs could be adversely affected.
   Development of non-federal reserve minerals would not be adversely affected if the IOGCC
   omits the federal mineral estate.

   3.13.2.3 Alternative B
   The NSO and NSSO stipulations affecting 6,349 acres would cause minor to moderate decreased
   lease values and increased operating costs. Developing 22 wells on private lands would allow oil
   and gas production from the majority of federal mineral estate and State- and privately-owned
   minerals. Because of well spacing limitations, minerals from up to_1,920 acres of federal
   mineral estate would not be available because of NSO and NSSO stipulations. However,
   because of the interspersion of private lands in the proposed lease area, the amount of
   unavailable federal mineral estate would be expected to be much less.

   3.13.2.4 Alternative C
   Developing 25 wells would allow oil and gas production from almost all the federal mineral
   estate and State- and privately-owned minerals. Because of their proximity to federal mineral
   estate outside the lease area and current well spacing, some minerals at the periphery of the lease
   area might not be available for production. Applying lease stipulations would cause minor

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   decreased lease values and minor to moderate increased operating costs, primarily during the
   development phase. The special status plant species and freshwater aquatic habitat stipulations
   would affect approximately 190 acres of federal mineral estate (Maps 4 and 5). The big game
   winter range stipulation would affect 4,800 acres (Map 6). Fragile soils are associated with
   approximately 2,600 acres of federal mineral estate and floodplains would affect <1 acre (Maps
   3 and 5). Impacts from other resource stipulations and lease notices cannot be determined at this
   time because surveys have not been conducted for the resources; however, migratory birds,
   raptors, burrowing mammals, and bats likely are associated with most of the federal mineral
   estate.

   3.13.3 Mitigation
   Applying the drainage stipulation in Alternative C would ensure that the lessee of a parcel
   adequately addresses the issue of uncompensated drainage.

   3.13.4 Cumulative Impacts - Minerals (Fluid)
   Cumulative impacts to fluid minerals are based on the RFDS created for this document (Table 2,
   Appendix 1) and the actions described below.

   3.13.4.1 Scope of Analysis
   The CIAA is the 15,644-acre Little Willow Creek proposed oil and gas lease area because only
   federal minerals in the lease area would be available. Well spacing guidance should prevent
   uncompensated drainage from the federal mineral estate outside the proposed lease area. The
   lease period of 10 years will be used for the temporal analysis limit because the federal mineral
   estate would be available for production during that time period, but not necessarily beyond.

   3.13.4.2 Current Conditions and Effects of Past and Present Actions
   In addition to the 6,349 acres of federal mineral estate, the CIAA includes 493 acres of State-
   owned minerals and 8,799 acres of private-owned minerals. The lease status of the State and
   private minerals is unknown. Six wells (three drilled and pending pipelines and three in the
   process of being drilled) occur in (three wells) or within 0.5 miles (three wells) of the CIAA.
   The wells are associated with privately-owned minerals; however, one well is within 0.15 miles
   of State-owned minerals.

   3.13.4.3 Reasonably Foreseeable Future Actions
   Two wells on privately-owned minerals could be drilled. Wells associated with State-owned
   minerals could be subject to stipulations for unstable soils, wildlife, threatened and endangered
   species, and floodplains (Appendix 2). Private lessors could also incorporate stipulations in their
   lease agreements; however, their scope is unknown.

   3.13.4.4 Alternative A - Cumulative Impacts
   Not leasing 6,349 acres of federal mineral estate could have minor (if the federal mineral estate
   is omitted) to moderate (if not omitted) adverse additive impacts to the value of unleased State-
   and privately-owned minerals. Stipulations associated with State-owned minerals could have
   minor adverse impacts on lease values and operating costs.

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   3.13.4.5 Alternative B - Cumulative Impacts
   Leasing 6,349 acres of federal mineral estate with NSO and NSSO stipulations could have minor
   (if stipulations have a limited effect on accessibility) to moderate (if stipulations affect
   accessibility) adverse additive impacts to the value of unleased State- and privately-owned
   minerals. Stipulations associated with State-owned minerals would be as described in
   Alternative A (Section 3.13.4.4).

   3.13.4.6 Alternative C - Cumulative Impacts
   Leasing 6,349 acres of federal mineral estate with stipulations and lease notices would have
   minor adverse additive impacts to the value of unleased State- and privately-owned minerals.
   Stipulations associated with State-owned minerals would be as described in Alternative A
   (Section 3.13.4.4).

   3.14    Social and Economic

   3.14.1 Affected Environment - Social and Economic
   Social and Environmental Justice
   The 2010 Payette County population was 22,623, an increase of 10% from 2000. In comparison,
   the state population increased 21% between 2000 and 2010, Ada and Canyon counties increased
   30.4% and 43.7% respectively. The 2010 Payette County population density was 55
   persons/mi2, compared to 18.8 for Idaho as a whole and 370 and 313 for Ada and Canyon
   counties respectively. The areas in the vicinity of the proposed lease area are home to farms,
   ranches, and dispersed residences.

   As defined in Executive Order 12898, minority, low income populations, and disadvantaged
   groups are present in Payette County. Between 2008 and 2012, 19.2% of Payette County’s
   population lived below the poverty line compared to 15.1% of Idaho’s total population (Payette
   County QuickFacts, USCB 2014). The County is not very ethnically or racially diverse. In
   2010, 85% of residents identified themselves as being non-Hispanic or Latino ethnicity and 15%
   of residents reported having Hispanic ancestry (US Census Bureau 2010). Non-white races
   including African American, Asian, American Indian, Pacific Islander, and others accounted for
   11% of the population. In 2010, American Indians accounted for 1.1% of Payette County’s
   population compared to 1.4% for the state as a whole. Tribes in Idaho and elsewhere have an
   interest in lands in Payette County; however, BLM is unaware of potential interest involving the
   proposed lease area.

   Economics
   In 2011, Payette County supported 9,606 jobs and had a 9.1% unemployment rate (Table 12).
   Non-services related industries (e.g., farm, construction, and manufacturing) accounted for 2,868
   jobs, while service related industries (e.g., wholesale, retail, transportation, finance, real estate,
   and health care) accounted for 5,330 jobs and government accounted for 1,146 jobs (U.S.
   Department of Commerce 2011). In 2012, labor earnings of $325 million included $100 million
   in non-services related, $153 million in services related, and $47 million in government related
   earnings. The 2011 per capita income was $29,475. Total personal income (TPI) in 2011 was

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   estimated to be $667 million including a net residential inflow of $105 million (earnings gained
   from outside the county - earnings leaving the county). Total personal income includes labor
   and non-labor income, including money earned on investments (interest, dividends, and rents)
   and transfer payments relating to age (Medicare and Social Security payments) or poverty
   (Medicaid or welfare assistance). Idaho had 147 people employed in oil and gas extraction
   activities statewide in 2011 (IPAA 2012).

   T able 12. Employment (2011) and personal income (2012) by industry, Payette County, Idaho.
                                                                                                Average
                                                                      Personal Income
                                                      Employment                              Income/Job
             Industry                                                  (Thousands of
                                                        (jobs)                              (Thousands of
                                                                        2012 dollars)
                                                                                             2012 dollars)
             Farm                                         974             $28,255                  $29
             Forestry & Related Activities                 na                na                     na
             Mining (incl. fossil fuels)1                  na                na                     na
             Construction1                                780             $25,285                 $32.4
             Manufacturing                               1,114            $46,321                 $41.6
             Utilities                                     95             $10,480                $110.3
             Wholesale Trade1                             278              $9,247                 $33.3
             Retail Trade1                                734             $13,380                 $18.2
             Transportation & Warehousing1                341             $13,446                 $39.4
             Information                                  111              $6,604                 $59.5
             Finance & Insurance1                         381              $9,798                 $25.7
             Real Estate & Rental & Leasing1              426              $3,543                  $8.3
             Professional & Tech. Services1               313             $10,763                 $34.4
             Management of Companies1                      90              $8,503                 $94.5
             Admin. & Waste Services1                     526              $9,587                 $18.2
             Educational Services                          90               $868                   $9.6
             Health Care & Social Assistance1             844             $35,832                 $42.5
             Arts, Entertainment, and Rec                  94               $545                   $5.8
             Accommodation & Food Services1               294              $3,843                 $13.1
             Other Services1                              713             $16,977                 $23.8
             Government1                                 1,146            $47,312                 $41.3
               Total                                     9,606            $325,048                $33.8
   1   Industries that typically add jobs to support oil and gas leasing, exploration, and production activities.

   Oil and Gas Leasing and Production
   Local economic effects of leasing federal minerals for oil and gas exploration, development, and
   production are influenced by the number of acres leased, the number of wells drilled, and the
   estimated levels of production. These activities influence local employment, income, and public
   revenues (indicators of economic impacts). There are no federal-administered leases in the area;
   however, in 2014, the IDL leased 4,006 acres of State owned lands and minerals in Payette
   County.



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   Leasing - Federal oil and gas leases generate a one-time lease bid as well as annual rents.
   Parcels containing federal minerals, which have been approved for leasing, are auctioned off
   periodically to interested parties starting at a minimum bid of $2.00 per acre. Many parcels
   leased at auction generate bonus bids in excess of the minimum bid. In 2014, bonus bids ranged
   from $50.24 acre (October) to $79.68/acre (January) for State leases; however, because no leases
   have been offered, figures for federal minerals are not available. Once federal minerals are
   leased, leases are subject to annual rent or royalty payments. Rent on leased minerals is $1.50
   per acre per year for the first five years and $2.00 per acre per year thereafter. Typically, oil and
   gas leases expire after 10 years unless drilling activity on these parcels results in one or more
   producing wells.

   Production - Idaho currently has one producing well on private land and none associated with
   federal mineral estate (IPAA 2012, IDL 2014). Of 18 Payette County gas wells currently
   permitted by IDL, one is in production, 10 have been drilled and are shut pending a pipeline
   (Table 11). Once production begins, federally leased minerals are considered to be held by
   production and lease holders are required to pay royalties on production instead of annual rent.
   The BLM also considers mineral leases to be held by production if they have been incorporated
   into fields or units working cooperatively to increase extraction capabilities.

   Federal oil and gas production is subject to production taxes or royalties. On public domain
   lands, these federal oil and gas royalties generally equal 12.5% of the value of production (43
   CFR 3103.3.1), of which 50% would be allocated to the State and 50% would be allocated to the
   U.S. Treasury. In Idaho, 90% of federal mineral royalty revenues that the state receives are
   distributed to the Public School Income Fund and 10% distributed to the general fund of the
   counties where the revenue was generated. For State leases, a 12.5% production royalty is
   distributed to the permanent fund of the appropriate beneficiary, other State agencies, and the
   General Fund. The 2.5% production tax goes to the producing county (11.2% of tax revenue),
   cities within the producing county (11.2%), public schools (11.2%), local economic development
   (6.4%), and an oil and gas conservation fund (60%).

   Local Economic Contribution - Oil and gas development has the potential to stimulate economic
   activity in a number of sectors throughout the region. Exploration, development, and production
   activities create a multiplier effect in the local economy as money spent in the oil and gas related
   industries is spent and re-spent in other industries (Table 12).

   3.14.2 Environmental Consequences - Social and Economic
   Impacts to the social and economic environment are based on the RFDS created for this
   document (Table 2, Appendix 1).

   3.14.2.1 General Discussion of Impacts
   Social and Environmental Justice
   Development of a lease may generate impacts to people living near or using the area in the
   vicinity of the lease. Oil and gas exploration, drilling, or production could create an
   inconvenience to these people due to increased traffic and traffic delays, noise, and visual
   impacts. This could be especially noticeable in areas where oil and gas development has been

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   minimal. The amount of inconvenience would depend on the activity affected, traffic patterns
   within the area, noise levels, length of time, and season these activities occurred, etc. Creation of
   new access roads into an area could allow increased public access and exposure of private
   property to vandalism. For split estate leases, surface owner agreements, standard lease
   stipulations, and BMPs could address many of the concerns of private surface owners.
   Production and development activities could disproportionately affect disadvantaged groups
   where the activities are specifically targeted to their communities or properties to the benefit or
   avoidance of non-disadvantaged groups. They could also provide job opportunities for those
   groups.

   Economics
   Local and/or out-of-state workers could be hired or contracted to meet the direct and indirect
   needs of development and production. Individual income for workers typically associated with
   development and production activities would vary from $8,300 to $94,500 annually (Table 12).
   Mining-related jobs would likely pay above the median income ($32,400 year). Total new jobs
   created could be relatively low because some work would be short-term in nature. For each
   million dollars in gas production, 2.4 jobs could be created in the county of production (Weber
   2012). Employees may shift to higher paying energy-related jobs creating a labor shortage for
   local employers. Sudden influxes of workers could reduce affordable housing availability. An
   influx of workers and equipment without commensurate financial support could adversely affect
   public and private sector infrastructure (schools, hospitals, law enforcement, fire protection, and
   other community needs), especially in rural communities. Tax, royalty, spending, and income
   revenues associated with leasing, development, and production would benefit local, county,
   State, and national economies. Stipulations that affect access to mineral resources could reduce
   economic return for lessors and lessees. Activities that increase access to mineral resources
   could benefit other mineral rights holders. Activities that adversely affect health, safety, or the
   environment could cause short- or long-term decreases in personal income and property values.
   Wildlife depredation on agricultural fields could adversely affect productivity of some crops
   (e.g., winter wheat, alfalfa).

   Disclosure of the direct, indirect, and cumulative effects of GHG emissions provides information
   on the potential economic effects of climate change including effects that could be termed the
   “social cost of carbon” (SCC). The EPA and other federal agencies developed a method for
   estimating the SCC and a range of estimated values (EPA 2014). The SCC estimates damages
   associated with climate change impacts to net agricultural productivity, human health, property
   damage, and ecosystems. Using a 3% average discount rate and year 2020 values, the
   incremental SCC is estimated to be $51 per ton of annual CO2eq increase.

   3.14.2.2 Alternative A
   Social and Environmental Justice
   Not leasing the federal mineral estate in the project area would limit the development potential of
   the project area to only two wells, both located on private lands. Developing two wells and
   associated infrastructure would have minor short-term impacts from increased traffic and noise
   and long-term visual, public access, and vandalism impacts. Limited increases in access and


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   worker influx would occur. There are disadvantaged groups in Payette County, but they do not
   appear to be disproportionately associated with the two wells or the proposed lease area.

   Economics
   By not leasing, federal, state, or local revenues would not be generated from leasing, rents, or
   royalties from federal mineral estate. If BLM does not lease the federal minerals, it is likely that
   the IOGCC would allow the federal mineral estate to be omitted from the drilling unit. Moderate
   (if 493 acres associated with existing wells are omitted) to major (if up to 6,349 acres throughout
   the lease area are omitted) resource and revenue losses would occur if the IOGCC omitted the
   federal mineral estate and productive wells are drilled on private lands in the same unit.
   Development and production of two wells would cause minor employment and income
   increases. Negligible to minor impacts to labor and housing availability and infrastructure would
   occur over the short term. Adjacent mineral rights holders would experience minor beneficial
   (omission allowed) or moderate adverse (omission not granted) financial impacts. Adverse
   water quality and availability (Section 3.5.2.2), safety, and environmental impacts would
   primarily affect individual landowners in the immediate vicinity of the wells. Negligible wildlife
   depredation losses could occur.

   Based on the GHG emission estimate (Table 6), the annual SCC associated with two wells would
   be $295,137 (in 2011 dollars). Estimated SCC is not directly comparable to economic
   contributions reported above, which recognize certain economic contributions to the local area
   and governmental agencies, but do not include all contributions to private entities at the regional
   and national scale. Direct comparison of SCC to the economic contributions reported above is
   also not appropriate because costs associated with climate change are borne by many different
   entities.

   3.14.2.3 Alternative B
   Social and Environmental Justice
   Developing 22 wells and associated infrastructure would have moderate to major short-term
   increased traffic and noise impacts and long-term visual impacts. Minor (access controlled by
   private landowners) to major (access not controlled by private landowners) access and vandalism
   impacts could occur over the long term. A moderate worker influx could adversely affect
   traditional lifestyles. Disadvantaged groups in Payette County would not be directly affected by
   the wells, but access to affordable housing and social services in nearby communities could be
   reduced during the short term.

   Economics
   Federal, state, or local revenues would be generated from leasing and rents ($9,528 to $12,704
   annually) during the 10-year lease period. The NSO and NSSO stipulations could reduce the
   lease value and bonus bid amounts. Developing and maintaining 22 wells would have minor to
   moderate short-term and negligible long-term job increases. Royalty income would depend on
   how productive the wells are and cannot be estimated at this time. Minor to moderate impacts to
   labor and housing availability and infrastructure would occur over the short term. Adjacent
   mineral rights holders would experience moderate financial benefits where access to their
   minerals improved. Adverse water quality and availability (Section 3.5.2.3), safety, and

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   environmental impacts could have negligible (wells remain intact and don’t affect ground water)
   to major (surface and ground water adversely affected by multiple wells) to the adjacent
   landowners and downstream communities. Minor to moderate wildlife depredation losses could
   occur. Based on the GHG emission estimate (Table 6), the annual SCC associated with 22 wells
   would be $3,246,711 (in 2011 dollars).

   3.14.2.4 Alternative C
   Social and Environmental Justice
   The impacts of developing 25 wells and associated infrastructure would be as described in
   Alternative B (Section 3.14.2.3).

   Economics
   Leasing 6,349 acres and associated development and production would have similar revenue,
   job, labor and housing availability, infrastructure, and adjacent mineral rights holder impacts as
   described in Alternative B (Section 3.14.2.3). The impact of CSU stipulations on lease value
   would be less than Alternative B and royalty income could be greater. Adverse water quality
   and availability (Section 3.5.2.4), safety, and environmental impacts would be similar to
   Alternative B; however, the freshwater aquatic habitat CSU stipulation could provide minor to
   moderate surface water protection. Minor wildlife depredation losses could occur. Based on the
   GHG emission estimate (Table 6), the annual SCC associated with 25 wells would be $3,689,442
   (in 2011 dollars).

   3.14.3 Mitigation
   Measures that limit or control dust, noise, odors and protect visual impacts and water quality
   resources would help reduce social and economic impacts (Dahl et. al. 2010).

   3.14.4 Cumulative Impacts - Social and Economic
   Cumulative impacts to the social and economic environment are based on the RFDS created for
   this document (Table 2, Appendix 1), RFDS for the Willow and Hamilton fields, and the
   activities identified below.

   3.14.4.1 Scope of Analysis
   Payette County will serve as the CIAA. Although social and economic costs and benefits could
   occur at regional, state, national, and international levels, the majority would occur at the county
   level. The lease period of 10 years will be used for the temporal analysis limit because the
   federal mineral estate would be available for production during that time period, but not
   necessarily beyond.

   3.14.4.2 Current Conditions and Effects of Past and Present Actions
   Current Payette County social and economic conditions are described in Section 3.14.1. All
   State-owned minerals (Section 3.13.1) and an unknown acreage of privately-owned minerals
   have been leased in recent years. The State leases will expire between 2016 (14,181 acres) and
   2024. The existing 17 oil and gas wells have been developed over several years, although the



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   majority of work occurred since 2011. Exploration work is ongoing in the County. The effect of
   these activities on social and economic conditions, beyond State lease rental returns, is unknown.

   3.14.4.3 Reasonably Foreseeable Future Actions
   Oil and Gas Lease Development and Production - Development of wells and associated
   infrastructure would occur on private and State leases in the Willow and Hamilton (one new well
   proposed October 2014) fields. Current development is approximately two to four wells
   annually.

   3.14.4.4 Alternative A - Cumulative Impacts
   Social and Environmental Justice
   Development of two wells and associated infrastructure would have negligible additive traffic,
   noise, visual, access, vandalism, and worker influx impacts. Development of up to 53 wells in
   the Hamilton and Willow fields would have minor impacts. The county’s population base is
   large enough that changes associated with oil and gas development would be relatively
   unnoticeable.

   Economics
   Not leasing federal mineral estate would have negligible additive adverse revenue impacts.
   Development of two wells and associated infrastructure would have negligible additive
   employment, income, labor and housing availability, infrastructure, water quality and
   availability, and SCC impacts. Development of up to 53 wells in the Hamilton and Willow fields
   would have minor revenue, employment, income, labor and housing availability, infrastructure,
   safety, and environmental impacts. Development in the Hamilton and Willow fields could cause
   minor (water availability affected by increased use) to moderate (water quality adversely affected
   by persistent pollutants) water quality and availability and SCC ($7,660,302) impacts. The
   county’s economic and employment base is large enough that changes associated with oil and
   gas development would be relatively unnoticeable.

   3.14.4.5 Alternatives B and C - Cumulative Impacts
   Social and Environmental Justice
   Leasing federal mineral estate and the subsequent development of 22-25 wells and associated
   infrastructure would have minor additive traffic, noise, visual, access, vandalism, and worker
   influx impacts. Impacts from other oil and gas development would be as described in
   Alternative A (Section 3.14.4.4).

   Economics
   Leasing federal mineral estate and the subsequent development of 22-25 wells and associated
   infrastructure would have minor additive employment, income, labor and housing availability,
   and infrastructure impacts and minor to moderate additive water quality and availability and
   SCC impacts. Impacts from other oil and gas development would be as described in Alternative
   A (Section 3.14.4.4).




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   4 .0         Consultation and Coordination

   4.1       List of Preparers
         Name                     Position
         Jonathan Beck            Planning and Environmental Coordinator, ID State Office and Boise District
         Aimee Betts              Associate District Manager, Boise District
         M.J. Byrne               Public Affairs, Boise District
         Tate Fischer             Field Office Manager, Four Rivers
         Sarah Garcia             Rangeland Management Specialist, Four Rivers
         Lara Hannon              Natural Resource Specialist/Acting NEPA Specialist, Boise District
         Valerie Lenhartzen       Geologist, Four Rivers
         Matthew McCoy            Assistant Field Office Manager, Four Rivers
         David Murphy             Branch Chief, Realty, ID State Office
         Karen Porter             Geologist, ID State Office
         Larry Ridenhour          Outdoor Recreation Planner, Four Rivers
         Dean Shaw                Archaeologist, Four Rivers
         Mark Steiger             Botanist, Four Rivers
         Allen Tarter             Natural Resource Specialist (Riparian), Four Rivers


   4.2       List of Agencies, Organizations, and Individuals Consulted
   Affected Landowners and Permittees (84 individual or companies within 1 mile of proposed
   lease area)
   Allen and Kirmse, Ltd
   Alta Mesa Service, Inc., c/o F. David Murrell
   Burns Paiute Tribe, Tribal Chairman
   Canyon County Commissioners
   Confederate Tribes of the Umatilla, Tribal Chairman
   Congressman Raul Labrador
   Energy West Corp.
   Gem County Commissioners
   Grazing Board Resource Area Representatives, Phil Soulen
   Grazing Board Resource Area Representatives, Stan Boyd
   Grazing Board Resource Area Representatives, Weldon Branch
   Idaho Citizens Against Resource Extraction
   Idaho Conservation League, John Robinson
   Idaho Department of Agriculture
   Idaho Department of Fish & Game c/o Rick Ward
   Idaho Department of Lands c/o Grazing Program Manager
   Idaho Governor, CL "Butch" Otter
   Idaho Lieutenant Governor Brad Little
   Idaho Office of Energy Resources, c/o John Chatburn

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   Larry Craig
   Moffitt Thomas and Associates
   Nez Perce Tribes, Tribal Chairman
   SBS Associates, LLC
   Senator Jim Risch
   Senator Mike Crapo
   Shoshone-Bannock Tribe, c/o Nathan Small
   Shoshone-Paiute Tribe, c/o Ted Howard
   Trendwell Energy Corp.
   US Fish and Wildlife Service
   Washington County Commissioners
   Weiser-Brown Oil Co, c/o Richard Brown
   Western Watersheds Project
   WildLands Defense, Katie Fite

   Native American Consultation
   BLM is required to consult with Native American tribes to “help assure (1) that federally
   recognized tribal governments and Native American individuals, whose traditional uses of public
   land might be affected by a proposed action, will have sufficient opportunity to contribute to the
   decision, and (2) that the decision maker will give tribal concerns proper consideration” (U.S.
   Department of the Interior, BLMManual Handbook H-8120-1). Tribal coordination and
   consultation responsibilities are implemented under laws and executive orders that are specific to
   cultural resources which are referred to as “cultural resource authorities,” and under regulations
   that are not specific which are termed “general authorities.” Cultural resource authorities
   include: the National Historic Preservation Act of1966, as amended (NHPA); the
   Archaeological Resources Protection Act of1979; and the Native American Graves Protection
   and Repatriation Act of1990, as amended. General authorities include: the American Indian
   Religious Freedom Act of1979; the NEPA; the FLPMA; and Executive Order 13007-Indian
   Sacred Sites. The proposed action is in compliance with the aforementioned authorities.

   Southwest Idaho is the homeland of two culturally and linguistically related tribes: the Northern
   Shoshone and the Northern Paiute. In the latter half of the 19th century, a reservation was
   established at Duck Valley on the Nevada/Idaho border west of the Bruneau River. Today, the
   Shoshone-Paiute Tribes residing on the Duck Valley Reservation actively practice their culture
   and retain aboriginal rights and/or interests in this area. The Shoshone-Paiute Tribes assert
   aboriginal rights to their traditional homelands as their treaties with the United States, the Boise
   Valley Treaty of 1864 and the Bruneau Valley Treaty of 1866, which would have extinguished
   aboriginal title to the lands now federally administered, were never ratified.

   Other tribes that have ties to southwest Idaho include the Bannock Tribe and the Nez Perce
   Tribe. Southeast Idaho is the homeland of the Northern Shoshone Tribe and the Bannock Tribe.
   In 1867 a reservation was established at Fort Hall in southeastern Idaho. The Fort Bridger
   Treaty of 1868 applies to BLM’s relationship with the Shoshone-Bannock Tribes. The northern
   part of the BLM’s Boise District was also inhabited by the Nez Perce Tribe. The Nez Perce
   signed treaties in 1855, 1863 and 1868. BLM considers off-reservation treaty-reserved fishing,

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   hunting, gathering, and similar rights of access and resource use on the public lands for all tribes
   that may be affected by a proposed action.

   The BLM initiated consultation with the Shoshone-Paiute Tribes during the June 19, 2014 Wings
   and Roots Program, Native American Campfire meeting. At that time, the Tribes were provided
   an information “early alert” with updated information from the June 12, 2014, field trip. The
   Shoshone-Paiute Tribes did not respond to a July 3, 2014 scoping letter, but will be consulted
   once again at the December 2014 Wings and Roots Program, Native American Campfire
   meeting.

   4.3     Public Participation
   The BLM received public scoping comments from the following individuals and entities (see
   Section 8.0 Comment Response for comments specific to the draft EA):

   Alta Mesa Services, Inc.
   Idaho Concerned Residents for the Environment (ICARE)
   Idaho Office of Energy Resources
   Idaho Petroleum Council
   Idaho Residents Against Gas Extraction (IRAGE)
   Jason Williams
   JoAnn Higby
   Lyndsey Winters Juel
   Marilyn Richardson
   Terry Paulus
   William Fowkes and Alice Whitford
   Western Watersheds Project (WWP)




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   6 .0      Appendices

   6.1     Appendix 1. Reasonably foreseeable development scenario for the proposed
           Little Willow Creek oil and gas lease area, Payette County, Idaho.




                    REASONABLY FORESEEABLE DEVELOPMENT SCENARIO

                                                      FOR

                                  PROTECTIVE OIL AND GAS LEASING

                                          IN PARTS OF
                                TOWNSHIP 8 NORTH, RANGE 4 WEST
                              TOWNSHIP 9 NORTH, RANGE 4 WEST, AND
                                TOWNSHIP 9 NORTH, RANGE 3 WEST
                                        BOISE MERIDIAN

                                        FOUR RIVERS FIELD OFFICE
                                                 IDAHO




                    Prepared by:Date:
                              Karen Porter
                              BLM Idaho State Office Geologist




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                                                      SUMMARY

   The BLM’s Four Rivers Field Office is currently analyzing the environmental effects of offering
   6474.62 acres of federal mineral estate for competitive oil and gas leasing. This RFDS is being
   written in support of that analysis, to inform the public and the preparers of the environmental
   assessment of the disturbance that could occur as a result of leasing the lands, so that the
   environmental impacts can be determined and mitigation measures, in the form of lease
   stipulations, can be developed to minimize those impacts. The BLM plans to offer these lands in
   a lease sale in early 2015, in order to protect the federal mineral estate from potential drainage
   caused by the development of a natural gas field that is presently occurring on private lands,
   referred to by the developer as the Willow Field.

   According to an April 16, 2013 order by the Idaho Oil and Gas Conservation Commission, well
   spacing in the area is one well per government section, or 640 acres. In the northern part of the
   field, lands with reserved federal mineral estate (also called split estate) are intermingled with
   some of the private lands, causing conflicts for the developer. Idaho BLM has been deferring
   leasing in the Four Rivers FO while the current land use plan, the CRMP, is being revised. The
   CRMP/EIS was completed in 1987, and, while it identified lands closed to leasing and identified
   some areas as No Surface Occupancy, the analysis does not meet current BLM standards for oil
   and gas leasing. One major component that is missing is an analysis based on a Reasonably
   Foreseeable Development Scenario, or RFDS. Therefore, this RFDS describes the likely
   disturbance that could occur if BLM were to select any of the alternatives being proposed.

   This Reasonably Foreseeable Development Scenario (RFDS) indicates that the following
   impacts could occur, by alternative:

   Alternative A (No Action) - If BLM does not lease in the project area, development drilling
   could occur in only 2 sections- T. 8 N., R. 4 W., section 2, and T. 9 N., R. 4 W., section 36. The
   lands in these sections are private and do not contain any federal mineral estate. Technically
   only two wells could be drilled in the project area. This would result in approximately 10 acres
   of disturbance.

   Alternative B (Lease with NSO/NSSO) - Offering leases with NSO/NSSO would allow those
   sections that have lands with federal mineral estate to be drilled, however the drilling could not
   occur on the federal mineral estate. The only federal action would be to administer the leases
   and collect royalties. As there is only one section that has 100% federal minerals (T 9 N., R. 4
   W., section 26) and there are 25 sections within the project boundary, technically Alt B could
   result in up to 24 wells. However, in looking at the topography of each section, it is noted that
   there are several sections where the private land is either inaccessible or is too steep to be
   suitable as a drill site. Two sections- T. 9 N., R. 4 W., section 13, and T. 9 N., R. 3 W., section
    17- do not have favorable private land conditions for drilling. Therefore, if Alt B were selected,
   it is estimated that 22 wells would be drilled in the project area, resulting in 77 acres of
   disturbance.

   Alts C (Lease with Cascade RMP stipulations and additional lease notices) - Generally all

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   federal minerals would be available for development, resulting in the drilling of 25 wells (one
   per section), and 88 acres of disturbance.

   It is anticipated that one geophysical exploration program would occur and that it would likely
   be conducted along existing roads or trails or by overland travel, thereby causing minor impacts
   to surface resources.

                                                INTRODUCTION

   This report describes the anticipated level of oil and gas exploration and development activity
   associated with issuing oil and gas leases in the project area. This projection is necessary so that
   the impacts to other natural resources can be analyzed in an environmental assessment, and to
   determine what if any stipulations, in addition to those on the standard lease form and those
   required by BLM policy, may be necessary to attach to the leases in order to mitigate those
   impacts.

                                     ASSUMPTIONS AND DISCUSSION

       •   It is assumed that one well would be drilled per government section of approximately 640
           acres. This is based on the state of Idaho’s well spacing order.

       •   If a well is to be located on a federal lease, the lessee will be required to submit a drilling
           permit (APD) to BLM for approval prior to commencing operations. Site-specific NEPA
           would then be conducted, and additional site-specific requirements, termed Conditions of
           Approval, may be attached to the APD. If the well is to be located on fee lands, the
           lessee would seek approval for a drilling permit from the Idaho Department of Lands.

       •   If drilling is proposed on split estate lands, the lessee will be required to contact the
           surface owner and attempt to reach an agreement concerning surface access prior to
           submitting the APD. In accordance with BLM’s Onshore Order Number One, upon
           submitting an APD, the lessee or its operator must certify to the BLM that: (1) It made a
           good faith effort to notify the private surface owner before entry; and (2) A Surface
           Access Agreement with the surface owner has been reached, or that a good faith effort to
           reach an agreement failed. The Surface Access Agreement may include terms or
           conditions of use, be a waiver, or an agreement for compensation. BLM is not a party to
           the surface agreement, however if no agreement is reached with the surface owner, the
           operator is required to submit an adequate bond (minimum of $1000) to the BLM for the
           benefit of the surface owner, in an amount sufficient to compensate for any loss of crops
           or damage to tangible improvements. This is a separate and distinct bond from the
           reclamation bond required under 43 CFR 3104.

       •   Based on the recent drilling that has occurred in the Willow Field, it is assumed that any
           well drilled would be a vertical hole, and that it would not require hydraulic fracturing. It
           is also assumed that the well would be a natural gas well.


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       •    If the well is productive, it is assumed that it would be incorporated into the Willow Field
            unit development. If dry, the well would be plugged and abandoned, and the site would
            be reclaimed.

       •    Oil and gas leases are issued for an initial term of 10 years, subject to extension if there is
            drilling occurring or if there is a producing well on the lease.


           ANTICIPATED SURFACE DISTURBANCE DUE TO OIL AND GAS ACTIVITIES

   The following phases of oil and gas exploration/development are typical in searching for and
   developing an oil and gas resource:

       1.   Geophysical Exploration
       2.   Drilling Phase
       3.   Field Development and Production
       4.   Plugging and Abandonment

   These phases are discussed in detail below.

   Phase One: Geophysical Exploration
   While a geophysical exploration program may have already been conducted, for the sake of this
   report it is anticipated that one geophysical exploration program may be conducted during the
   10-year initial term of the leases. Geophysical techniques are often implemented to identify
   subsurface geologic structures and determine drilling targets. The BLM reviews and approves
   geophysical operations on a case by case basis, and a lease is not necessary for such work.
   Gravity, magnetics, and seismic reflection are the most common techniques used. Both gravity
   and magnetic surveys cause very little disturbance as the instruments used are small and easily
   transportable in light vehicles or OHVs. These surveys can cover large areas and take only
   weeks to conduct. It is preferable to use existing roads, yet some overland travel is sometimes
   necessary. In addition, both gravity and magnetic surveys can be completed from aircraft,
   virtually eliminating surface disturbance.

   Seismic reflection surveys- either 2D or 3D- are the most commonly used geophysical tool.
   They require a seismic energy source and an array of receptors that are laid down in rows on the
   ground surface. Shock waves are created by vibrating or thumping the ground. Reflected
   seismic waves are recorded by a series of surface equipment along a 3- to 5-mile line. The
   general principle of seismic reflection is to send elastic waves (using an energy source such as
   dynamite explosion or Vibroseis) into the Earth, where each layer within the Earth reflects a
   portion of the wave’s energy back and allows the rest to refract through. These reflected energy
   waves are recorded over a predetermined time period by receivers that detect the motion of the
   ground in which they are placed. On land, the typical receiver used is a small, portable
   instrument known as a geophone, which converts ground motion into an analogue electrical

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   signal. In preparation for gathering the seismic data, the survey crew establishes a grid, with
   source lines running one direction and receiver lines running a different direction. The source
   lines mark the points where either explosives or vibroseis vehicles will be placed. The receiver
   lines mark points where geophones (small devices inserted into the ground that pick up reflected
   vibrations) are placed to take readings when either a small explosion is set off or, more
   commonly, the vibroseis vehicles are used. Either method is used to send vibrations
   underground that are reflected back to the surface where readings are taken by geophones on the
   receiver lines and transferred to a data recorder vehicle. A crew of 10 to 15 people with five to
   seven vehicles is used, and several square miles can be surveyed in a single day. The geophones
   are then retrieved from the ground, and moved to the next survey area.

   Phase Two: Drilling Phase
   Given Idaho’s well spacing requirements, it is assumed that a single well would be drilled in
   each section. If the proposed well is located on lands with federal minerals (i.e. on a federal
   lease), the lessee is required to submit an APD to BLM. If the proposed well is located on lands
   with private or state minerals, the lessee would submit a drilling permit application to the Idaho
   Department of Lands. Drilling on federal mineral estate would be analyzed by BLM in a site­
   specific NEPA document, and would involve coordination with the surface owner. Conditions
   of Approval, specific to the proposed activity and site, would be developed and attached to the
   drilling permit. These conditions, as well as the lease contract itself and any additional
   stipulations, would need to be complied with. A reclamation bond is required, and if necessary,
   a surface owner bond would be held by BLM on the surface owner’s behalf.

   Vehicle access to each drill pad would be required, to transport the drill rig, personnel, and other
   heavy equipment to the drill site. Existing roads may be used, however may require upgrading.
   Most of the individual parcels can be accessed off of the Little Willow Creek road, which is
   paved. Two-track and gravel roads that branch off of Little Willow Creek may require
   upgrading. Typically, roads are constructed with a 20-foot wide graveled running surface with
   adjacent ditches and berms, for a total disturbance width of about 40 feet. It may be necessary to
   haul in gravel to obtain a good road base, as well as a base for the well pad. In the area of the
   subject parcels, there are several good gravel roads that provide access to some part of the
   section that would be an appropriate drilling site. It is unlikely that the lessee would need access
   to the top of the bluffs on which many of the parcels lie. Given the existing road density in the
   area, it is assumed that an average of 1/4 of a mile of new road construction would be required to
   access the drill sites. Surface disturbance from the construction of 1/4 mile of road equals
   approximately one acre.

   A drill pad is required to accommodate the rig and equipment. Previous drill pads in the Willow
   Field have been approximately 1.5 acres in size, however this report assumes a larger pad of 2.5
   acres (300’ x 350’). Topsoil and existing vegetation is scraped from the well pad site and stored
   on site for reclamation. The drill pad must be level, possibly requiring some cut-and-fill of the
   site. In addition to the drill rig, the well pad may house a reserve pit for storage or disposal of
   water, drill mud, and cuttings; several mud pits and pumps, drill pipe racks, a fuel tank, a water
   tank, a generator and several compressors, equipment storage, and several trailers for temporary

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   lab and office quarters. To date, reserve pits associated with developing the Willow Field have
   all been lined with a 12-mil synthetic liner. Below is a schematic diagram of an actual well pad
   (from Bridge Energy Resources’ drilling permit application to IDL):




   Getting the rig and ancillary equipment to the site may require 15 to 20 trips by full-sized tractor­
   trailers, with a similar amount for de-mobilizing the rig. There would be 10 to 40 daily trips for
   commuting and hauling in equipment. Drilling operations would likely occur 24 hours a day and
   seven days a week. It takes approximately one month to drill one well. A drilling operation
   generally has from 10 to 15 people on-site at all times, with more people coming and going
   periodically with equipment and supplies.

   Well drilling also requires water. As much water as possible is recycled on site, yet about 5,000
   to 15,000 gallons of water may be needed each day depending on well conditions. Initially,
   water would need to be provided, either by wells or trucked in, to meet demands. Many oil or
   gas wells encounter water at depth when drilling for oil and/or gas, as it may be part of the oil
   and gas reservoir, and can be utilized when production is ongoing.

   Production wells drilled in the Willow Field to-date have been 24 inches in diameter at the
   surface, gradually narrowing (telescoping) to 8% inches at the bottom of the well. In order to


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   drill these deep, large-diameter holes, a large drilling rig is utilized. The top of the drill rig
   derrick could be as much as 155 feet above the ground surface, and the rig floor could be at least
   25 feet above the ground surface. These rigs are typically equipped with diesel engines, fuel and
   drilling mud storage tanks, mud pumps, and other ancillary equipment. Once drilling
   commences, drilling fluid or mud is continuously circulated down the drill pipe and back to the
   surface equipment. The purpose of the drilling mud is to balance underground hydrostatic
   pressure, cool the drill bit, and flush out rock cuttings.

   The risk of an uncontrolled flow from the reservoir to the surface (occasionally caused by
   encountering a pressurized thermal pocket) is greatly reduced by using a blowout preventer—a
   series of hydraulically-actuated steel rams that can close quickly around the drill string or casing
   to seal off a well. The BOP is pressure-tested after installation to ensure proper operation. Steel
   casing is run into completed sections of the borehole and cemented into place. The casing
   provides structural support to maintain the integrity of the borehole and isolates underground
   formations.

   Exploration holes drilled to-date in the Willow Field have ranged in depth from 2500 to 6900
   feet. At the conclusion of well testing, if paying quantities of oil and gas are not discovered, the
   operator is required to plug and abandon the well according to State standards. Cement plugs are
   placed above and below water-bearing units with drilling mud placed in the space between plugs.
   When abandonment is complete, the site is reclaimed, which includes pad and road recontouring,
   topsoil replacement, and seeding with approved mixtures. Erosion control measures would be
   incorporated into the reclamation design as needed.

   The drilling site could be active for approximately one year, from the start of drill pad and access
   road construction; through drilling and well testing; to completion of plugging the hole and
   reclamation.

   Phase Three: Field Development and Production
   Where oil and gas flow to the surface naturally, control valves and collection pipes are attached
   to the well head. Otherwise a pump may be installed. Oil is typically produced along with water
   and gas. Once the raw hydrocarbon reaches the surface, it would be routed through a pipeline to
   a central production facility, which gathers and separates the produced fluids (oil, gas and water).
   A production facility is currently being constructed on private lands on the east side of the town
   of New Plymouth, and dehydration plant has been constructed on Highway 30, immediately
   north of Interstate 84. The production facility processes the hydrocarbon fluids and separates oil,
   gas and water. The oil must usually be free of dissolved gas before export. Similarly, the gas
   must be stabilized and free of liquids and unwanted components such as hydrogen sulphide and
   carbon dioxide. Any water produced would be treated at these facilities before disposal.
   Produced water at the well site is disposed of either through surface discharge, evaporation
   ponds or re-injection into the producing formation.

   The producing life span of an oil or gas field varies depending on field characteristics. A field
   may produce for a few years to many decades. Commodity price, recovery technique, and the

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   political environment also affect the life of a field. Abandonment of wells may begin as soon as
   they are depleted or wells may be rested for a period of time or drilled to a different horizon, and
   put back into production.

   Phase Four: Abandonment
   If paying quantities of oil and gas are not discovered, or at the end of the producing life span of a
   producing well or field, the operator is required to plug and abandon the well according to
   Federal and State standards and reclaim the disturbed areas. To plug a well, cement plugs are
   placed above and below water-bearing units with drilling mud placed in the space between plugs.
   When well abandonment is complete, equipment and surface facilities are removed, and the site
   is reclaimed. In a producing field, underground pipelines are often plugged and left in place in
   order to avoid re-disturbing these areas. Site reclamation includes pad and road obliteration and
   recontouring, topsoil replacement, and seeding with approved mixtures. Erosion control
   measures would be incorporated into the reclamation design as needed.

                                                  CONCLUSION

   Surface disturbance associated with the anticipated leasing of the federal mineral estate in the
   project area would be approximately 5 acres per well. One well can be drilled per section
   according to the State of Idaho’s well spacing order. Therefore, depending on which alternative
   is selected, between 10 acres and 125 acres could be disturbed. Pad and access road
   construction, drilling and well testing, and reclamation would take an estimated 4-6 months,
   depending on well depth and drilling conditions encountered. It is reasonably likely that well
   testing would be favorable for production, in which case a pipeline would likely be installed to
   transport the hydrocarbons to a central production facility located off-lease, located on private
   land several miles to the south. It is anticipated that one geophysical survey program would be
   completed during the life of the lease. This disturbance would be temporary, on the order of
   weeks, and would result in minor to negligible surface impacts.

   This RFDS meets the requirements of BLM’s Manual Section 1624-2 in describing potential
   surface impacts that could occur as a result of leasing the federal mineral estate in the project
   area.




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   6.2     Appendix 2. State lease stipulations in the vicinity of the proposed Little
           Willow Creek lease area, Payette County, Idaho.

   1. Construction Notification. Lessee shall notify and obtain approval from Idaho Department of
       Lands (IDL) prior to constructing well pads, roads, power lines, and related facilities that
       may require surface disturbance on the tract. Lessee shall submit a surface use plan of
       operations to IDL and obtain approval before beginning surface disturbance activities.
       Lessee shall comply with any mitigation measures stipulated in IDL's approval.
   2. Surface Owner Notification. If the State does not own the surface, the Lessee must contact
       the owner of the surface in writing at least 30 days prior to any surface activity. A copy of
       the correspondence shall be sent to IDL.
   3. Unstable Soils. Due to unstable soil conditions on this tract and/or topography that is rough
       and/or steep, surface use may be restricted or denied. Seismic activity may be restricted to
       surface shots.
   4. Metalliferous/Gem Lease. This lease is issued subject to a prior existing State of Idaho
       metalliferous/gem lease. Lessee's rights to search, develop, and produce oil and gas may be
       restricted by such prior existing lease rights.
   5. Wildlife Concerns. Potential wildlife conflicts have been identified for this tract. The
       applicant must contact the Idaho Department of Fish and Game (IDFG) in the area for advice
       on alleviating any possible conflicts caused by the Lessee's proposed activities.
       Documentation that IDFG requirements have been satisfied unless otherwise authorized by
       IDL is required. Additional mitigation measures may also be required.
   6. Threatened and Endangered Plant Species. Plant species of concern have been identified on
       or near this tract. A vegetation survey in areas of proposed activity will be required prior to
       disturbance. Identified rare plant species will be avoided, unless otherwise authorized by the
       IDL.
   7. Threatened and Endangered Animal Species. Animal species of concern have been
       identified on or near this tract. A survey in areas of proposed activity will be required prior
       to disturbance. Identified habitat of threatened and endangered species will be avoided,
       unless otherwise authorized by the IDL.
   8. Navigable Waters and Infrastructure. Unless otherwise approved by IDL in writing, wells
       and related surface infrastructure, including new road construction, are prohibited within 1/4
       mile of the mean high water mark of a navigable river, lake or reservoir, including direct
       tributary streams of navigable waterways, on or adjacent to this tract. No surface occupancy
       is allowed within the bed of a river, stream, lake or reservoir, islands and accretions or
       abandoned channels.
   9. Floodplain. Due to the floodplain/wetlands area(s), surface use may be restricted or denied.
   10. Surveys. If the lessee completes a successful oil and/or gas well, and if land title is disputed,
       the lessee shall fund professional land surveys as needed to determine the location and
       acreage encompassed by the spacing and/or pooling unit and the state lease acreage within
       that unit. Surveys shall be conducted by a licensed land surveyor acceptable to IDL, and
       shall be prepared pursuant to survey requirements provide by the IDL.
   11. Public Trust Lands. This tract contains navigable riverbeds. No surface occupancy is
       allowed within the bed of the navigable river, abandoned channels, or on islands and

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       accretions. In addition, upon completion of a successful well, where river title is disputed,
       the Lessee will file an interpleader action under Rule 22 of Idaho Rules of Civil Procedure in
       the local District Court, or other court having jurisdiction, in which the leased lands are
       located for all acreage within the lease in which the title is disputed. The Lessee shall name
       all potential royalty claimants as defendants.
   12. Existing Surface Uses. Due to existing surface uses (such as center pivots, wheel lines, etc.)
       development on this tract may be restricted.
   13. Activity restrictions. No activity shall be allowed within 100 feet of any perennial or
       seasonal stream, pond, lake, wetland, spring, reservoir, well, aqueduct, irrigation ditch, canal,
       or related facilities without prior approval of the IDL.
   14. Sage Grouse. Active sage-grouse lek(s) have been identified on or adjacent to this tract. No
       activities shall occur on the tract until the proposed action has been approved in writing by
       the Director of the Department. If surface activity is proposed on the tract, the Department
       will consult with the Director of Idaho Department of Fish and Game (IDFG) for their
       comments, concerns and recommendations. Additional mitigation measures may be
       required, including no-surface-occupancy buffers and/or timing restrictions, which may
       encompass part or the entire tract.
   15. No Surface Occupancy. No Surface Occupancy shall be allowed on this tract.




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   6.3       Appendix 3. Legal description of lease parcels and applicability of
             Alternative C stipulations and lease notices.

   Legal description of lease parcels.
                                                Legal Description
      Parcel                                                                                     Acres
                Township/Range       Section   Quartersection/Lot
                T. 08 N R. 04 W      01        Lots 1-4; S^NE%; S^NW%; N^SE%                   364.78
                                     03        Lots 3 and 4; SW1/4NW1/4; W^SW1/4               185.11
                                     04        Lots 1 and 2; S^NE%; SE%NW%; SE%; E^SW%         426.53
                                     05        Lots 1-3; SE%NW%; E^SW%                         223.22
         A                           08        E^NW%                                            79.39
                                     12        NW%; SW%                                        312.44
                                     13        N^SE%; SE%SW%                                   117.49
                                     24        NE%NW%                                           39.32
                Total                                                                        1,748.29
                T. 09 N R. 04 W      28        N^NE%; SW%NE%; NW%; W^SE%; N^SW%                430.33
                                     32        SW%NW%                                           38.88
         B
                                     33        NE%NW%; NW%SE%                                   80.03
                Total                                                                          549.25
                T. 09 N R. 04 W      26        All                                             628.28
                                     27        E^NE%; SW%NE%; W^NW%; N^SE%; SE%SE%             312.27
         C                           34        NE%; NE%SE%; S^SE%                              276.04
                                     35        N^NW%; SW%NW%; SW%SW%                           157.90
                Total                                                                        1,374.49
                T. 09 N R. 03 W      18        Lots 2-4                                        125.56
                                     19        Lots 1 and 4; NE%NW%                            123.06
                T. 09 N R. 04 W      13        S^NE%; E^NW%; S^                                469.41
         D
                                     24        N^NE%; SW%NE%; S^SE%; NW%SE%; W^                551.35
                                     25        W^                                              316.36
                Total                                                                        1,585.74
                T. 09 N R. 03 W      17        S^NE%; SE%; W^                                  544.94
                                     18        NE%; NL2SE%; SE%SE%                             273.15
         E                           20        NW%NE%; N^NW%; SW%NW%                           155.79
                                     29        N^NE%; NE%NW%                                   117.55
                Total                                                                        1,091.43
      Total                                                                                  6,349.20

   Applicability of stipulations and lease notices by parcel.
                                                                                      Parcel1
         Stipulation/Lease Notice
                                                                              A   B     C D        E
         Freshwater Aquatic Habitat CSU-1: 500’ buffer from surface waters    Y   N     N Y        Y
         Freshwater Aquatic Habitat CSU-2: 100’ buffer from surface waters    Y   N     N Y        Y
         Special Status Plants CSU -3: Types 1-4                              P   Y     P P        P
         Big Game Range CSU-4: No surface use December 1 - March 31 any
                                                                              Y   Y      Y   Y     Y
         species; May 1 - June 30 antelope
         Sensitive Wildlife Species CSU-5: No surface use <0.75 miles of
                                                                              P   P      P   P     P
         ferruginous and Swainson’s hawk nests March 15 - June 30
         Sensitive Wildlife Species CSU-6: No surface use <0.75 miles of
                                                                              P   P      P   P     P
         osprey nests April 15 - August 31

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                                                                                          Parcel1
        Stipulation/Lease Notice
                                                                                      A  B C D           E
        Sensitive Wildlife Species CSU-7: No surface use <0.25 miles of
                                                                                       P P P P P
        burrowing owl nests March 15 - June 30
        Wildlife Species of Concern CSU-8: No surface use <0.75 miles of
                                                                                       P P P P P
        golden eagle nests February 1 - June 30
        Wildlife Species of Concern CSU-9: No surface use <0.75 miles of
                                                                                       P P P P P
        prairie falcon nests March 15 - June 30
        Wildlife Species of Concern CSU -10: No surface use <0. 5 miles of
                                                                                       P P P P P
        heron rookery
        Fragile Soils LN-1: Minimize adverse impacts to fragile soils                 Y Y Y Y Y
        Floodplain Management LN-2: Minimize adverse impacts to 100-year
                                                                                      Y Y N N N
        floodplain
        Endangered Species S-1: Consultation and mitigation to protect listed
                                                                                      Y Y Y Y Y
        species and critical habitat.
        Special Status Mammals LN-3: Minimize adverse impacts to SIDGS
                                                                                       P P P P P
        and pygmy rabbits.
        Migratory Birds and Raptors LN-4: Compliance with MBTA by
                                                                                       P P P P P
        minimizing adverse impacts to migratory birds.
        Migratory Birds and Raptors CSU-11: No surface use <1 mile of
        active bald eagle or peregrine falcon nest. No surface use December 1
                                                                                       P P P P P
        - March 31 where wintering bald eagles or peregrine falcons are
        present.
        Water Quality LN-5: Reduce impacts on water quality and quantity.             Y Y Y Y Y
        Cultural Resources S-2: Comply with applicable statutes and executive
                                                                                      Y Y Y Y Y
        orders.
        Cultural Resources LN-6: Cultural resource survey.                            Y Y Y Y Y
        Lands and Realty LN-7: Existing authorizations.                               Y Y Y Y Y
        Drainage LN-A: Wells on adjacent private lands.                               Y Y Y Y Y
        Split Estate LN-B: Surface use agreement required on split-estate.            Y Y Y Y Y
        Paleontological Resources CSU-12: No surface use on identified
                                                                                      Y Y Y Y Y
        resources.
        Paleontological Resources LN-7: Paleontological resource survey.              Y Y Y Y Y
   1 Y - applies to at least a portion of the parcel. P - potentially applies based on subsequent survey work.

   N - would not apply to that parcel.




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   6.4     Appendix 4. Idaho BLM special status animal species known to, or
           potentially occurring, in the Little Willow Creek lease area, Payette County,
           Idaho.

   Type 1. Federally Listed Species and Critical Habitat: Includes species that are listed under
   the Endangered Species Act as Threatened (T) or Endangered (E) and designated critical
   habitats.

   Type 2. BLM Special Status Species: Includes FWS Candidate (C), Delisted within 5-years
   (D), Proposed (P), Experimental Population (XN), and Proposed Critical Habitat (PCH); and
   BLM Sensitive Species.

   The proposed lease area does not currently provide habitat for any Type 1 species. The proposed
   lease area is outside the range or typical habitat of the following special status animal species
   that occur in the Four Rivers Field Office, so they will not be considered further: Idaho giant
   salamander, Cassin’s finch, Columbian sharp-tailed grouse, flammulated owl, harlequin duck,
   Lewis’ woodpecker, mountain quail, bull trout, redband trout, white sturgeon, ashy pebblesnail,
   California floater, bighorn sheep, coast mole, fisher, grizzly bear, northern Idaho ground squirrel,
   Piute ground squirrel, and wolverine.

   Note* NI=No impacts due to leasing and associated activities
         DI=direct impacts due to leasing and associated activities
         ID=indirect impacts due to leasing and associated activities

    Common Name           Scientific Name    Habitat                         Management Considerations

    Amphibians
    Northern Leopard     Rana pipiens        Wetlands, riparian areas,       DI - Adverse water quality impacts
    Frog                                     and adjacent uplands            could cause mortality or affect breeding,
                                                                             etc. Discussed in Section 3.6.2 (Aquatic
                                                                             Species).
    Western Toad         Buufo boreas        Ponds, streams, and             DI - Adverse water quality impacts
                                             adjacent uplands.               could cause mortality or affect breeding,
                                                                             etc. Discussed in Section 3.6.2 (Aquatic
                                                                             Species).
    Woodhouse’s Toad     Buufo woodhousii    Grasslands, shrublands,         DI - Adverse water quality impacts
                                             agricultural areas, and         could cause mortality or affect breeding,
                                             ponds.                          etc. Discussed in Section 3.6.2 (Aquatic
                                                                             Species).
    Birds
    Bald Eagle           Haliaeetus          Winter migrant to lease         NI - No known nesting pairs are present.
                         l^ucocephalus       area. Habitat includes lakes,   ID - Could occur for wintering birds
                                             reservoirs, streams, and        where activities affect big game
                                             uplands.                        presence and winterkill. Discussed in
                                                                             Section 3.6.2 (Migratory Birds and
                                                                             Raptors).



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    Common Name           Scientific Name     Habitat                         Management Considerations

    Black Tern            Chlidonias niger    Open water lakes (>10           ID - Activities could disturb migrating
                                              acres), ditches, and            birds, but lease area doesn’t provide
                                              emergent wetlands.              nesting habitat.
    Black-throated       Amphispiza           Breeds in barren and grassy     DI/ID - Activities could reduce nesting
    Sparrow              bilineata            hillsides with scattered        foraging habitat, but lease area is on
                                              sagebrush and rabbitbrush.      northern edge of species range.
    Brewer’s Sparrow     Spizella breweri     Sagebrush-steppe, nests in      ID - Extensive sagebrush stands are not
                                              shrubs.                         present; however, activities could affect
                                                                              species during migration.
    Burrowing Owl        Athene               Gently-sloping areas of         DI - Ground disturbing activities could
                         cunicularia          shrubsteppe.                    destroy nests. ID - Activities could
                                                                              disturb or reduce prey species.
                                                                              Discussed in Section 3.6.2 (Migratory
                                                                              Birds and Raptors).
    Ferruginous Hawk     Buteo regalis        Open country, nests on          ID - Activities could disturb or reduce
                                              ground or rock outcrops,        prey species. Discussed in Section 3.6.2
                                              forages in shrubsteppe and      (Migratory Birds and Raptors).
                                              grassland habitats.
    Golden Eagle         Aquila               Open country, nests on          ID - Activities could disturb or reduce
                         chrysaetos           cliffs and artificial           prey species. Discussed in Section 3.6.2
                                              structures, forages in          (Migratory Birds and Raptors).
                                              shrubsteppe and grassland
                                              habitats.
    Grasshopper          Ammodramus           Shrubsteppe grasslands          DI/ID - Activities could reduce nesting
    Sparrow              savannarum                                           and foraging habitat. Discussed in
                                                                              Section 3.6.2 (Migratory Birds and
                                                                              Raptors).
    Greater Sage­         Centrocercus        Sagebrush obligate.             NI - Outside currently delineated
    grouse (C)            urophasianus                                        ranges, area lacks key habitat
                                                                              component.
    Green-tailed         Pipilo chlorurus     Shrubsteppe in areas with       ID - Shrub stands are limited; however,
    Towhee                                    high diversity of shrub         activities could affect species during
                                              species.                        migration.
    Loggerhead Shrike    Lanius               Shrubsteppe, open               ID - Activities could disturb or reduce
                         ludovicianus         woodlands. Nests in tall        nesting habitat and prey species.
                                              shrubs and small trees.         Discussed in Section 3.6.2 (Migratory
                                                                              Birds and Raptors).
    Long-billed Curlew   Numenius             Short-grass or mixed-prairie    DI/ID - Activities could disrupt
                         americanus           with flat rolling topography.   breeding, reduce nesting and foraging
                                                                              habitat. Discussed in Section 3.6.2
                                                                              (Migratory Birds and Raptors).
    Northern Goshawk     Accipiter gentilis   Aspen stands and conifer        NI - Habitat not present, occasional
                                              forests                         migrants could be affected by activities.

    Olive-sided           Contopus            Montane or coniferous           ID - Disturbance of birds using riparian
    Flycatcher            cooperi             forests and riparian areas.     areas during migration.

    Sage Sparrow         Amphispiza belli     Sagebrush-steppe, nests in      ID - Extensive sagebrush stands are not
                                              shrubs.                         present; however, activities could affect
                                                                              species during migration.


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    Common Name           Scientific Name    Habitat                        Management Considerations

    Sage Thrasher         Oreoscoptes        Sagebrush obligate             ID - Extensive sagebrush stands are not
                          montanus                                          present; however, activities could affect
                                                                            species during migration.
    Short-eared Owl      Asio flammeus       Large expanses of              DI/ID - Activities could disrupt
                                             shrubsteppe and grasslands.    breeding, reduce nesting and foraging
                                                                            habitat. Discussed in Section 3.6.2
                                                                            (Migratory Birds and Raptors).
    Willow Flycatcher    Empidonax           Dense willow riparian areas.   ID - Pollution could reduce prey
                         trailii                                            species. Discussed in Section 3.6.2
                                                                            (Migratory Birds and Raptors).
    Yellow-billed         Coccyzus           Thick, wide riparian           NI - Outside currently delineated
    Cuckoo(T)             americanus         corridors, primarily           ranges, area lacks key habitat
                                             dominated by cottonwoods.      component.
                                             Known only as rare erratic
                                             breeder in the Snake River
                                             corridor mainly in southeast
                                             Idaho. Limited potential
                                             habitat occurs in area.
    Mammals
    Big Brown Bat        Eptesicus fuscus    Rural areas and fields.        ID - Activities could reduce foraging
                                                                            success and prey habitat. Discussed in
                                                                            Section 3.6.2 (Bats).
    Canyon Bat           Parastrellus        Canyons and deserts in rock    DI/ID - Activities could eliminate
    (formerly Western    hesperus            crevices, under rocks, and     burrows, reduce foraging success and
    pipistrelle)                             burrows                        decrease prey habitat. Discussed in
                                                                            Section 3.6.2 (Bats).
    Fringed Myotis       Myotis              Caves, rock crevices, and      ID - Activities could reduce foraging
                         thysanoides         open areas.                    success and prey habitat. Northeastern
                                                                            edge of range. Discussed in Section
                                                                            3.6.2 (Bats).
    Grey wolf             Canus lupus        Generalist habitat species.    ID - Could occur where activities affect
                                             Follows big game herds.        big game presence.

    Hoary Bat            Lasiurus            Trees, cavities, and open      ID - Activities could reduce foraging
                         ciner^us            areas.                         success and prey habitat. Discussed in
                                                                            Section 3.6.2 (Bats).
    Little Brown Bat     Myotis lucifugus    Forested lands near water,     ID - Activities could reduce foraging
                                             caves, and drier open areas.   success and prey habitat. Discussed in
                                                                            Section 3.6.2 (Bats).
    Long-eared Myotis    Myotis evotis       Coniferous forest and          ID - Insect prey base could be adversely
                                             associated with forest­        affected by habitat alterations.
                                             woodland riparian areas        Discussed in Section 3.6.2 (Bats).
    Long-legged          Myotis volans       Coniferous forest and          ID - Insect prey base could be adversely
    Myotis                                   deserts; may change habitat    affected by habitat alterations. .
                                             seasonally                     Discussed in Section 3.6.2 (Bats).
    Pallid Bat           Antrozous           Arid, semi-arid uplands,       ID - Activities could reduce foraging
                         pallidus            sparsely vegetated             success and prey habitat. Discussed in
                                             grasslands, buildings, and     Section 3.6.2 (Bats).
                                             caves.



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    Common Name           Scientific Name    Habitat                       Management Considerations

    Pygmy Rabbit          Brachylagus        Thick big sagebrush with      DI/ID - Burrow destruction, vehicle
                          idahoensis         deep soils.                   mortality, foraging habitat. Discussed
                                                                           in Section 3.6.2 (Burrowing Mammals).
    Silver-haired Bat     Lasionycteris      Riparian areas, ponds, and    ID - Activities could reduce foraging
                          noctivagans        streams.                      success. Pollution could reduce prey
                                                                           species. Discussed in Section 3.6.2
                                                                           (Bats).
    Southern Idaho        Spermcphilus       Sagebrush and grasslands      DI/ID - Burrow destruction, vehicle
    Ground Squirrel (C)   brunneus                                         mortality, foraging habitat. Discussed
                          endemicus                                        in Section 3.6.2 (Burrowing Mammals).
    Spotted Bat           Euderma            Rocky canyons and cliffs,     ID - Insect prey base could be adversely
                          maculatum          forages over sagebrush.       affected by habitat alterations.
                                                                           Discussed in Section 3.6.2 (Bats).
    Townsend’s Big­       Plecotus           Winter in stable-climate      ID - Insect prey base could be adversely
    eared Bat             townsendii         caves, forage over            affected by habitat alterations.
                                             sagebrush.                    Discussed in Section 3.6.2 (Bats).
    Western Small­        Myotis             Winters in lava tube caves    ID - Insect prey base could be adversely
    footed Myotis         ciliolabrum        and rock crevices, under      affected by habitat alterations.
                                             boulders, and beneath loose   Discussed in Section 3.6.2 (Bats).
                                             bark in summer
    Yuma Myotis           Myotis             Wide elevation range          ID - Insect prey base could be adversely
                          yumanensis         including riparian, desert    affected by habitat alterations.
                                             scrub and mesic woodland      Discussed in Section 3.6.2 (Bats).
                                             and forested areas.
    Reptiles
    Great basin Black-    Crotaphytus        Deserts, presence of rocks    DI/ID - Vehicle mortality, loss of
    collared Lizard       bicinctores        and boulders.                 habitat and prey. Discussed in Section
                                                                           3.6.2
    Longnose Snake        Rhinocheilus       Deserts, grasslands, and      DI/ID - Vehicle mortality, loss of
                          lecontei           rocky canyons.                habitat and prey. Discussed in Section
                                                                           3.6.2
    Western Ground        Sonora             Deserts with loose or sandy   DI/ID - Vehicle mortality, loss of
    Snake                 semiannulata       soils.                        habitat and prey. Discussed in Section
                                                                           3.6.2




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   7 .0      Maps
   If you are viewing this via the following link on the NEPA Register:
   https://www.blm.gov/epl-front-
   office/eplanning/planAndProjectSite.do?methodName=renderDefaultPlanOrProjectSite&projectId=39064
   &dctmId=0b0003e8806d22d8
   Please find the maps in the home page’s sidebar under Maps. Select “Map Package to
   accompany Little Willow Creek Protective Leasing EA”.




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   8 .0      Comment Responses
   A Draft EA was made available to the public with a 30-day comment period (December 22, 2014
   to January 21, 2015). Comments were received from the Idaho Conservation League (ICL);
   Randy and Thana Kauffman (K); the State of Idaho (SoI) including Office of Energy Resources,
   Department of Fish and Game, Office of Species Conservation, and Department of
   Environmental Quality; WildLands Defense (WLD); and WildEarth Guardians (WEG).
   Responses to summarized comments are provided below (organized by major topic) and the EA
   was modified as necessary to address some comments.

   Land Use Plan
   ICL-1: The CRMP is outdated.
   WLD-7: The CRMP is outdated and inadequate.
   WEG-7: Leasing should be de_ferred until a new RMP is completed.
   Under normal circumstances, BLM offers lands nominated by the public for leasing, that have
   been identified in a land use plan as eligible and available for leasing. However, BLM
   regulations state that lands which are subject to drainage should be leased, even if they are
   otherwise unavailable for leasing (43 CFR 3120.1-1(d)). BLM has determined that the lands
   currently being considered for lease are or soon will be threatened by drainage of federally-
   owned oil and gas.

   BLM IM 2010-117, Oil and Gas Leasing Reform Land Use Planning and Lease Parcel Reviews
   states: “There are other considerations that should be taken into account when determining the
   availability of parcels for lease.” Field offices should consider whether^ “There is a risk of
   drainage to Federal mineral resources due to development of nearby non-Federal parcels if the
   parcel is not leased (based upon a determination made by a Petroleum Engineer or Petroleum
   Geologist).”

   The1988 CRMP provided a variety of stipulations related to issues and resources identified
   during that process (Section 2.3); however, BLM guidance allows for additional requirements to
   address changing resource concerns. According to IM 2010-117, “If a proposed modification to
   the terms of a stipulation changes the extent, but does not result in a new planning decision (e.g.,
   the timing limitation protective radius increases from 2 miles to 3 miles, but the stipulation
   remains a moderate constraint), no plan amendment is required. The site-specific NEPA
   compliance documentation for the lease, however, may need to analyze the proposed stipulation
   modification if this analysis has not already been conducted in the NEPA documentation
   associated with the land use plan.” Lease notices are included in Alternative C to address
   additional resource concerns.

   WLD-13 and WEG-6: The CRMP does not support oil and gas leasing.
   The CRMP Final EIS analyzed the effects of designating areas open to gas leasing. This EA
   analyzes several alternatives, including Alternative C, which includes stipulations based on
   management direction from the CRMP. If post-lease actions are proposed (exploration and/or
   development), additional NEPA will be conducted to analyze site-specific effects of the
   proposed actions.


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   NEPA Adequacy
   WLD-1: An EIS is needed to address the impacts.
   The act of leasing (Alternatives B and C) would not constitute a major federal action that would
   significantly affect the quality of the human environment; therefore, an Environmental Impact
   Statement is not required. The BLM will determine the level of NEPA analysis needed when/if
   an APD is received. See also WLD-13 and WEG-6.

   WLD-2: The cumulative e_jfects areas are not adequate.
   See cumulative effects sections in the EA. The CIAAs were selected based on BLM’s
   knowledge of current oil and gas leasing in the area and the RFDS developed for this EA. It is
   difficult to speculate what will be nominated for oil and gas leasing in the future, as well as how
   much exploration and development will result. The RFDS created for this EA is BLM’s best
   estimate and was analyzed in relative detail in the Environmental Consequences and Cumulative
   Impacts sections (Section 3.0).

   WLD-5: Adequate baseline information for a variety of resources was not provided or
   considered; there_fore, none of the alternatives can be adequately analyzed.
   The interdisciplinary team used the best available resource data to create the baselines for
   analyzing alternatives (e.g., data from BLM, USDA/NRCS, IDFG/IFWIS, IDEQ, IDWR, EPA,
   US Census Bureau, etc.). The affected environment sections provide summaries of baseline
   data.

   WLD-9: The BLM must consider a broad range o^falternatives and mitigation actions to protect
   air, water, and natural resources and human health. The proposed protection measures are
   inadequate.
   The alternatives analyzed provide a range of protection measures to federal mineral reserves and
   associated lands and resources. Direct impacts to resources associated with federal mineral
   reserve lands would not occur in Alternative A and indirect impacts would be limited. Direct
   impacts to resources associated with federal mineral reserve lands would also not occur in
   Alternative B; however, indirect impacts would occur. Direct and indirect impacts to resources
   associated with federal mineral reserve lands would occur in Alternative C; however, a variety of
   protective measures would help limit their degree. This EA begins to identify potential
   mitigation measures; however, APDs and associated NEPA analyses would help guide
   development of the most appropriate measures.

   WLD-11: The proposed lease and associated EA represents a piecemeal approach and does not
   adequately address all alternatives.
   The BLM is following its national guidance on the NEPA approach for leasing and subsequent,
   if any, drilling. Leasing and post-lease activities are not analyzed in the same NEPA document,
   since nationally, only about 10% of oil and gas leases ever get drilled. It is impossible to
   speculate precisely where, how, and what post-lease activities will occur, since a lease can be for
   up to 2,560 acres in size. BLM has taken a hard look at the impacts of leasing in this area with
   three alternatives and over 100 pages of analysis in this EA.



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   If an APD is proposed once a lease is issued, BLM will conduct a thorough and in-depth analysis
   that is site- and activity-specific. Mitigation measures in the form of enforceable Conditions of
   Approval would be attached to each APD. The BLM lease terms and stipulations, onshore
   orders, and regulations must be followed, and a performance bond must be accepted by BLM
   before any surface disturbing activities can occur. The BLM will monitor and inspect
   operations to ensure that the lessee is in compliance with BLM’s requirements for both surface
   as well as down-hole resources.

   WEG-1: Leasing the BLMparcels may enable expanded drilling on State and/or private lands.
   The range of alternatives clearly indicates that leasing would likely increase drilling
   opportunities on State and/or private lands. Existing (2) and proposed wells (2) occur on non-
   federal leases in the proposed lease area (Map 1). The RFDS and associated analyses recognize
   how many wells could be drilled within the lease area without (Alternative A - 2 new wells) or
   with (Alternatives B and C - 22 or 25 new wells, respectively) a federal lease. The current State
   well spacing of 1 well/640 acres was one of the factors used to determine the number of wells
   that could be drilled by alternative. The EA also recognizes that if federal minerals are omitted,
   then up to 25 new wells could potentially be drilled. With few exceptions (e.g., visual resource
   management and realty rights-of-way designations that do not apply to non-federal lands),
   potential impacts were described irrespective of land ownership.

   WLD-12: The drainage explanation and current status of leases in the area are unclear.
   WEG-5: Drainage is not a compelling reason for leasing.
   Based on a current State of Idaho well spacing of 1 well/640 acres the BLM assumes that a well
   could drain mineral reserves in a 640 acre area regardless of ownership. Four existing wells and
   two proposed wells are within 0.5 miles of federal mineral resources. The existing wells are
   classified as “shut in pending a pipeline” indicating that they are producing wells. In a
   September 4, 2014 lOGCC hearing, the commission voted 4-1 to reconsider a request by Alta
   Mesa to omit federal mineral resources. If federal minerals are omitted from a drilling unit,
   BLM would be unable to collect the royalties it is due for its proportionate share of the drilling
   unit; therefore, the BLM considers these resources threatened by uncompensated drainage.

   While 43 CFR 3162.2-2 offers several protective measures that BLM may take to avoid
   uncompensated drainage on unleased lands, they all require the cooperation of the owner-of-
   interest in the producing well, except for leasing. The BLM has offered several times to enter
   into a communitization or compensatory royalty agreement with Alta Mesa; however, Alta Mesa
   has rejected those offers. Existing and proposed wells provide some indication of non-BLM
   lease activity; however, the BLM does not have specific knowledge of existing leases in the
   proposed lease area.

   WLD-14: The proposed action violates the laws and policies described in Section 1.6.
   The BLM disagrees and finds that impacts to sensitive resources can be mitigated by application
   of stipulations, lease terms and conditions, onshore orders, and regulations for leasing.

   Alternatives
   K-1: Parcel A should be split into two parcels along the Little Willow Road.

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   The BLM will consider this comment prior to releasing the Notice of Lease Sale. The
   environmental impacts would be the same.

   Vegetation
   WLD-21: Site specific surveys are lacking and impact magnitudes are discounted because of
   current conditions.
   The IDFG report information specific to the EOs in the proposed leasing area and CIAAs was
   added (Section 3.3.1). This information supports the current conditions and conclusions
   presented in the EA.

   Air Resources
   Table 6 in the Draft EA incorrectly used oxides of nitrogen values rather than nitrous oxides
   values for calculating greenhouse gas production. The nitrous oxides and consequently CO2 eq
   values have been adjusted accordingly.

   WLD-22: The referenced air quality report is biased and inadequate.
   WLD-19: Potential impacts to climate change are not adequately addressed.
   ICL-2: Substantial increases in carbon dioxide equivalent emissions need to be mitigated.
   The BLM contracted the Kleinfelder Report to evaluate air quality impacts associated with oil
   and gas development activities for the Four Rivers RMP. The report provides detailed emission
   estimates of criteria pollutants, greenhouse gases (GHG), and key hazardous air pollutants
   (HAPs) anticipated to be released during each phase of oil and gas development for a
   representative oil and gas well in the western United States. The report acknowledges that
   defining a “representative” oil and gas well for the entire western U.S. is extremely challenging
   as there are numerous variables that can materially affect the emissions. Such variables include
   oil and gas composition, difficulty drilling the geologic formation, oil and gas production rate,
   equipment at the well site, emission controls, and the amount of produced water that may be
   associated with oil and gas production, among many others. Five well types (three natural gas
   wells and two oil wells), representative of different oil and gas basins in the western U.S., were
   evaluated.

   The three types of natural gas wells were summarized as:

       1. Uinta/Piceance Basin represents deep (15,000 feet) wells which may be drilled into shale
          with dry gas. These wells produce a moderate amount of condensate (420 gal/day) and
          168,000 gal/yr of produced water. Methane emissions are estimated at 12.2 tons/yr
          (Table 13) and the Global Warming Potential (GWP) is estimated at 2,825 tons of CO2
          eq/yr.

       2. San Juan Basin represents shallow (2,500-7,000 feet) wells with dry gas. These wells
          produce little to no condensate (210 gal/day) and 33,600 gal/yr of produced water. Other
          equipment included in the emissions inventory includes a pumpjack engine (to remove
          water) and a condensate tank. Average gas production per well, over the life of the well
          is estimated to be 27.8 MMscf/day (million cubic feet/day). Methane emissions


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           estimated at 6.1 tons per year. GWP is estimated at 791 tons of CO2 equivalent.

       3. Upper Green River Basin represents deep wells drilled into non-shale formations with
          wet gas, and higher condensate production (1,260 gal/day) and 126,000 gal/yr of
          produced water. More water vapor is present in the gas at this well, so each well site
          contains a dehydrator, separator, and line heater. The wells are drilled at relatively high
          density. Average gas production per well, over the life of the well is estimated to be 4.0
          MMscf/day. Methane emissions estimated at 14.1 tons per year (Table 13). GWP is
          estimated at 3,194 tons of CO2 equivalent.

   Table 13. Total GHG emissions (tons/year) for two wells, Kleinfelder Report.__________________
                                      Upper Green River Basin                San Juan Basin
                                    CO2          CH4       N2O       CO2          CH4          N2O
           Construction Phase       33.84       0.001     0.0003     33.84       0.001        0.0003
           Development Phase      1900.27        1.11     0.0498    561.61        1.05        0.0389
             Operation Phase       947.96       12.99     0.0018     56.44        4.99        0.0004
                         Total    2882.07       14.10     0.0519    651.89        6.05        0.0396

   For the Upper Green River Basin well, the following methane emissions (tons/year) are
   estimated, broken out by the development stage of the well:

   Construction Phase 0.001 tons/yr
   Sources: tailpipe of construction equipment, trucks

   Development Phase (i.e. drilling and well treatment)
   Sources:          Drill rig engine                0.03 (18 days, 24 hrs)
                     Well frac engine                0.04 (7 days, 24 hrs)
                     Frac flowback venting           0.94 (100 hrs)
                     Workover venting                0.094 (once, 5000 Scf)
                              TOTAL                  1.104 tons methane/yr

   Operational Phase         (i.e. Production activities)
         Sources:            Fugitive emissions              3.16
                                      (97 valves, 348 connectors, 12 OE lines, 6 PR valves)
                             Process heaters                0.0178
                             Wellsite tank flashing         0.552
                             Pneumatic devices:
                              Dump valves                   8.896 four (4) valves, intermittent bleed
                              Pneumatic controller          0.229 (low bleed)
                              Pneumatic pumps               0.131 (chemical sandpiper, glycol)
                                      TOTAL                 12.99 tons methane/yr

   The construction and development (drilling) phases of oil and gas development are not major
   sources of methane emissions; however, methane releases during the development phase can

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   occur, resulting mainly from actuation of gas-operated valves during well operations and from
   fugitive gas leaks along the infrastructure required for the production and transmission of gas.

   Several pneumatic devices are used at the wellhead to control the amount of fluid in the product.
   Raw natural gas must be free of oil and water before it is piped to a processing plant. This liquid
   removal takes place in a vessel called a separator, located at or near the wellhead. A pneumatic
   controller regulates the fluid level in the separator. When the fluid reaches a certain level, the
   controller’s pilot directs gas to a diaphragm valve, which opens and dumps the liquid into a
   storage tank. Liquid separators at most older well sites have pneumatic controllers with dump
   valves that vent natural gas continuously. Newer valves (intermittent) vent only when fluid
   levels are actively being controlled, and emit only so much gas as is needed to open the dump
   valve so it can close again at the end of the dump cycle (from Devon Energy Corp. website
   “Tiny Valve- Big Difference”).

   The number of pneumatic devices used on a well is presumably determined by the amount of
   condensate (oil) and water produced. Since this information is not known, it is difficult to
   determine which gas well in the Kleinfelder Report is representative of conditions in the Little
   Willow Field. Because many of the input parameters for drilling and operations on the Little
   Willow Creek wells are unknown, BLM used the pollutant values for the Upper Green River
   Basin well in Table 6 of the EA. This represents a worst-case scenario for emissions at a natural
   gas well. A review of emissions inventories that have been conducted by other BLM offices in
   areas with more densely spaced wells than in Idaho (where spacing is limited to one well per 640
   acres) reveals that the Kleinfelder Report used by BLM for this EA is conservative. It is likely
   that actual emissions at a Willow Field well head would be lower than the Upper Green River
   well (i.e., other inventories reported lower emissions values for GHG than what was used in this
   EA).

   Implementation of mitigation measures (Section 3.4.3) at the APD processing stage could
   markedly reduce these emission values. The potential increases are substantial for Payette
   County, which currently produces limited amounts of Greenhouse Gases; however, when
   considered at larger scales [e.g., the four-county CIAA where they could account for a 1.7%
   increase over current levels or 0.001% of the 2012 US CO2 eq production of 7,195 million tons
   (EPA: http://www.epa.gov/climatechange/ghgemissions/gases.html)1, they represent negligible
   to minor increases. At the time an APD is submitted, additional NEPA analysis would be
   conducted, and a Condition of Approval can be attached to the APD that requires methane
   emissions not exceed a certain threshold, based on the best available information and analysis at
   that time.

   The BLM is currently working at the national level to adopt new standards regarding venting and
   flaring to reduce natural gas waste and methane pollution. According to a DOI news release
   dated January 23, 2015, the new draft standards are scheduled to be put out for public comment
   this spring. According to the standard lease terms, the Willow Creek leases would be subject to
   those new standards, even if the leases are issued prior to adoption of the new standards.



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   SoI-3: The BLM needs to consider air and water quality impacts and appropriate stipulations to
   maintain them if leasing occurs.
   Air and water quality impacts are discussed in Sections 3.4.2 and 3.5.2, respectively. While
   there would be no impacts associated with issuing leases, post-lease activities could be proposed
   that would result in impacts as discussed in those sections. Potential mitigation measures are
   identified in Sections 3.4.3 and 3.5.3. For air quality, these measures would be further refined
   based on site- and project-specific circumstances and would be imposed as APD Conditions of
   Approval, described in Section 3.4.3, as appropriate.

   Section 2.3 of the EA provides lease stipulations and notices designed to protect water resources
   under Alternative C. For example, Freshwater Aquatic Habitat stipulations (CSU 1 and CSU 2)
   protect surface water quality in sensitive areas. Lease notices to inform the lessee that protective
   measures may be required if post-lease activities are proposed to minimize impacts within the
    100-year floodplain (LN-2) and to minimize impacts to water quality and quantity (LN-
   5). Additionally, BLM is currently working at the national level to adopt new regulations
   regarding hydraulic fracturing. A final rule is anticipated in spring 2015. According to the
   standard lease terms, the Willow Creek leases would be subject to those new standards, even if
   the leases are issued prior to adoption of the new standards.


   WLD-4: The pollution emission zone and local and regional airsheds have not been mapped or
   adequately analyzed.
   WLD-23: The air quality cumulative eeffects analysis is inadequate.
   The analysis areas include Payette County for localized impacts and a four county area (Ada,
   Baker, Canyon, and Payette) for CIAA. The analyses were conducted at county levels because
   the EPA provides information at that scale. These counties largely address the area you
   expressed concerns about (Treasure Valley) and the likely area pollutants would spread from the
   proposed lease. They include parts of two airsheds identified in Idaho; however, the EPA does
   not provide data by airsheds. The proposed lease area is 65 (Eagle Cap Wilderness), 67 (Hells
   Canyon Wilderness), or 72 (Sawtooth Wilderness) miles from the nearest Class 1 airshed areas.
   With the exception of GHG, which would affect resources at a much larger scale, pollutants from
   the development and production phase would typically not travel that far. North Ada County is a
   nonattainment zone for CO and PMio. Maintenance plans are in place to address these issues
   (EPA 2015, Idaho nonattainment area plans,
   http://yosemite.epa.gov/r10/airpage.nsf/283d45bd5bb068e68825650f0064cdc2/e2ab2cc6df433b
   8688256b2f00800ff8?OpenDocument). Ada and Canyon counties are also considered areas of
   concern for PM2.5 and O3. There are no nonattainment areas in eastern Oregon, but La Grande
   has a PM10 maintenance plan in place. Without mitigation measures, the maximum RFDS of 25
   wells add 0.1% and 0.7% respectively to CO and PM10 pollutants in the CIAA.

   Water Resources
   WLD-3: Water depletion, quality, and protection issues were not adequately addressed.
   WLD-24: Current water quality conditions need to be clar,^fied.
   The EA provides what is publicly known about water quality in the area (Section 3.5.1). The
   BLM is not aware of any further pesticide or other chemical testing of ground or surface waters

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   in the area. Water quality in Little Willow Creek especially is variable because of agricultural
   influences (dewatering for irrigation and potential pollutants in return flows). Until more
   specific information at the APD phase is available, the current analysis can only provide a broad
   range of impacts (Sections 3.5.2 and 3.5.4).

   WLD-15: AqUifer and geological strata should be used to inform analyses on aquatic habitat
   impacts.
   Information, primarily from IDWR and IDEQ, and analyses concerning aquifers are presented in
   Water Resources (Section 3.5) under the heading “Ground Water.” Aquatic habitat impacts are
   discussed Section 3.6.2. Stipulations concerning freshwater aquatic habitat are included as part
   of Alternative C.

   WLD-4: The pollution emission zone has not been mapped.
   The BLM is not clear what you mean by pollution emission zone. The identified CIAA (Section
   3.5.4.1) is large enough to consider horizontal pollutant spread through the 10-year analysis
   period.

   WLD-8: The EA does not adequately address fracking.
   WEG-9: Impacts of hydraulic fracturing were not adequately addressed.
   While BLM does not anticipate that hydraulic fracturing will be utilized in the Willow Field
   area, impacts are discussed in Water Resources (Section 3.5.2). If hydraulic fracturing is
   proposed on a well that has been drilled under an approved APD, it would be analyzed in much
   greater depth in a subsequent NEPA document. The Idaho Department of Lands has proposed a
   new rule currently pending the approval of the legislature, which has new requirements including
   water quality monitoring, should hydraulic fracturing be proposed. Additionally, BLM is
   currently working at the national level to adopt new regulations regarding hydraulic fracturing.
   A final rule is anticipated to be released in spring 2015. According to the standard lease terms,
   the Willow Creek leases would be subject to those new standards, even if leases are issued prior
   to adoption of the new standards.

   Wildlife/Special Status Species
   General
   WLD-10: The variety of impacts was not adequately addressed.
   Section 3.6.2.1 describes most of the impacts you identify including disturbance, mortality,
   changes in habitat quality, fragmentation, and pollution (including erosion and runoff) for the
   groups of animals they would likely affect. During the APD phase, when the types of
   development are more clearly identified, impacts would be more readily identified.

   Special Status Species
   WLD-20: Inventory requirements for special status species are inadequate.
   SoI-1: The BLM needs to consider the presence o_f SIDGS and other special status species and
   take appropriate measures to inventory and protect them.
   The BLM used the field visits, 2014 Idaho Fish and Wildlife Information System (which
   includes the referenced SIDGS data), and other data sources to determine presence of special
   status species in the proposed lease area. Impacts from the proposed actions are discussed in

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   Section 3.6.2. Sections 2.2, 2.3, 2.4, and 3.6.3 describe measures that would be taken to reduce
   or avoid impacts. Section 6 of the Lease Terms on the Offer to Lease and Lease for Oil and Gas
   (Form 3100-11) provide for requiring inventories of resources prior to ground disturbing
   activities. Lease specific stipulations (S1) and notices (LN-3 and LN-4) also provide for
   inventory and subsequent mitigation measures. The inventories would occur before and during
   the APD process and potential impacts would be analyzed in a subsequent EA.

   WLD-6: Leasing would preclude conservation, enhancement, and restoration ofsage-grouse
   and other special status species habitats.
   The proposed lease area is outside any sage-grouse habitat designation; therefore, it would not be
   a restoration priority for that species. SIDGS are the most prevalent special status species in the
   proposed lease area. Although development and production activities could degrade habitat, they
   would not preclude habitat restoration activities once disturbance factors have been stabilized
   and restoration could be a requirement during the abandonment phase. Efforts to maintain or
   enhance SIDGS habitat would likely benefit most other special status species.

   WLD-16: The migratory bird and raptor provisions are outdated and scientifically indefensible.
   The winter range avoidance period (November 15 to May 15), which affects 94% of the federal
   mineral reserve lands, would provide more widespread protections during early breeding and
   nesting periods for periods not addressed by migratory bird and raptor nesting protections.

   WEG-2: Greater sage-grouse were not adequately addressed.
   The CRMP did not provide leasing stipulations for sage-grouse. Because of historic wildfires
   and human activities (e.g., livestock grazing), the proposed lease area does not provide suitable
   sage-grouse habitat. The distances to identified sage-grouse habitat (5-6.5 miles to
   sagebrush/perennial grass dominated communities [Key, Preliminary General, and Preliminary
   Priority habitats]) and active leks (9.5 miles)E are substantially greater than the 3 mile buffer
   recommended by Dr. Braun. The proposed lease would not affect sage-grouse in the area;
   therefore, it would not affect listing decisions.

   WEG-4: Impacts to other sensitive species, especially sagebrush obligates were not adequately
   addressed.
   Impacts to representative special status species, including SIDGS and sagebrush obligates, are
   discussed in Sections 3.3.2 and 3.6.2 and Appendix 4. The proposed lease area would affect
   approximately 4% of the current distribution of SIDGS (based on minimum convex polygon of
   current and historic locations, assuming 66% of the polygon is suitable habitat). Shrub-
   dominated communities occur on up to 25% of the lease area, but typically occur in isolated
   stands (see Figure 1 and Figure 2).

   Big Game
   SoI-2: The BLM needs to clar,_fy where big game winter range stipulations would apply,
   consider impacts to private lands that development would have, and provide adequate measures
   to avoid disturbance.
   The CRMP used the term crucial; therefore, it was carried forward into this document. The
   BLM used IDFG data (Map 6) to delineate current big game winter range, combining mule deer,

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   elk, and pronghorn ranges into one polygon. For Alternative C, the winter timing restriction
   would apply to all federal mineral estate in winter range (approximately 6,053 acres or 94% of
   leased lands). Wildlife depredation is discussed in Sections 3.6.2 and 3.14.2. The winter timing
   restriction was expanded to November 15 to May 15. This expansion is within the 60-day
   flexibility allowed by BLM policy.

   WEG-3: Impacts to pronghorn winter range were not adequately addressed.
   The EA (Section 3.6.1, Map 6) describe winter ranges for pronghorn, mule deer, and elk. A
   combination of all three was used for analysis purposes. The CRMP recognized that winter
   range delineations could change through timeB; therefore, the winter ranges used in this analysis
   were developed in cooperation with IDFG using current monitoring information and represent a
   larger area than was identified in the CRMP. The analyses indicate moderate to major adverse
   impacts could occur from the proposed levels of development in Alternatives B and C (Sections
   3.6.2.3 and 3.6.2.4). The cumulative impacts of changes in habitat conditions from oil and gas
   production and development and other activities are addressed in Section 3.6.4.

   The no surface use limitation (CSU-4) would apply to the exploration, drilling, development and
   production, and abandonment phases and would cover all activities (e.g., surface disturbing and
   disruptive). Your concern about exceptions is addressed in Section 3.6.2.4. The proposed lease
   area is on the periphery of winter range; therefore, it would not affect migration corridors.

   Recreation
   WLD-17: Impacts to and by recreationists were not adequately addressed.
   Access to the isolated parcels of BLM-administered lands occurs through private lands. They
   are near agricultural lands and provide little opportunity for those seeking solitude. Impacts
   from increased access were addressed in Sections 3.6, 3.7, 3.8, 3.9, and 3.14.

   Visual Resources Management
   WLD-4: The visual analysis is inadequate.
   The BLM only manages visual resources on BLM-administered lands. Impacts to visual
   resources on BLM-administered lands have been analyzed in Section 3.10.

   Social and Economic
   ICL-3: Social and economic impacts to landowners were not adequately addressed.
   Social and economic impacts, including land values and use, are addressed in Sections 3.5, 3.13,
   and 3.14. Private landowners in and adjacent to the proposed lease area have been involved in
   this process. The concerns raised during the July 20144 scoping period were addressed in the
   EA. One landowner commented on the EA regarding how parcels were delineated. Analyses
   during the APD phase will provide more in-depth assessment of these issues.

   WLD-4: The noise zone has not been mapped.
   Noise impacts to wildlife and humans are discussed in Sections 3.6.2 and 3.14, respectively.
   Noise is an impact that is more appropriately analyzed in the NEPA for an APD, and can be
   mitigated by applying a Condition of Approval requiring noise reduction measures, if needed.


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   WEG-8: The social cost of carbon needs to be addressed.
   The social cost of carbon is addressed in Air Resources and Social and Economic sections 3.4.2
   and 3.14.2, respectively.

   Other Resources
   WLD-18: Paleontological resources are ignored.
   A paleontological resource stipulation (CSU-12) was added to Alternative C (Section 2.3) and
   the affected environment and environmental consequences were described (Section 3.8).




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                         United States Department of the Interior
                                   BUREAU OF LAND MANAGEMENT
                                         Miles City Field Office
                                           111 Garryowen Road
    In Reply Refer To:               Miles City, Montana 59301-7000
                                               www.blm. gov/mt
   October 2014 Comp Sale
   3160 (MTC023)


                                                                        July 23, 2014

   Dear Reader:

   The Bureau of Land Management (BLM) Miles City Field Office prepared an environmental
   assessment (EA) to analyze the potential effects from offering 18 nominated lease parcels for
   competitive oil and gas leasing in a sale tentatively scheduled to occur on October 21, 2014. The
   EA and unsigned Finding of No Significant Impact (FONSI) were available for a 30-day public
   comment period.

   Based on our analysis and review of comments received, the EA has been updated (refer to
   Chapter 5 of the EA for a summary of public comments). It will be my recommendation to offer
   2 whole and 5 partial lease parcels, 1,197.34 surveyed Federal mineral acres, along with
   stipulations and/or lease notices identified in the BLM preferred alternative in the updated EA
   (see Appendix A). It is also my recommendation to defer 11 whole and 5 partial lease parcels in
   whole, 6,747.94 surveyed Federal mineral acres for further review and analysis.

   We anticipate preparing and finalizing our Decision Record after the oil and gas lease sale, but
   prior to lease issuance. Upon finalization, the Decision Record and accompanying FONSI will
   be posted on the website listed below.

   Current and updated information about the EA, Lease Sale Notice, the parcel list with
   recommended stipulations, and corresponding information pertaining to this sale can be found
   at http://blm.gov/qtld.

   If you have any questions or would like more information about lease sale notices or the issuance
   of the EA, Decision Record and FONSI, please contact me at 406-233-2837.


                                                Sincerely,




                                                Todd D. Yeager
                                                Field Manager



                                                                       Rvsd Plan - 00002904
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                           United States Department of the Interior
                                Bureau of Land Management

                  Environmental Assessment DOI-BLM-MT-C020-2014-0091-EA
                                  May 19, 2014 July 23, 2014

   Project Title: Oil and Gas Lease Parcel, October 21, 2014 Sale

   Location: Miles City Field Office (see Appendix A for list of lease parcels by number
   and legal description and Maps 1-6)




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                                           Miles City Oil and Gas Lease Sale EA
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   1 .0 PURPOSE AND NEED

   1.1 Introduction
   It is the policy of the Bureau of Land Management (BLM) to make mineral resources available
   for use and to encourage development of mineral resources to meet national, regional, and local
   needs. This policy is based on various laws, including the Mineral Leasing Act of 1920 and the
   Federal Land Policy and Management Act of 1976. The Federal Onshore Oil and Gas Leasing
   Reform Act of 1987 Sec. 5102(a)(b)(1)(A) directs the BLM to conduct quarterly oil and gas
   lease sales in each state whenever eligible lands are available for leasing. The Montana State
   Office conducts mineral estate lease auctions for lands managed by the Federal Government,
   whether the surface is managed by the Department of the Interior (BLM or Bureau of
   Reclamation), United States Forest Service, or other departments and agencies. In some cases
   the BLM holds subsurface mineral rights on split estate lands where the surface estate is owned
   by another party, other than the Federal Government. Federal mineral leases can be sold on such
   lands as well. The Montana State Office has historically conducted five lease sales per year.

   Members of the public file Expressions of Interest (EOI) to nominate parcels for leasing by the
   BLM. From these EOIs, the Montana State Office provides draft parcel lists to the appropriate
   field offices for review. The BLM field offices then review legal descriptions of nominated
   parcels to determine: if they are in areas open to leasing; if new information has come to light
   which might change previous analyses conducted during the land use planning process; if there
   are special resource conditions of which potential bidders should be made aware; and which
   stipulations should be identified and included as part of a lease. Ultimately, all of the lands in
   proposed lease sales are nominated by private individuals, companies, or the BLM, and therefore
   represent areas of high interest.

   This environmental assessment (EA) has been prepared to disclose and analyze the potential
   environmental consequences from leasing all 18 nominated lease parcels encompassing a total of
   7,945.28 surveyed Federal mineral acres located in the Miles City Field Office (MCFO), to be
   included as part of a competitive oil and gas lease sale tentatively scheduled to occur in October
   21, 2014.

   The analysis area includes the 18 nominated parcels in Richland, Roosevelt, McCone, Prairie,
   and Powder River counties (Map 1).

   1.2 Purpose and Need for the Proposed Action
   The purpose of offering parcels for competitive oil and gas leasing is to provide opportunities for
   private individuals or companies to explore for and develop Federal oil and gas resources in
   Richland, Roosevelt, McCone, Prairie, and Powder River counties after receipt of necessary
   approvals and to sell the oil and gas in public markets.



                                                                                                     1


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   This action is needed to help meet the energy needs of the people of the United States. By
   conducting lease sales, the BLM provides for the potential increase of energy reserves for the
   U.S., a steady source of income, and at the same time meets the requirement identified in the
   Energy Policy Act, Sec. 362(2), Federal Oil and Gas Leasing Reform Act of 1987, and the
   Mineral Leasing Act of 1920, Sec. 17. Oil and gas companies filed Expressions of Interest (EOI)
   to nominate parcels for leasing by the BLM Montana. The BLM needs to respond to the EOIs
   by determining whether or not to recommend these lease parcels for competitive oil and gas
   lease sale and, if so, with any stipulations attached.

   The decision to be made is whether to sell oil and gas leases on the lease parcels identified, and,
   if so, identify stipulations that would be included with specific lease parcels at the time of lease
   sale.

   1.3 Conformance with Land Use Plan(s)
   This EA is tiered to the information and analysis and conforms to the decisions contained in the
   Big Dry Resource Management Plan (RMP/EIS) of April 1996 and the Powder River RMP/EIS
   of March 1985, as amended (1994 Oil and Gas RMP/EIS Amendment, 2003 Final Statewide Oil
   and Gas Environmental Impact Statement and proposed Amendment of the Powder River and
   Billings RMPs, and the 2008 Final Supplement to the Montana Statewide Oil and Gas
   Environmental Impact Statement and Proposed Amendment of the Powder River and Billings
   RMPs). The Big Dry and Powder River RMPs are the governing land use plans for the MCFO.
   The lease parcels to potentially be offered for sale are within areas determined to be open to oil
   and gas leasing in the Big Dry and Powder River RMPs. An electronic copy of the Big Dry
   RMP/EIS and the Powder River RMP/EIS, as amended, can be located via the internet on the
   BLM home page, www.blm.gov/mt. On the home page, locate the heading titled
   “Montana/Dakotas,” then select “ What We Do ”, then click on the “Planning” link.

   A more complete description of activities and impacts, related to oil and gas leasing,
   development, production, etc. can be found at pages 111 to 156 of the Big Dry RMP and pages
   55 to 77 of the 1994 Oil and Gas Amendment of the Powder River RMP (for leasing decisions),
   and pages 4-1 to 4-310 of the 2008 Final Supplement to the Montana Statewide Oil and Gas
   Environmental Impact Statement and Proposed Amendment of the Powder River and Billings
   RMPs (for development, production, etc).

   Analysis of the 18 parcels is documented in this EA, and was conducted by MCFO resource
   specialists who relied on professional knowledge of the areas involved, review of current
   databases, file information, and some site visits to ensure that appropriate stipulations were
   recommended for a specific parcel. Analysis may have also identified the need to defer entire or
   partial parcels from leasing pending further environmental review.

   At the time of this review it is unknown whether a particular parcel will be sold and a lease
   issued. It is unknown when, where, or if future well sites, roads, and facilities might be
   proposed. Assessment of potential activities and impacts was based on potential well densities
   discerned from the Reasonably Foreseeable Development (RFD) Scenario developed for this
   environmental assessment (Appendix C), which is based on information contained in the MCFO
   RFD developed in 2005 and revised in 2012; it is an unpublished report that is available by

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   contacting the MCFO. The RFD contains projections of the number of possible oil and gas
   wells that could be drilled and produced in the MCFO area and used to analyze projected wells
   for the 18 nominated lease parcels. Detailed site-specific analysis and mitigation of activities
   associated with any particular lease would occur when a lease holder submits an application for
   permit to drill (APD). A more complete description of mitigation, BMPs, and conditions of
   approval related to oil and gas lease activities can be found at pages 302-326 of the Big Dry
   RMP, pages 130-137 of the 1994 Oil and Gas Amendment of the Powder River RMP, pages 3-6
   of the 2008 Record of Decision for the Final Supplement to the Montana Statewide Oil and Gas
   Environmental Impact Statement and Proposed Amendment of the Powder River and Billings
   RMPs, Surface Operating Standards and Guidelines for Oil and Gas Exploration and
   Development-The Gold Book, and online at http://www.blm.gov/wo/st/en/prog/energy/oil
    andgas best management practices.html. Offering the parcels for sale and issuing leases
   would not be in conflict with any local, county, or state laws or plans.

   1.4 Public Scoping and Identification of Issues
   Public scoping for this project was conducted through a 15-day scoping period advertised on the
   BLM Montana State Office website and posted on the MCFO website National Environmental
   Policy Act (NEPA) notification log. Scoping was initiated March 25, 2014.

   The BLM coordinates with Montana Fish, Wildlife, and Parks (MFWP), and the United States
   Fish and Wildlife Service (USFWS) to manage wildlife habitat because BLM management
   decisions can affect wildlife populations which depend on the habitat. The BLM manages
   habitat on BLM lands, while MFWP is responsible for managing wildlife species populations.
   The USFWS also manages some wildlife populations but only those Federal trust species
   managed under mandates such as the Endangered Species Act, Migratory Bird Treaty Act, and
   the Bald and Golden Eagle Protection Act. Managing wildlife is factored into project planning at
   multiple scales and is to be implemented early in the planning process.

   Coordination with Montana Fish Wildlife and Parks (MFWP) was conducted for the 18 lease
   parcels being reviewed and in the completion of this EA in order to prepare the analysis, identify
   protective measures, and apply stipulations and lease notices associated with these parcels being
   analyzed. A letter was sent to the USFWS and MFWP during the 15-day scoping and 30-day
   public comment periods requesting comments on the 18 parcels being reviewed. Refer to Section
   5.2 of this EA for a more complete summary of the scoping comments received from MFWP.

   The BLM consults with Native Americans under various statues, regulations, and executive
   orders, including the American Indian Religious Freedom Act, the National Historic Preservation
   Act, the Native American Graves Protection and Repatriation Act, the National Environmental
   Policy Act, and Executive Order 13175-Consultation and Coordination with Indian Tribal
   Governments. The BLM sent letters to tribes in Montana, North and South Dakota and
   Wyoming for the 15-day scoping period informing them of the potential for the 18 parcels to be
   leased and inviting them to submit issues and concerns BLM should consider in the
   environmental analysis. Letters were sent to the Tribal Presidents and the Tribal Historical
   Preservation Officer (THPO) or other cultural contacts for the Cheyenne River Sioux Tribe,
   Crow Tribe of Montana, Crow Creek Sioux Tribe, Eastern Shoshone Tribe, Ft. Peck Tribes,
   Lower Brule Sioux Tribe, the Mandan, Hidasta, and Arkira Nation, Northern Arapaho Nation,

                                                                                                      3


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   Northern Cheyenne Tribe, Oglala Sioux Tribe, Rosebud Sioux Tribe of Indians, Standing Rock
   Sioux Tribe, and Turtle Mountain Band of Chippewa. In addition to scoping letters, THPOs also
   received file search results from the preliminary review of parcels conducted by BLM. The
   BLM sent a second letter with a copy of the EA to the tribes informing them about the 30 day
   public comment period for the EA and solicit any information BLM should consider before
   making a decision whether to offer any or all of the nominated parcels for sale.

   Site specific resource concerns were identified by the BLM through the preliminary review
   process conducted prior to a 15-day public scoping period. Lease stipulations (as required by
   Title 43 Code of Federal Regulations 3131.3) were added as necessary to each parcel as
   identified by the BLM to address site specific resource concerns.

   The BLM focuses its analysis on issues that are truly significant to the action in question, rather
   than amassing needless detail” (40 CFR 1500.1(b)). Issues have a relationship with the
   proposed action; are within the scope of analysis; and are amenable to scientific analysis.

   The issues carried forward through analysis in this EA are associated with air resources,
   greenhouse gas emission and climate change, economic resources, socioeconomics, cultural
   resources, paleontological resources, water resources, recreation and visual resources, wildlife
   habitat, Special Status and Sensitive Species, vegetation , livestock grazing management,
   invasive, non-invasive species and noxious weeds,

   The BLM considered other issues, listed below, but decided not to analyze those in further detail.
   The aspects of the existing environment that the BLM determined to not be present or not
   potentially impacted by this project include: coal, locatable minerals, salable minerals, lands with
   wilderness characteristics, cave and karst resources, wild and scenic rivers; wilderness study
   areas. Thus, the EA contains no further discussion of these issues.

   2 .0 DESCRIPTION OF ALTERNATIVES, INCLUDING PROPOSED ACTION

   2.1 Alternative A - No Action
   For EAs on externally initiated Proposed Actions, the No Action Alternative generally means
   that the Proposed Action would not take place. In the case of a lease sale, this would mean that
   all expressions of interest to lease (parcel nominations) would be denied or rejected.

   The No Action Alternative would exclude all 18 lease parcels, covering 7,945.28 surveyed
   Federal mineral acres (3,637.97 surveyed BLM administered surface and 4,307.31 surveyed
   private State surface), from the competitive oil and gas lease sale (Maps 1-6). Surface
   management would remain the same and ongoing oil and gas development would continue on
   surrounding Federal, private, and State leases.

   2.2 Alternative B - Proposed Action
   The Proposed Action Alternative would be to offer 18 lease parcels of Federal minerals for oil
   and gas leasing, covering 7,945.28 surveyed Federal mineral acres (3,637.97 surveyed BLM
   administered surface and 4,307.31 surveyed private surface), in conformance with the existing



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   land use planning decisions. Parcel number, size, and detailed locations and associated
   stipulations are listed in Appendix A. Maps 1-6 indicate the detailed location of each parcel.

   2.3 Alternative C -BLM Preferred
   Under the BLM Preferred Alternative, 2 whole and 5 partial parcels of the 18 lease
   parcels, 1,396.87 1,197.34 surveyed Federal mineral acres (680 481.21 surveyed BLM
   administered surface and 746.87 716.13 surveyed private surface) would be offered with RMP
   lease stipulations and/or lease notices as necessary (Appendix A) for competitive oil and gas
   lease sale and lease issuance.

   A total of 11 lease parcels in whole and 5 partial lease parcels, encompassing 6,549.15 6,747.94
   surveyed Federal mineral acres (2,958.73 3,157.52 surveyed BLM administered surface and
   3,590.42 private surveyed surface), are recommended for deferral (Maps 7-11). These lease
   parcels contain sage grouse, big game winter range, badlands rock outcrop, and sensitive soil
   protection areas being analyzed in the current MCFO RMP effort; therefore, 11 whole lease
   parcels and 5 partial lease parcels would be deferred at this time pending further review and
   analysis. This would provide for consideration of alternatives in the current MCFO RMP
   planning.

   2.4 Additional Considerations for Alternatives B and C
   For the split-estate lease parcels, the BLM provided courtesy notification to private landowners
   that the Federal oil and gas estate under their surface would be included in this lease sale. In the
   event of activity on such split estate lease parcels, the lessee and/or operator would be
   responsible for adhering to BLM requirements as well as reaching an agreement with the private
   surface landowners regarding access, surface disturbance, and reclamation.

   The terms and conditions of the standard federal lease and federal regulations would apply to
   each parcel offered for sale in each of the two Alternatives. Stipulations shown in Appendix A
   would be included with identified parcels offered for sale. Standard operating procedures for oil
   and gas operations on federal leases include measures to protect the environment and resources
   such as groundwater, air, wildlife, historical and prehistorical concerns, and others as mentioned
   in the Big Dry and Powder River RMPs at pages 9 to 40 and 302 to 330 of the Minerals
   Appendix (Big Dry) and 2-1 to 2-28 and the Minerals Appendix Min-36 to Min-42 (2008 Final
   Supplement to the Montana Statewide Oil and Gas EIS and Proposed Amendment of the Powder
   River and Billings RMPs). Conditions of Approval (COAs) would be attached to permits issued
   to explore and develop the parcels to address site-specific concerns or new information. Standard
   operating procedures, best management practices (BMPs), COAs, and lease stipulations can
   change over time to meet RMP objectives, resource needs or land use compatibility.

   Federal oil and gas leases would be issued for a 10-year period and would remain valid for as
   long thereafter as oil or gas is produced in paying quantities, required payments are made and
   lease operations are conducted in compliance with regulations and approved permits. If a lessee
   fails to produce oil and gas by the end of the initial 10 year period, does not make annual rental
   payments, or does not comply with the terms and conditions of the lease, the BLM would
   terminate the lease. The lessee can relinquish the lease. The oil and gas resources could be
   offered for sale at a future lease sale.

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   Drilling of wells on a lease would not be permitted until the lessee or operator secures approval
   of a drilling permit and a surface use plan as specified in 43 CFR 3162.

   3 .0 AFFECTED ENVIRONMENT

   3.1 Introduction
   This chapter describes the existing environment (i.e., the physical, biological, social, and
   economic values and resources) within the analysis area, which includes the 18 nominated
   parcels in Richland, Roosevelt, McCone, Prairie, and Powder River counties (Map 1), that could
   be affected by implementation of the alternatives described in Chapter 2.

   The existing environment is described by the different resources found throughout the counties
   listed above. Within each resource description, lease parcels containing the resource will be
   listed and analyzed further in Chapter 4. If the lease parcel does not contain the resource, then
   the lease parcel will be omitted from the description of that specific resource.

   Unless otherwise stated, resource analysis in this chapter, and Chapter 4, will be described in
   approximate acres due to the scaling and precision parameters associated with the Geographic
   Information System (GIS), in addition to being referenced to a different land survey.

   Most of the analysis area consists of open expanses characteristic of the Northern Great Plains.
   This area is largely comprised of herbaceous vegetation (e.g., grasses) with interspersed shrubs
   (e.g., sagebrush). Lands with greater moisture or slopes exhibit ponderosa pine, limber pine,
   limited Douglas fir, and juniper species. Some hardwood trees grow along riparian areas and are
   common along the Missouri River. The analysis area experiences extreme weather variations on
   a yearly basis due to its semiarid continental climate. Most of the public lands are scattered
   throughout the analysis area. The public lands are rich in natural resources, such as wildlife and
   livestock forage, minerals, cultural resources, paleontological resources, recreation opportunities,
   and watershed values.

   3.2 Air Resources
   Air resources include air quality, air quality related values (AQRVs), and climate change. As
   part of the planning and decision making process, BLM considers and analyzes the potential
   effects of BLM and BLM-authorized activities on air resources.

   The Environmental Protection Agency (EPA) has the primary responsibility for regulating air
   quality, including seven criteria air pollutants subject to National Ambient Air Quality Standards
   (NAAQS). Pollutants regulated under NAAQS include carbon monoxide (CO), lead, nitrogen
   dioxide (NO2), ozone, particulate matter with a diameter less than or equal to 10 microns
   (PM10), particulate matter with a diameter less than or equal to 2.5 microns (PM2.5), and sulfur
   dioxide (SO2). Two additional pollutants, nitrogen oxides (NOx) and volatile organic
   compounds (VOCs) are regulated because they form ozone in the atmosphere. Regulation of air
   quality is also delegated to some states. Air quality is determined by pollutant emissions and
   emission characteristics, atmospheric chemistry, dispersion meteorology, and terrain. AQRVs



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   include effects on soil and water, such as sulfur and nitrogen deposition and lake acidification,
   and aesthetic effects, such as visibility.

   Climate is the composite of generally prevailing weather conditions of a particular region
   throughout the year, averaged over a series of years. Climate change includes both historic and
   predicted climate shifts that are beyond normal weather variations.

   3.2.1 Air Quality
   The EPA air quality index (AQI) is an index used for reporting daily air quality
   (http://www.epa.gov/oar/data/geosel.html) to the public. The index tells how clean or polluted
   an area’s air is and whether associated health effects might be a concern. The EPA calculates the
   AQI for five criteria air pollutants regulated by the Clean Air Act (CAA): ground-level ozone,
   particulate matter, carbon monoxide, sulfur dioxide, and nitrogen dioxide. For each of these
   pollutants, EPA has established NAAQS to protect public health. An AQI value of 100
   generally corresponds to the primary NAAQS for the pollutant. The following terms help
   interpret the AQI information:

       ■   Good - The AQI value is between 0 and 50. Air quality is considered satisfactory and air
           pollution poses little or no risk.
       ■   Moderate - The AQI is between 51 and 100. Air quality is acceptable; however, for
           some pollutants there may be a moderate health concern for a very small number of
           people. For example, people who are unusually sensitive to ozone may experience
           respiratory symptoms.
       ■   Unhealthy for Sensitive Groups - When AQI values are between 101 and 150,
           members of “sensitive groups” may experience health effects. These groups are likely to
           be affected at lower levels than the general public. For example, people with lung
           disease are at greater risk from exposure to ozone, while people with either lung disease
           or heart disease are at greater risk from exposure to particle pollution. The general public
           is not likely to be affected when the AQI is in this range.
       ■   Unhealthy - The AQI is between 151 and 200. Everyone may begin to experience some
           adverse health effects, and members of the sensitive groups may experience more serious
           effects.
       ■   Very Unhealthy - The AQI is between 201 and 300. This index level would trigger a
           health alert signifying that everyone may experience more serious health effects.

   AQI data show that there is little risk to the general public from air quality in the analysis area
   (Table 1). Based on available 2010-2012 data for Richland County in the northern portion of the
   planning area, 88 percent of the days were rated “good” and the three-year median daily AQI
   was 35. In the southern portion of the planning area, 2010-2012 data for Powder River County
   indicated that 82 percent of the days were rated good and the three-year median daily AQI was
   37.




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   Tablel.USEPA-AirDataAirQualityIndexReport(2010-2012)
                                    Percent of
                         # Days     Days                       # Days Rated
                # Days Rated        Rated        # Days        Unhealthy      # Days        # Days Rated
                in       Good or    Good or      Rated         for Sensitive  Rated         Very
   County1      Period No Data      No Data      Moderate      Groups         Unhealthy     Unhealthy
   Powder                                                                                   0
                1,092    898        82%          194           0              0
   River
   Richland     1,096    968        88%          128           0              0             0
   'The Powder River and Richland County monitors are located near Broadus and Sidney, respectively.
   Source: EPA 2013b.

   The area managed by the MCFO is in compliance with all NAAQS. Based on monitoring data
   available for 2010 through 2012, maximum concentrations as a percentage of the NAAQS are
   summarized in Table 2. Data are not provided for CO and lead which are not monitored within
   the analysis area.

  Table 2. Monitored Concentrations Representative of the Study Area a

                 Averaging                                                    Concentration d
  Pollutant      Time               Applicable Standard b      Powder River County     Richland County
  NO2             1 hour            100 ppb                    16 ppb (16%)            9 ppb (9%)
  O3              8 hour            0.075 ppm                  0.055 ppm (73%)         0.057 ppm (76%)
  PM10           24 hour            150 M-g/m3                 100 Mg/m3 (67%)         100 Mg/m3 (67%)
                 24 hour            35 Mg/m3                   16 Mg/m3 (46%)          15 Mg/m3 (43%)
  PM2.5
                 Annual             12 Mg/m3                   6 Mg/m3 (51%)           7 Mg/m3 (55%)
                  1 hour            75 ppb                     N/A                     5 ppb (7%)
  SO2
                 24 hour            140 ppb                    N/A                     1 ppb (21%)
            Representative concentrations are based on data from the Sidney monitoring station in Richland
   County and the Broadus monitor in Powder River County.
   b        Most restrictive national or State standard.
   c        Monitored concentrations are the 2nd highest for 24-hour PM10 and 24-hour SO2; three-year
   average of the annual 4th highest daily maximum for 8-hour O3; three-year average of the 98th percentile
   for 24-hour PM2.5 and 1-hour NO2; and three-year arithmetic mean for annual PM2.5.
   d        Values in parentheses are monitored concentrations as a percentage of the most restrictive
   applicable standard.
   Source: EPA 2013b.

   Although ozone concentrations above the NAAQS have been monitored in some rural areas in
   other states with oil and gas activity, moderate ozone concentrations have been monitored in
   Montana oil and gas areas. Based on 2010-2012 data from monitors located near Sidney and
   Broadus, Montana, ozone concentrations are approximately 75 percent of the ozone NAAQS
   (MDEQ 2013).

   Hazardous air pollutants (HAPs) would also be emitted from oil and gas operations, including
   well drilling, well completion, and gas and oil production. Recent air quality modeling
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   performed for the MCFO indicates that concentrations of benzene, ethylbenzene, formaldehyde,
   n-hexane, toluene, and xylene would be less than 14 percent of applicable health-based standards
   and that the additional risk of cancer would be less than 0.18 in one million (BLM 2013).

   Air resources also include visibility, which can be degraded by regional haze due in part to
   sulfur, nitrogen, and particulate emissions. Based on trends identified during 2005-2009,
   visibility has degraded slightly at the Medicine Lake National Wildlife Refuge IMPROVE
   monitor in Sheridan County on the haziest days (20 percent worse days). On the 20 percent best
   (clearest) days, visibility at this monitor has been improving, as shown by decreasing haze in
   Figure A.




                         Tracking Progress 2000-2004 to 2005-2009




                Figure A. Trends in haze index (deciview) on haziest and clearest
                days, 2005-2009. Source: IMPROVE 2011.



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   3.2.2 Climate Change
   Climate change is defined by the Intergovernmental Panel on Climate Change (IPCC) as “a
   change in the state of the climate that can be identified (e.g., by using statistical tests) by changes
   in the mean and/or the variability of its properties, and persists for an extended period, typically
   decades or longer. Climate change may be due to natural internal processes or external forcings
   such as modulations of the solar cycles, volcanic eruptions and persistent anthropogenic changes
   in the composition of the atmosphere or in land use.” (IPCC 2013). Climate change and climate
   science are discussed in detail in the climate change Supplementary Information Report for
   Montana, North Dakota, and South Dakota, Bureau of Land Management (Climate Change SIR
   2010). This document is incorporated by reference into this EA.

   The IPCC states: “Warming of the climate system is unequivocal, and since the 1950s, many of
   the observed changes are unprecedented over decades to millennia. The atmosphere and ocean
   have warmed, the amounts of snow and ice have diminished, sea level has risen, and the
   concentrations of greenhouse gases have increased.” (IPCC 2013). The global average surface
   temperature has increased approximately 1.5°F from 1880 to 2012 (IPCC 2013). Warming has
   occurred on land surfaces, oceans and other water bodies, and in the troposphere (lowest layer of
   earth’s atmosphere, up to 4-12 miles above the earth). Other indications of global climate
   change described by the IPCC (Climate Change SIR 2010) include:

       •   Rates of surface warming increased in the mid-1970s and the global land surface has
           been warming at about double the rate of ocean surface warming since then;
       •   Eleven of the last 12 years rank among the 12 warmest years on record since 1850;
       •   Lower-tropospheric temperatures have slightly greater warming rates than the earth’s
           surface from 1958-2005.

   As discussed and summarized in the climate change SIR, earth has a natural greenhouse effect
   wherein naturally occurring gases such as water vapor, CO2, methane, and N2O absorb and
   retain heat. Without the natural greenhouse effect, earth would be approximately 60°F cooler
   (Climate Change SIR 2010). Current ongoing global climate change is caused, in part, by the
   atmospheric buildup of greenhouse gases (GHGs), which may persist for decades or even
   centuries. Each GHG has a global warming potential that accounts for the intensity of each
   GHG’s heat trapping effect and its longevity in the atmosphere (Climate Change SIR 2010). The
   buildup of GHGs such as CO2, methane, N2O, and halocarbons since the start of the industrial
   revolution has substantially increased atmospheric concentrations of these compounds compared
   to background levels. At such elevated concentrations, these compounds absorb more energy
   from the earth’s surface and re-emit a larger portion of the earth’s heat back to the earth rather
   than allowing the heat to escape into space than would be the case under more natural conditions
   of background GHG concentrations.

   A number of activities contribute to the phenomenon of climate change, including emissions of
   GHGs (especially CO2 and methane) from fossil fuel development, large wildfires, activities
   using combustion engines, changes to the natural carbon cycle, and changes to radiative forces
   and reflectivity (albedo). It is important to note that GHGs will have a sustained climatic impact
   over different temporal scales due to their differences in global warming potential (described

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   above) and lifespans in the atmosphere. For example, CO2 may last 50 to 200 years in the
   atmosphere while methane has an average atmospheric life time of 12 years (Climate Change
   SIR 2010).

   With regard to statewide GHG emissions, Montana ranks in the lowest decile when compared to
   all the states (http://assets.opencrs.com/rpts/RL34272_20071205.pdf , Ramseur 2007). The
   estimate of Montana’s 2005 GHG emissions of 37 million metric tons (MMt) of gross
   consumption-based carbon dioxide equivalent (CO2e) account for approximately 0.6 percent of
   the U.S. GHG emissions (CCS 2007).

   Some information and projections of impacts beyond the project scale are becoming increasingly
   available. Chapter 3 of the climate change SIR describes impacts of climate change in detail at
   various scales, including the state scale when appropriate. The EPA identifies eastern Montana
   as part of the Great Plains region. The following summary characterizes potential changes
   identified by the EPA (EPA 2008) that are expected to occur at the regional scale, where the
   Proposed Action and its alternatives are to occur.

     •   The region is expected to experience warmer temperatures with less snowfall.
     •   Temperatures are expected to increase more in winter than in summer, more at night than
         in the day, and more in the mountains than at lower elevations.
     •   Earlier snowmelt means that peak stream flow would be earlier, weeks before the peak
         needs of ranchers, farmers, recreationalist, and others. In late summer, rivers, lakes, and
         reservoirs would be drier.
     •   More frequent, more severe, and possibly longer-lasting droughts are expected to occur.
     •   Crop and livestock production patterns could shift northward; less soil moisture due to
         increased evaporation may increase irrigation needs.
     •   Drier conditions would reduce the range and health of ponderosa and lodgepole pine
         forests, and increase the susceptibility to fire. Grasslands and rangelands could expand into
         previously forested areas.
     •   Ecosystems would be stressed and wildlife such as the mountain lion, black bear, long-nose
         sucker, marten, and bald eagle could be further stressed.

   Other impacts could include:
    • Increased particulate matter in the air as drier, less vegetated soils experience wind erosion.
    • Shifts in vegetative communities which could threaten plant and wildlife species.
    • Changes in the timing and quantity of snowmelt which could affect both aquatic species
        and agricultural needs.

   Projected and documented broad-scale changes within ecosystems of the U.S. are summarized in
   the Climate Change SIR. Some key aspects include:
     • Large-scale shifts have already occurred in the ranges of species and the timing of the
         seasons and animal migrations. These shifts are likely to continue (USGCRP 2009, as
         cited by Climate Change SIR 2010). Climate changes include warming temperatures
         throughout the year and the arrival of spring an average of 10 days to 2 weeks earlier
         through much of the U.S. compared to 20 years ago. Multiple bird species now migrate
         north earlier in the year.

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     •   Fires, insect epidemics, disease pathogens, and invasive weed species have increased and
         these trends are likely to continue. Changes in timing of precipitation and earlier runoff
         would increase fire risks.
     •   Insect epidemics and the amount of damage that they may inflict have also been on the
         rise. The combination of higher temperatures and dry conditions have increases insect
         populations such as pine beetles, which have killed trees on millions of acres in western
         U.S. and Canada. Warmer winters allow beetles to survive the cold season, which would
         normally limit populations; while concurrently, drought weakens trees, making them more
         susceptible to mortality due to insect attack.

   More specific to Montana, additional projected changes associated with climate change
   described in Section 3.0 of the Climate Change SIR (2010) include:
     • Temperature increases in Montana are predicted to be between 3 to 5°F at the mid-21st
         century. As the mean temperature rises, more heat waves are predicted to occur.
     • Precipitation increases in winter and spring in Montana may be up to 25 percent in some
         areas. Precipitation decreases of up to 20 percent may occur during summer, with potential
         increases or decreases in the fall.
     • For most of Montana, annual median runoff is expected to decrease between 2 and 5
         percent. Mountain snowpack is expected to decline, reducing water availability in
         localities supplied by meltwater.
     • Wind power production potential is predicted to decline in Montana based on modeling
         focused on the Great Falls area.
     • Water temperatures are expected to increase in lakes, reservoirs, rivers, and streams. Fish
         populations are expected to decline due to warmer temperatures, which could also lead to
         more fishing closures.
     • Wildland fire risk is predicted to continue to increase due to climate change effects on
         temperature, precipitation, and wind. One study predicted an increase in median annual
         area burned by wildland fires in Montana based on a 1°C global average temperature
         increase to be 241 to 515 percent.

     While long-range regional changes might occur within this analysis area, it is impossible to
     predict precisely when they could occur. The following example summarizing climate data for
     northeastern Montana (Montana Climate Division 6) illustrates this point. A potential regional
     effect of climate change is earlier snowmelt and associated runoff. This is directly related to
     spring-time temperatures. Over a 118-year record, overall warming is clearly evident with
     temperatures increasing 0.2°F per decade (Figure B). Similar temperature increases occurred
     in southeastern Montana (Montana Climate Division 7).

     However, data from 1991-2005 indicate a cooling trend of -1.3 degrees per decade (Figure C)
     in the northern and southern portions of the MCFO. This example is not an anomaly, as
     several other 15-year windows can be selected to show either warming or cooling trends.
     Substantial year-to-year fluctuations in temperature are due to natural processes, such as the
     effects of El Ninos, La Ninas, and the eruption of large volcanoes (Climate Change SIR 2010).
     Annual fluctuations illustrate the difficulty of predicting actual short-term regional changes or
     conditions which may be due to climate change during any specific time frame.


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                                                                                   ------ Temperature (°F)

                                                                                   ------ Avg. T (°F)

                                                                                   ------ Trend




     Figure B. Northeastern Montana spring temperatures (March-May, 1895-2013). (Source: National
     Climatic Data Center (NCDC) website - http://www.ncdc.noaa.gov/cag/ )




                                                                               ------ Temperature (°F)

                                                                               ------ Avg. T (°F)

                                                                               ------ Trend




     Figure C. Northeastern Montana spring temperatures (March-May, 1991-2005). (Source: National
     Climatic Data Center (NCDC) website - http://www.ncdc.noaa.gov/cag/ )




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     From 1895-2013, annual precipitation decreased 0.06 inches per decade in the northern
     portion of the MCFO, while precipitation remained relatively constant in the southern portion.
     Throughout the MCFO, precipitation trends show increased during spring and fall seasons,
     while precipitation decreased during summer and winter.

   3.3 Soil Resources
   The soil-forming factors (climate, parent material, topography, biota, and age) are variable across
   the planning area, which results in soils with diverse physical, chemical, and biotic properties.
   Important properties of naturally functioning soil systems include biotic activity, diversity, and
   productivity; water capture, storage, and release; nutrient storage and cycling; contaminant
   filtration, buffering, degradation, immobilization, and detoxification; and biotic system habitat.

   The lease parcels are located within 5 counties including Prairie, Roosevelt, Richland, Powder
   River, and McCone. The acreage of the lease parcels comprises less than 1 percent of each
   county. Soils considered prime farmlands if irrigated occur within lease parcels MTM 102757-
   WT, MTM 105431-HB, MTM 105431-HD, MTM 105431-HF, MTM 105431-HG, MTM
   105431-HH, MTM 105431-HJ, MTM 105431-HK, MTM 105431-HL, and MTM 105431-HM.
   The following describes the common soil properties of lease parcels within each county:

   Prairie County contains proposed parcels MTM 102757-WT and MTM 102757-WW. Parcel
   soils generally developed from the Fort Union Formation. Ecological sites within these parcels
   fall within MLRA 58A, 14-19 p. z. It is an area of old plateaus and terraces that have been
   eroded. Slopes generally are gently rolling to steep and wide belts of steeply sloping badlands. In
   some areas flat-topped, steep-sided buttes rise sharply above the general level of the plains. Most
   of soils in the parcels are rated high for soil restoration potential with a small percentage
   approximately 10 to 15 percent being rated low.

   Roosevelt County contains proposed parcels MTM 105431-H9 and MTM 105431-JA. Parcel
   soils generally developed from the Fort Union Formation. Ecological Site Descriptions for these
   parcels are found with MLRA 53A, 14-18 p. z. Terrain in the Northern Dark Brown Glaciated
   Plains are gently undulating to rolling till plains in this area are interrupted by more strongly
   rolling and steep slopes adjacent to kettle holes, kames, moraines, and major stream valleys. All
   soils within these parcels are rated high for Soil Restoration Potential.

   Richland County contains proposed parcels MTM 105431-HB, MTM 105431-H6 and MTM
   105431-H8. Parcel soils generally developed from the Fox Hills, Hell Creek and Fort Union
   Formations. Ecological sites are typical of MLRA 53A, 14-18 p. z. or MLRA 58A, 14-18 p.z.
   Soils in these parcels are rated moderate to high for Soil Restoration Potential.

   Powder River County contains proposed parcels MTM 105431-HC, MTM 105431-HD, MTM
   105431-HE, MTM 105431-HF, MTM 105431-HG, MTM 105431-HH, MTM 105431-HK,
   MTM 105431-HL, MTM 105431-HM and MTM 105431-HJ. Parcel soils generally developed
   from the Fort Union Formation. Ecological sites within these parcels fall within MLRA 58B, 14­
   18 p. z. Slopes generally are gently rolling to steep and wide belts of steeply sloping badlands. In
   some areas flat-topped, steep-sided buttes rise sharply above the general level of the plains.



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   Most of the soils are rated moderate to high for Soil Restoration Potential with a smaller
   percentage being rated low.

   McCone County contains proposed parcels MTM 105431-HA. Soils generally developed from
   Hell Creek and Fort Union Formations. Ecological Site Descriptions for these parcels are found
   with MLRA 53A, 14-18 p. z. Terrain in the Northern Dark Brown Glaciated Plains are gently
   undulating to rolling till plains in this area are interrupted by more strongly rolling and steep
   slopes adjacent to kettle holes, kames, moraines, and major stream valleys. Soils in this parcel
   are rated high for Soil Restoration Potential however some have not been rated.

   3.4 Water Resources
   3.4.1 Surface Hydrology
   Surface water resources across the MCFO are present as lakes, reservoirs, rivers, streams,
   wetlands, and springs. Water resources are essential to the residents of eastern Montana to
   support agriculture, public water supplies, industry, and recreation. Water resources and riparian
   areas are crucial to the survival of many BLM-sensitive fish, reptiles, birds, and amphibians.

   Perennial streams retain water year-round and have variable flow regimes. Intermittent streams
   flow during the part of the year when they receive sufficient water from springs, groundwater, or
   surface sources such as snowmelt or storm events. Ephemeral streams flow only in direct
   response to precipitation. Intermittent and ephemeral streams play an important role in the
   hydrologic function of the ecosystems within the lease parcels by transporting water, sediment,
   nutrients, and debris and providing connectivity within a watershed. They filter sediment,
   dissipate energy from snowmelt and storm water runoff, facilitate infiltration, and recharge
   groundwater (Levick et al. 2008). The pools of intermittent streams retain water in the summer
   months, supporting riparian vegetation and providing water resources for wildlife and livestock.

   Stream morphology is influenced by a number of factors including: stream flow regime,
   geology, soils, vegetation type, climate, and land use history. Stream conditions reflect a number
   of historic and current impacts, ranging from agriculture to mining. Surficial geology is generally
   represented by Tertiary sandstones, siltstones, and shales, with some alluvium and glacial till
   which tends to form fine grain soils (loams to clays), that are highly erosive. Streambeds consist
   typically of sand and silt, with few bedrock channels. Stream morphology is highly influenced
   by the presence and type of riparian vegetation because streambeds and stream banks generally
   lack control features (e.g., rocks, cobles, bedrock).

   Approximately 90 acres of 100-year floodplains are present within 5 of the proposed lease
   parcels. These floodplains are generally associated with Crow Rock Creek and various unnamed
   intermittent streams. Floodplain function is essential to watershed function, water quality, soil
   development, stream morphology, and riparian-wetland community composition. Floodplains
   reduce flood peaks and velocities, thereby reducing erosion; enhancing nutrient cycling; reducing
   frequency and duration of low flows; and increasing infiltration, water storage, and aquifer
   recharge. Floodplains enhance water quality by facilitating sedimentation and filtering overland
   flow. Floodplains support high plant productivity, high biodiversity, and habitat for wildlife.




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   The lease parcels are located within 5 watersheds [HUC 8 (Hydrological Unit Code); subbasins]:
   Big Muddy Creek (HUC 10060006), Charlie-Little Muddy Creeks (HUC 10060005), Little Dry
   Creek (HUC 10040106), Little Powder River (HUC 10090208), and Redwater River (HUC
   10060002). The acreage of the lease parcels comprises between less than 0.1 percent and 0.36
   percent of each watershed (USGS 2009).

   The Big Muddy watershed contains proposed parcels MTM 105431-H9 and JA; comprising less
   than 0.1 percent of the watershed. The lease parcels are located in Roosevelt County. The
   Charlie-Little Muddy Creeks watershed contains proposed parcels MTM 105431-HB, H6, and
   H8; comprising 0.15 percent of the watershed. The lease parcels are located in Richland County.
   The Little Dry Creek watershed contains proposed parcels MTM 102757-WT and WW;
   comprising 0.24 percent of the watershed. The parcels are located in Prairie County. The Little
   Powder River contains proposed parcels MTM 105431-HC, HD, HE, HF, HG, HH, HJ, HK, HL,
   and HM; comprising 0.36 percent of the watershed. The lease parcels are located in Powder
   River County. The Redwater River watershed contains proposed parcel MTM 105431-HA;
   comprising less than 0.1 percent of the watershed. The lease parcel is located in McCone County.
   Any beneficial use of produced water requires water rights to be issued by Montana Department
   of Natural Resources and Conservation (MDNRC) as established by law. Water used for oil well
   development may come from several different sources. It may be purchased from municipalities
   under certain conditions, appropriated from a surface water source under a new appropriation or
   by making changes to an existing water right, or by extracting groundwater from either a
   permitted or exempt well.

   3.4.2 Groundwater
   The quality and availability of groundwater varies greatly across the region. Residents in eastern
   Montana commonly get their ground water from aquifers consisting of unconsolidated, alluvial
   valley-fill materials, glacial outwash, or consolidated sedimentary rock formations and some coal
   beds.

   Alluvial aquifers within the area generally consist of Quaternary alluvium and undifferentiated
   Quaternary/Tertiary sediments, which include sand and gravel deposits. Alluvial aquifers occur
   in terrace deposits and within the floodplains, and along the channels of larger streams,
   tributaries, and rivers, and are among the most productive sources of groundwater. They are
   typically 0-40 feet thick. The quality of groundwater from alluvial aquifers is generally good,
   but can be highly variable [approximately 100 mg/l to 2,800 mg/l TDS, specific conductance
   (SC) of 500 to 125,000 microsiemens/centimeter (uS/cm), and sodium adsorption ratio (SAR) of
   5.0 to 10]. Wells completed in coarse sand and gravel alluvial aquifers can yield as much as 100
   gallons per minute (gpm), although the average yield is 15 gpm. Alluvial deposits associated
   with abandoned river channels or detached terraces are topographically isolated and have limited
   saturation and yield as much as 20 gpm (Zelt et al. 1999).

   Within the analysis area, the primary bedrock aquifers occur in sandstones and coal beds of the
   Tertiary Fort Union Formation (Cenozoic rocks) and the sandstones of the Cretaceous Hell
   Creek and Fox Hills formations (Mesozoic rocks). Wells within the Fort Union formation
   aquifers are typically 100 to 200 feet deep, but can be up to 1,500 feet in depth. These wells may
   produce as much as 40 gpm, but yields of 15 gpm are typical. Where aquifers are confined and


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   artesian conditions exist, wells in the Fort Union Formation will generally flow less than 10 gpm.
   Well depths within the Hells Creek and Fox Hills formation aquifers are highly variable, but
   typically range from 200 to 1,000 feet in depth. Groundwater yields from these aquifers may be
   as much as 200 gpm, but are generally less than 100 gpm. Artesian wells within these aquifers
   may flow as high as 20 gpm (Zelt et al. 1999). Groundwater yields from the deeper Paleozoic
   Madison formation aquifer can range from 20 to 6,000 gpm, or can be higher, in karst areas. The
   depth to the Madison formation aquifer in the planning area can exceed 6,000 feet. Due to the
   extreme depth of this aquifer, it is rarely accessed for water use. Water quality of this aquifer is
   highly variable and is dependent on depth, bedrock type, recharge rate, and other factors.

   3.5 Vegetation Resources
   The vegetation within the analysis area is characteristic of the Eastern Sedimentary Plains of
   Montana in the 10 to 14-inch precipitation zone and the Northern Dark Brown Glaciated Plains
   in the 10 to 14-inch precipitation zone, which lie within the Northern Great Plains. The Northern
   Great Plains is known for its diverse vegetation types, soil types, and topography. Vegetation is
   comprised of both tall and short grasses as well as both warm and cool season grasses. A variety
   of grass-like plants, forbs, shrubs and trees also add to the vegetation diversity of this rangeland
   type. Plant species diversity increases in woody draws and riparian/wetland zones.

   Existing influences on local distribution of plant communities include soils, topography, surface
   disturbance, availability of water, management boundary fence lines, and soil salinity.
   Vegetation communities have been affected by human activities for over a century. Some of
   these activities include: infrastructure developments (roads, powerlines, pipelines, etc.),
   chemical applications, logging, livestock grazing, farming, and wildfire rehabilitation,
   prevention, manipulation, and suppression.

   The BLM Standards of Rangeland Health (Standards) for BLM administered lands address
   upland health, riparian health, air quality, water quality, and habitat for native plants and
   animals. Meeting these Standards ensures healthy, productive, and diverse vegetative resources
   on public lands. The BLM’s policy for implementing the Standards for Rangeland Health (43
   CFR §4180.2) provides that all uses of public lands are to complement the established rangeland
   standards. Application of 43 CFR §4180.2 provides the mechanism to adjust livestock grazing to
   meet or progress towards meeting Standards for Rangeland Health. Effects of other uses such as
   oil and gas development or off- highway vehicle use are evaluated against the Standards to
   provide rationale directing management of these uses.

   Six vegetation communities have been identified within the analysis area: native mixed grass
   prairie, sagebrush/mixed grasslands, ponderosa pine-mixed grassland, agricultural lands,
   improved or restored pastures, and riparian-wetlands.

   There are numerous ecological sites identified within the analysis area, but the primary ones
   include the following; Sandy (Sy), Shallow (Sw), Silty (Si), Clayey (Cy) and Overflow (Ov).
   The total dry-weight production expected to be found on these sites during a normal growing
   season ranges from approximately 800 to 1,500 lbs. /acre.




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   The native mixed grassland community is dominated by perennial grasses. Perennial grasses can
   be both warm season and cool season grasses. These perennial grasses can also be both tall and
   short grasses. Some of the more common grasses include western wheatgrass (Pasccpyrum
   smithii), needle-and-thread (Hesperostipa 18rostr), green needlegrass (Nassella viridula), blue
   grama (Bouteloua gracilis), and prairie junegrass (Koeleria macrantha). Various forbs and
   shrubs are present but, occur as a minor species composition component throughout the
   community.

   The sagebrush/ mixed grassland community occurs on lower valley slopes near drainages,
   especially where soils are deeper. This community can include a combination of silver
   sagebrush (Artemisia cana) and Wyoming big sagebrush (Artemisia 18rostrate18 ssp.
   Wyomingensis). This setting is common throughout the analysis area. The sagebrush/grassland
   vegetation community has a perennial grass and forb understory, similar to the species found in a
   mixed native grassland community. The expected species composition on this community
   consists of 70-75 percent native grass species, 10-15 percent forbs, and 5-10 percent shrubs and
   half-shrubs.

   The ponderosa pine-mixed grassland community generally occurs on moderate-to-steep upland
   slopes on shallow soils. Ponderosa pine is a minor component of the community canopy cover
   but is characteristic of the type. Fifty-two percent of canopy cover is provided by grasses,
   including bluebunch wheatgrass (Pseudoroegneria spicata), western wheatgrass, and prairie
   junegrass, with forbs comprising about 41 percent of cover and 50 percent of herbaceous
   production. This community type is very limited within the analysis area.

    Improved or restored pastures consists of cultivated areas planted with introduced grasses
    (crested wheatgrass, smooth brome (Bromus inermis), intermediate wheatgrass (Thinopyrum
    intermedium), and alfalfa (Medicago sativa), specifically for the improved vegetation production
   for livestock consumption. This setting is limited in the analysis area.

   The cultivated plant community is comprised of monocultures of crops which may include small
   grains, alfalfa, or other crops grown primarily as supplemental feed sources for livestock
   production operations. These areas have been completely disturbed from the native vegetation
   potentials. This setting is absent or very limited in the analysis area.

   Wetland areas are defined as “areas that are inundated or saturated by surface or groundwater at
   a frequency and duration sufficient, and which, under normal circumstances, do support, a
   prevalence of vegetation adapted for life in saturated soil conditions.” Riparian areas are defined
   as “a form of wetland transition between permanently saturated wetlands and upland areas.
   These areas exhibit vegetation or physical characteristics reflective of permanent surface or
   subsurface water influence. Lands along, adjacent to, or contiguous with perennially and
   intermittently flowing rivers and streams, glacial potholes, and the shores of lakes and reservoirs
   with stable water levels are typical riparian areas. Excluded are such sites as ephemeral streams
   or washes that do not exhibit the presence of vegetation dependent upon free water in the soil”
   (Prichard et. Al 1995).




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   Within the analysis area, riparian and wetland areas would be associated with lakes, reservoirs,
   potholes, springs, bogs, and wet meadows as well as ephemeral, intermittent, or perennial
   streams. Riparian and wetland areas are among the most productive and important ecosystems
   (Prichard et. Al. 1995). Characteristically, riparian and wetland areas display a greater diversity
   of plant, fish, wildlife, and other animal species and vegetative structure than adjoining
   ecosystems. Adequate, healthy riparian and wetland vegetative buffers protect associated
   waterbodies from accelerated erosion and sedimentation and reduce or eliminate non-point
   source pollution from upland areas (MDEQ 2012). Healthy riparian and wetland systems filter
   and purify water as it moves through the riparian-wetland zone, reduce sediment loads and
   enhance soil stability, provide micro-climate moderation when contrasted to temperature
   extremes in adjacent areas, and contribute to groundwater recharge and base flow (Eubanks,
   2004).

   Riparian areas are considered to be some of the most biologically diverse habitats (FSEIS 2008).
   Some of the more common vegetative species that occur in riparian-wetland areas include prairie
   cordgrass (Spartina pectinata), switchgrass (Panicum virgatum), Canada wildrye (Elymus
   19rostrate19), American licorice (Glycyrrhiza lepidota), sedges (Carex spp.), rushes (Juncus
   spp.), willow (Salix spp.), chokecherry (Prunus virginiana), buffaloberry (Shepherdia argentea),
   cottonwood (Pcpulus spp.), needleleaf sedge (Carex duriuscula), sandbar willow (Salix exigua),
   Nebraska sedge (Carex nebrascensis), softstem bulrush (Schoencplectus tabernaemontani),
   beaked sedge (Carex rostrata), yellow willow (Salix lutea), common three-square
   (Schoenoplectus pungens), and green ash (Fraxinus pennsylvanica). Weedy and invasive species
   common to riparian areas are knapweed (Centaurea stoebe), leafy spurge (Euphorbia esula),
   Russian olive (Elaeagnus augustifolia), saltcedar (Tamarisk ramosissima), kochia (Bassia
   19rostrate), thistle (Cirsium arvense), sweet clover (Melilotus officinalis), cocklebur (Xanthium
   strumarium), and gumweed (Grindelia squarrosa).

   Wetlands provide watering points for wildlife and livestock and provide habitat diversity.
   Species include sedges (Carex spp.), rushes (Juncus spp.), bulrush (Schoencplectus spp.), cattail
   (Typha spp.), wild rose (Rosa spp.), and snowberry (Symphoricarpos spp.). At higher elevations
   they are associated primarily with springs, seeps, and intermittent streams. Precipitation­
   dependent wetland sites fluctuate annually, in a range from dry to wet, in direct response to
   seasonal moisture, temperature, and wind.

   From the Montana Natural Heritage Program (MTNHP) provisional mapping GIS data and the
   USFWS National Wetland Inventory (NWI) GIS data, 8 proposed lease parcels contain
   approximately 31 acres of delineated riparian or wetland areas (see Table 3). This list is not
   comprehensive because complete GIS data was not available for 1 of the lease parcels: MTM
   105431-WW.

   Table 3: MTNHP and USFWS Riparian and Wetland Areas by Lease Parcel1,2
   Riparian/Wetland     Classification                            Acres
   Type
   Freshwater Emergent  Palustrine, Emergent, Temporary Flooded     6.8
   Wetland              Palustrine, Emergent, Temporary Flooded,
                                                                   <0.1
                        Diked/Impounded


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   Riparian/Wetland          Classification                                   Acres
   Type
                              Palustrine, Emergent, Seasonally Flooded        6.4
                              Palustrine, Emergent, Seasonally Flooded,
                                                                              0.8
                              Diked/Impounded
                              Palustrine, Emergent, Semipermanently
                                                                              0.5
                              Flooded, Diked/Impounded
   Freshwater Pond            Palustrine, Aquatic Bed, Semipermanently
                                                                              5.8
                              Flooded
                              Palustrine, Aquatic Bed, Semipermanently
                                                                              3.3
                              Flooded, Diked/Impounded
                              Palustrine, Unconsolidated Shore, Temporary
                                                                              0.2
                              Flooded, Diked/Impounded
                              Palustrine, Unconsolidated Shore, Seasonally
                                                                             <0.1
                              Flooded
                              Palustrine, Unconsolidated Shore, Seasonally
                                                                              2.6
                              Flooded, Diked/Impounded
   Riparian                   Riparian, Lotic, Forested                       4.8
   '(USFWS 2009) 2 This list is not comprehensive because complete GIS data was not available for lease
   parcels MTM 105431-WW.

   Competition from invasive, non-native plants constitutes a potential threat to native plant species
   and wildlife habitat within the analysis area. Several invasive, non-native plant species are found
   in the analysis area including: crested wheatgrass (Agrcpyron cristatum), Japanese brome
   (Bromus japonicas), cheatgrass (Bromus tectorum), and foxtail barley (Hordeum jubatum).
   Crested wheatgrass occurs in areas as a result of being planted to increase forage production or to
   stabilize soils by reducing erosion. Cheatgrass, Japanese brome, and foxtail barley are all
   aggressive invasive species that out-compete desirable vegetation for water and soil nutrients.

   Noxious weeds are invasive species and occur in scattered isolated populations throughout the
   analysis area. The most common species of noxious weeds are leafy spurge, Russian knapweed,
   spotted knapweed, field bindweed and Canada thistle. Noxious weed control is the responsibility
   of the land owner or land managing agency. Chemical and biological control methods are
   utilized, with chemical control being the more predominant.

   3.6 Special Status Species
   3.6.1 Special Status Plant Species
   According to the MTNHP, there are no known threatened or endangered plant species located
   within the lease parcels. Ten plant species on the Montana Plant Species of Concern list have
   been identified as having suitable habitat in areas near these parcels (MTNHP, 2014). These
   species are listed in the Table 4 and have the potential to exist on the lease parcels. Three of
   these species are also identified as BLM “Sensitive” plants.

   According to the MTNHP field guide, these plants are typically found in very specific habitats
   and do not occur predictably across the landscape. Following is a list of Montana’s species of
   concern that may have existing populations and/or suitable habitat on or near the lease parcels by
   county:

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   Table4.MTSpeciesofConcernandBLMSensitivePlantsinornearlease_parcels
   Plant Name            Common Name          County              Habitat Description
   Carex gravida         Pregnant sedge       Richland            wetland/riparian
   Dalea enneandra       Nine-anther prairie  Richland            grasslands (plains)
                         clover
   Dalea villosa         Silky prairie clover Richland            sandy sites
   Dalea enneandra       Nine-anther prairie  Richland            grasslands (plains)
                         clover
   Dalea villosa         Silky prairie clover Richland            sandy sites
   Lobelia spicata *     Pale-spiked Lobelia  Richland            Moist meadow
   Solidago ptarmicoides Prairie Goldenrod    Richland            Moist meadow
   Suckleya suckleya*    Suckleya suckleana   Richland, Roosevelt wetland/riparian
   Viburnum lentago*     Nannyberry           Richland            Riparian forests
   Teucrium canadense    American Germander Roosevelt             Moist meadow
   Carex crawei*         Crawe’s Sedge        Prairie             wetland/riparian
   Astragalus barrii*    Barr’s Milkvetch     Powder River        Sparsely vegetated knobs and
                                                                  buttes
   * BLM Sensitive

   3.6.2 Special Status Animal Species
   Special status species (SSS), collectively, are USFWS Federally listed or proposed species, and
   the BLM sensitive species from the 2009 Montana Dakota’s sensitive species list. The BLM
   sensitive species also include both Federal candidate species and delisted species within 5 years
   of delisting.

   3.6.2.1 Aquatic Wildlife
   For aquatic wildlife in the analysis area there are 9 fish, 3 amphibians, and 2 aquatic reptile
   species that are special status or are sensitive species (Table 5). All of these species depend on
   perennial and intermittent streams or rivers with intact floodplains, wetlands, and riparian areas
   that have functional habitat. One fish species, the pallid sturgeon (Scaphirhyncus albus), was
   federally listed as endangered by the U.S. Fish and Wildlife Service in 1990. Threats to the
   pallid sturgeon are habitat modification, small population size, limited natural reproduction,
   hybridization, pollution and contaminants, and commercial harvest. The pallid sturgeon inhabits
   the large river systems of the analysis area. In the analysis area the Yellowstone River (from the
   MT/ND border upstream to near Forsyth, MT) and Missouri River (from the MT/ND border
   upstream to near Fort Benton) are considered pallid sturgeon habitat. Additionally, these large
   rivers are classified as having the highest concern for fish species (particularly ESA species and
   species of concern) habitat under the MFWP Crucial Area Planning System (CAPS 2010). The
   USFWS recently took further action by listing the shovelnose sturgeon (Scaphirhynchus
   platorynchus), which closely resembles the pallid sturgeon, as a threatened species where its
   range overlaps with the Pallid sturgeon (FWS 2010). In Table 6, endangered or sensitive aquatic
   wildlife species that occur within each of the lease parcels are listed.




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   Table 5. Aquatic sensitive or special status wildlife species in the analysis area.
                             USFWS Status       BLM Sensitive        In Range                Suitable
    Species                                                                                  Habitat
                                                                                             Present
    Pallid Sturgeon         Endangered          Special Status                 Yes                Yes
    Blue Sucker             None                Sensitive                      Yes                Yes
    Northern Redbelly       None                None                           Yes                Yes
    Dace *
    Northern Redbelly X     None                Sensitive                      No                 N/A
    Finescale Dace
    Paddlefish              None                 Sensitive                     Yes                Yes
    Pearl Dace              None                 Sensitive                     Yes                Yes
    Sauger                  None                 Sensitive                     Yes                Yes
    Iowa Darter *           None                 None                          Yes                Yes
    Sicklefin Chub *        None                 None                          Yes                Yes
    Sturgeon Chub           None                 Sensitive                     Yes                Yes
    Snapping Turtle         None                 Sensitive                     Yes                Yes
    Spiny Softshell         None                 Sensitive                     Yes                Yes
    Plains Spadefoot        None                 Sensitive                     Yes                Yes
    Great Plains Toad       None                 Sensitive                     Yes                Yes
    Northern Leopard Frog None                   Sensitive                     Yes                Yes
   *Iowa darter, northern redbelly dace, and   sicklefin chub are listed as   species of concern by the
   Montana Fish, Wildlife, and Parks.


   Table 6. Endangered or sensitive aquatic wildlife species that occur in, or their ranges overlap with,
   the lease parcels.
      Lease Parcel                              Endangered or Sensitive Species
    MTM 102757-WT Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
                       Spiny softshell, Snapping turtle
   MTM 102757-WW       Blue sucker, Sauger, Northern redbelly dace, Northern leopard frog, Plains
                       spadefoot, Great plains toad
                        Pallid sturgeon, Paddle fish, Blue sucker, Sturgeon chub, Sicklefin chub, Sauger,
    MTM 105431-HA
                        Iowa darter, Northern redbelly dace, Pearl dace, Northern leopard frog, Plains
                        spadefoot, Great plains toad
                        Pallid sturgeon, Paddle fish, Blue sucker, Sturgeon chub, Sicklefin chub, Sauger,
    MTM 105431-HB
                        Iowa darter, Northern redbelly dace, Pearl dace, Northern leopard frog, Plains
                        spadefoot, Great plains toad
                        Pallid sturgeon, Paddle fish, Blue sucker, Sturgeon chub, Sicklefin chub, Sauger,
    MTM 105431-H6
                        Iowa darter, Northern redbelly dace, Pearl dace, Northern leopard frog, Plains
                        spadefoot, Great plains toad
                        Pallid sturgeon, Paddle fish, Blue sucker, Sturgeon chub, Sicklefin chub, Sauger,
    MTM 105431-H8
                        Iowa darter, Northern redbelly dace, Pearl dace, Northern leopard frog, Plains
                        spadefoot, Great plains toad
    MTM 105431-H9       Sauger, Iowa darter, Northern redbelly dace, Pearl dace, Northern leopard frog,
                        Plains spadefoot, Great plains toad
                        Sauger, Iowa darter, Northern redbelly dace, Pearl dace, Northern leopard frog,
    MTM 105431-JA
                        Plains spadefoot, Great plains toad


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      Lease Parcel                              Endangered or Sensitive Species
                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HC
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM105431-HD
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HE
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HG
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HH
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HJ
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HF
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HK
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HL
                        Spiny softshell, Snapping turtle

                        Blue sucker, Sauger, Northern leopard frog, Plains spadefoot, Great plains toad,
    MTM 105431-HM
                        Spiny softshell, Snapping turtle

   Note: The sauger, northern leopard frog, plains spadefoot, and great plains toad may occur in all
   lease parcels.

   3.6.2.2 Terrestrial Wildlife
   Evaluating wildlife values at the landscape scale is key to understanding potential impacts of a
   project. Wildlife values, including terrestrial conservation species, species richness, game
   quality, and aquatic conservation connectivity, have been mapped at the landscape level for
   Montana by MFWP through their Crucial Areas Planning System (CAPS) 2010.

   The lease parcels were reviewed in the CAPS GIS website as an overlay to potential aquatic,
   terrestrial, and habitat values. This course-scale landscape analysis of wildlife resources
   provides one tool for understanding the context of the wildlife values at a large scale. Fine-
   scaled tools, data, and resource information based on inventory and monitoring data, as well as
   local knowledge from BLM and MFWP employees, are used to further examine resource issues
   at the site-specific level for the specific resources contained in the lease parcels considered in
   this EA.


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   The analysis area covers a variety of habitat consistent with the Northern Great Plains. Lease
   parcels are located within short and mixed grass prairies, riparian habitats, cultivated lands, and
   others. See Section 3.5 for a detailed description of vegetation.

   Some of these analysis areas provide habitat for species considered as BLM “special status
   species”. Table 6 7 presents the following: a list of species; whether the analysis area is within
   the current range of the species; and if so, whether suitable habitat is present within the lease
   parcels.

   Table 7. Analysis area occurrence of BLM terrestrial sensitive species and USFWS threatened,
   endangered, candidate or proposed terrestrial species.
                                                     Special Status
                                                    Species (SSS) and      In Current     Suitable
    Species                   USFWS Status           BLM Sensitive           Range        Habitat
                                                         Species                          Present

   Mammals
   Gray Wolf*                                             Sensitive             No             Not
                                   None                                                     applicable
                                                                                              (N/A)
   Grizzly Bear**                                      Special Status           No
                                Threatened                Species                              N/A
                                                           (SSS)
   Black-footed ferret          Endangered                  SSS                No              No
   Black-tailed prairie                                  Sensitive             Yes             No
                                   None
   dog
   Swift fox                       None                   Sensitive            Yes             Yes
   Fisher                          None                   Sensitive            No              NA
   Meadow Jumping                                         Sensitive            Yes             Yes
                                   None
   Mouse
   Great Basin Pocket                                     Sensitive             No             N/A
                                   None
   Mouse
   North American                                         Sensitive             No             N/A
                                   None
   Wolverine
   Pygmy rabbit                    None                   Sensitive            No              N/A
   Long-legged Myotis              None                   Sensitive            Yes             Yes
   Long-eared Myotis               None                   Sensitive            Yes             Yes
   Fringed Myotis                  None                   Sensitive            No              N/A
   Fringe-tailed Myotis            None                   Sensitive            No              N/A
   Pallid bat                      None                   Sensitive            No              N/A
   Northern long-eared                                                         No              N/A
                           Proposed Endangered              SSS
   bat
   Townsend’s big-eared                                   Sensitive            Yes             Yes
                                   None
   bat
   White-tailed prairie                                   Sensitive             No             N/A
                                   None
   dog

   Birds

                                                                                                        24


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                                                   Special Status
                                                  Species (SSS) and    In Current   Suitable
    Species                 USFWS Status           BLM Sensitive         Range      Habitat
                                                       Species                      Present

   Common loon                     None               Sensitive           Yes           Yes
   Franklin’s gull                 None               Sensitive           Yes           Yes
   Interior least tern         Endangered               SSS               Yes           No
   Black tern                      None               Sensitive           Yes           Yes
   White-faced ibis                None               Sensitive           Yes           Yes
   Whooping crane              Endangered               SSS               Yes           Yes
   Yellow rail                     None               Sensitive           Yes           Yes
   Piping plover             Threatened, with           SSS               Yes           No
                              critical habitat
   Mountain plover                 None               Sensitive           Yes           No
   Marbled godwit          Bird of Conservation       Sensitive           Yes           Yes
                             Concern (BCC)
   Long-billed curlew               BCC               Sensitive           Yes           Yes
   Black-crowned night                                Sensitive           Yes           Yes
                                  None
   heron
   Bobolink                      None                 Sensitive           Yes           Yes
   Greater sage-grouse          Candidate             Sensitive           Yes           Yes
   Burrowing owl                  BCC                 Sensitive           Yes           No
   Great gray owl                None                 Sensitive           No            NA
   Three-toed                                         Sensitive
                                  None                                    No            NA
   woodpecker
   Trumpeter swan                 None                 Sensitive          yes         unlikely
   Flammulated owl                None                 Sensitive          No            NA
   Bald eagle                     BCC                 Sensitive           Yes           Yes
   Golden eagle                   None                 Sensitive          Yes           Yes
   Ferruginous hawk               None                 Sensitive          Yes           Yes
   Swainson’s hawk                None                 Sensitive          Yes            Yes
   Peregrine falcon               None                 Sensitive          Yes         unlikely
   Northern goshawk               None                 Sensitive          No            NA
   Sage thrasher                  BCC                  Sensitive          Yes           Yes
   Sprague’s pipit              Candidate              Sensitive          Yes           Yes
   Sedge wren                     None                 Sensitive          Yes           Yes
   Loggerhead shrike              BCC                  Sensitive          Yes           Yes
   Chestnut-collared                                   Sensitive          Yes
                                  BCC                                                   Yes
   longspur
   McCown’s longspur              BCC                 Sensitive           Yes           Yes
   Baird’s sparrow                BCC                 Sensitive           Yes           Yes
   Brewer’s sparrow               BCC                 Sensitive           Yes           Yes
   LeConte’s sparrow              None                Sensitive           Yes           Yes
   Nelson’s Sharp-tailed                              Sensitive           Yes
                                  None                                                  Yes
   sparrow
   Horned grebe                   BCC                   None              Yes           Yes
   American bittern               BCC                   None              Yes           Yes
   Prairie falcon                 BCC                   None              Yes           Yes

                                                                                                 25


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                                                               Special Status
                                                              Species (SSS) and         In Current        Suitable
    Species                        USFWS Status                BLM Sensitive              Range           Habitat
                                                                   Species                                Present

    Upland sandpiper                      BCC                        None                    Yes               Yes
    Yellow-billed Cuckoo                  BCC                         SSS                    Yes             possible
    Short-eared owl                       BCC                        None                    Yes               Yes
    Lewis’s woodpecker                    BCC                        None                    No                NA
    Red-headed                                                      Sensitive                Yes
                                          BCC                                                                  Yes
    woodpecker
    Black-backed                                                    Sensitive                 No
                                          None                                                                  NA
    woodpecker
    Sage sparrow                          BCC                       Sensitive                Yes             unlikely
    Grasshopper sparrow                   BCC                        None                    Yes               Yes
    Dickcissel                            BCC                       Sensitive                Yes               Yes
    Blue-gray natcatcher                  None                      Sensitive                No                N/A
    Harlequin duck                        None                      Sensitive                No                N/A
    Amphibians
    Great Plains toad                     None                      Sensitive                Yes               Yes
    Northern leopard frog                 None                      Sensitive                Yes               Yes
    Plains spadefoot toad                 None                      Sensitive                Yes               Yes
    Boreal/Western Toad                   None                      Sensitive                No                N/A
    Coeur d’Alene                                                   Sensitive                No
                                          None                                                                 N/A
    salamander

    Reptiles
    Snapping turtle                       None                      Sensitive                Yes               Yes
    Spiny softshell                       None                      Sensitive                Yes               Yes
    Greater short-horned                                            Sensitive                Yes
                                          None                                                                 Yes
    lizard
    Milk snake                            None                      Sensitive                Yes               Yes
    Western hog-nosed                                               Sensitive                Yes
                                          None                                                                 Yes
    snake
   Table 67 sources: Montana Bird Distribution Committee 2012; Werner, Maxell, Hendricks, and Flath. 2004;
   Foresman 2001; MTNHP, 2010; BLM, 2009; USDA - NRCS Plants Database, 2010
   *Gray wolf has been delisted so has been moved to the sensitive list
   **Grizzly bear has been delisted for the Greater Yellowstone ecosystem. In that area it is a Bureau sensitive species.

    3.6.2.3 Threatened, Endangered, Candidate, and Proposed Species
    Threatened, endangered, or candidate wildlife species may occupy habitat infrequently or
    seasonally within the analysis area. These species include the whooping crane, sage grouse, and
    Sprague’s pipit.

    The USFWS has identified a primary migration corridor for the Aransas-Wood Buffalo
    population of whooping cranes (http://ecos.fws.gov/docs/recovery plan/070604 v4.pdf). Lease
    parcels H6, H8, H9, and JA are located within this primary migration corridor. Nesting by
    whooping cranes has not been documented in the analysis area; however, stopover observations
    have been documented in eastern MT.
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   Two species recently classified as USFWS candidate species occur within the analysis area.
   These are the Sprague’s pipit and the greater sage grouse. Candidate species are those that
   warrant protection under the Endangered Species Act, but listing the candidate species is
   precluded by the need to address other listing actions of a higher priority. The USFWS will
   review the need for listing these species annually and will propose the species for protection
   when funding and workload for other listing actions allow.

   On March 5, 2010, USFWS concluded sage grouse warrants protection under the Endangered
   Species Act. However, USFWS determined the listing of the species is precluded by the need to
   take action on higher priority species. Sage grouse was placed on the list of species that are
   candidates under the Endangered Species Act.

   Sage grouse are a native prairie grouse species that are considered sagebrush obligates and
   depend on sagebrush for survival. Lease parcel WW is located within 0.25 miles of a sage
   grouse lek location. In addition, 3 other lease parcels are located within 2 miles of lek locations.
   These include parcels WT, HG, and HF. Instruction Memorandum (IM) No. 2012-043 (BLM,
   2011) identified Preliminary Priority Habitat (PPH), and Preliminary General Habitat (PGH)
   polygons for sage grouse in the planning area. In addition, IM No. 2012-043 provides
   conservation policies and procedures for sage grouse management within these polygons. None
   of the parcels are proposed within the PPH polygon; however, parcels HD, HE, HG, HH, HJ,
   HF, HK, HL, and HM are located within the PGH polygon.

   Sprague’s pipit was recently classified as USFWS candidate species and occurs within the
   analysis area. Candidate species are those that warrant protection under the Endangered Species
   Act, but listing the candidate species is precluded by the need to address other listing actions of a
   higher priority. The USFWS will review the need for listing these species annually and will
   propose the species for protection when funding and workload for other listing actions allow.
   Sprague’s pipits were found warranted, but precluded as a threatened or endangered species on
   September 15, 2010. Sprague’s pipits are strongly tied to native prairie (land which has never
   been plowed) throughout their life cycle (Owens and Myres 1973, pp. 705, 708; Davis 2004, pp.
   1138-1139; Dechant et al. 1998, pp. 1-2; Dieni et al. 2003, p. 31; McMaster et al. 2005, p. 219).
   They are rarely observed in cropland (Koper et al. 2009, p. 1987; Owens and Myres 1973, pp.
   697, 707; Igl et al. 2008, pp. 280, 284) or land in the Conservation Reserve Program (a program
   whereby marginal farmland is planted primarily with grasses) (Higgins et al. 2002, pp. 46-47).
   Sprague’s pipits will use nonnative planted grassland (Higgins et al. 2002, pp. 46-47; Dechant et
   al. 1998, p. 3; Dohms 2009, pp. 77-78, 88). Vegetation structure may be a better predictor of
   occurrence than vegetation composition (Davis 2004, pp. 1135, 1137). (Federal Register:
   September 15, 2010 (Volume 75, Number 178)) Montana Natural Heritage Tracker has
   documented observations of Sprague’s pipits in Daniels, Sheridan, Roosevelt, McCone,
   Richland, Dawson, Prairie, Custer, and Fallon Counties within the Miles City Field Office.
   Therefore, the proposed lease parcels have been identified as providing potential suitable habitat
   for Sprague’s pipits based on a Sprague’s pipit suitable habitat model utilized by the Montana
   Department of Fish, Wildlife, and Parks (http://apps.fwp.mt.gov/gis/maps/caps/ ), and aerial
   photography (NAIP, 2011). Ground-truthing of the parcels has not occurred to document actual
   habitat use by Sprague pipits, or that suitable habitat exists within all of the parcels identified by

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   the model. However, it is likely that at least portions of these parcels provide suitable habitat for
   Sprague’s pipits. These include parcels H8, H6, H9, JA, HB, HA, WW, and WT.

   3.6.2.4 Other Sensitive Species
   As noted in Table 6 7 above, up to 51 wildlife species considered as BLM “sensitive” have the
   potential to occur within the analysis area. These include 37 birds, 6 mammals, 3 amphibians,
   and 5 reptiles. This list is a combination of recent and historic observations. In some instances,
   historic observations are the only known record. If a species is noted as in range, it signifies that
   habitat within the field office would be considered within the documented range of occupation of
   habitat by a particular species during some phase of its life cycle. This might be only for a short
   time frame, during migrations, seasonally, or possibly year-round. Documentation of occupation
   of habitat by specific wildlife species is considered good across this area for some species, (e.g.,
   sage grouse) and lacking for other species (small mammals, herptiles, raptors, etc.). However,
   the table documents the potential for wildlife species occurrence if at least one lease parcel is
   located within a particular sensitive species’ known range of habitat occupation based on
   available science and research.

   Various bird surveys throughout different years have been conducted across the MCFO, which
   may have included some of the lease parcel areas or at least similar habitats. Surveys have been
   conducted by the United States Geological Survey, University of Montana Avian Science Center,
   Rocky Mountain Bird Observatory, MTNHP, and other interested “birders.” Migratory bird
   species diversity varies across the MCFO area. According to P.D. Skaar’s Montana Bird
   Distribution, 6th edition (Lenard et al., 2003) species diversity ranges from less than 40 species
   per “latilong” (~3,200 square miles) to more than 200 across the analysis area.

   The analysis area provides potential nesting, foraging, and migratory habitat for various species
   of raptors; however, recent surveys for raptor nests have not occurred. Two lease parcels, WT
   and HG, are located within 0.5 miles of one historic Ferruginous hawknest. In addition, parcel
   WW is located within 0.5 miles of a Swainson’s hawk nest. Other species that would be
   expected within the analysis area include red-tailed hawks, great-horned owls, northern harriers,
   bald and golden eagles, sharp-shinned hawks, and coopers hawks. . Peregrine falcons are also
   known to migrate through eastern Montana.

   3.7 Fish and Wildlife
   3.7.1 Aquatic Wildlife
   The aquatic resources in the analysis area include aquatic wildlife and habitat for fish, aquatic
   arthropods (insects and crustaceans), amphibians, reptiles, and bivalves. The habitat consists of
   rivers, streams, and reservoirs that provide habitat for a variety of aquatic wildlife and riparian
   communities (and their varying lifecycle stages).

   Based on known fish presence (MFWP 2010), there are approximately 20 miles of fish-bearing
   streams within the analysis area, but due to ongoing inventory efforts, the discovery of more
   prairie streams that support native fish and other aquatic wildlife would occur. Additionally,
   prairie fish are constantly moving through a landscape that balances, at the local and landscape
   scale, between drying and flooding stages. Consequently, the ability to migrate during high
   flows is a crucial life history strategy.

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   Aquatic resource conditions of streams are strongly related to riparian vegetation, upland range
   conditions, land use impacts, and quality and quantity of in-stream water. Habitat conditions
   throughout the analysis area vary between and within water bodies; the upper and middle reaches
   of smaller streams may be intermittent, while the lower reaches may receive perennial flows,
   resulting in different habitat conditions and different aquatic communities within the same
   stream. Prairie fish are adapted to these cycles of drying and flooding and thrive in these
   intermittent pools, provided land-use impacts are not severe (Bramblett et al. 2005). However,
   prairie streams are highly sensitive to disturbance, and due to this factor many prairie stream
   ecosystems are already imperiled due to anthropogenic activities (Dodds et al. 2004).

   Riparian vegetation is a critical component in maintaining aquatic wildlife habitat and is a source
   of organic nutrients and food items for the prairie stream ecosystem, provides in-stream habitat
   for fish, amphibians, reptiles, and invertebrates, adds structure to the banks, and reduces erosion;
   when riparian vegetation senesces and falls into the stream, it adds cover, habitat complexity,
   and moderates water temperatures. In some cases throughout the analysis area, riparian habitats
   have been degraded, and the results include increases in erosion and sedimentation, shallower
   and wider streams (which increases evaporation and thus decreases water quality and quantity),
   increases in temperature fluctuations, and critically low oxygen content levels; these effects
   collectively reduce or degrade available aquatic wildlife habitat.

   Existing factors limiting or affecting aquatic resources in the analysis area include the lack of a
   normative flow regime primarily through extensive reservoir development; loss or degradation of
   riparian habitat; habitat fragmentation; livestock grazing damage; past and current oil and gas
   development; un-passable fish & aquatic wildlife culverts, oil skimmers, and other stream
   crossings; and excess siltation due to the various land use activities.

   3.7.2 General Wildlife
   A diversity of topography and vegetation types exists across the analysis area. This diversity
   provides habitat for many wildlife species in addition to those previously mentioned.

   Current and historic land uses within or adjacent to the lease parcels include grazing, farming,
   hunting, energy development, and others. A few areas contain blocks of well-functioning
   habitats, while other areas are composed of small, fragmented patches of native habitat and
   cultivated lands. In some areas, existing anthropogenic disturbance at some frequency can be
   expected to reduce habitat suitability for some species of wildlife intolerant to human activities.

   The analysis area supports a variety of game and nongame species. Limited wildlife species and
   habitat surveys have been conducted within a portion of the analysis area. Although the entire
   area has not been comprehensively surveyed for all wildlife resources, past surveys document
   what species occur, and provides insight into what other species can be expected to occur within
   existing habitat types.

   Mule deer are the most abundant big game species and use the greatest variety of habitats,
   generally preferring sagebrush, grassland, and conifer types (BLM 1984). Habitat diversity
   appears to be a good indicator of intensity of deer use. In mule deer habitats, diversity of


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   vegetation usually followed topographic diversity; thus, rugged topography may be the ultimate
   factor influencing mule deer use of an area (Mackie et. Al. 1998). Habitat such as riparian
   bottoms, agricultural areas, and forests are used as well, both yearlong or seasonally. Habitat to
   support mule deer exists within all of the lease parcels.

   Winter range is often part of year-round habitat in eastern Montana. Winter ranges are typically
   in areas of rougher topography and are often dominated by shrub species that provide crucial
   browse during winter months. Rough topography also provides critical escape and thermal cover
   important for maintenance and survival. Although there is little or no seasonal migration for big
   game species within the planning area, there are winter habitats crucial for big game survival
   during periods of harsh winters. This crucial winter habitat (i.e. crucial winter range) is typically
   located on relatively large landscapes supporting a diversity of slopes, aspects, and topographic
   features. Crucial winter range is often part of year-round habitat and is typically dominated by
   important shrub species, such as rubber rabbitbrush, skunkbush sumac, and saltbush. Breaks,
   badlands, and brushy draws are examples of preferred winter range in open prairie country.
   Additional habitat types of importance as crucial mule deer winter range, also includes hardwood
   and pine forests. These habitat types provide escape and thermal cover, which are also important
   for maintenance and survival.

   The importance of the crucial winter range to the survival of the big game species is illustrated
   by the percentage of the mule deer population occupying the area during harsh winters. MFWP
   observed that 73 percent of the mule deer seen in winter concentration areas in southeastern
   Montana were in rough topography, particularly in pine-dominated habitats (Youmans and
   Swenson 1982). While along the Powder and Little Missouri rivers, riparian habitat accounted
   for 94 percent of the wintering mule deer concentrations. Of the 18 proposed lease parcels, 6 of
   those are located within crucial mule deer winter range. These include parcels H8, H6, HB, HK,
   HL, and HM.

   White-tailed deer are common in the analysis area. White-tailed deer prefer riparian drainage
   bottoms, hardwood draws, and conifer areas, but they will also use a variety of other habitats
   including farmlands. During the winter, white-tailed deer using forested areas prefer dense
   canopy classes, moist habitat types, uncut areas, and low snow depths. Suitable winter range is a
   key habitat factor for white-tailed deer, and winter concentration areas occur almost exclusively
   in riparian and wetland habitats and dense pine (Youmans and Swenson 1982). Although white­
   tailed deer move on and off winter range, as dictated by seasonal habitat requirements, the
   animals do not migrate for long distances (Hamlin 1978). One parcel, HM, is proposed for lease
   within delineated crucial white-tailed deer winter range.

   Pronghorn antelope are widely distributed across the analysis area. They are generally associated
   with grasslands and shrublands, but they also seasonally use agricultural fields. Winter ranges
   for pronghorn antelope generally occur within sagebrush grasslands with at least greater densities
   of big sagebrush than the surrounding areas. Crucial winter ranges for pronghorn exists within
   parcels WW, WT, HC, HD, HE, HG, HH, HJ, and HF. The potential exists for other big game
   species to occupy the areas. Species include elk, moose, mountain lion, and black bear although
   presence would likely occur as individual’s transition to preferred habitats elsewhere.



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   The potential for big game movements or migrations through eastern Montana are not fully
   understood. At a local level, it is reasonable to assume big game movements occur at least
   seasonally. Migration corridors have not been identified through any of the lease parcels.

   Sharp-tailed grouse are the other native prairie grouse species in the analysis area. Sharp-tailed
   grouse generally prefer hardwood draws, riparian areas, and prairie grasslands intermixed with
   shrubs such as chokecherry and buffaloberry. Lease parcels H8 and WW are located within 0.25
   miles of sharp-tailed grouse dancing grounds. In addition, portions or all of 10 lease parcels are
   located within 2 miles of sharp-tailed grouse leks, and most of these parcels would be expected
   to provide at least seasonal habitat for sharp-tailed grouse. These parcels include H8, H6, WW,
   WT, HC, HD, HE, HK, HL, and HM.

   Wild turkeys, pheasants, and Hungarian partridge are all species that have been introduced to
   eastern Montana and would be expected to utilize available habitats within some of the parcels.

   3.8 Cultural Resources
   The BLM is responsible for identifying, protecting, managing, and enhancing cultural resources
   located on public lands or those that may be affected by BLM management actions on non-
   Federal lands. Cultural resources include archaeological, historic, architectural properties, and
   traditional lifeway values important to Native Americans. Sites can vary with regard to their
   intrinsic value as well as their significance to scientific study; therefore, management practices
   employed are commensurate with their designation. Significant cultural resource values include;
   their use to gather scientific information on human culture, history, interpretive and educational
   value, values associated with important people and events of significance in history, and often
   aesthetic value, as in a prehistoric rock art panel or an historic landscape.

   A generalized prehistory of eastern Montana can be categorized in a chronological framework,
   and time periods are distinguished on the basis of differences in material culture traits or artifacts
   and subsistence patterns: the PaleoIndian period (ca. 12,500 BP-7800 BP), Archaic period (ca.
   7800 BP-1500 BP), Prehistoric period (ca. 1500 BP-200 BP), Protohistoric period (ca. 250 BP-
   100 BP), and Historic Periods (A.D. 1805-A.D. 1960) (Aaberg et al 2006).

   Cultural sites are evaluated with reference to their eligibility for listing on the National Register
   of Historic Places (NRHP). Each site is considered on a case-by-case basis.

   A recent Class I overview of cultural resources was prepared for the analysis area (Aaberg et al
   2006). The cultural environment of the MCFO as of May 2005 contained 7,065 prehistoric and
   2,869 historic archeological sites as well as 1,929 paleontological localities. Archeological
   properties (historic and prehistoric sites) occur in all counties encompassed by the field office.
   The five counties with nominated lease parcels contain 33.8 percent of all prehistoric and 29.9
   percent of all historic resources within the MCFO. Each of the five counties contains the
   following percentages of resource site types within its boundaries: McCone 2.3 percent
   prehistoric, 4.2 percent historic, Powder River 23.2 percent prehistoric, 8.1 percent historic,
   Prairie 2.6 percent prehistoric, 5.2 percent historic, Richland 1.9 percent prehistoric, 6.1 percent
   historic and Roosevelt 3.7 percent prehistoric, 6.2 percent historic.



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   The overall archeological site density of the MCFO (historic and prehistoric) is estimated at one
   site per 93 acres (Aaberg et al 2006). Prehistoric sites are estimated to be distributed at one site
   per 130.8 acres (4.9 per square mile) and historic sites at one site per 322 acres (two per square
   mile) for all surveyed acres within the MCFO. Approximately 10% to 15% of all sites are found
   to be or have the potential to be eligible for listing in the National Register of Historic Places.

   A review of the Montana State Historical Preservation Office (SHPO) Cultural Resource
   Information System (CRIS) and Cultural Resource Annotated Bibliography System (CRABS), as
   well as BLM Cultural Resource databases and GIS data, indicates one (1) lease parcel (MTM
   105431-H9) contains recorded cultural sites within the lease parcel boundaries. Inventory data is
   not available for a majority of individual lease parcels; however some parcels have incomplete
   coverage of cultural resource inventory.

   The one parcel with identified sites contains three sites, all of the same site type within the
   boundaries of the reviewed parcel. Each site is a stone circle site. None of the sites have been
   evaluated for eligibility for inclusion in the National Register of Historic Places and may be of
   interest to Native American concerns, See Section 3.9.

   3.9 Native American Religious Concerns
   The BLM’s management of Native American Religious concerns is guided through its 8120
   Manual: Tribal Consultation Under Cultural Resources Authorities and 8120 Handbook:
   Guidelines for Conducting Tribal Consultation. Further guidance for consideration of fluid
   minerals leasing is contained in BLM Washington Office Instruction Memorandum 2005-003:
   Cultural Resources, Tribal Consultation, and Fluid Mineral Leasing. The 2005 memo notes
   leasing is considered an undertaking as defined in the National Historic Preservation Act.
   Generally areas of concern to Native Americans are referred to as “Traditional Cultural
   Properties” (TCPs) which are defined as cultural properties eligible for the National Register of
   Historic Places because of its association with cultural practices or beliefs that (a) are rooted in
   that community’s history and (b) are important in maintaining the continuing cultural identity of
   the community.

   Areas of tribal concern in southeast Montana are listed in Appendices B-E of the Ethnographic
   Overview of Southeast Montana (Peterson and Deaver 2002). Based on input from various
   tribes, the 2002 Ethnographic Overview also identified 12 sensitive site types. These include
   battlefield and raiding sites, burials, cairns, communal kills, fasting beds (vision quests),
   homesteads, medicine lodges, rock art, settlements (campsites), stone rings, spirit homes, and
   environmental places (plant gathering areas, mineral and fossil collection areas).

   The Crow Tribe’s 2002 document noted rock art, fasting sites, siege sites, camp sites, mourning
   sites, final resting places (burials), buffalo jumps, and environmental areas, including animal
   habitats and natural areas of concern such as springs. The Northern Cheyenne Tribe in its 2002
   document noted large ring sites (both in terms of ring diameters and ring numbers), isolated
   fasting beds, rock art sites, and large diameter fasting structure as having religious significance to
   the tribe.




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   One parcel (MTM 105431-H9) contains three stone circle sites (24RV141-24RV143). The sites
   are currently unevaluated for listing on the National Register of Historic Places. A review of
   2009 aerial imagery shows the well was not drilled and the sites have not been impacted by fluid
   mineral development. Prior to surface any surface disturbance the sites require a reevaluation of
   National Register eligibility including tribal participation.

   3.10 Paleontology
   According to Section 6301 of the Paleontological Resource Protection Act of 2009 Omnibus
   Public Lands Bill, Subtitle D, SEC. 6301, paleontological resources are defined as “any
   fossilized remains, traces, or imprints of organisms, preserved in or on the earth’s crust, that are
   of paleontological interest and that provide information about the history of life on earth”
   (Paleontological Resource Protection Act of 2009 Omnibus Lands Bill, Subtitle D, SEC. 6301­
   3612 (P.L. 59-209; 34 Stat. 225; 16 U.S.C. 431-433). All vertebrate fossils, be they fossilized
   remains, traces, or imprints of vertebrate organisms, are considered significant. Paleontological
   resources do not include archaeological and cultural resources.

   The BLM utilizes the Potential Fossil Yield Classification (PFYC) as a planning tool for
   identifying areas with high potential to yield significant fossils. The system consists of numbers
   ranging from 1-5 (low to high) assigned to geological units, with 1 being low potential and 5

   being high potential to have significant fossil resources. It should be pointed out that the
   potential to yield significant fossil resources is never 0. Rock units not typically fossiliferous can
   in fact contain fossils in unique circumstances.

   The BLM classified geologic formations that have a high Potential Fossil Yield Classification
   (PFYC) of 3 or higher should be specifically reviewed for paleontological resources. The
   MCFO has the following classifications on the relevant geologic units:

          Quaternary deposits Class 2 and 3
          Ft Union            Class 4
          Hell Creek          Class 5

   All or part of the 18 parcels include geologic units rated as PFYC 3-5 and should be evaluated
   for fossil resources before and potentially during ground-disturbing activities.

   3.11 Visual Resources
   BLM Visual Resource classifications are only applied to BLM surface acres, as such the affected
   environment for visual resources only consists of approximately 3,640 acres of BLM -
   administered surface in the analysis area (Table 7).

   A Class II VRM area classification means that the character of the landscape has unique
   combinations of visual features such as land, vegetation, and water. The existing character of the
   landscape should be retained. Activities or modifications of the environment should not be
   evident or attract the attention of the casual observer. Changes caused by management activities
   must repeat the basic elements of form, line, color, and texture found in the predominant natural
   features of the characteristic landscape.


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   A Class III VRM area classification means the level of change to the character of the landscape
   should be moderate. Changes caused by management activities should not dominate the view of
   the casual observer and should not detract from the existing landscape features. Any changes
   made should repeat the basic elements found in the natural landscape such as form, line, color
   and texture.

   A Class IV VRM area classification means that the characteristic landscape can provide for
   major modification of the landscape. The level of change in the basic landscape elements can be
   high. However, every attempt should be made to minimize the impact of these activities through
   careful location, minimal disturbance, and repeating the basic elements.

   Table 8: VRM Classes for the analysis area by ease parcel
   Leasing Areas       VRM Class II Acres         VRM Class III Acres    VRM Class IV Acres
     RICHLAND COUNTY     0 total acres              722 total acres        37 total acres
        MTM 105431-HB          0                          600                     0
        MTM 105431-H6          0                          122                     0
        MTM 105431-H8          0                           0                     37
      PRAIRIE COUNTY     0 total acres              961 total acres        958 total acres
        MTM 102757-WT          0                          961                     0
       MTM 102757-WW           0                           0                    958
   POWDER RIVER COUNTY   0 total acres               0 total acres         960 total acres
        MTM 105431-HD          0                           0                     80
        MTM 105431-HE          0                           0                     160
        MTM 105431-HK          0                           0                    640
        MTM 105431-HL          0                           0                     80

   3.12 Forest and Woodland Resources
   Evergreen forest habitat types occurring in the analysis area include ponderosa pine (Pinus
   ponderosa) and Rocky Mountain juniper (Juniperus sccpulorum). Deciduous forest habitat types
   include Green ash (Fraxinus pennsylvanica)/Chokecherry (Prunus virginiana), and Great Plans
   Cottonwood (Pcpulus deltoids)/Herbaceous Communities. The deciduous habitat types occur
   along streams, rivers, lakes springs, and ponds, occupying terraces, fans, and floodplain
   positions. The Green ash/Choke cherry habitat types occur in V-shaped ravines (also called
   woody draws), where sites may occasionally be flooded by storm runoff flows. Table 9,
   summarizes forest and woodland acres in the analysis area by forest type and individual parcel.

   Table 9. Forestland Acreage and Forest Type by Lease Parcel________________ ____________
       Lease Parcel        Evergreen      Deciduous Forest      Mixed Forest         Total Acres
                            Forest
   MTM   102757-WT
   MTM   102757-WW
   MTM   105431-H6                              123                                     123
   MTM   105431-H8
   MTM   105431-H9
   MTM   105431-HA
   MTM   105431-HB            66                                                         66
   MTM   105431-HC           1006               235                      7              1248
   MTM   105431-HD           591                                        57              648

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   MTM     105431-HE
   MTM     105431-HF                                                   4                  4
   MTM     105431-HG
   MTM     105431-HH                                                   5                  5
   MTM     105431-HJ                              3                    7                  10
   MTM     105431-HK
   MTM     105431-HL                                                   4                  4
   MTM     105431-HM            8                                                         8
   MTM     105431-JA
   Total                      1671              361                   84                2116
   Source: GAP Vegetation Cover Types

   The deciduous forest habitats add to the overall diversity of the landscape. They also attract
   wildlife and livestock for thermal cover, nesting habitat, moisture, browse and, and hiding cover.
   Because of this, these woodlands are focal points for some of the livestock and wildlife
   management. The evergreen forests occur in a mosaic patters across the grasslands. These
   evergreen habitats commonly occur on moderate to steep slopes. Ponderosa pine species
   tolerates dry environments more successfully than other native confer except Rocky Mountain
   juniper. Rocky Mountain juniper has an interesting ecological role in the northern Great Plans.
   In some cases, it can be the dominant species present in the stand or can be the understory of
   Ponderosa pine stands and some deciduous stands.

   3.13 Livestock Grazing
   Nine of the parcels (MTM 105431-H8, MTM 105431-H6, MTM 105431-HB, MTM 105431-HD
   MTM 105431-HE, MTM 105431-HK, MTM 105431-HL, MTM 102757-WW, and MTM
   102757-WT) in whole or part have BLM surface ownership within currently permitted grazing
   allotments. These parcels occur in Richland, Prairie and Powder River counties and include
   portions of ten separate grazing allotments. Cattle are the only class of livestock authorized to
   graze these allotments. Of the ten allotments, seven of the grazing authorizations do not restrict
   the grazing season or number of livestock due to the small percentage of public land within the
   allotment. Three allotments are authorized under active use which has strict seasons and
   numbers and are typically made up of a higher percentage of public land. None of the allotments
   are under an Allotment Management Plan (AMP). These allotments contain range
   improvements such as fences and reservoirs that have access roads for livestock management
   purposes. The remainder of the lease parcels does not contain any BLM administered lands and
   are primarily lands with private surface ownership.

   3.14 Recreation and Travel Management
   The BLM only manages recreational opportunities and experiences on BLM-administered
   surface. The affected environment consists of approximately 3,640 acres of BLM-administered
   surface. Recreational activities enjoyed by the public on BLM lands within the analysis area
   include hunting, hiking, camping, fishing, photography, picnicking, and winter activities such as
   snowshoeing and snowmobiling. Benefits and experiences enjoyed by recreational users include
   opportunities for solitude, spending time with families, enhancing leisure time, improving sports
   skills, enjoying nature and enjoying physical exercise.



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   Out of the approximately 3,640 BLM-administered acres proposed for lease, less than 950 acres
   have legal public access. The types of public use on the 950 acres lease parcels can be
   characterized as casual dispersed recreational activities including hiking, hunting (including
   outfitters), camping, and wildlife viewing. The rest of the BLM- administered acres have no
   public easements or rights-of-way across private property for legal land access. The lack of
   public access limits use of the BLM parcels for recreational use by the general public.

   3.15 Lands and Realty
   The analysis area consists of 18 parcels that include 7,945.28 surveyed surface acres of which
   3,637.97 surveyed acres are BLM administered surface and 4,307.31 surveyed acres are Non-
   Federal surface (private). Table 10 below categorizes the 18 parcels by surface ownership and
   county.

   There are three lease parcels with authorized BLM Rights-of Way (ROWs) approved on BLM
   administered surface, MTM-102757-WT, MTM-105431-HB and MTM-105431-H8.

   Table 10. Number of parcels, surface ownership, and acres by county.
                                                                      Owner­
            County                             Parcels                                 Acres
                                                                        ship
    MCCONE
                                                                      Non-
                            1 parcel (MTM-105431-HA)                  Federal            40
                            1 TOTAL                                                      40
    RICHLAND
                            3 partial parcels (MTM-105431-HB,
                            MTM-105431-H6, MTM-105431-H8)               BLM            758.73
                            3 partial parcels (MTM-105431-HB,         Non-
                            MTM-105431-H6, MTM-105431-H8)             Federal         430.48
                            3 TOTAL                                                   1189.21
    ROOSEVELT
                                                                      Non-
                            1 parcel (MTM-105431-H9)                  Federal          160.02
                                                                      Non-
                            1 parcel (MTM-105431-JA)                  Federal          39.94
                            2 TOTAL                                                    199.96
    PRAIRIE
                            1 parcel (MTM-102757-WT)                    BLM            961.22
                            1 parcel (MTM-102757-WW)                    BLM            958.02
                            2 TOTAL                                                   1,919.24
    POWDER RIVER
                                                                      Non-
                            1 parcel (MTM-105431-HC)                  Federal           640
                                                                      Non-
                            1 partial parcel (MTM-105431-HD)          Federal           560
                            1 partial parcel (MTM-105431-HD)            BLM              80
                            1 parcel (mTM-105431-HE)                    BLM             160
                                                                      Non-
                            1 parcel (MTM-105431-HG)                  Federal           160

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                                                                        Owner­
            County                            Parcels                                     Acres
                                                                         ship
    MCCONE
                                                                        Non-
                              1 parcel (MTM-105431-HH)                  Federal            440
                                                                        Non-
                              1 parcel (MTM-105431-HJ)                  Federal          316.87
                                                                        Non-
                              1 parcel (MTM-105431-HF)                  Federal            640
                              1 parcel (MTM-105431-HK)                   BLM               640
                                                                        Non-
                              1 parcel (MTM-105431-HL)                  Federal            640
                                                                        Non-
                              1 parcel (MTM-105431-HM)                  Federal             320
                                                                                         4,596.87
                              10 TOTAL
   *parcels MTM-105431-HB, H6, H8 and HD contain both Federal and Non-Federal surface.

   3.16 Minerals
   3.16.1 Fluid Minerals
   It is the policy of the BLM to make mineral resources available for development and to
   encourage development of these resources to meet national, regional, and local needs, consistent
   with national objectives of an adequate supply of minerals at reasonable prices. At the same
   time, the BLM strives to assure that mineral development occurs in a manner which minimizes
   environmental damage and provides for the reclamation of the lands affected.

   Currently there are 1,560 Federal oil and gas leases covering approximately 955,572.612 acres in
   the MCFO. The number of acres leased and the number of leases can vary on daily basis as
   leases are relinquished, expired, or are terminated. Existing production activity occurs on
   approximately 20.4 (195,497.180 acres) percent of this lease acreage. Information on numbers
   and status of wells on these leases and well status and numbers of private and State wells within
   the external boundary of the field office is displayed in Table 11. Numbers of townships, lease
   acres within those townships, and development activity for all jurisdictions are summarized in
   Table 12.

   Exploration and development activities would only occur after a lease is issued and the
   appropriate permit is approved. Exploration and development proposals would require
   completion of a separate environmental document to analyze specific proposals and site-specific
   resource concerns before BLM approved the appropriate permit.

   Table 11. Existing Development Activity
                                         FEDERAL WELLS             PRIVATE AND STATE WELLS
    Drilling Well(s)                           9                             125
    Producing Gas Well(s)(including           453                            470
    CBNG)
    Producing Oil Well(s)                     418                                 1890
    Water Injection Well(s)                   154                                 357
    Shut-in Well(s)                           154                                 1430

                                                                                                    37


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   I Temporarily Abandoned Well(s) ~[               87                               219


   Table 12. Oil and Gas Leasing and Existing Development within Townships Containing Parcels
                                     Richland          Roosevelt             McCone
   Number of Townships         6               / 7                /
   Containing Lease Parcels
   Total Acres Within                                                      23,072
   Applicable Township(s)
                                              119,455
                                                         / 52,610
   Acres of                      28,834                   309          X ^778^^^^^^^^
   Federal Oil and Gas
   Minerals
   Percent of Township(s)                                                  12.0%^^


                                          24.1%          X      0.6%
   Acres of Leased               24,076                   141          X ^,698^^^^^^^^
   Federal Oil and Gas
   Minerals
   Percent of Township(s)                                                 21.7^^^^^^^^^
                                          20.2%          X      0.3%
   Acres of Leased Federal Oil   Zero                    Zero             ^ero^^^^^^^^^^^
   and Gas Minerals Suspended

   Percent of Township(s)                                                  0.0^^^^^^^^^
                                         0.0%         X       0.0%
   Federal Wells                 7 producing oil      1 P&A well           Zero
                                 wells (6 are
                                 horizontal wells), 3
                                 shut in wells, 1 P&A
                                 wells, 5 temporarily
                                 abandoned wells.
   Private and State Wells       36 producing oil     29 producing oil     1 P&A well.
                                 wells (35 are        wells (24 are
                                 horizontal), 16 P&A horizontal wells),
                                 wells, 1 service     35 P&A wells, 4
                                 wells, 6 temporarily service wells, 2
                                 abandoned wells.     shut in wells, 8
                                                      temporarily
                                                      abandoned wells.




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                                                            Prairie                 Powder River
   Number of Townships                             4                           4
   Containing Lease Parcels
   Total Acres Within
   Applicable Township(s)                                                                       91,845
                                                                      61,180

   Acres of                                        26,576                      50,833
   Federal Oil and Gas Minerals                                         43.4                       55.3
   Percent of Township(s)
   Acres of Leased                                 Zero                        24,981
   Federal Oil and Gas Minerals                                       ^.0%
                                                                                                   27.2
   Percent of Township(s)

   Acres of Leased Federal Oil and Gas Minerals    Zero                0.0% Zero
   Suspended                                                                                    "0.0%
   Percent of Township(s)

   Federal Wells                                   Zero                        2 Producing oil wells,
                                                                               58 P&A wells.
   Private and State Wells                         3 P&A wells.                34 P&A wells, 2
                                                                               service wells.

   3.17 Special Designations
   3.17.1 Lewis and Clark National Historic Trail
   Two Lease parcels, MTM 105431-H8 and HB (947.3 acres), are located within a 3 mile sensitive
   Setting Consideration Zone (SCZ) around the Lewis and Clark National Historic Trail (NHT)
   and SRMA. The Lewis and Clark NHT is managed in accordance with the National Trail
   System Act of 1968, as amended (16 USC 1241-1251) to identify and protect the historic route
   and its historic remnants and artifacts for public use and enjoyment. The trail would be managed
   to preserve the historic and cultural resources that are related to the events that occurred during
   the Lewis and Clark Expedition. The National Park Service (NPS), who is the lead agency for
   trail administration, established the overall management vision through their Comprehensive
   Management Plan (1982) and Foundation Document (2012). BLM works collaboratively with
   NPS to manage trail resources in conformance with these plans and guidance thought BLM
   Manual 6280.

   Any changes in the landscape within view of the Lewis and Clark NHT will be guided by Class
   II visual resource management objectives and the Lewis and Clark SRMA.

   3.18 Social and Economic Conditions
   3.18.1 Social and Environmental Justice
   The social section focuses on the areas in the immediate vicinity of the parcels proposed for
   leasing. This area includes seven counties in eastern Montana: Daniels, Garfield. McCone,
   Prairie, Richland, Roosevelt, and Rosebud 80% of acres examined for leasing located in Prairie
   County. In 2010 this seven county region was reported to have a population of 35,274 people,
   with more than 80% of the region’s population living within Richland (10,425), Roosevelt

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   (9,746), and Rosebud (9,233) Counties. Smaller Populations were reported in Daniels (1,751),
   Garfield (1,206), McCone (1,734), and Prairie (1,179) Counties (U.S. Census, 2010). Census
   data indicated that populations within this region declined between 2000 and 2010. Although all
   seven counties reported population losses during this time period, losses in Daniels (13.2%),
   Garfield (5.7%) and McCone (12.3%) counties were substantially greater than those in Prairie
   (1.7%), Richland (0.8%), Roosevelt (1.8%), and Rosebud (1.6%) (US Department of Commerce,
   2012). While Montana is often characterized as a rural state with a population density of 6.8
   persons per square mile, all of the seven counties with land proposed for oil and gas leasing were
   reported to have fewer than 6.8 persons per square mile in 2010. Of these seven counties, only
   Daniels (1.2), Richland (4.7), Roosevelt (4.4), and Rosebud (1.8) had population densities
   greater than 1. The county seats for these counties include Scobey in Daniels County (1,107),
   Jordan in Garfield County (352), Circle in McCone County (526), Terry in Prairie County (605),
   Sidney in Richland County (4,843), Wolf Point in Roosevelt County (2,621), and Forsyth in
   Rosebud County (1,777) (U.S. Census, 2010).

   Currently oil and gas leasing and production are taking place on public and private lands within
   these seven counties. Approximately half of the acres being considered for this lease sale are
   under BLM ownership, with an addition 2,876 acres under split ownership between BLM and
   private estates. Interest in oil and gas development in this region has significantly increased over
   the last five years because of its proximity to the Bakken formation which extends from the
   Williston Basin in western North Dakota to northeastern Montana. Richland, MT, which is
   adjacent to the Williston Basin, has had the highest oil and gas production on federal lands of
   any of county in eastern Montana. Most of the oil and gas industry support services for eastern
   Montana occur in Glendive, Sidney, and Miles City, Montana, and Williston and Dickinson,
   North Dakota.

   According to the 2010 Census populations in the seven counties with land proposed for oil and
   gas leasing were made up of individuals who identified with one of three racial groups: White
   alone, American Indian alone, or of Two or more races. While 70% of the total population in
   this seven-county region identified themselves as White alone, individuals identifying
   themselves at White accounted for more than 95% of the total population in five of the seven
   counties (Daniels, Garfield, McCone, Prairie, and Richland) (U.S. Department of Commerce,
   2012). Populations in Roosevelt and Rosebud counties were more diverse in 2010 with large
   American Indian populations from the Cheyenne and Sioux tribes. Roosevelt and Rosebud
   counties 2010 populations were made up of 37% and 61% White alone, 49% and 33% American
   Indian alone, and 13% and 3% two or more races (U.S. Department of Commerce, 2012). While
   the percent of Montana residents (14.5%) living below the poverty line in 2010 was comparable
   to the nation poverty rate (13.8%), the poverty rate of the seven-county region in eastern
   Montana (17%) was above state and national levels. The relatively high regional poverty rate
   was driven by poverty levels in Prairie (16.9%), Roosevelt (21.5%), and Rosebud (18.5%)
   counties; while poverty in Daniels (14.1%), Garfield (10.7%), McCone (8.6), and Richland
   (13.5%) counties remained relatively low in 2010 (U.S. Department of Commerce, 2012).

   The social environment of these counties is described in detail in the Socioeconomic Baseline
   Report for the Miles City Field Office RMP and EIS (prepared for the DOI, BLM, MCFO, June,
   2005).

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   3.18.2 Economics
   Certain existing demographic and economic features influence and define the nature of local
   economic and social activity. Among these features are the local population, the presence and
   proximity of cities or regional business centers, longstanding industries, infrastructure,
   predominant land and water features, and unique area amenities. Several additional parcels in
   McCone, Power River, Prairie, Richland and Roosevelt counties have been nominated for
   leasing in the October 2014 lease sale. While the majority of nominated land is unoccupied there
   are social and economic linkages which connect nominated parcels to communities in the
   surrounding area. To examine how leasing proposed under the alternatives will affect the local
   economy, the analysis area was expanded to include Williams County, North Dakota since
   Williston, ND is the largest business center near the affected communities, especially for oil and
   gas related activities, and is the major oil and gas service center for activity in the five counties
   above. Custer and Dawson counties in Montana were also included to create a contiguous
   analysis area.

   In 2012, the 8-county analysis area was estimated to have a total population of 74,192 people,
   with 32,624 households earning an average annual household income of $149,626 (IMPLAN,
   2014). Twenty-five percent of the area’s total population lived in Williston, ND (18,532 people).
   In 2012, the 8-county area economy supported approximately 71,948 jobs in 183 industrial
   sectors, equating to approximately 2.3 people or 2.2 jobs per household. The top five industries
   operating in the local economy included: support activities for oil and gas operations, wholesale
   trade, drilling oil and gas wells, State and local government, and truck transportation (IMPLAN,
   2014). A large share of the economic activity in the region occurs in Williams County which
   contains Williston, ND, the largest business center and the epicenter of recent oil and gas
   exploration and development.

   Parcels nominated for leasing in October 2014 are located in the eastern Montana counties of
   McCone, Powder River, Prairie, Richland and Roosevelt. Between 2009 and 2013, these
   counties produced an annual average of 16.4 million bbls of oil and 16.5 million mcf of natural
   gas, with the majority of production occurring in Richland County. Over the last 24 months
   (4/2012-4/2014), the Montana Board of Oil and Gas reported that 372 permits for activities
   associated with oil and gas wells were processed for these five counties. Of the 372 permits
   processed for this area, 35% were associated with existing producing wells and 28% were related
   to recently spudded wells. While these permits can be associated with several types of well, only
   4% were reported to be unrelated to oil (i.e natural gas, injection or monitoring, or dry hole) (MT
   DNRM, 2014). While some oil and gas related activities have been permitted in the
   Southeastern county of Powder River, more than 99% of permitted activity is associated with
   wells in the Three Forks Group. These subsurface deposits stretch across the Williston Basin
   from southern Saskatchewan, Canada to eastern Montana and western North Dakota. The
   overwhelming majority of recently completed wells are located in the sub-unit of the Three-
   Forks known as the Bakken formation.

   The widespread adoption of horizontal drilling and other recent technological advances have
   significantly increased the capability and cost effectiveness of extracting fluid minerals across
   the Williston Basin. The recent surge of interest in commercial development of the Bakken’s

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   deposits has rapidly transformed the region’s physical, cultural and economic landscapes.
   Eastern Montana and Western North Dakota have become increasingly specialized in industries
   that support and service the oil and gas sector, enabling the oil and gas industry to become the
   driving force behind the region’s economy. The exploration, development, and production of
   fluid minerals directly and indirectly support thousands of jobs and millions of dollars in labor
   income throughout Eastern Montana and Western North Dakota. Although Federal minerals in
   the five counties with parcels nominated for leasing are associated with only a fraction of the
   region’s oil and gas activity, the leasing and development of these minerals supports local
   employment and income and generates public revenue for many surrounding communities. The
   economic contributions of Federal fluid minerals are largely influenced by the number of acres
   leased and estimated levels of production and can be measured in terms of the jobs, income, and
   public revenue it generates.

   Mineral rights can be owned by private individuals, corporations, Indian tribes, or by local, State,
   or Federal Governments. Typically companies specializing in the development and extraction of
   oil and gas lease the mineral rights for a particular parcel from the owner of the mineral rights.
   As of April, 2014, 434,866 acres were leased from the BLM for oil and gas development in
   McCone, Powder River, Prairie, Richland, and Roosevelt counties. Federal oil and gas leases are
   generally issued for 10 years unless drilling activities result in one or more producing wells or
   the lease is part of a collective agreement and incorporated into a field or unit. Once production
   of federal minerals from a lease has begun, the lease is considered to be held by production and
   the lessee is required to make royalty payments to the Federal Government. Of 434,866 acres
   leased from the BLM in the five counties, 57,664 acres were held by production at the time of
   this analysis.

   Leasing mineral rights for the development of Federal minerals generates public revenue through
   the bonus bids paid at lease auctions and annual rents collected on leased parcels not held by
   production. Nominated parcels approved for leasing are offered by the BLM at a minimum rate
   of $2.00 per acre at the lease sale. These sales are competitive and parcels with high potential for
   oil and gas production command bonus bids in excess of the minimum bid. Auctions for mineral
   rights from 2009 to 2013 in the five counties have yielded an average bonus bid of $295 per acre.
   In addition to bonus bids, lessees are required to pay rent annually until production begins on the
   leased parcel, or until the lease expires. These rent payments are equal to $1.50 an acre for the
   first five years and $2.00 an acre for the second five years of the lease. Total annual lease bonus
   and rental revenue to the Federal Government from leasing Federal minerals in the five counties
   with nominated parcels is estimated to be approximately $865,000.

   Forty-nine percent of these Federal leasing revenues from public domain minerals are distributed
   to the State who distributes 25 percent of federal revenue from public domain minerals back to
   the counties where the leases exist. About 94 percent of the leased Federal minerals within the
   Miles City Field Office are leased on public domain minerals. With federally acquired minerals
   (acquired under Bankhead Jones authority), 25 percent of Federal revenues are distributed
   directly to the appropriate counties. The Federal Government collects an estimated annual
   average of about $865,000 in bonus bids and rent from BLM leased minerals in the five counties.
   Under current conditions, it is estimated that about $411,000 in public revenue is redistributed
   back to the State who then distributes a portion of this revenue back to McCone, Powder River,

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   Prairie, Richland and Roosevelt Counties. Between leasing revenue collected from public
   domain and acquired minerals, it is estimated that these five counties receive more than $112,000
   from federal mineral leasing auction and rent revenue on annual average.

   As mentioned above, Federal oil and gas production in Montana is subject to production taxes or
   royalties. The Federal oil and gas royalties on production from public domain minerals equal
   12.5 percent of the value of production (43 CFR 3103.3.1). Forty-nine percent of these royalties
   from public domain minerals are distributed to the State, of which 25 percent is distributed back
   to the county of production (Title 17-3-240, MCA). If production comes from acquired Federal
   minerals under the Bankhead Jones authority, 25 percent of the Federal revenues are distributed
   directly to the counties of production.

   Although the MCFO’s October 2014 lease sale could result in additional mineral leasing in
   McCone, Powder River, Prairie, Richland, and Roosevelt counties, many of the workers and
   companies likely to provide support services for the exploration and development of newly
   leased minerals will spread throughout an 8-county area which includes Williams, ND and
   Custer and Dawson, MT. The economic contribution of oil and gas related activities to this 8-
   county local economy can be measured by estimating the employment and labor income
   generated by 1) payments to counties associated with the leasing and rent of Federal minerals, 2)
   local royalty payments associated with production of Federal oil and gas, and 3) economic
   activity generated from drilling and associated activities. Activities related to oil and gas leasing,
   exploration, development, and production form a basic industry that brings money into the State
   and region and creates jobs in other sectors. As of 2012, the extraction of oil and natural gas
   (NAICS sector 20), drilling oil and gas wells (NAICS sector 28), and support activities for oil
   and gas operations (NAICS sector 29) supported an estimated 14,280 jobs1 and $1.57 billion in
   employee compensation and proprietor income in the 8-county local economy (IMPLAN, 2014).

   Currently, the BLM leases 434,866 acres of Federal minerals in McCone, Powder River, Prairie,
   Richland, and Roosevelt counties. Total Federal revenues from Federal oil and gas leasing, rents,
   and royalty payments associated with the leasing of these Federal minerals averages an estimated
   $12 million. Federal revenues disbursed to the State of Montana on annual average is estimated
   $5.8 million per year and those redistributed back to the five counties are estimated to be $1.6
   million on annual average. These revenues help fund traditional county functions such as
   enforcing laws, administering justice, collecting and disbursing tax funds, providing for orderly
   elections, maintaining roads and highways, providing fire protection, and/or keeping records.
   Other county functions that may be funded include administering primary and secondary
   education and operating clinics/hospitals, county libraries, county airports, local landfills, and
   county health systems.

   On annual average the leasing, development, and extraction of Federal minerals administered by
   the BLM supports 46 local jobs (full and part-time) and about $3 million in local labor income
   within the 8-county local economy. This amounts to about 0.06 percent of the local employment

   1
     IMPLAN job estimates are not full-time equivalents and include all full-time, part-time, and temporary positions
   supported oil and gas activities within the planning area. These activities may support, or partially support a
   number of jobs annually. In this respect, 1 job in IMPLAN lasting 12 months = 2 jobs lasting 6 months each = 3 jobs
   lasting 4 months

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   and 0.06percent of local labor and proprietor’s income. Table 13 shows the current contributions
   of leasing BLM oil and gas minerals and the associated exploration, development, and
   production of the MCFO of BLM oil and gas minerals to the eight counties that make upthe
   local economy.




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   Table 13. Current Contributions of BLM Oil and Gas Leasing, Exploration, Development, and
   Production to the 8-County Local Economy
                                                                             Labor Income
                                           Employment (Jobs)          (Thousands of 2012 dollars)
                                                    BLM O&G-                           BLM O&G-
      Industry                         Area Totals     Related       Area Totals         Related

      Agriculture                         5,737            0           $148,789            $1
      Mining                              14,442          17          $1,583,665         $1,501
      Utilities                            416             0            $46,173            $27
      Construction                        6,051            3           $481,624           $271
      Manufacturing                       1,295            0            $77,629            $5
      Wholesale Trade                     4,097            1           $412,553            $57
      Transportation & Warehousing        4,925            1           $441,881            $34

      Retail Trade                        5,407           2            $203,717            $67
      Information                          554             0            $25,846            $12

      Finance & Insurance                 1,938            1            $70,248            $23
      Real Estate & Rental & Leasing      1,958            0           $173,992            $26

      Prof, Scientific, & Tech Services   2,371            1           $151,847            $72

      Mngt of Companies                    41              0            $3,541             $2

      Admin, Waste Mngt & Rem Serv        1,591            1            $78,164            $20
      Educational Services                 578             0            $10,752            $4

      Health Care & Social Assistance     4,513           2            $210,468            $81
      Arts, Entertainment, and Rec        1,040            0            $15,411            $3

      Accommodation & Food Services       4,278            1           $108,610            $30
      Other Services                      3,141            1            $98,698            $31
      Government                          7,576           14           $371,145           $659
      Total                               71,948          46          $4,714,754         $2,927
     BLM as Percent of Total               —            0.06%             —              0.06%
   IMPLAN, 2014 database




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   4 .0 ENVIRONMENTAL IMPACTS

   4.1 Assumptions and Reasonably Foreseeable Development Scenario Summary

   This chapter describes the environmental effects (direct, indirect, and cumulative) that would
   result from the alternatives. This analysis is tiered to the final environmental impact statement
   (EIS) for the Dillon RMP/ROD Big Dry Resource Management Plan (RMP/EIS) of April 1996
   and the Powder River RMP/EIS of March 1985, as amended. The analysis contained within that
   the RMP/FEISs remains adequate. The RMPs determined which areas are available for oil and
   gas leasing and under what conditions those leases are to be offered and sold.

   The act of leasing parcels would not impact the resources. The only direct effects of leasing are
   creation of valid existing right and related to revenue generated by the lease sale receipts.

   Potential indirect effects associated with a lease sale would result from any future developments.
   The BLM assumes there is a high interest in development of any leased parcels but, even if lease
   parcels are leased, it is speculative to assume development would actually occur, and if so, it is
   speculative to assume where specific wells would be drilled and where facilities would be
   placed. This would not be determined until the BLM receives an APD in which detailed
   information about proposed wells and facilities would be provided for particular leases.

   Upon receipt of an APD, the BLM would initiate a more site-specific NEPA analysis with public
   review opportunities to more fully analyze and disclose site-specific effects of specifically
   identified activities. In all potential exploration and development scenarios, the BLM would
   require the use of BMPs documented in “Surface Operating Standards and Guidelines for Oil and
   Gas Exploration and Development” (USDI and USDA 2007), also known as the “Gold Book.”
   The BLM could also identify APD COAs, based on site-specific analysis that could include
   moving the well location, restrict timing of the project, or require other reasonable measures to
   minimize adverse impacts (43 CFR 3101.1-2 Surface use rights; Lease Form 3100-11, Section 6)
   to protect sensitive resources, and to ensure compliance with laws, regulations, and land use
   plans.

   For split-estate leases, the BLM would notify the private landowners that oil and gas exploration
   or development activities are proposed on their lands and they are encouraged to attend the
   onsite inspection to discuss the proposed activities. In the event of activity on such split estate
   leases, the lessee and/or operator would be responsible for adhering to BLM requirements as
   well as reaching an agreement with the private surface landowners regarding access, surface
   disturbance, and reclamation.

   The RFD for this EA (Appendix C) is based on information contained in the RFD developed in
   2005 and revised in 2012 for the MCFO RMP. The RFD prepared for the MCFO RMP contains
   the number of potential oil and gas wells that could be drilled and produced in the MCFO area
   and used to analyze the potential number of wells drilled for the 18 nominated lease parcels. The
   projected number of wells is used to conduct analysis for economic resources. These well
   numbers are only an estimate based on historical drilling and geologic data. A detailed
   description of the RFD forecast for this EA is found in Appendix C.

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   No surface disturbance would occur as a result of issuing leases. For analysis purposes, cultural
   resources use the potential number of acres disturbed by exploration and development activities
   is shown in Tables D-1 in Appendix D to determine the number of cultural site potentially
   impacted within the nominated lease parcels. The potential acres of disturbance reflect acres
   typically disturbed by construction, drilling, and production activities, including infrastructure
   installation throughout the MCFO. Typical exploration and development activities and
   associated acres of disturbance were used as assumptions for analysis purposes in this EA.

   The assumptions were not applied to Alternative A because the lease parcels would not be
   offered for lease; therefore, no wells would be drilled or produced on the lease parcel, and no
   surface disturbance would occur on those lands from exploration and development activities).

   Environmental consequences are discussed below by alternative to the extent possible at this
   time for the resources described in Chapter 3. As per NEPA regulations at 40 CFR 1502.14(f),
   40 CFR 1502.16(h), and 40 CFR 1508.20, mitigation measures to reduce, avoid, or minimize
   potential impacts are identified by resource below.

   4.2 Alternative A (No Action Alternative)
   4.2.1 Direct Effects Common to All Resources, not including Economics
   Under Alternative A, the 18 parcels, covering 7,945.28 surveyed Federal mineral acres (3,637.97
   surveyed BLM administered surface and 4,307.31 surveyed private surface), would not be
   offered for competitive oil and gas lease sale. Under this alternative, the State and private
   minerals could still be leased in surrounding areas. Surface management would remain the same
   and ongoing oil and gas development would continue on surrounding Federal, private, and State
   leases.

   There would not be new impacts from oil and gas exploration or production activities on the
   Federal lease parcel lands at this time. No additional natural gas or crude oil would enter the
   public markets, and no royalties would accrue to the Federal or State treasuries from the parcel
   lands. The No Action Alternative would result in the continuation of the current land and
   resource uses on the lease parcels.

   Except for Economic resources, described below, no further analysis of the No Action
   Alternative is presented for resources on parcel lands.

   4.2.2 Economics
   4.2.2.1 Direct and Indirect Effects:
   The economic contributions of activities associated with oil and gas development on BLM
   administered Federal minerals are measured in terms of the employment and labor income
   generated by 1) payments to counties associated with the leasing and rent of Federal minerals, 2)
   royalty payments associated with production of Federal oil and gas, and 3) economic activity
   generated from drilling and associated activities. The first two described contributions would
   occur upon issuance of the lease; the third contribution would only occur if development
   occurred. Forward and backward linkages between businesses and people in communities
   surrounding parcels leased for the development of Federal minerals has enabled the oil and gas

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   industry to attract new revenue to the region, growing the local economy and creating new
   employment and income opportunities in a wide range of industrial sectors. Table 14 is a
   summary of local revenues, employment, and labor income impacts of each alternative.

   Alternative A is the no action alternative. Under Alternative A, no additional parcels would be
   leased and no additional public revenue would be generated. The economic contributions of
   activities associated with oil and gas development would remain consistent with existing
   conditions described in the Economics section of Chapter 3. Economic effects are summarized
   and displayed in comparative form in Table 14.

   Table 14. Summary Comparison of Estimated Average Annual Economic Impacts
   Alternative    Acres Leased     Change in Local     Change in Total                            Change in
                                   Revenue to Counties Employment (full and                       Total Labor
                                                       part-time jobs)                            Income
          A                  0                        0                          0                     0
          B                7,945                  $38,399                        2                  $61,000
          C            1,397 1,197.34              $5,465                        0                  $12,000
   *These impacts would be in addition to impacts from existing Federal leases, rents, royalties and related
   activities.

   4.2.2.2 Cumulative Effects:
   Cumulative Effects:
   The lack of measurable direct and indirect effects to economic conditions under the No Action
   Alternative translates to a lack of measurable cumulative effects. Under this alternative the BLM
   will not make any additional Federal minerals available for leasing and Federal minerals leased
   from the MCFO will likely continue at existing levels. Current levels of BLM mineral leasing in
   McCone, Powder River, Prairie, Richland, and Roosevelt counties support jobs and income in
   the 8-county local economy and the economic contributions of oil and gas activities associated
   with these leases will continue to be similar to those discussed in Chapter 3.
   Cumulative economic impacts associated with Federal mineral leasing under the alternatives are
   shown below in Table 15 and Table 16.

   Table 15. Summary Comparison of Cumulative Annual Economic Impacts by Alternative
                            Activity                        A          B               C
    Existing Acres leased                                  434,866     434,866         434,866
    Acres that would be leased based on this EA                  0       7,945     4,397-1,197
    Total acres leased                                     434,866     442,811         436,263
    Acres held by production                                57,664      57,664          57,664
    Total acres leased for which lease rents would be paid 377,202     385,147         378,599

    Total average annual Federal lease and rental revenue             $660,104         $954,961         $871,313
    Average annual distribution to State*                             $313,945         $454,179         $414,397
    Average annual distribution to Counties**                          $85,912         $124,288         $113,401

    Average annual oil production (bbl)***                             868,935          884,810          871,726

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    Average annual gas production (MCF)***                            2,188,938         2,228,930        2,195,970
    Total Average annual Federal O&G royalties                      $11,250,381       $11,455,925      $11,286,522
    Average annual distribution to State*                            $5,350,681        $5,448,438       $5,367,870
    Average annual distribution to Counties**                        $1,464,237        $1,490,989       $1,468,941

    Total average annual Federal Revenues                           $11,910,484       $12,410,885      $12,157,835
    Total average annual State Revenues                              $5,664,626        $5,902,617       $5,782,267
    Total average annual revenue distributed to counties             $1,550,149        $1,615,277       $1,582,342
   *49 percent of Federal revenue from public domain minerals and 25 percent of Federal revenue from acquired
   minerals are distributed back to the State.
   **Montana distributes 25 percent of public domain revenue and all of acquired mineral revenue received from the
   Federal Government back to the counties where revenue was generated.
   ***Estimated as BLM’s share of Federal minerals production in McCone, Powder River, Prairie, Richland and
   Roosevelt counties.

   Table 16. Summary Comparison of Employment and Income Supported by BLM Minerals in
   McCone, Powder River, Prairie, Richland and Roosevelt Counties.
         Industry            Total Jobs Supported                     Total Income Supported ($1000)

                            Alt. A     Alt. B    Alt. C         Alt. A                Alt. B               Alt. C
    Total Contribution
                              45         47        45           $2,894               $2,969                $2,920
    of BLM Minerals
   IMPLAN, 2014

   4.3 Alternative B (Proposed Action)
   Under Alternative B, 18 lease parcels of Federal minerals for oil and gas leasing, covering
   7,945.28 surveyed Federal mineral acres (3,637.97 surveyed BLM administered surface and
   4,307.31 surveyed private surface) would be offered for competitive oil and gas lease sale. No
   parcels would be deferred.

   4.3.1 Direct Effects Common to All Resources
   The action of leasing the parcels in Alternative B would, in and of itself, have no direct impact
   on resources. Direct effects of leasing are the creation of a valid existing right and those related
   to the revenue generated by the lease sale receipts.

   4.3.2 Indirect Effects Common to All Resources
   Any potential effects on resources from the sale of leases would occur during lease exploration
   and development activities, which would be subject to future BLM decision-making and NEPA
   analysis upon receipt of an APD or sundry notice.

   Oil and gas exploration and development activities such as construction, drilling, production,
   infrastructure installation, vehicle traffic and reclamation could be indirect effects from leasing
   the lease parcels in Alternative B. As mentioned above, it is speculative to make assumptions
   about whether a particular lease parcel would be sold and, even if so, it is speculative to assume
   when, where, how, or if future surface disturbing activities associated with oil and gas
   exploration and development such as well sites, roads, facilities, and associated infrastructure
   would be proposed. It is also not known how many wells, if any, would be drilled and/or
                                                                                                                     49


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   completed, the types of technologies and equipment would be used and the types of
   infrastructure needed for production of oil and gas. Thus, the types, magnitude and duration of
   potential impacts cannot be precisely quantified at this time, and would vary according to many
   factors.

   Typical impacts to resources from oil and gas exploration and development activities such as
   well sites, roads, facilities, and associated infrastructure are described in the Miles City Oil &
   Gas Amendment/EIS (1994), the Big Dry RMP (1996), the Powder River RMP (1985), the
   Montana Statewide Oil & Gas Amendment/EIS (2003) and the Supplement (2008) to that
   document.

   4.3.3 Air Resources
   4.3.3.1 Direct and Indirect Effects
   4.3.3.1.1 Air Quality
   Leasing the parcels would have no direct impacts on air quality. Any potential effects from sale
   of lease parcels could occur at the time the leases are developed.

   Potential impacts of development could include increased airborne soil particles blown from new
   well pads or roads; exhaust emissions from drilling equipment, compressors, vehicles, and
   dehydration and separation facilities, as well as potential releases of GHGs and VOCs during
   drilling or production activities. The amount of increased emissions cannot be precisely
   quantified at this time since it is not known for certain how many wells might be drilled, the
   types of equipment needed if a well were to be completed successfully (e.g., compressor,
   separator, dehydrator), or what technologies may be employed by a given company for drilling
   any new wells. The degree of impact would also vary according to the characteristics of the
   geologic formations from which production occurs, as well as the scope of specific activities
   proposed in an APD.

   Current monitoring data show that criteria pollutants concentrations are below applicable air
   quality standards, indicating good air quality. The potential level of development and mitigation
   described below is expected to maintain this level of air quality by limiting emissions. In
   addition, pollutants would be regulated through the use of State-issued air quality permits or air
   quality registration processes developed to maintain air quality below applicable standards.

   4.3.3.1.2 Greenhouse Gas Emissions at the MCFO and Project Scales
   Sources of GHGs associated with development of lease parcels could include construction
   activities, operations, and facility maintenance in the course of oil and gas exploration,
   development, and production. Estimated GHG emissions are discussed for these specific aspects
   of oil and gas activity because the BLM has direct involvement in these steps. However, the
   current proposed activity is to offer parcels for lease. No specific development activities are
   currently proposed or potentially being decided upon for any parcels being considered in this
   EA. Potential development activities would be analyzed if the BLM receives an APD on any of
   the parcels considered here.

   Anticipated GHG emissions presented in this section are taken from the Climate Change SIR,
   2010. Data are derived from emission calculators developed by air quality specialists at the

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   BLM National Operations Center in Denver, Colorado, based on methods described in the
   Climate Change SIR (2010). Based on the assumptions summarized in the SIR for the MCFO
   RFD, Table 16 discloses projected annual GHG source emissions from BLM-permitted activities
   associated with the RFD.

   Table 17. The BLM Projected Annual GHG Emissions Associated With Oil and Gas Exploration
   and Development Activity in the MCFO.
                                                                             Emissions
                         BLM Long-Term GHG Emissions in tons/year
        Source                                                             (metric tons/yr)
                       CO2            CH4        N2O           CO2e             CO2e
    Conventional    158,154.7        1,572.8      1.2        190,984.1        173,817.6
    Natural Gas
    Coal Bed        268,477.4        5,194.6      0.9        377,826.5       342.855.24
    Natural Gas
    Oil              91,689.0         562.6       0.5        103,663.3        94,068.3
    Total           518,321.1         7,330       2.6        672,473.9        610,741.1

   To estimate GHG emissions associated with the action alternatives, the following approach was
   used:
       1. The proportion of each alternative relative to the total RFD was calculated based on total
          acreage of parcels under consideration for leasing relative to the total acreage of Federal
          mineral acreage available for leasing in the RFD.
      2. This ratio was then used as a multiplier with the total estimated GHG emissions for the
          entire RFD (with the highest year emission output used) to estimate GHG emissions for
          that particular alternative.

   Under Alternative B, approximately 7,945 acres of lease parcels with Federal minerals would be
   leased. These acres constitute approximately 0.14 percent of the total Federal mineral estate of
   approximately 5,798,000 acres identified in the MCFO RFD. Therefore, based on the approach
   described above to estimate GHG emissions, 0.14 percent of the RFD for this EA total estimated
   BLM emissions of approximately 610,741 metric tons/year would be approximately 837 metric
   tons/year of CO2e if the parcels within Alternative B were to be developed.

   4.3.3.1.3 Climate Change
   The assessment of GHG emissions and climate change is in its formative phase. As summarized
   in the Climate Change SIR, climate change impacts can be predicted with much more certainty
   over global or continental scales. Existing models have difficulty reliably simulating and
   attributing observed temperature changes at small scales. On smaller scales, natural climate
   variability is relatively larger, making it harder to distinguish changes expected due to external
   forcings (such as contributions from local activities to GHGs). Uncertainties in local forcings
   and feedbacks also make it difficult to estimate the contribution of GHG increases to observed
   small-scale temperature changes (Climate Change SIR 2010).

   It is currently not possible to know with certainty the net impacts from lease parcel development
   on climate. The inconsistency in results of scientific models used to predict climate change at
   the global scale, coupled with the lack of scientific models designed to predict climate change on
   regional or local scales, limits the ability to quantify potential future impacts of decisions made

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   at this level. It is therefore beyond the scope of existing science to relate a specific source of
   GHG emission or sequestration with the creation or mitigation of any specific climate-related
   environmental effects. Although the effects of GHG emissions in the global aggregate are well-
   documented, it is currently impossible to determine what specific effect GHG emissions
   resulting from a particular activity might have on the environment. For additional information
   on environmental effects typically attributed to climate change, please refer to the cumulative
   effects discussion below.

   While it is not possible to predict effects on climate change of potential GHG emissions
   discussed above in the event of lease parcel development for alternatives considered in this EA,
   the act of leasing does not produce any GHG emissions in and of itself. Releases of GHGs could
   occur at the exploration/development stage.

   4.3.3.2 Mitigation
   The BLM encourages industry to incorporate and implement BMPs to reduce impacts to air
   quality by reducing emissions, surface disturbances, and dust from field production and
   operations. Measures would also be required as COAs on permits by either the BLM or the
   applicable State air quality regulatory agency. The BLM also manages venting and flaring of gas
   from Federal wells as described in the provisions of Notice to Lessees (NTL) 4A, Royalty or
   Compensation for Oil and Gas Lost.

   Some of the following measures could be imposed at the development stage:
      • flaring or incinerating hydrocarbon gases at high temperatures to reduce emissions of
         incomplete combustion;
      • emission control equipment of a minimum 95 percent efficiency on all condensate
         storage batteries;
      • emission control equipment of a minimum 95 percent efficiency on dehydration units,
         pneumatic pumps, produced water tanks;
      • vapor recovery systems where petroleum liquids are stored;
      • tier II or greater, natural gas or electric drill rig engines;
      • secondary controls on drill rig engines;
      • no-bleed pneumatic controllers (most effective and cost effective technologies available
         for reducing VOCs);
      • gas or electric turbines rather than internal combustions engines for compressors;
      • NOx emission controls for all new and replaced internal combustion oil and gas field
         engines;
      • water dirt and gravel roads during periods of high use and control speed limits to reduce
         fugitive dust emissions;
      • interim reclamation to re-vegetate areas of the pad not required for production facilities
         and to reduce the amount of dust from the pads.
      • co-located wells and production facilities to reduce new surface disturbance;
      • directional drilling and horizontal completion technologies whereby one well provides
         access to petroleum resources that would normally require the drilling of several vertical
         wellbores;
      • gas-fired or electrified pump jack engines;
      • velocity tubing strings;

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         •   cleaner technologies on completion activities (i.e. green completions), and other ancillary
             sources;
         •   centralized tank batteries and multi-phase gathering systems to reduce truck traffic;
         •   forward looking infrared (FLIR) technology to detect fugitive emissions; and
         •   air monitoring for NOx and ozone.

    More specific to reducing GHG emissions, Section 6 of the Climate Change SIR identifies and
    describes in detail commonly used technologies to reduce methane emissions from natural gas,
    coal bed natural gas, and oil production operations. Technologies discussed in the Climate
    Change SIR and as summarized below in Table 17 (reproduced from Table 6-2 in Climate
    Change SIR) display common methane emission technologies reported under the EPA Natural
    Gas STAR Program and associated emission reduction, cost, maintenance and payback data.

  Table 18. Selected Methane Emission Reductions Reported Under the USEPA Natural Gas STAR
  Program 1
                                         Annual                           Annual
                                        Methane        Capital Cost     Operating and               Payback
                                        Emission        Including       Maintenance     Payback     Gas Price
                                       Reduction 1     Installation         Cost        (Years or     Basis
      Source Type / Technology          (Mcf/yr)            ($)              ($)         Months)     ($/Mcf)
  Wells
  Reduced emission (green)               7,000 2        $1K - $10K         >$1,000       1 - 3 yr      $3
  completion
  Plunger lift systems                     630         $2.6K - $10K          NR         2 - 14 mo      $7
  Gas well smart automation               1,000            $1.2K         $0.1K - $1K     1 - 3 yr      $3
  system
  Gas well foaming                        2,520           >$10K          $0.1K - $1K    3 - 10 yr     NR
  Tanks
  Vapor recovery units on crude oil   4,900 - 96,000   $35K - $104K      $7K - $17K     3 - 19 mo      $7
  tanks
  Consolidate crude oil production        4,200           >$10K            <$0.1K        1 - 3 yr     NR
  and water storage tanks
  Glycol Dehydrators
  Flash tank separators               237 - 10,643      $5K - $9.8K       Negligible    4 - 51 mo     $7
  Reducing glycol circulation rate    394 - 39,420       Negligible       Negligible    Immediate     $7
  Zero-emission dehydrators              31,400           >$10K             >$1K         0 - 1 yr     NR
  Pneumatic Devices and
  Controls
  Replace high-bleed devices with
  low-bleed devices
     End-of-life replacement            50 - 200       $0.2K - $0.3K      Negligible    3 - 8 mo       $7
     Early replacement                     260             $1.9K          Negligible      13 mo        $7
     Retrofit                              230             $0.7K          Negligible      6 mo         $7
     Maintenance                        45 - 260       Negl. to $0.5K     Negligible    0 - 4 mo       $7
  Convert to instrument air            20,000 (per         $60K           Negligible      6 mo         $7
                                         facility)
  Convert to mechanical control            500             <$1K            <$0.1K        0 - 1 yr     NR
  systems




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  Table 18. Selected Methane Emission Reductions Reported Under the USEPA Natural Gas STAR
  Program 1
                                               Annual                                     Annual
                                              Methane             Capital Cost          Operating and                         Payback
                                              Emission             Including            Maintenance           Payback         Gas Price
                                             Reduction 1          Installation              Cost              (Years or         Basis
      Source Type / Technology                (Mcf/yr)                 ($)                   ($)               Months)         ($/Mcf)
  Valves
  Test and repair pressure safety                 170                   NR               $0.1K - $1K           3 - 10 yr            NR
  valves
  Inspect and repair compressor                  2,000                 <$1K              $0.1K - $1K            0 - 1 yr            NR
  station blowdown valves
  Compressors
  Install electric compressors               40 - 16,000              >$10K                 >$1K                >10 yr              NR
  Replace centrifugal compressor               45,120                 $324K               Negligible            10 mo               $7
  wet seals with dry seals
  Flare Installation                             2,000                >$10K                  >$1K                None               NR
  Source: Multiple EPA Natural Gas STAR Program documents. Individual documents are referenced in Climate Change SIR
  (2010).
  1 Unless otherwise noted, emission reductions are given on a per-device basis (e.g., per well, per dehydrator, per valve, etc).
  2 Emission reduction is per completion, rather than per year.
  K = 1,000
  mo = months
  Mcf = thousand cubic feet of methane
  NR = not reported
  yr = year

    In the context of the oil sector, additional mitigation measures to reduce GHG emissions include
    methane reinjection and CO2 injection. These measures are discussed in more detail in Section
    6.0 of the Climate Change SIR (2010).

    In an effort to disclose potential future GHG emission reductions that might be feasible, the
    BLM estimated GHG emission reductions based on the RFD for the MCFO. For emission
    sources subject to BLM (Federal) jurisdiction, the estimated emission reductions represent
    approximately 51 percent reduction in total GHG emissions compared to the estimated MCFO
    Federal GHG emission inventory (Climate Change SIR, as updated October 2010, Section 6.5
    and Table 6-3). The emission reductions technologies and practices are identified as mitigation
    measures that could be imposed during development. Furthermore, the EPA is expected to
    promulgate new Federal air quality regulations that would require GHG emission reductions
    from many oil and gas sources.

    4.3.4 Soil Resources
    4.3.4.1 Direct and Indirect Effects
    Leasing the parcels would have no direct impacts on soil resources. Any potential effects from
    the sale of leases would occur at the time the leases are developed.

    Land uses associated with oil and gas exploration and development could cause surface
    disturbances. Such acts result in reduced ground cover, soil mixing, compaction, or removal,
    exposing soils to accelerated erosion by wind and water, resulting in the irretrievable loss of
    topsoil and nutrients and potentially resulting in mass movement or sedimentation. Surface
    disturbances also change soil structure, heterogeneity (variable characteristics), temperature

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   regimes, nutrient cycling, biotic richness, and diversity. Along with this, mixed soils have
   decreased bulk density, and altered porosity, infiltration, air-water relationships, salt content, and
   pH (Perrow and Davy, 2003; Bainbridge 2007). Soil compaction results in increased bulk
   density, and reduced porosity, infiltration, moisture, air, nutrient cycling, productivity, and biotic
   activity (Logan 2001; 2003; 2007). Altering such characteristics reduces the soil system’s ability
   to withstand future disturbances (e.g., wildfire, drought, high precipitation events, etc.).

   The probability and magnitude of these effects are dependent upon local site characteristics,
   climatic events, and the specific mitigation applied to the project. Within 2-5 years following
   restoration, vegetative cover and rates of erosion would return to pre-disturbance conditions
   (FSEIS 2008). Exceptions would be sites that have a low potential for restoration (apx. less than
   1 percent), which would require unconventional and/or site-specific restoration measures.

   4.3.4.2 Mitigation
   Measures would be taken to reduce, avoid, or minimize potential impacts to soil resources from
   exploration and development activities. Prior to authorization, proposed actions would be
   evaluated on a case-by-case basis and would be subject to mitigation measures in order to
   maintain the soil system. Mitigation would include avoiding areas poorly suited to reclamation,
   limiting the total area of disturbance, rapid reclamation, erosion/sediment control, soil salvage,
   decompaction, revegetation, weed control, slope stabilization, surface roughening, and fencing.

   4.3.5 Water Resources
   4.3.5.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on water resources. Any potential effects from
   sale of lease parcels would occur at the time the leases are developed.

   Surface Water:
   The magnitude of the impacts to water resources would be dependent on the specific activity,
   season, proximity to waterbodies, location in the watershed, upland and riparian vegetation
   condition, effectiveness of mitigation, and the time until reclamation success. Surface
   disturbance effects typically are localized, short-term, and occur from the time of implementation
   through vegetation reestablishment. As acres of surface-disturbance increase within a watershed,
   so would the potential effects on water resources.

   Oil and gas exploration and development of a lease parcel would cause the removal of
   vegetation, soil compaction, and soil disturbance in uplands within the watershed, 100-year
   floodplains of non-major streams, and non-riparian, ephemeral waterbodies. The potential
   effects from these activities would be accelerated erosion, increased overland flow, decreased
   infiltration, increased water temperature, channelization, and water quality degradation
   associated with increased sedimentation, turbidity, nutrients, metals, and other pollutants.
   Erosion potential could be further increased in the long term by soil compaction and low
   permeability surfacing (e.g., roads and well pads) which increases the energy and amount of
   overland flow and decreases infiltration, which in turn changes flow characteristics, reduces
   groundwater recharge, and increases sedimentation and erosion (MDEQ 2012).




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   Groundwater:
   Spills or produced fluids could have long-term impacts to surface and ground water resources.
   Oil and gas exploration/development could potentially contaminate aquifers with salts, drilling
   fluids, fluids and gases from other formations, detergents, solvents, hydrocarbons, metals, and
   nutrients; change vertical and horizontal aquifer permeability; and increase hydrologic
   communication with adjacent aquifers (EPA 2004). Groundwater removal could result in a
   depletion of flow in nearby streams and springs if the aquifer is hydraulically connected to such
   features. Typically, produced water from conventional oil and gas wells is from a depth below
   useable aquifers or coal seams (FSEIS 2008).

   Well bores would most likely pass through useable groundwater. Potential impacts to
   groundwater resources could occur if proper cementing and casing programs are not followed.
   This could include loss of well integrity, surface spills, or loss of fluids in the drilling and
   completion process. It is possible for chemical additives used in drilling activities to be
   introduced into the water-producing formations without proper casing and cementing of the well
   bore. Changes in porosity or other properties of the rock being drilled through can result in the
   loss of drilling fluids. When this occurs, drilling fluids can be introduced into groundwater
   without proper cementing and casing. Site specific conditions and drilling practices determine
   the probability of this occurrence and determine the groundwater resources that could be
   impacted. In addition to changing the producing formations’ physical properties by increasing
   the flow of water, gas, and/or oil around the well bore, hydraulic fracturing can also introduce
   chemical additives into the producing formations. Types of chemical additives used in drilling
   activities may include acids, hydrocarbons, thickening agents, lubricants, and other additives that
   are operator- and location-specific. These additives are not always used in these drilling activities
   and some are likely to be benign such as bentonite clay and sand. Concentrations of these
   additives also vary considerably since different mixtures can be used for different purposes in oil
   and gas development and even in the same well bore. If contamination of aquifers from any
   source occurs, changes in groundwater quality could impact springs and residential wells that are
   sourced from the affected aquifers. Onshore Order #2 requires that the proposed casing and
   cementing programs shall be conducted as approved to protect and/or isolate all usable water
   zones.

   Known water bearing zones in the lease area are protected by drilling requirements and, with
   proper practices, contamination of ground water resources is highly unlikely. Casing along with
   cement is extended well beyond fresh-water zones to insure that drilling fluids remain within the
   well bore and do not enter groundwater.

   Potential impacts to ground water at site specific locations are analyzed through the NEPA
   review process with public involvement at the development stage when the APD is submitted.
   This process includes geologic and engineering reviews to ensure that cementing and casing
   programs are adequate to protect all downhole resources.

   All water used would have to comply with Montana State water rights regulations and a source
   of water would need to be secured by industry that would not harm senior water rights holders.




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   4.3.5.2 Mitigation
   Stipulations addressing steep slopes, waterbodies, streams, 100-year floodplains of major rivers,
   and riparian areas would minimize potential impacts and would be included with the lease when
   necessary (Appendix A). In the event of exploration or development, measures would be taken to
   reduce, avoid, or minimize potential impacts to water resources including application of
   appropriate mitigation. Mitigation measures that minimize the total area of disturbance, control
   wind and water erosion, reduce soil compaction, maintain vegetative cover, control nonnative
   species, and expedite rapid reclamation (including interim reclamation) would maintain water
   resources.

   Methods to reduce erosion and sedimentation could include reducing the area of surface
   disturbance; installing and maintaining adequate erosion control; proper road design, road
   surfacing, and culvert design; road/infrastructure maintenance; use of low water crossings; and
   use of isolated or bore crossing methods for waterbodies and floodplains. In addition, applying
   mitigation to maintain adequate, undisturbed, vegetated buffer zones around waterbodies and
   floodplains could reduce sedimentation and maintain water quality. Appropriate well
   completion, the implementation of Spill Prevention Plans, and Underground Injection Control
   regulations would mitigate groundwater impacts. Site-specific mitigation and reclamation
   measures would be described in the COAs.

   4.3.6 Vegetation Resources
   4.3.6.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on vegetation resources. Any potential effects
   from sale of lease parcels could occur at the time the leases are developed.

   Impacts to vegetation depend on the vegetation type/community, soil community and the
   topography of the lease parcels. Disturbance to vegetation is of concern because protection of
   soil resources, maintenance of water quality, conservation of wildlife habitat, and livestock
   production capabilities could be diminished or lost over the long-term through direct loss of
   vegetation (including direct loss of both plant communities and specific plant species).

   Other direct impacts, such as invasive species invasion, could result in loss of desirable
   vegetation. Invasive species and noxious weeds could also reduce livestock grazing forage,
   wildlife habitat quality, and native species diversity. In addition, invasive species are well
   known for changing fire regimes.

   Additionally, surface disturbing activities directly affect vegetation by destroying habitat,
   churning soils, impacting biological crusts, disrupting seedbanks, burying individual plants, and
   generating sites for competitive species. Other vegetation impacts could also be caused from soil
   erosion and result in loss of the supporting substrate for plants, or from soil compaction resulting
   in reduced germination rates. Impacts to plants occurring after seed germination but prior to
   seed set could be particularly harmful as both current and future generations would be affected.

   Fugitive dust generated by construction activities and travel along dirt roads could affect nearby
   plants by depressing photosynthesis, disrupting pollination, and reducing reproductive success.
   Oil, fuel, wastewater or other chemical spills could contaminate soils as to render them

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   temporarily unsuitable for plant growth until cleanup measures were fully implemented. If
   cleanup measures were less successful, longer term vegetation damage could be expected.

   Oil and gas development activity could reduce BLM’s ability to manage livestock grazing while
   meeting or progressing towards meeting the Standards of Rangeland Health. Development and
   associated disturbances could reduce available forage or alter livestock distribution leading to
   overgrazing or other localized excess grazing impacts. Construction of roads, especially in areas
   of rough topography could cause significant changes in livestock movement and fragment
   suitable habitat for some plant communities.

   4.3.6.2 Mitigation
   Mitigation would be addressed at the site specific APD stage of exploration and development. If
   needed, COAs would potentially include, but not limited to, revegetation with desirable plant
   species, soil enhancement practices, direct live haul of soil material for seed bank revegetation,
   reduction of livestock grazing, fencing of reclaimed areas, and the use of seeding strategies
   consisting of native grasses, forbs, and shrubs. In areas infested with noxious weeds, weed
   management plans with special conditions would be required.

   4.3.7 Riparian-Wetland Habitats
   4.3.7.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on riparian-wetland habitats. Any potential
   effects from sale of lease parcels could occur at the time the leases are developed.

   The exploration and development of oil and gas within uplands or adjacent to riparian-wetland
   areas could reduce riparian-wetland functionality by changing native plant productivity,
   composition, richness, and diversity; accelerating erosion; increasing sedimentation; and
   changing hydrologic characteristics. Impacts that reduce the functioning condition of riparian
   and wetland areas could impair the ability of riparian/wetland areas to reduce nonpoint source
   pollution (MDEQ 2012) and provide other ecosystem benefits. The magnitude of these effects
   would be dependent on the specific activity, season, proximity to riparian-wetland areas, location
   in the watershed, upland and riparian-wetland vegetation condition, mitigation applied, and the
   time until reclamation success. Increases in erosion are typically localized, short term, and occur
   from the beginning of implementation through vegetation reestablishment. As acres of surface
   disturbance increase within a watershed, so could the effects on riparian-wetland resources.

   4.3.7.2 Mitigation
   Stipulations addressing steep slopes, waterbodies, streams, 100-year floodplains of major rivers,
   and riparian areas would minimize potential impacts and would be included with the lease when
   necessary (Appendix A). In the event of exploration or development, site-specific mitigation
   measures would be identified which would avoid or minimize potential impacts to riparian­
   wetland areas at the APD stage. Mitigation measures that minimize the total area of disturbance,
   control wind and water erosion, reduce soil compaction, maintain vegetative cover, control
   nonnative species, maintain biodiversity, maintain vegetated buffer zones, and expedite rapid
   reclamation (including interim reclamation) would maintain riparian-wetland resources.




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   4.3.8 Special Status Plant Species
   4.3.8.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on special status plant species. Any potential
   effects from the sale of leases could occur at the time the leases are developed.

   4.3.8.2 Mitigation
   Stipulations applied to wildlife resources, steep slopes, waterbodies, streams, 100-year
   floodplains of major rivers, riparian areas, and wetlands would likely also provide protections for
   special status plant species. Proposed development would be analyzed on a site-specific basis
   prior to approval of oil and gas exploration or development activities at the APD
   stage. Mitigation would also be addressed at the site-specific APD stage. Surveys to determine
   the existence of federally listed species could occur on BLM-administered surface or minerals
   prior to approval of exploration and development activities at the APD stage.

   4.3.9 Wildlife
   4.3.9.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on wildlife. Any potential effects from the sale
   of lease parcels would occur at the time the leases are developed.

   The use of standard lease terms and stipulations on these lands (Appendix A) would minimize,
   but not preclude impacts to wildlife. Oil and gas development which results in surface
   disturbance could directly and indirectly impact aquatic and terrestrial wildlife species. These
   impacts would include loss or reduction in suitability of habitat, improved habitat for undesirable
   (non-native) competitors, species or community shift to species or communities more tolerant of
   disturbances, nest abandonment, mortalities resulting from collisions with vehicles and power
   lines, electrocutions from power lines, barriers to species migration, habitat fragmentation,
   increased predation, habitat avoidance, and displacement of wildlife species resulting from
   human presence. The scale, location, and pace of development, combined with implementation
   of mitigation measures and the tolerance of the specific species to human disturbance all
   influence the severity of impacts to wildlife species and habitats, including threatened,
   endangered, candidate, proposed, and other special status species.

   4.3.9.1.1 Threatened, Endangered, and Candidate Species
   Habitat within the lease parcels exists to support USFWS threatened, endangered, or candidate,
   species including the whooping crane, pallid sturgeon, sage grouse, and Sprague’s pipit.

   The BLM has determined that the act of issuing leases within the whooping crane migration
   corridor will not affect the whooping crane. However, impacts to whooping cranes are possible
   from subsequent oil and gas development activities permitted at the APD stage. At this time,
   stipulations do not currently exist to protect any known whooping crane migration staging areas.
   Line strikes, collisions with vehicles, habitat fragmentation, and other anthropogenic activities
   could disturb, displace, or cause direct mortality of whooping cranes.

   Therefore, if development on any of the leases within the whooping crane migration corridor is
   proposed within suitable whooping crane staging, stopover or roosting habitat, BLM would
   consult with the USFWS pursuant to section 7(a)(2) of ESA. An outcome of the consultation

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   process could be that conditions of approval are attached to the permit or the permit could not be
   approved. Other BMP’s could also be developed through consultation, including minimizing
   disturbance, adherence to Avian Powerline Interaction Committee (APLIC) guidelines, and
   others as deemed appropriate.

   Pallid sturgeon individuals and their habitat would occur in or near lease parcel MTM 105431-
   H6, H8, HA, and HB (based on year-round range and observation maps (MTNHP)) and have the
   potential to be affected by the development of oil and gas wells. Potential impacts from
   development could include: overland oil spills, underground spills from activities associated with
   horizontal drilling or other practices, spills from drilling mud or other extraction and processing
   chemicals, and surface disturbance activities that create a localized erosion zone. Oil spills and
   other pollutants from the oil extraction process could harm the endangered pallid sturgeon in two
   different ways. First, toxicological impacts from direct contact could have immediate lethal
   effects to eggs, juveniles, and adults. Second, toxic effects to lower food web levels (e.g. aquatic
   macro-invertebrates) could indirectly affect the pallid sturgeon species by degrading water
   quality and degrading or eliminating food resources. Additionally, surface disturbing activities
   that decrease the availability or input of organic material, large woody debris, and trees could
   decrease cover, food-web compartments and fluxes, and holding areas for pallid sturgeon. Other
   aquatic species could experience the same type of direct and indirect impacts.

   Currently, in the Big Dry RMP there are no stipulations specific to Pallid sturgeon habitat.
   However, a floodplain stipulation (NSO 11-2) would not allow surface occupancy in the 100-
   year floodplain boundary of the Missouri and Yellowstone Rivers. The BLM has determined
   that issuing a lease for the four parcels along the Missouri River will have no effect on the pallid
   sturgeon. If development were to occur, additional mitigation would be included as conditions of
   approval at the APD stage. These conditions include the placement of earthen berms and oil
   skimmers (a culvert device placed in drainages which is intended to block oil from entering
   streams) to help protect pallid sturgeon habitat in case of oil spills by greatly reducing the
   potential for spills to reach pallid sturgeon habitat. If oil and gas development is proposed for
   these four parcels, BLM would consult with the USFWS pursuant to section 7(a)(2) of ESA.

   Sage grouse are offered species specific protections through a stipulation. Under Alternative B,
   % mile NSO buffers and 2 mile timing buffers would apply where relevant. Based on research,
   these stipulations for sage grouse are considered ineffective to ensure that sage grouse can persist
   within fully developed areas. With regard to existing restrictive stipulations applied by the
   BLM, (Walker et al. 2007a) research has demonstrated that the 0.4-km (0.25 miles) NSO lease
   stipulation is insufficient to conserve breeding sage-grouse populations in fully developed gas
   fields because this buffer distance leaves 98 percent of the landscape within 3.2 km (2 miles)
   open to full-scale development. Full-field development of 98 percent of the landscape within 3.2
   km (2 miles) of leks in a typical landscape in the Powder River Basin reduced the average
   probability of lek persistence from 87 percent to 5 percent (Walker et al. 2007a).

   Other studies also have assessed the efficacy of existing BLM stipulations for sage grouse.
   Impacts to leks from energy development are most severe near the lek, and remained discernable
   out to distances more than 6 km (3.6 miles) (Holloran 2005, Walker et al. 2007a), and have
   resulted in the extirpation of leks within gas fields (Holloran 2005, Walker et al. 2007a).

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   Holloran (2005) shows that lek counts decreased with distance to the nearest active drilling rig,
   producing well, or main haul road, and that development influence counts of displaying males to
   a distance of between 4.7 and 6.2 km (2.9 and 3.9 miles). All well-supported models in Walker
   et al. (2007a) indicate a strong effect of energy development, estimated as proportion of
   development within either 0.8 km (0.5 miles) or 3.2 km (2 miles), on lek persistence. Buffer
   sizes of 0.25 mi., 0.5 mi., 0.6 mi. and 1.0 mi. result in an estimated lek persistence of 5 percent,
   11 percent, 14 percent, and 30 percent. Lek persistence in the absence of CBNG development
   averages approximately 85 percent. Models with development at 6.4 km (4 miles) had
   considerably less support, but the regression coefficient indicated that impacts were still apparent
   out to 6.4 km (4 miles) (Walker et al. 2007a). Tack (2009) found impacts of energy development
   on lek abundances (numbers of males per lek) out to 7.6 miles.

   The 2 mile timing stipulation attached to the respective parcels in this proposal only applies
   between March 1 to June 15, and development can occur within the 2 miles outside of those
   dates. Not all lease parcels would be expected to see full field development as noted in the range
   of RFD, although effects would most likely mirror these studies to some degree proportionate to
   the amount of development that occurs outside of the stipulated timeframe.

   Noise has been shown to affect sage-grouse and associated sagebrush obligates. Sage-grouse are
   known to select highly visible leks with good acoustic properties. Effects to sage-grouse would
   be a decrease in numbers of males on leks and activity levels and lower nest initiation near oil
   and gas development. Sage-grouse numbers on leks within 1.6 km (1 mile) of coal bed natural
   gas compressor stations in Campbell County, Wyoming were shown to be consistently lower
   than on leks not affected by this disturbance (Braun et al. 2002). Holloran (2005), Holloran et al
   (2005a, 2005b), and Anderson (2005) reported that lek activity by sage-grouse decreased
   downwind of drilling activities, suggesting that noise had measurable negative impacts on sage­
   grouse. The actual level of noise (measured in decibels) that would not affect greater sage­
   grouse breeding and nesting activities is presently unknown. Timing restriction (TL 13-3) is
   applied within 2 miles of leks within the MCFO, which provides some mitigation for noise level
   effects to sage-grouse during this timeframe.

   Recent inventories for sage grouse leks have not been conducted within some of the parcels.
   Therefore, inventories would be conducted at the APD stage of development to determine the
   presence or absence of sage grouse leks. This alternative also includes the attachment of a sage
   grouse lease notice (LN 14-11) when the lease parcel is located within 2 miles of a lek. The lease
   notice would require an operator to implement specific measures to reduce impacts of oil and gas
   operations on sage grouse populations and habitat quality. The application of this lease notice
   would be expected to reduce, but not eliminate, impacts to sage grouse and habitats.

   Energy development (oil, gas, and wind) and associated roads and facilities increase the
   fragmentation of grassland habitat. A number of studies have found that Sprague's pipits appear
   to avoid non-grassland features in the landscape, including roads, trails, oil wells, croplands,
   woody vegetation, and wetlands (Dale et al. 2009, pp. 194, 200; Koper et al. 2009, pp. 1287,
   1293, 1294, 1296; Greer 2009, p. 65; Linnen 2008, pp. 1, 9-11, 15; Sutter et al. 2000, pp. 112­
   114). Sprague's pipits avoid oil wells, staying up to 350 meters (m) (1148 feet (ft.)) away
   (Linnen 2008, pp. 1, 9-11), magnifying the effect of the well feature itself. Oil and gas wells,

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   especially at high densities, decrease the amount of habitat available for breeding territories.
   (Federal Register: September 15, 2010 (Volume 75, Number 178))

   Potential suitable habitat exists for the Sprague’s pipit across some of the proposed lease parcels;
   however, inventories have not been conducted within the parcels. Therefore, inventories would
   be conducted at the APD stage of development to determine the presence or absence of
   Sprague’s pipits. The Sprague’s pipit lease notice, LN 14-15, is issued with those leases and
   would be applied if Sprague’s pipits are found in the area. If Sprague’s pipits are found,
   protective measures would be applied as conditions of approval to minimize impacts to
   Sprague’s pipits and their habitat. In the event oil and gas development is proposed within
   Sprague’s pipit habitat, at the APD stage BLM would conference with the USFWS pursuant to
   section 7(a)(4) of ESA, or if the Sprague’s pipit has been listed as threatened or endangered,
   BLM would consult with the USFWS pursuant to section 7(a)(2).

   4.3.9.1.2 Other Special Status Species
   As noted, up to 51 wildlife species that BLM has designated as “sensitive” have the potential to
   occur within the parcel areas. Stipulations are not provided for all BLM sensitive species in the
   current RMPs. Stipulations are provided for 7 out of the 46 “non-TE&P” sensitive species. For
   those species afforded some protections through existing stipulations, impacts could be
   minimized, but not eliminated. Impacts to BLM sensitive species would be similar to those
   described above, unless they are afforded protective measures from other regulations such as the
   Migratory Bird Treaty Act (MBTA) (16 U.S.C. 703.) or the Bald and Golden Eagle Protection
   Act (BGEPA) (16 U.S.C. 668-668c). The BLM does not consult with the USFWS on “sensitive”
   species and likewise would not receive terms and conditions from USFWS requiring additional
   protections of those species.

   Numerous species of birds were identified as potential inhabitants across the analysis area. With
   the impacts associated with development, it is reasonable to assume there would be impacts to
   nesting and migrating bird species. The primary impacts to these species would include
   disturbance of preferred nesting habitats, improved habitat for undesirable competitors and/or a
   species shift to disturbance associated species, and increased vehicle collisions.

   Research in Sublette County, Wyoming on the effects of natural gas development on sagebrush
   steppe passerines documented negative impacts to sagebrush obligates such as Brewer’s
   sparrows, sage sparrows, and sage thrashers (Ingelfinger 2001). The impacts were reported
   greatest along roads where traffic volumes are high and within 100 meters of these roads.
   Sagebrush obligates were reduced within these areas by as much as 60%. Sagebrush obligate
   density was reduced by 50% within 100 meters of a road even when traffic volumes were less
   than 12 vehicles /day. It would be expected that similar population declines would occur to other
   native prairie species within the analysis area.

   Stipulations do not exist specifically for the protection of BLM sensitive songbirds. The MBTA
   prohibits the take, capture or kill of any migratory bird, any part, nest or eggs of any such bird
   (16 U.S.C 703 (a)). NEPA analysis pursuant to Executive Order 13186 (January 2001) requires
   BLM to ensure that MBTA compliance and the effects of Bureau actions and agency plans on



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   migratory birds are evaluated, should reduce take of migratory birds and contribute to their
   conservation.

   Effects to migratory birds from oil and gas development at the APD stage could include direct
   loss of habitat from roads, well pads and other infrastructure, disturbance, powerline strikes and
   unintended direct mortality, fragmentation of habitat, change in use of habitats, and potential
   threats and competition from edge species. Field surveys for nesting birds at proposed
   development sites would be conducted for activities planned in between April 15 and July 15.
   Mitigation measures would be assigned at the APD stage to minimize negative effects on
   migratory bird populations, in compliance with Executive Order 13186 and MBTA. These
   mitigation measures would be required as COAs. An NSO stipulation for oil and gas surface
   disturbing activities in riparian and wetland areas would prohibit any potential oil and gas
   development in those habitats unless approval was granted through the Waivers, Exceptions, and
   Modifications (WEM) process. The BLM would coordinate WEMs with USFWS to assure
   MBTA compliance.

   Take of bald and golden eagles and any other migratory raptors would not occur as a result of the
   act of leasing parcels. However, as development occurs after permits to drill are issued, there
   would be potential for take to occur as a result of raptor collisions with vehicles, power lines, and
   other development-related actions. Therefore, field surveys for raptors at proposed development
   sites would be conducted for activities planned between March 1 and August 1. To comply with
   MBTA and BGEPA, BLM would require protective measures and stipulations at the APD stage
   to prevent or minimize impacts to individual raptors and raptor populations, including bald and
   golden eagles. The protective measures would be required as COAs.

   4.3.9.1.3 Other Fish and Wildlife
   The types and extent of impacts to other wildlife species and habitats from development are
   similar to those described above for other species. Based on the RFD scenarios, direct habitat
   loss is possible. Initial disturbance could change the occupation of those areas to disturbance-
   oriented species (e.g., horned larks), or species with more tolerance for disturbances. These
   changes could also be expected to decrease the diversity of wildlife. Although bladed corridors
   would be reclaimed after the facilities are constructed, some changes in vegetation could occur
   along the reclaimed areas. The goal of reclamation is to restore disturbed areas to pre-disturbed
   conditions. The outcome of reclamation, unlike site restoration, will therefore not always mimic
   pre-disturbance conditions and offer the same habitat values to wildlife species. Sagebrush
   obligates, including some species of songbirds and sage grouse, could be most affected by this
   change.

   It is anticipated that some development could occur adjacent to existing disturbances of some
   type. Depending on proximity and species tolerance, wildlife species within these areas could
   either have acclimated to the surrounding conditions, previously been displaced by construction
   activities, or could be caused to be displaced to other areas with or without preferred habitat.

   Potential impacts to aquatic wildlife from development could include: overland oil spills,
   underground spills from activities associated with horizontal drilling or other practices, spills
   from drilling mud or other extraction and processing chemicals, and surface disturbance


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   activities that create a localized erosion zone. Oil spills and other pollutants from the oil
   extraction process could harm the aquatic wildlife species in two different ways if the spill
   substances enter the habitat. First, toxicological impacts from direct contact could have
   immediate lethal effects to eggs, larvae, juveniles, and adults. Second, toxic effects to lower
   food web levels (e.g. aquatic macro-invertebrates) could indirectly affect fish, amphibian, and
   reptile species by degrading water quality and degrading or eliminating food resources.

   Additional mitigation could occur as COAs at the APD stage. These conditions could include
   the placement of earthen berms and oil skimmers (in ephemeral drainages where fish passage
   will not be blocked) to help protect aquatic wildlife habitat in case of oil spills.

   Oil and gas development is allowed within big game crucial winter range with a timing
   restriction from December 1 to March 31. This stipulation does not apply to operation and
   maintenance of production facilities. The goal of this stipulation is to protect crucial big game
   habitats from disturbance during the winter use season. This stipulation provides protection to
   big game winter habitats and species only during that timeframe, and does not provide protection
   during the long-term operation and maintenance periods. Development can occur outside of
   those dates and will exist thereafter until reclamation, thus only delaying impacts until after that
   year of construction.

   Mule deer could be impacted by this project from habitat fragmentation and disturbance. Mule
   deer winter range habitat has been identified within 6 lease parcels. Development could affect
   mule deer use of winter range habitat in those areas. Studies conducted in the Pinedale anticline
   of Wyoming found that mule deer avoided areas in close proximity to well pads with no
   evidence of well-pad acclimation during 3 out of 4 years. During year 4 of development habitat
   selection patterns were influenced more by road density, and not proximity of well pads. The
   authors attributed this to an unusually severe winter, where movement options and available
   habitat was limited. Densities of mule deer decreased by an estimated 46% within the developed
   area over the four years, and indirect impacts were observed out to 2.7-3.7 km of well sites.
   Mule deer distribution shifted toward less preferred and presumably less suitable habitat.
   (Sawyer et al. 2005) Similar impacts could be expected from development with this proposal.

   White-tailed deer could also be expected to be impacted by this project from habitat
   fragmentation and disturbance. Winter range for white-tailed deer exists across the analysis area,
   but covers much less area than other big game ranges. White-tailed deer winter range has been
   identified within 1 lease parcel.

   Pronghorn could be impacted by this project from habitat fragmentation and disturbance.
   Pronghorn winter range habitat has been identified within 9 lease parcels. Preliminary studies in
   the upper green river basin in Wyoming report that some pronghorn exhibit movement patterns
   that suggest almost complete avoidance of gas field areas of intensive development in the Jonah
   field during the winter, whereas pronghorn in the Pinedale Anticline Project Area (PAPA)
   apparently have not been avoiding human activities. It is speculated that the difference may exist
   due to different levels in well densities, as the Jonah field was reported as 1 well 57 acres, and
   the PAPA at 1 well/124 acres (Berger et al. 2007). Effects to winter range within existing and



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   future oil and gas development and exploration would be similar to those referenced above and
   could depend on rate and location of development.

   Sharp-tailed grouse dancing grounds exist on 2 proposed lease parcels, and % mile NSO buffers
   are applied to these parcels. In addition, all or portions of 10 lease parcels are located within 2
   miles of sharp-tailed grouse leks where timing stipulations from March 1 to June 15 were
   applied. This timing does not apply to operation and maintenance of production facilities.
   Recent inventories for sharp-tailed grouse dancing grounds have not been conducted within some
   of the parcels. Therefore, inventories would be conducted at the APD stage of development to
   determine the presence or absence of sharp-tailed grouse dancing grounds. Although limited
   research exists that documents impacts to sharp-tailed grouse from development activities, it is
   expected that sharp-tailed grouse could be impacted by this project from habitat fragmentation
   and disturbance. Vehicles and human activity during breeding and nesting seasons could reduce
   breeding activity, displace nesting hens and reduce the suitability of habitat for brood-rearing.
   Mortality could increase as a result of collisions with vehicles.

   Wild turkeys, pheasants, and Hungarian partridge could also be affected by disturbance and
   direct mortality through nest destruction and vehicle collisions during the development stages.

   4.3.9.2 Mitigation
   Measures would be taken to prevent, minimize, or mitigate impacts to fish and wildlife animal
   species from exploration and development activities. Prior to authorization, activities would be
   evaluated on a case-by-case basis, and the project would be subject to mitigation measures.
   Mitigation could include rapid revegetation, project relocation, or pre-disturbance wildlife
   species surveying. If oil and gas development is proposed in suitable habitat for threatened or
   endangered species, consultation with the USFWS would occur to determine if additional terms
   and conditions would need to be applied.

   4.3.10 Cultural Resources
   4.3.10.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on cultural resources. Any potential effects
   from the sale of leases would occur at the time the leases are developed.

   Potential effects from surface disturbance associated with exploration and development activities
   have the potential to alter the characteristics of a significant cultural or historic property by
   diminishing the integrity of the property's location, design, setting, materials, workmanship,
   feeling, or association. Other effects to cultural resources from proposed surface disturbance
   activities include the destruction, damage, or alteration to all or part of the cultural resource and
   diminishing the property’s significant historic features as a result of the introduction of visual,
   atmospheric, or audible elements. Cultural resource investigations associated with development
   potentially adds to our understanding of the prehistory/history of the area and discovery of sites
   that would otherwise remain undiscovered due to burial or omission. Indirect effects to cultural
   resources within the analysis area by county are as follows:

   The following lease parcels have sites within their boundaries: MTM 105431-H9- within
   Roosevelt County.

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   One lease parcel (MTM 105431-HA) is located in McCone County consisting of 40.0 acres.
   Based on modeling, the parcel might contain less than one cultural site (.43 sites) of which less
   than one could have the potential to be eligible or considered eligible for listing on the National
   Register of Historic Places.

   Ten lease parcels (MTM 105431-HC, HD, HE, HG, HH, HJ, HF, HK, HL and HM) are located
   in Powder River County consisting of 4,597 acres (4596.87 acres). Based on modeling, the
   parcels might contain up to 49.4 cultural sites of which 5 to 8 could have the potential to be
   eligible or considered eligible for listing on the National Register of Historic Places.

   Two lease parcels (MTM 102757-WT and WW) are located in Prairie County consisting of
   1,919 acres (1,919.24 acres). Based on modeling, the parcels might contain up to 20.6 cultural
   sites of which two to three could have the potential to be eligible or considered eligible for listing
   on the National Register of Historic Places.

   Three lease parcels (MTM 105431-HB, H6 and H8) are located in Richland County consisting of
   1,189 acres (1,189.21 acres). Based on modeling, the parcels might contain up to 13 cultural
   sites (12.7) of which one to two could have the potential to be eligible or considered eligible for
   listing on the National Register of Historic Places.

   Two lease parcels (MTM 105431-H9 and JA) are located in Roosevelt County consisting of
   200acres (199.96 acres). Based on modeling, the parcels might contain 2 cultural sites of which
   less than one could have potential to be eligible or considered eligible for listing on the National
   Register of Historic Places.

   Leasing approximately 7,945 acres of Federal minerals within the five counties described above
   could indirectly affect 85.4 cultural sites based upon modeling (Aaberg et al 2006). Of the
   modeled 85 cultural sites, 8 to 13 sites may have the potential to be eligible or considered
   eligible for listing on the National Register of Historic Places.

   The Reasonable Foreseeable Development (RFD and Appendix D) scenario for the lease parcels
   predicts 7 wells and 29.4 acres of disturbance as a result from leasing the parcels which may
   affect 1 site which may have the potential to be eligible for listing on the National Register of
   Historic Places.

   4.3.10.2 Mitigation
   Application of standard lease terms, stipulations, and cultural lease notices provide mechanisms
   to protect vulnerable significant cultural resource values on these lease parcels (Appendix A).
   Lease notice LN 14-2 would be applied to 1 lease parcel (MTM 105431-H9). Lease notice LN
   14-14 would be applied to 3 lease parcels (MTM 105431-H8, H9 and HB). The cultural resource
   lease stipulation CR16-1 would be applied to all the lease parcels. The inclusion of these
   requirements at the leasing stage provide notification to the lessee that potentially valuable
   cultural resources are or are likely to be present on the lease parcels and potential mitigation
   measures may be required. The application and implementation of these stipulations and lease



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   notices at the development stage would provide the necessary measures to protect cultural
   resources.

   Specific mitigation measures, include but are not limited to, site avoidance, excavation or data
   recovery would have to be determined when site-specific development proposals are received.
   Most surface-disturbing situations for cultural resources would be avoided by project redesign or
   relocation. Unavoidable, significant properties would be site-specifically mitigated with
   concurrence with the State Historic Preservation Office prior to implementation of a project.

   4.3.11 Native American Religious Concerns
   4.3.11.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on Native American religious concerns. Any
   potential effects from the sale of leases could occur at the time the leases are developed.

   Leasing parcels located near the Fort Peck Reservation in Richland and Roosevelt Counties and
   Turtle Mountain Public Domain Allotments in Roosevelt County would not interfere with the
   performance of traditional ceremonies and rituals pursuant to the American Indian Religious
   Freedom Act (AIRFA) or EO 13007. Leasing parcels in this area would not prevent tribes from
   visiting sacred sites or prevent possession of sacred objects.

   4.3.11.2 Mitigation
   Mitigation would be the same as section 4.3.10.2 above. For those parcels where no inventory
   data is available or where no information is available for TCPs, BLM would apply the cultural
   lease notice (CR 16-1). The sites in parcel MTM 105431-H9 would be revisited and reevaluated
   for National Register eligibility prior to any surface disturbance.

   4.3.12 Paleontology
   4.3.12.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on paleontological resources. Any potential
   effects from the sale of leases could occur at the time the leases are developed.

   Indirect impacts from the sale of leases would be from the surface disturbances associated with
   oil and gas exploration and development activities. It is anticipated that most significant fossil
   resources are located in those geologic units with a Potential Fossil Yield Classification (PFYC)
   of 3 or higher. However, significant fossil resources could be discovered anywhere. Surface­
   disturbing activities could potentially alter the characteristics of paleontological resources
   through damage, fossil destruction, or disturbance of the stratigraphic context in which
   paleontological resources are located, resulting in the loss of important scientific data. Identified
   paleontological resources could be avoided by project redesign or relocation before project
   approval which would negate the need for the implementation of mitigation measures.
   Conversely, surface-disturbing activities could potentially lead to the discovery of
   paleontological localities that would otherwise remain undiscovered due to burial or omission
   during review inventories. The scientific retrieval and study of these newly discovered resources
   would expand our understanding of past life and environments of Montana.




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   4.3.12.2 Mitigation
   The application of lease terms, the paleontological no surface occupancy stipulation (NSO 11­
   12), and the paleontological lease notices (LN 14-3 and LN 14-12) at leasing, provides protection
   to paleontological resources during development. The paleontological lease notice LN 14-12 is
   applied to those lease parcels that fall within geological units with a PFYC Class of 3 or higher,
   usually requiring a field survey prior to surface disturbance. These inventory requirements could
   result in the identification of paleontological resources. Avoidance of significant paleontological
   resources or implementation of mitigation prior to surface disturbance would protect
   paleontological resources. However, the application of lease terms only allows the relocation of
   activities up to 200 meters, unless documented in the NEPA document, and cannot result in
   moving the activity off lease.

   Specific mitigation measures could include, but are not limited to, site avoidance or excavation.
   Avoidance of paleontological properties would be a best management practice. However, should
   a paleontological locality be unavoidable, significant fossil resources must be mitigated prior to
   implementation of a project. Also, significant fossil resources could be discovered in areas that
   had not been evaluated (PFYC of less than 3) during surface disturbance. Those resources must
   also be professionally mitigated. These mitigation measures and contingencies would be
   determined when site specific development proposals are received.

   In order to protect paleontological resources, 18 of the parcels are recommended to have the
   Paleontological lease notice 14-12 applied per guidance identified in IM 2009-011 and 2008­
   009. No parcels are recommended for the no surface occupancy lease stipulation (NSO 11-12)
   based upon paleontological resources. See section 3.10 Paleontology for list of parcels.

   4.3.13 Visual Resources
   4.3.13.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on visual resources. Any potential effects from
   the sale of leases could occur at the time the leases are developed.

   The lease parcels fall into VRM classes II, III and IV, as demonstrated in Section 3.11, Visual
   Resources, Table 7. While the act of leasing federal minerals produces no visual impacts,
   development of a lease parcel could result in some level of modification to the existing landscape
   at the time of development.

   4.3.13.2 Mitigation
   All new oil and gas development would implement, as appropriate for the site, BLM BMPs for
   VRM, regardless of the VRM class. This includes, but would not be limited to, proper site
   selection, reduction of visibility, minimizing disturbance, selecting color(s)/color schemes that
   blend with the background and reclaiming areas that are not in active use. Repetition of form,
   line, color and texture when designing projects would reduce contrasts between landscape and
   development. Wherever practical, no new development would be allowed on ridges or mountain
   tops. Overall, the goal would be to not reduce the visual qualities or scenic value that currently
   exists.




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   There are no lease parcels that fall within a VRM Class II management objective. Measures
   would be taken to mitigate the visual impacts within a Class III and Class IV area to protect the
   scenic value.

   4.3.14 Forest and Woodland Resources
   4.3.14.1 Direct and Indirect Effects
   Potential impacts from oil and gas development could include the cutting and subsequent
   removal of forest and woodland vegetation from drill-site development areas; including roads,
   pads, surface facilities, pipelines, and power-lines. The degree of impact would vary according
   to the precise location of development activities in the parcel area and is directly related to
   topography, miles of road construction, standing timber volume per acre, and total acres of
   surface facilities development. A total of approximately 2,116 forest and woodland acres could
   potentially be impacted under this alternative; 1,671 acres of evergreen, 361 acres of deciduous,
   and 84 acres of mixed evergreen-deciduous forest.

   4.3.14.2 Mitigation
   Measures would be taken to prevent, minimize, or mitigate impacts to forest and woodland
   resources from exploration and development activities. Prior to authorization, activities would
   be evaluated on a case-by-case basis, and the project would be subject to mitigation measures.
   The road construction and maintenance BMPs outlined in the Gold Book are consistent with the
   Water Quality BMPs for Montana Forests (Logan 2001) which are designed to protect water
   quality and forest soils. Other mitigation measures could include the artificial planting of
   bareroot or containerized nursery stock seedlings.

   All severed forest and woodland vegetative material would need to be removed or reduced to
   acceptable standards meeting Montana’s Control of Timber Slash and Debris Law (Title 76,
   Chapter 13, Part 4), commonly referred to as the “Slash” Law; therefore, requiring burning,
   grinding, chipping, burying, or hauling residual debris off-site to a designated landfill or other
   location for disposal.

   4.3.15 Livestock Grazing
   4.3.15.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on livestock grazing. Any potential effects
   from the sale of leases would occur at the time the leases are developed.

   Oil and gas development could result in a loss of vegetation for livestock grazing (e.g., direct
   removal, introduction of unpalatable plant species, etc.), decrease the palatability of vegetation
   due to fugitive dust, disrupt livestock management practices, involve vehicle collisions, and
   decrease grazing capacity. Direct losses of forage could also result from construction of roads,
   well pads and associated infrastructure and would vary depending on the extent of development.
   These impacts could vary from short-term impacts to long-term impacts depending on the type of
   exploration or development, the success of reclamation, and the type of vegetation removed for
   the oil and gas activities.

   If development activity is reducing vegetative resources for livestock grazing and the grazing
   activity is resulting in the allotment not meeting the standards for rangeland health, then the


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   authorized officer would have to take action prior to the next grazing season to ensure the BLM
   lands are progressing towards meeting the standards. This could result in the change of livestock
   grazing activities in order to improve vegetative conditions.

   4.3.15.2 Mitigation
   Measures would be taken to prevent, minimize, or mitigate impacts to livestock grazing from
   exploration and development activities. Prior to authorization, activities would be evaluated on a
   case-by-case basis, and the project would be subject to mitigation measures. Mitigation could
   potentially include controlling livestock movement by maintaining fence line integrity, fencing
   of facilities, re-vegetation of disturbed sites, and fugitive dust control.

   4.3.16 Recreation and Travel Management
   4.3.16.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on recreation and travel management. Any
   potential effects from the sale of leases could occur at the time the leases are developed.

   Recreation indirect effects could exist where oil and gas development and recreational user
   conflicts could occur. More specifically, in areas of high oil and gas development potential,
   there could be user conflicts between motorized recreationists (OHV activities), hunting, target
   shooting, camping, fishing, river use, picnicking, and winter activities (e.g., snowmobiling) and
   associated oil and gas activities. These impacts could exist in both the short-term (exploration
   and construction phases of oil and gas development) and in the long-term (producing wells,
   maintenance of facilities, etc.). Oil and gas wells, equipment, and facilities could affect the
   general solitude (space and noise) and scenic value of the area.

   Areas frequented by recreationists, where there is other land use activities occurring, in addition
   to oil and gas development, the public could perceive these areas as inaccessible or unavailable
   because of the existing facilities. As oil and gas development occurs, new routes are created
   which often attract recreationists seeking additional or new areas to explore for motorized
   recreational opportunities. Motorized recreational opportunities could be enhanced through the
   additional opportunities to explore; however, user conflicts and public safety issues could result
   from the use of the new travel routes. The creation of routes from oil and gas activities could
   lead to a proliferation of user-created motorized routes, resulting in adverse impacts to the scenic
   qualities of the area and increased level of surface disturbance.

   For those areas with isolated tracks of BLM public lands that generally do not have existing
   public access, recreation opportunities that occur in these areas are limited to use with adjacent
   land owner permission or hunting by an outfitter; therefore, oil and gas activities would have
   little or no impact on recreational experiences in these isolated tracks.

   Foreseeable changes in recreation use levels would be an increase on the demand for recreational
   use of public land. Increases could be expected in, but not limited to, hunting, fishing, hiking,
   camping, wildlife viewing, and dispersed recreational uses. This could increase the incidence of
   conflict between recreationists involved in motorized activities and non-motorized activities.




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   4.3.16.2 Mitigation
   Additional measures would be taken to minimize, avoid, or mitigate impacts to recreation from
   oil and gas exploration and development activities. Prior to authorization, activities would be
   evaluated on a case-by-case basis, and the project would be subject to mitigation measures.
   Mitigation measures could potentially include, but are not limited to, reclamation of industrial
   routes/areas when no longer needed, fencing of facilities, and installing signs along roads.

   4.3.17 Lands and Realty
   4.3.17.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on lands and realty. Any potential effects from
   the sale of leases could occur at the time the leases are developed.

   Under this alternative 18 parcels that include 7,945.28 surveyed surface acres of which 3,637.97
   surveyed acres are BLM administered surface and 4,307.31 surveyed acres are Non-Federal
   surface would be offered for lease.

   Facilities associated with oil and gas development could cause disturbance to the existing rights-
   of-way (ROWs). There are four existing ROWs located on the following three lease parcels;
   MTM-102757-WT, MTM-105431-HB and MTM-105431-H8. A ROW for a county road
   (MTM-99365) on MTM-102757-WT, a ROW for an overhead power line (MTM-55529) on
   MTM-105431-H6, and a ROW for an oil and gas road (MTM-103251) and oil pipeline (MTM-
   103965) on MTM-105431-H8. Additional ROWs could be required across Federal surface for
   “off-lease” or third party facilities required for potential development of the parcels.

   4.3.17.2 Mitigation
   Measures would be taken to avoid disturbance to or impacts to existing rights-of-way, in the
   event of any oil and gas exploration and development activities. Any new “off-lease” or third
   party rights-of-way required across federal surface for exploration and/or development of the 18
   parcels would be subject to lands and realty stipulations to protect other resources as determined
   by environmental analyses. In order to protect the existing rights-of-way it is recommended that
   LN 14-1 be applied to lease parcels MTM-102757-WT, MTM-105431-HB and MTM-105431-
   H8.

   4.3.18 Minerals
   4.3.18.1 Fluid Minerals
   4.3.18.1.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on fluid minerals. Any potential effects from
   the sale of leases could occur at the time the leases are developed.

   Issuing a lease provides opportunities to explore for and develop oil and gas resources; however,
   exploration and development activities must be conducted in accordance with an approved APD.
   Additional natural gas or crude oil produced from any or all of the 18 parcels in Alternative B
   would enter the public markets. Additional subsurface information would be obtained from
   drilling wells. Royalties and taxes could accrue to the Federal and State treasuries from the lease
   parcel lands.



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   Under Alternative B, all of the lease parcels would be offered for lease subject to major (NSO) or
   moderate (CSU) constraints and/or standard lease terms and conditions.

   Stipulations applied to various areas with respect to occupancy, timing limitation, and control of
   surface use could affect oil and gas exploration and development, both on and off the Federal
   lease parcel. Leases issued with major constraints (NSO stipulations) could decrease some lease
   values, increase operating costs, and require relocation of well sites, and modification of field
   development. Leases issued with moderate constraints (timing limitation and controlled surface
   Use (CSU) stipulations) could result in similar but reduced impacts, and delays in operations and
   uncertainty, on the part of operators, regarding restrictions.

   Hydraulic Fracturing

   Hydraulic fracturing has been utilized by the oil and gas industry since the late 1940’s. Within
   the planning area, hydraulic fracturing, in conjunction with horizontal drilling described above,
   has allowed for development of unconventional zones that were once considered uneconomical,
   like the Bakken and Three Forks Formations in the Williston Basin area.

   Hydraulic fracturing is a technique used to create additional space and connecting existing
   fractures and existing rock pores with newly created fractures that are located in deep
   underground geologic formations. The induced space allows the rock to more readily release oil
   and natural gas so it can flow to the surface via the well bore that would otherwise be
   uneconomical to develop. Wells that undergo hydraulic fracturing may be drilled vertically,
   horizontally, or directionally and the resultant fractures induced by the hydraulic fracturing can
   be vertical, horizontal, or both. The typical steps of hydraulic fracturing can be described as
   follows:

          1. Water, sand and additives are pumped at high pressures down the wellbore.
          2. The liquid goes through perforated sections of the wellbore and into the surrounding
             formation, fracturing the rock and injecting sand or other proppants into the cracks to
             hold them open.
          3. Experts continuously monitor and gauge pressures along with the volume of fluids
             and proppants, while studying how the sand reacts when it hits the bottom of the
             wellbore; slowly increasing the density of sand to water as the frac progresses.
          4. This process may be repeated multiple times, in “stages” to reach maximum areas of
             the wellbore. When this is done, the wellbore is temporarily plugged between each
             stage to maintain the highest water pressure possible and get maximum fracturing
             results in the rock.
          5. Frac plugs are drilled or removed from the wellbore and the well is tested for results.
          6. The water pressure is reduced and fluids are returned up the wellbore for disposal or
             treatment and re-use, leaving the sand in place to prop open the cracks and allow the
             oil/gas to flow to the well bore.

   Fracturing fluid is typically more than 98 percent water and sand, with small amounts of readily
   available chemical additives used to carry the proppant and control the chemical and mechanical
   properties of the water and sand mixture. Proppant, consisting of synthetic or natural silica sand,
   may be used in quantities of few hundred tons for a vertical well to a few thousand tons for a
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   horizontal well. The amount of water needed to fracture a well in the planning area depends on
   the geologic basin, the formation, and depth and type of well (vertical, horizontal, directional),
   and the proposed completion process.

   Several sources of water are available for hydraulic fracturing in the planning area. The Fluid
   Minerals Operations and Procedures Appendix contain further details on sources of water that
   could potentially be used for hydraulic fracturing or drilling operations. The use of any specific
   water source on a federally administered well, requires the proposal be reviewed and analyzed
   through the NEPA process for BLM approval during the APD stage to ensure compliance with
   Montana water laws and federal regulations.

   Before hydraulic fracturing takes place, all surface casing and some deeper, intermediate zones
   are required to be cemented from the bottom of the cased hole to the surface in accordance to
   Onshore Order #2, MBOGC rules and regulations, and API standards. The cemented well is
   pressure tested to ensure there are no leaks and a cement bond log is run to ensure the cement has
   bonded to the casing and the formation.

   MBOGC regulations also ensure that all resources including groundwater are protected. The
   MBOGC regulations require new and existing wells, which will be stimulated by hydraulic
   fracturing, must demonstrate suitable and safe mechanical configuration for the stimulation
   treatment proposed. If the operator proposes hydraulic fracturing through production casing or
   through intermediate casing, the casing must be tested to the maximum anticipated treating
   pressure. In accordance with MBOGC Rule 36.22.1015 operators are required to disclose and
   report the amount and type of fluids used in well stimulation to the Board or, if approved by the
   Board, to the Interstate Oil and Gas Compact Commission/Groundwater Protection Council
   hydraulic fracturing web site (FracFocus.org).

   4.3.19 Special Designations
   4.3.19.1 National Historic/Scenic Trails
   There are no lease parcels located within the Lewis and Clark National Historic Scenic Trail or
   the Lewis and Clark Special Recreation Management Area (SRMA). However, two Lease
   parcels, MTM 105431-H8 and HB (947.3 acres), are located within a 3 mile sensitive Setting
   Consideration Zone (SCZ) around the Lewis and Clark National Historic Trail (NHT) and
   SRMA.

   Potential effects from surface disturbances associated with exploration and development
   activities after leasing have the potential to alter the characteristics of the significant Lewis and
   Clark National Historic Trail, a cultural and historic property, by diminishing the integrity of the
   property's location, design, setting, materials, workmanship, feeling, or association. The effects
   to the Lewis and Clark National Historic Trail cultural resource from proposed surface
   disturbance activities include the destruction, damage, or alteration to all or part of the cultural
   resource and diminishing significant historic features of the property by the introduction of
   visual, atmospheric, or audible elements. This could alter or diminish the elements of this
   nationally significant site diminish the property’s significance. These same concerns apply to a
   National Register eligible property and would diminish the property’s eligibility status. Cultural
   resource investigations associated with development potentially adds to our understanding of the


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   prehistory/history of the area and discovery of sites that would otherwise remain undiscovered
   due to burial or omission.

   4.3.19.2 Areas of Critical Environmental Concern (ACECs)
   None of the 18 parcels are situated within a proposed or designated Area of Critical
   Environmental Concern (ACEC). There will be no affect to ACEC’s through the proposed
   alternative.

   4.3.19.3 Mitigation
   Two Lease parcels, MTM 105431-H8 and HB, are located near the Lewis and Clark NHT.
   These parcels are on split-estate lands outside of the Lewis and Clark NHT, greater than % mile
   from the Trail centerline, and within the three mile potential viewshed of the river and Lewis and
   Clark NHT. For these parcels, BLM would apply its Best Management Practices similarly to
   those that pertain to Cultural Resource management.

   Since the Lewis and Clark NHT is a congressionally designated component of the NHT system,
   BLM would apply the same kind of analysis that is applied to determining an effect to a property
   eligible for the National Register of Historic Places. That process includes determining whether
   an undertaking would have an adverse effect on the historic nature of the Lewis and Clark NHT
   by altering, directly or indirectly, any of the characteristics of the historic nature of the Lewis and
   Clark NHT in a manner that would diminish the integrity of the Trail’s location, setting, feeling,
   or association. Adverse effects may include reasonably foreseeable effects caused by an
   undertaking that may occur later in time, be farther removed in distance or be cumulative.

   Examples of adverse effects on the historic nature of the Lewis and Clark NHT include, but are
   not limited to change of the character of the Trail’s historic nature or physical features within
   Trail’s corridor setting that contribute to diminishing the Trail’s historic significance; and the
   introduction of visual, atmospheric or audible elements that diminish the integrity of the Trail’s
   historic significance. If it is determined that an undertaking within the viewshed of the Lewis
   and Clark NHT would have an adverse effect on the historic character of the Trail where the
   integrity of the setting is a contributing element of the historic character of the Trail, then surface
   occupancy or use and surface disturbance would be restricted.

   Prior to surface disturbance, occupancy or use a mitigation plan (Plan) would need to be
   submitted to the BLM by the applicant as a component of the APD (BLM Form 3160-3) or
   Sundry Notice (BLM Form 3160-5) - Surface Use Plan of Operations. The operator may not
   initiate surface-disturbing activities unless the BLM authorized officer has approved the Plan or
   approved it with conditions. The Plan would need to demonstrate to the authorized officer’s
   satisfaction that the infrastructure will either not be visible or will result in a weak contrast rating
   and would not have an adverse effect on the setting of the historic character of the Lewis and
   Clark NHT.




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   4.3.20 Social and Economic Conditions
   4.3.20.1 Social
   4.3.20.1.1 Direct and Indirect Effects
   Leasing the parcels would have no direct impacts on social resources. Any potential effects from
   the sale of leases could occur at the time the leases are developed.

   While the act of leasing Federal minerals itself would result in no social impact, subsequent
   exploration and development may generate impacts to people living near or using the area in the
   vicinity of the lease. Exploration, drilling or production could create an inconvenience to people
   living adjacent to leases due to increased traffic and traffic delays, and light, noise and visual
   impacts. This could be especially noticeable in rural areas where oil and gas development has
   not occurred previously. The amount of inconvenience would depend of the activity affected,
   traffic patterns within the area, noise and light levels, length of time and season these activities
   occur, etc. In addition, competition for housing could occur in some communities. However,
   residents living in areas that have been experiencing ongoing population losses may support the
   increased employment and population related to oil and gas development. Residents of counties
   where the development actually occurs would also benefit from the additional revenues to
   counties due to oil and gas leasing and development.

   There is potential for disproportionate effects to low income or minority populations, specifically
   American Indian populations. Consultation with potentially affected Tribes would occur at the
   APD stage.

   4.3.20.2 Economics
   4.3.20.2.1 Direct and Indirect Effects
   Under Alternative B, 18 parcels in counties would be made available for leasing at the October
   2014 lease auction. The leasing of an additional 7,945 acres of BLM administered minerals in
   these counties would generate additional public revenue, stimulate economic activity, and boost
   production associated with Federal minerals. It is estimated that the leasing of all minerals
   nominated for the October auction would generate more than $756,000 in one-time bonus bids
   and $14,000 annually in rent revenue for the Federal government. Forty-nine percent of Federal
   revenue collected from public domain minerals and 25 percent of Federal revenue from acquired
   minerals (acquired under Bankhead Jones authority) are redistributed to the State. Montana then
   distributes 25 percent of public domain revenue and all of acquired mineral revenue back to the
   counties where the leases exist. Approximately 94 percent of federal minerals leased by the BLM
   within McCone, Powder River, Prairie, Richland and Roosevelt counties are public domain
   minerals. If these additional parcels were to be leased, an additional $43,000 would be paid to
   the State of Montana and the five counties would receive an additional $12,000 from the
   redistribution of federal revenue.

   Once oil and gas extraction begins, annual rent payments on leased minerals stops and lessees
   begin to pay royalties equal to 12.5 percent of the value of production (43 CFR 3103.3.1).
   Royalties associated with future development of nominated minerals is estimated to generate an
   additional $206,000 annually in federal oil and gas royalties. Of this new federal revenue, an
   estimated $98,000 could be disbursed to the State and $27,000 is estimated to be redistributed
   back to the five counties.

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   In addition to generating additional public revenue, leasing an additional 7,945 acres of federal
   minerals in McCone, Powder River, Prairie, Richland and Roosevelt counties will stimulate
   economic activity in the private sector of the local 8-county economy. Increased local demand
   for oil and gas drilling and support activities will create a ripple effect in the local economy as
   new employment and income opportunities in oil and gas related industries indirectly creates
   opportunities in nearly all other sectors of the local economy.

   The total economic impact of leasing activities proposed under Alternative B is equal to direct
   and indirect effects of drilling activities, as well as the direct and indirect effects of additional
   public revenue redistributed back to the five counties. As shown in Table 14, the bonus bids,
   rents, royalties, and drilling and support activities associated with leasing an additional 7,945
   acres of federal minerals is estimated to support 2 additional jobs and $61,000 in labor income
   across the 8-county local economy (IMPLAN, 2014).

   Disclosure of the direct, indirect, and cumulative effects of GHG emissions provides information
   on the potential economic effects of climate change including effects that could be termed the
   “social cost of carbon” (SCC). The EPA and other federal agencies developed a method for
   estimating the SCC and a range of estimated values (EPA 2014). The SCC estimates damages
   associated with climate change impacts to net agricultural productivity, human health, property
   damage, and ecosystems. Using a 3 percent average discount rate and year 2020 values, the
   incremental SCC is estimated to be $46 per metric ton of annual CO2e increase. Based on the
   GHG emission estimate provided in Section 4.3.3.1.2, the annual SCC associated with potential
   development on lease sale parcels is $38,499 (in 2011 dollars). Estimated SCC is not directly
   comparable to economic contributions reported above, which recognize certain economic
   contributions to the local area and governmental agencies but do not include all contributions to
   private entities at the regional and national scale. Direct comparison of SCC to the economic
   contributions reported above is also not appropriate because costs associated with climate change
   are borne by many different entities.

   4.3.21 Cumulative Impacts- Alternative B
   Cumulative impacts are those impacts resulting from the incremental impact of an action when
   added to other past, present, and reasonably foreseeable actions regardless of what agency or
   person undertakes such other actions (40 CFR 1508.7). This section describes cumulative
   impacts associated with this project on resources. The ability to assess the potential cumulative
   impacts at the leasing stage for this project is limited for many resources due to the lack of site­
   specific information for potential future activities. Upon receipt of an APD for any of the lease
   parcels addressed in this document, more site-specific planning would be conducted in which the
   ability to assess contributions to cumulative impacts in a more detailed manner would be greater
   due to the availability of more refined site-specific information about proposed activities.

   4.3.21.1 Past, Present and Reasonably Foreseeable Future Actions
   Past, present, or reasonably foreseeable future actions that affect the same components of the
   environment as the Proposed Action, if developed, are: grazing, roads, wildfire and prescribed
   fire, range improvement projects, and utility rights-of-way.



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   4.3.21.2 Cumulative Impacts by Resource
   Cumulative effects for all resources in the MCFO are described in the final Big Dry RMP/EIS
   (pgs. 111 to 156) and the 1992 Oil and Gas Amendment of the Billings, Powder River, and South
   Dakota Resource Management Plans and Final Environmental Impact Statement and the 1994
   Record of Decision and the 2008 Final Supplement to the Montana Statewide Oil and Gas
   Environmental Impact with a development alternative for coal bed natural gas production (4-1 to
   4-310). Anticipated exploration and development activities associated with the lease parcels
   considered in this EA are within the range of assumptions used and effects described in this
   cumulative effects analysis for resources other than air, climate, and socio-economics resources.
   This previous analysis is hereby incorporated by reference for resources other than for air,
   climate, and economics resources.

   4.3.21.2.1 Greenhouse Gas Emissions and Cumulative Impacts on Climate Change
   The cumulative effects analysis area is the MCFO, with additional discussion at state-wide,
   national, and global scales for GHG emissions and climate change.

   This section incorporates an analysis of the contributions of the Proposed Action to GHG
   emissions, followed by a general discussion of potential impacts to climate change. Potential
   emissions relate to those derived from potential exploration and development of fluid minerals.
   Additional emissions beyond the control of the BLM, and outside the scope of this analysis,
   would also occur during any needed refining processes, as well as end uses of final products.

   Projected GHG emissions for this project and the MCFO RFD are compared below with recent,
   available inventory data at the State, national, and global scales. GHG emissions inventories can
   vary greatly in their scope and comprehensiveness. State, national, and global inventories are
   not necessarily consistent in their methods or in the variety of GHG sources that are inventoried
   (Climate Change SIR 2010). However, comparisons of emissions projected by the BLM for its
   oil and gas production activities are made with those from inventories at other scales for the sake
   of providing context for the potential contributions of GHGs associated with this project.

   As discussed in the Air Quality section of Chapter 4, total projected BLM GHG emissions from
   the RFD are 610,741.1 metric tons/year CO2e. Potential emissions under Alternative B would
   be approximately 0.041 percent of this total. Table 15 displays projected GHG emissions from
   non-BLM activities included in the Miles City RFD. Total projected emissions of non-BLM
   activities in the RFD in Appendix B are 1,382,890 metric tons/year of CO2e. When combined
   with projected annual BLM emissions, this totals 1,383,139 metric tons/year CO2e. Potential
   GHG emissions under Alternative B would be 0.042 percent of the estimated emissions for the
   entire RFD. Potential incremental emissions of GHGs from exploration and development of
   fluid minerals on parcels within Alternative B, and Alternative C, would be minor in the context
   of projected GHG contributions from the entire RFD for the MCFO.

   Table 19. Projected non-BLM GHG Emissions Associated With the MCFO Reasonably
   Foreseeable Development Scenario for Fluid Mineral Exploration and Development.
                                                                             Emissions (metric
                      Non-BLM Long-Term GHG Emissions in tons/year
    Source                                                                   tons/yr)
                      CO2            CH4          N2O          Co 2e         CO2e
    Conventional      545,689.1      5425.9       2.1          658,344.3     599,170.7

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    Natural Gas
    Coal Bed Natural   274,925.2      5,330.5        0.9          387,135.7       351,302.8
    Gas
    Oil                422,033.9      2,576.2        1.2          476,522.7      432,416.3
    Total              1,242,648.3    13,332.6       4.2          1,522,002.7    1,382,889.8

   Montana’s Contribution to U.S. and Global GHGs
   Montana’s GHG inventory (http://www.eia.doe.gov/oiaf/1605/archive/gg04rpt/emission.html ,
   Center for Climate Strategies [CCS] 2007) shows that activities within the State contribute 0.6
   percent of U.S and 0.076 percent of global GHG emissions (based on 2004 global GHG emission
   data from the IPCC, summarized in the Climate Change SIR 2010). Based on 2005 data in the
   state-wide inventory, the largest source of Montana’s emissions is fossil fuel combustion to
   generate electricity, which accounts for approximately 27 percent of Montana’s emissions. The
   next largest contributors are the agriculture and transportation sectors (each at approximately 22
   percent) and fossil fuel production (13.6 percent).

   GHG emissions from all major sectors in Montana in 2005 added up to a total of approximately
   37 million metric tons of CO2e (CCS 2007). Potential emissions from development of BLM
   lease parcels included in Alternative B would represent approximately 0.002 percent of the state­
   wide total of GHG emissions based on the 2005 state-wide inventory (CCS 2007).

   The EPA published an inventory of U.S. GHG emissions, indicating gross U.S. emissions of
   6,702 million metric tons, and net emissions of 5,797 million metric tons (when CO2 sinks were
   considered) of CO2e in 2011 (EPA 2013a). Potential annual emissions under Alternative B of
   this project would amount to approximately 0.000012 percent of gross U.S. total emissions.
   Global GHG emissions for 2004 (IPCC 2007, summarized by the Climate Change SIR 2010)
   indicated approximately 49 gigatonnes (109 metric tons) of CO2e emitted. Potential annual
   emissions under Alternative B would amount to approximately 0.000002 percent of this global
   total.

   As indicated above, although the effects of GHG emissions in the global aggregate are well-
   documented, it is currently not possible to determine what specific effect GHG emissions
   resulting from a particular activity might have on climate or the environment. If exploration and
   development occur on the lease parcels considered under Alternative B, potential GHG
   emissions described above could incrementally contribute to the total volume of GHGs emitted
   to the atmosphere, and ultimately to climate change.

   Mitigation measures identified in the Chapter 4 Air Quality section above may be in place at the
   APD stage to reduce GHG emissions from potential oil and gas development on lease parcels
   under Alternative B. This is likely because many operators working in Montana, South Dakota,
   and North Dakota are currently USEPA Natural Gas STAR Program Partners and future
   regulations may require GHG emission controls for a variety of industries, including the oil and
   gas industry (Climate Change SIR 2010).

   4.3.21.2.2 Cumulative Impacts of Climate Change
   As previously discussed in the Air Quality section of Chapter 4, it is impossible to identify
   specific impacts of climate change on specific resources within the analysis area. As

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   summarized in the Climate Change SIR (2010), climate change impacts can be predicted with
   much more certainty over global or continental scales. Existing models have difficulty reliably
   simulating and attributing observed temperature changes at small scales. On smaller scales,
   natural climate variability is relatively larger, making it harder to distinguish changes expected
   due to external forcings (such as contributions from local activities to GHGs). Uncertainties in
   local forcings and feedbacks also make it difficult to estimate the contribution of GHG increases
   to observed small-scale temperature changes (IPCC 2007, as cited by the Climate Change SIR
   2010). Effects of climate change on resources are described in Chapter 3 of this EA and in the
   Climate Change SIR (2010).

   4.3.21.3 Cumulative Impacts to Wildlife
   For wildlife species, past and presently on-going oil and gas development, fire, farming,
   livestock grazing, traffic, and any other form of human and natural disturbances result in
   cumulative impacts to wildlife. These impacts would not occur at the lease sale stage.

   Construction of roads, production well pads, and other facilities would result in long term (>5
   years) loss of habitat and forage in the analysis area. This would be in addition to acres
   disturbed, or habitats fragmented from various other adjacent activities. As new development
   occurs, direct and indirect impacts could continue to stress wildlife populations, most likely
   displacing the larger, mobile animals into adjacent habitat, and increasing competition with
   existing local populations. Non-mobile animals could be affected by increased habitat
   fragmentation and interruptions to preferred habitats.

   Certain species are localized to some areas and rely on very key habitats during critical times of
   the year. Disturbance or human activities that could occur in winter range for big game, nesting
   and brood-rearing habitat for grouse and raptors could displace some or all of the species using a
   particular area or disrupt the normal life cycles of species. Wildlife and habitat in and around the
   project could be influenced to different degrees by various human activities. Some species
   and/or a few individuals from a species group could be able to adapt to these human influences
   over time.

   4.3.21.4 Cumulative Impacts to Economic Conditions
   The cumulative effects of Alternative B are summarized in Table 15 and Table 16. The leasing
   of an additional 7,945 acres of Federal minerals by the MCFO would result in a total of 442,811
   acres leased from the MCFO within McCone, Powder River, Prairie, Richland and Roosevelt
   counties. The leasing of Federal minerals in these counties by the BLM would generate about $1
   million in Federal revenue. The redistribution of Federal revenue associated with leasing of these
   Federal minerals is estimated to generate nearly $500,000 in State revenue for Montana and
   $124,000 in local public revenue in the five counties. Federal oil and gas production associated
   with BLM minerals in these counties is also anticipated to increase as a result of leasing under
   Alternative B. Royalties associated with BLM minerals in these counties are estimated to
   generate $11.5 million in Federal revenue. The redistribution of Federal royalty payments
   resulting from extraction of BLM minerals in the five counties would provide the State of
   Montana with $5.5 million in public revenue while $1.5 million would be distributed directly
   back to these producing counties.



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   Oil and gas related activities associated with Federal minerals leased from the MCFO generates
   millions in public revenue, stimulates economic activity in the public and private sectors, and can
   be attributed with supporting employment and income opportunities throughout the local rural
   economy. Total Federal revenue associated with the leasing and production of BLM
   administered minerals in McCone, Powder River, Prairie, Richland and Roosevelt counties under
   Alternative B is estimated to exceed $12.4 million. The redistribution of Federal revenue from
   these minerals is anticipated to generate $5.9 million in State revenue for Montana, and more
   than $1.6 million will likely be returned to the five counties to fund law enforcement and fire
   departments, roads and highway maintenance, public education, local clinics/hospitals and
   county libraries. Public services and infrastructure investments by the State and local
   municipalities with redistributed Federal dollars supports employment and income in the public
   sector and in industries providing goods and services to the public sector. The drilling, servicing,
   and production resulting from BLM leasing of Federal minerals in the five counties also
   stimulates economic activity in the private sector, directly and indirectly supporting local
   employment and income in nearly every part of the economy. The total economic contribution of
   oil and gas related activities and public revenue associated with BLM leased minerals in
   McCone, Powder River, Prairie, Richland and Roosevelt counties under Alternative B is
   estimated to be 47 jobs and $3 million in local wages and proprietor’s income across the 8-
   county local economy.

   4.4 Alternative C (BLM Preferred)
   Under Alternative C, 2 whole and 5 partial parcels of the 18 lease parcels totaling 1,396.87
   1,197.34 surveyed Federal mineral acres (680 481.21 surveyed BLM administered surface
   and 74678-7 716.13 surveyed private surface) would be offered for competitive oil and gas lease
   sale. The remaining 11 lease parcels in whole and 5 partial lease parcels, encompassing 6,549.15
   6,747.94 surveyed Federal mineral acres (2,958.73 3,157.52 surveyed BLM administered surface
   and 3,590.42 private surveyed surface) would be deferred pending further review.

   4.4.1 Direct Effects Common to All Resources
   The action of leasing the parcels in Alternative C would, in and of itself, have no direct impact
   on resources. Direct effects of leasing are the creation of a valid existing right and those related
   to the revenue generated by the lease sale receipts.

   4.4.2 Indirect Effects Common to All Resources

   Any potential effects on resources from the sale of leases would occur during lease exploration
   and development activities, which would be subject to future BLM decision-making and NEPA
   analysis upon receipt of an APD or sundry notice.

   Oil and gas exploration and development activities such as construction, drilling, production,
   infrastructure installation, vehicle traffic and reclamation could be indirect effects from leasing
   the lease parcels in Alternative B. As mentioned above, it is speculative to make assumptions
   about whether a particular lease parcel would be sold and, even if so, it is speculative to assume
   when, where, how, or if future surface disturbing activities associated with oil and gas
   exploration and development such as well sites, roads, facilities, and associated infrastructure
   would be proposed. It is also not known how many wells, if any, would be drilled and/or
   completed, the types of technologies and equipment would be used and the types of

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   infrastructure needed for production of oil and gas. Thus, the types, magnitude and duration of
   potential impacts cannot be precisely quantified at this time, and would vary according to many
   factors.

   Typical impacts to resources from oil and gas exploration and development activities such as
   well sites, roads, facilities, and associated infrastructure are described in the Miles City Oil &
   Gas Amendment/EIS (1994), the Big Dry RMP (1996), the Powder River RMP (1985), the
   Montana Statewide Oil & Gas Amendment/EIS (2003) and the Supplement (2008) to that
   document.

   4.4.3 Air Resources
   4.4.3.1 Air Quality
   4.4.3.1.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82 84 percent due to approximately 6,549 6,748 acres of parcels
   proposed for deferral pending further review. Air quality impacts would likely be slightly less
   than those for Alternative B. Fewer leased acres would likely result in less future development
   and fewer emissions than Alternative B.

   4.4.3.1.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.3.2 GHG Emissions
   4.4.3.2.1 Direct and Indirect Effects
   Alternative C CO2e emissions are estimated to be 690 711 mtpy less than those for Alternative
   B.

   4.4.3.2.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.3.3 Climate Change
   4.4.3.3.1 Direct and Indirect Effects
   Under Alternative C, climate change impacts would likely be slightly less than those for
   Alternative B.

   4.4.3.3.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.4 Soil Resources
   4.4.4.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82 84 percent due to approximately 6,549 6,748 acres of parcels
   proposed for deferral pending further review. Of the 11 whole and 5 partial parcels
   recommended for deferral, 6 whole parcels (MTM 105431- H6, H8, JA, HC, HD, HE) and 5
   partial parcels (MTM 105431- H9, HF, HH and MTM 102757-WW and WT) are within
   sensitive soil areas and 2 whole parcels (MTM 105431- HA, HB), are within badlands outcrop

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   areas. Both areas are being analyzed in the current MCFO RMP planning effort. Less than one
   percent of the soils rated as low potential for restoration would be deferred. There are no CSU
   12-1 soils stipulations applied to the deferred parcels. Soils are the same as those described in the
   Effected Environment section 3.3.

   4.4.4.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.5 Water Resources
   4.4.5.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82 84 percent, due to approximately 6,549 6,748 acres of the
   lease parcels proposed for deferral pending further review.

   The potentially impacted acres on water resources would be decreased by 6,549.15
   approximately 6,748 acres.

   4.4.5.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.6 Vegetation Resources
   4.4.6.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82%, 84 percent, due to approximately 6,549 6,748 acres of the
   lease parcels proposed for deferral pending further review.

   4.4.6.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.7 Riparian-Wetland Habitats
   4.4.7.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82 84 percent, due to approximately 6,549 6,748 acres of the
   lease parcels proposed for deferral pending further review.

   The potentially impacted acres on riparian resources would be decreased by 26 acres.

   4.4.7.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.8 Special Status Plant Species
   4.4.8.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82%-84 percent, due to approximately 6,549 6,748| acres of the
   lease parcels proposed for deferral pending further review.



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   4.4.8.2 Mitigation
   Mitigation would be that same as Alternative B.

   4.4.9 Wildlife & Fisheries/Aquatics
   4.4.9.1 Direct and Indirect Effects
   Direct and indirect impacts would be similar to Alternative B; however, the area impacted would
   be reduced by 82% 84 percent, due to these lease parcels proposed for deferral pending further
   review. Of the 11 whole and 5 partial parcels recommended for deferral, 3 whole parcels (MTM
   105431-HK, HL, HM) are within crucial winter range and 1 partial parcel (MTM 102757-WW)
   is within 0.60 mile of a sage grouse lek in the PGH area. Both areas are being analyzed in the
   current MCFO RMP planning effort. If deferred, this alternative would reduce the amount of
   parcels/acreage proposed in white-tailed deer, mule deer, and pronghorn winter ranges,
   whooping crane potential suitable habitat, Sprague’s pipit habitat, and within both sage grouse
   and sharp-tailed grouse habitat. Potential impacts to these resources would be reduced under this
   alternative. The parcels proposed for deferral overlap with the range of eleven BLM
   sensitive/special status aquatic species (pallid sturgeon, paddle fish, blue sucker, sturgeon chub,
   sauger, pearl dace, snapping turtle, spiny softshell, northern leopard frog, plains spadefoot and
   great plains toad). If deferred, this alternative would reduce the impacts to these BLM sensitive
   aquatic species’ habitat.

   4.4.9.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.10 Cultural
   4.4.10.1 Direct and Indirect Effects
   Impacts would be similar to those disclosed in Alternative B; however, the area impacted would
   be reduced by 82%84 percent, due to these lease parcels proposed for deferral pending further
   review. Specifically, potential effects would not occur on the 16 whole or partial lease parcels
   consisting of 6,549 6,748 acres proposed for deferral. The new analyses for parcels to be leased
   are as follows below.

   Based on modeling, all or portions of four lease parcels (MTM 105431-HF (120 acres); MTM
   105431-HG (160 acres); MTM 105431-HH (80 acres); MTM 105431-HJ (317 acres)), in Powder
   River County (677 acres) might contain 8 cultural sites of which one to two could have the
   potential to be eligible or considered eligible for listing on the National Register of Historic
   Places.

   Based on modeling, all or portions of two lease parcels (MTM 102757-WT (319 acres); MTM
   102757-WW (361 159 acres)), in Prairie County (680 acres) might contain up to 8 cultural sites
   of which one to two could have the potential to be eligible or considered eligible for listing on
   the National Register of Historic Places.

   Based on modeling, a portion of one lease parcel (MTM 105431-H9 (40 acres)) located in
   Roosevelt County (40 acres) might contain one cultural site which could have potential to be
   eligible or considered eligible for listing on the National Register of Historic Places.



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   Leasing the 1,397 approximately 1,197 acres of federal minerals within the above Counties could
   directly or indirectly affect 15 cultural sites with 1 to 3 sites having the potential to be eligible or
   considered eligible for listing on the National Register of Historic Places.

   The Reasonable Foreseeable Development (RFD and Appendix D) scenario for the lease parcels
   is the same as Alternative B.

   4.4.10.2 Mitigation
   Mitigation would be the same as Alternative B where the application of standard lease terms,
   stipulations, and cultural lease notices provide mechanisms to protect vulnerable significant
   cultural resource values on these lease parcels (Appendix A). Lease notice LN 14-2 would be
   applied to 1 lease parcel (MTM 105431-H9).

   4.4.11 Native American Religious Concerns
   4.4.11.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B. Areas potentially impacted
   would be reduced by approximately 82 % 84 percent, due to 6,549 approximately 6,747 acres
   being deferred pending further analysis. The deferred parcels include Parcel MTM 105431-H9
   which contains the three stone circle sites mentioned in Chapter 3.

   4.4.11.2 Mitigation
   If the parcels are leased, mitigation would be the same as Alternative B.

   4.4.12 Paleontology
   4.4.12.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82 84 percent, due to approximately 6,549 6,747 acres of lease
   parcels proposed for deferral pending further review. Specifically, effects would not occur on
   the lease parcels in whole or part proposed for deferral.

   4.4.12.2 Mitigation
   Mitigation would be the same as Alternative B, except the recommendation to apply
   Paleontological lease notice 14-12 would only apply to 2 whole leases and portions of 5 others
   because lease parcels in whole or part are proposed for deferral.

   4.4.13 Visual Resources
   4.4.13.1 Direct and Indirect Effects
   Under this alternative, 2 whole and 5 partial parcels that include 1,396.87 1,197.34 surveyed
   surface acres of which 680 481.21 surveyed acres are BLM administered surface and 716.87
   716.13 surveyed acres are non-federal surface would be offered for lease.

   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced, due to approximately 6,549.15 6,748 surface acres of 11 whole and
   5 partial lease parcels being proposed for deferral, pending further review. The parcels or
   portions of parcels proposed for deferral consist of 2,958.73 approximately 3,158 BLM
   administered surface acres and approximately 3,590 non-federal surface acres.

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   There are no areas located within a VRM Class II management objective.

   4.4.13.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.14 Forest and Woodland Resources
   4.4.14.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced substantially by 84 percent, due to approximately 6,549 6,748 acres
   of lease parcels proposed for deferral pending further review. Under this alternative, acreage
   potentially impacted would be approximately 10 acres of riparian woodland.

   4.4.14.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.15 Livestock Grazing
   4.4.15.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B. The deferred parcels pending
   further review do not have grazing authorizations.

   4.4.15.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.16 Recreation and Travel Management
   4.4.16.1 Direct and Indirect Effects
   Under this alternative, 2 whole and 5 partial parcels that include 1,396.87 1,197.34 surveyed
   surface acres of which 680 481.21 surveyed acres are BLM administered surface and 716.87
   716.13 surveyed acres are non-federal surface would be offered for lease.

   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 84 percent, due to approximately 6,549.15 6,748 surface acres of
   11 whole and 5 partial lease parcels being proposed for deferral, pending further review. The
   parcels or portions of parcels proposed for deferral consist of 2,958.73 approximately 3,158
   BLM administered surface acres and approximately 3,590 non-federal surface acres.

   There are no Special Recreation Management Areas or current Travel Management Areas within
   any of the proposed leased areas or deferred areas.

   4.4.16.2 Mitigation
   Mitigation would be the same as Alternative B.

   4.4.17 Lands and Realty
   4.4.17.1 Direct and Indirect Effects
   Under this alternative, 2 whole and 5 partial parcels that include 1,396.87 1,197.34 surveyed
   surface acres of which 680 481.21 surveyed acres are BLM administered surface and 716.87


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   716.13 surveyed acres are non-federal surface would be offered for lease.

   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 84 percent, due to approximately 6,549.15 6,748 surface acres of
   11 whole and 5 partial lease parcels being proposed for deferral, pending further review. The
   parcels or portions of parcels proposed for deferral consist of approximately 3,158 BLM
   administered surface acres and approximately 3,590 non-federal surface acres.

   Based on the Master Title plats and LR2000 reports, parcel MTM-102757-WT would be affected
   by authorized BLM ROWs on BLM administered surface.

   4.4.17      .2 Mitigation
   Measures would be taken to avoid disturbance to or impacts to existing rights-of-way, in the
   event of any oil and gas exploration and development activities. Any new “off-lease” or third
   party rights-of-way required across federal surface for exploration and/or development of the 18
   parcels would be subject to lands and realty stipulations to protect other resources as determined
   by environmental analyses. In order to protect the existing rights-of-way it is recommended that
   LN 14-1 be applied to lease parcel MTM-102757-WT.

   4.4.18 Minerals
   4      .4.18.1 Fluid Minerals
   4      . 4.18.1.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by 82% 84 percent, due to approximately 6,549.15 6,748 acres of
   lease parcels proposed for deferral pending further review. The remaining % 2 whole and 5
   partial lease parcels would be offered for lease subject to major (NSO) or moderate (CSU)
   constraints and/or standard lease terms and conditions.

   Deferring lease parcels would result in delays of some development plans, relocation of
   development to state or private leases, or completely eliminate development plans because of the
   need to include federal acreage as part of a plan. In addition, less natural gas or crude oil would
   enter the public markets.

   4.4.19 Special Designations
   4.4.19.1 Direct and Indirect Effects
   Under this alternative, 2 whole parcels and parts of 5 would be offered for lease. Totaling 1,397
   1,236.34 surveyed surface acres of which are 680 approximately 481 BLM administered surface
   and 717 acres of non-federal surface.

   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced to approximately 17.6% of Alternative B acres (1,397 1,197.34
   acres) due to approximately 6,548 6,748 surface acres of all or portions of 16 lease parcels being
   proposed for deferral, pending further review. The parcels or portions of parcels proposed for
   deferral consist of 2,958 approximately 3,158 BLM administered surface acres and 3,590 non-
   federal surface acres.



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   There are no Lease parcels, located within the 3 mile sensitive Setting Consideration Zone (SCZ)
   around the Lewis and Clark National Historic Trail Corridor.

   4.4.19.2 Mitigation
   Since no parcels would be offered, under Alterative C that would be in the Lewis and Clark NHT
   no mitigation measures would be necessary.

   4.4.20 Social and Economic Conditions
   4.4.20.1 Social
   4.4.20.1.1 Direct and Indirect Effects
   Direct and indirect impacts would be the same as Alternative B; however, the area potentially
   impacted would be reduced by less than 82%84 percent, due to the deferral of 6,549.15
   approximately 6,748 acres of lease parcels in McCone, Richland, Roosevelt, Prairie, and Powder
   River Counties.

   4.4.20.2 Economics
   4.4.20.2.1 Direct and Indirect Impacts
   Economic impacts associated with Alternative C would be very similar to those described for
   Alternative B. Under this alternative, leasing an additional 1,397 1,197 acres of federal minerals
   could increase average annual oil and gas leasing and rent revenues to the federal government by
   an estimated $6,000. Average annual leasing and rent revenues that could be distributed to the
   state government could increase by an estimated $3,000. Average annual federal oil and gas
   royalties would increase by an estimated $36,000. Average annual royalties distributed to the
   state could increase by an estimated $17,000 and revenue distributed to the five counties could
   increase by $5,000.

   Total average annual federal revenues and associated annual rent and royalty revenues related to
   average annual production of federal minerals could amount to an estimated $42,000. Total
   average annual revenues from leasing, rent, and royalties distributed to the state could be an
   estimated $20,000. Total estimated revenues distributed to the counties could be about $5,000.

   The estimated combined total average annual employment and income supported by additional
   federal oil and gas leasing, distributions of royalties to local governments, drilling wells, and
   production would amount to no change in employment and an additional $12,000 labor income
   within the local economy (IMPLAN, 2014).

   The annual SCC associated with Alternative C oil and gas development is $6,769 (in 2011
   dollars). As noted earlier, the estimated SCC is not directly comparable to economic
   contributions.

   Total federal contribution under Alternative C and anticipated related exploration, development,
   and production of oil and gas could cause local employment and labor income to be very similar
   to impacts expected from Alternative B.




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   4.4.21 Cumulative Impacts- Alternative C
   Direct and indirect impacts would be similar to Alternative B. Under this alternative, the
   cumulative effects of federal mineral leasing within the local economy as well as the specific
   effects of leasing an additional 1,397 acres are summarized in Table 15 and Table 16. These
   tables also display in comparative form the cumulative effects of alternatives A, B, and C.

   4.4.21.1 Past, Present and Reasonably Foreseeable Future Actions
   The past, present, or reasonably foreseeable future actions that affect the same components of the
   environment as the Proposed Action are: grazing, roads, wildfire and prescribed fire, range
   improvement projects, and utility right-of-ways, which are the same as Alternative B.

   4.4.21.2 Cumulative Impacts by Resource
   Cumulative effects for all resources in the MCFO are described in the final Big Dry RMP/EIS
   (pgs. 111 to 156) and the 1992 Oil and Gas Amendment of the Billings, Powder River, and South
   Dakota Resource Management Plans and Final Environmental Impact Statement and the 1994
   Record of Decision and the 2008 Final Supplement to the Montana Statewide Oil and Gas
   Environmental Impact with a development alternative for coal bed natural gas production (4-1 to
   4-310). Anticipated exploration and development activity associated with the lease parcels
   considered in this EA are within the range of assumptions used and effects described in this
   cumulative effects analysis for resources other than climate, wildlife, and economics resources.

   4.4.21.3 Greenhouse Gas Emissions and Cumulative Impacts on Climate Change
   CO2e emissions are estimated to be 690 metric tons/year less than Alternative B.

   4.4.21.4 Cumulative Impacts of Climate Change
   Due to the slight decrease in CO2e emissions under Alternative C, cumulative climate change
   impacts on resources would be slightly less than those for Alternative B.

   4.4.21.5 Cumulative Impacts to Wildlife & Fisheries/Aquatics
   Cumulative impacts would be the same as Alternative B; however, the area potentially impacted
   would be reduced by 11 whole parcels and portions of 5 other parcels pending further review. If
   the remaining lease parcels are developed, potential additional cumulative impacts to wildlife
   would occur over less area than what is described in Alternative B.

   4.4.21.6 Cumulative Impacts to Economic Conditions:
   Direct and indirect impacts would be similar to Alternative B. Under this alternative, the
   cumulative effects of federal mineral leasing within the local economy as well as the specific
   effects of leasing an additional 1,397 1,197 acres are summarized in Table 15 and Table 16.
   These tables also display in comparative form the cumulative effects of alternatives A, B, and C.

   5.0 CONSULTATION AND COORDINATION

   5.1 Persons, Agencies, and Organizations Consulted
   Coordination with MFWP was conducted for the 18 lease parcels being reviewed and in the
   completion of this EA in order to prepare the analysis, identify protective measures, and apply
   stipulations and lease notices associated with these parcels being analyzed. Recommendations

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   by the USFWS applied in previous lease sale EAs were also applied to the 18 lease parcels being
   reviewed. A letter was sent to the USFWS and MFWP during the 15-day scoping and 30-day
   public comment periods requesting comments on the 18 parcels being reviewed.

   The BLM consults with Native Americans under Section 106 of the National Historic
   Preservation Act. The BLM sent letters to tribes in Montana, North and South Dakota and
   Wyoming at the beginning of the 15 day scoping period informing them of the potential for the
   18 parcels to be leased and inviting them to submit issues and concerns BLM should consider in
   the environmental analysis. Letters were sent to the Tribal Presidents and THPO or other
   cultural contacts for the Cheyenne River Sioux Tribe, Crow Tribe of Montana, Crow Creek
   Sioux Tribe, Eastern Shoshone Tribe, Ft. Peck Tribes, Lower Brule Sioux Tribe, the Mandan,
   Hidasta, and Arkira Nation, Northern Arapaho Nation, Northern Cheyenne Tribe, Oglala Sioux
   Tribe, Rosebud Sioux Tribe of Indians, Standing Rock Sioux Tribe, and Turtle Mountain Band
   of Chippewa. In addition to scoping letters, THPOs also received file search results from the
   preliminary review of parcels conducted by BLM. The BLM sent a second letter with a copy of
   the EA to the tribes informing them about the 30 day public comment period for the EA and
   solicit any information BLM should consider before making a decision whether to offer any or
   all of the 18 parcels for sale.

   5.2 Summary of Public Participation
   5.2.1 Scoping
   Public scoping for this project was conducted through a 15-day scoping period advertised on the
   BLM Montana State Office website and posting on the field office website NEPA notification
   log. Scoping was initiated March 25, 2014. Montana Fish Wildlife and Parks (MFWP)
   submitted comments on the October 2014 lease sale.

   MFWP recommended applying a 1/4 mile buffer along the parcels along Schoolhouse Coulee,
   Renz Creek, and the tributary to Two-mile creek in parcels MTM 105431-HB and MTM
   105431-H8. In review, the BLM have already applied a No Surface Occupancy (NSO 11-2) for
   parcel MTM 105431 HB where Schoolhouse Coulee and Renz Creek occur. The Big Dry RMP
   does not have a stipulation for a % mile buffer along tributaries of waterways. After reviewing
   nominated lease parcel MTM 105431-H8, it is determined that the No Surface Occupancy
   stipulation for waterbodies, floodpains, and riparian areas should not be applied. Two-mile Creek
   does run through the parcel, but according to the best available information, it is ephemeral at
   this location and appears to lack defined channel. If this lease was to be developed and sensitive
   resources were identified at the proposed well location, BLM would use its regulatory authority
   to move the proposed well location up to 660 feet in order to protect sensitive resources.

   MFWP recommend applying timing limitation 13-1 for big game winter ranges. In review, the
   BLM have already applied this timing stipulation to the necessary parcels. MFWP recommend
   surveys for sharp-tailed grouse leks and sage grouse leks to occur prior to development of some
   of the parcels. The Big Dry RMP or Powder River RMP does not have a stipulation for pre­
   development surveys for sage grouse or sharp-tailed grouse. However, in some cases where
   necessary, the BLM has had required companies to conduct these surveys prior to authorizing
   development at the Application for Permit to Drill (APD) stage before development. Recent
   inventories for sage grouse leks have not been conducted within some of the parcels. If the leases
   were to be developed, inventories would be conducted if the leases were to be developed at the

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   APD stage of development to determine the presence or absence of sage grouse leks. Similarly,
   recent inventories of sharp-tailed grouse dancing grounds have not been conducted within some
   of the parcels. Thus, inventories would be conducted prior to development at the APD stage
   before development to determine the presence or absence of sharp-tailed grouse dancing
   grounds.

   5.2.2 Public Comment Period

   On May 19, 2014, the EA, along with an unsigned FONSI, was made available for a 30-day
   public comment period. Notification letters were distributed to external entities, local agencies,
   and tribes to explain that an EA and the unsigned FONSI were available for review and
   comment. Tribes also received a copy of the EA and unsigned FONSI for their review.

   A total of 3 written submissions were received during the 30-day comment period, which
   resulted in 14 individually-coded substantive comments. After review and consideration of the
   comments, some modifications have been made to the EA. Changes made to the analysis are
   noted with gray-scale shading and/or strikeout so the modifications to the EA can easily be
   identified.

   The following is a summary of some of the issues and/or changes made to the EA as a result of
   the 30-day public comment period:

      •    Emissions inventory of criteria air pollutants and volatile organic compound emissions
      •    Photochemical Grid Modeling (PGM) study on the lease parcels and additional
           mitigation measures pending the outcome of the PGM efforts on ARMP
      •    Surface and groundwater protection measures
      •    Development of new lease notice to inform lessee/operator of Tribal consultation during
           development stage
      •    Consideration of wildlife resources mitigation measures and deferrals for sage grouse,
           sharp-tailed grouse, and big game. Based on recent MT FWP sage grouse survey data,
           additional lands were recommended for deferral in the Preferred Alternative.

   After the 30-day protest period, but before lease issuance, the BLM will issue the Decision
   Record and signed Finding of No Significant Impact for this EA. This information, along with
   other updates and Lease Sale Notice information can be found on the Montana/Dakotas BLM
   website http://blm.gov/qtld. Current and updated information about our EAs, Lease Sale
   Notices, and corresponding information pertaining to this sale can be found at the link referenced
   above.


   5.3 List of Preparers
   Table 20. List of Preparers
                                                            Responsible for the Following Section(s)
    Name                Title
                                                            of this Document
    Susan Bassett       Air Specialist                      Air Resources
    Bobby Baker         Wildlife Biologist                  Wildlife


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    Chris Robinson      Hydrologist                         Water Resources/Riparian Vegetation
    Will Hubbell        Archaeologist                       Cultural/Special Designations
    Josh Halpin         Range Management Specialist         Soils
    Shane Findlay       Supervisory Land Use Specialist     Recreation/VRM/Travel Management
    Russell Slatton     Natural Resource Specialist         GIS
    Kirk Anderson       Rangeland Management Specialist     Livestock Grazing/Vegetation/Invasive
                                                            Species
    Doug Melton         Archeologist                        Native American Religious Concerns
    Greg Liggitt        Paleontologist                      Paleontology
    Beth Klempel        Realty Specialist                   Lands/Realty
    Paul Helland        Petroleum Engineer                  Fluid Minerals/RFD
    Jon David           Natural Resource Specialist         EA Lead/Forestry
    Irma Nansel         Planning & Environmental            EA Lead
                        Coordinator
    Margaret            Land Use Specialist                 NEPA
    Langlas Ward
    Kathy Bockness      Planning & Environmental            NEPA
                        Coordinator
    Jessica Montag      Social Analyst                      Social Analysis
    Jennifer Dobbs      Economist                           Economic Analysis
    Samantha Iron       Legal Land Examiner-Sale Lead       Expressions of Interest/Lease Sale
    Shirt

   In addition to the primary preparers listed above, the following individuals provided document
   review:

          Todd Yeager                    Field Manager
          Diane Friez                    District Manager




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   7.0 DEFINITIONS

   The North American Industry Classification System (NAICS) is the standard used by federal
   statistical agencies in classifying business establishments for the purpose of collecting,
   analyzing, and publishing statistical data related to the U.S. business economy. NAICS was
   developed under the auspices of the Office of Management and Budget (OMB), and adopted in
   1997 to replace the Standard Industrial Classification (SIC) system and to allow for a high level
   of comparability in business statistics among the North American countries.

   IMPLAN: The IMPLAN Model is the most flexible, detailed and widely used input-output
   impact model system in the U.S. It provides users with the ability to define industries, economic
   relationships and projects to be analyzed. It can be customized for any county, region or state,
   and used to assess "multiplier effects" caused by increasing or decreasing spending in various
   parts of the economy. This can be used to assess the economic impacts of resource management
   decisions, facilities, industries, or changes in their level of activity in a given area. The current
   IMPLAN input-output database and model is maintained and sold by MIG, Inc. (Minnesota
   IMPLAN Group). The 2007 data set was used in this analysis is.




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PARCEL NUMBER PARCEL DESCRIPTION            PROPOSED FOR LEASING         PROPOSED FOR LEASING IF EA   PROPOSED FOR DEFERRAL-NO
                                            ALTERNATIVE B                INCLUDES ALTERNATIVE C       LEASING
MTM 102757-WT   T. 13 N, R. 45 E, PMM, MT   CR 16-1 (ALL LANDS)          T. 13 N, R. 45 E, PMM, MT    T. 13 N, R. 45 E, PMM, MT
                SEC. 18 LOTS 1,2;           LN-14-1                      SEC. 18 LOTS 1,2;            SEC. 20 NENE,W2NE,NW,S2;
                SEC. 18 NE,E2NW;            SEC. 18 W2NE;                SEC. 18 NE,E2NW;             PRAIRIE COUNTY
                SEC. 20 ALL;                LN 14-11 (ALL LANDS)         SEC. 20 SENE;
                PRAIRIE COUNTY              LN 14-12 (ALL LANDS)         PRAIRIE COUNTY               Pending further review of sensitive soil
                961.22 AC                   LN 14-15 (ALL LANDS)                                      areas being analyzed in the current
                ACQ                         NSO 11-2                     CR I6-I (ALL LANDS)          MCFO RMP planning effort.
                                            SEC. 20 E2E2;                LN-I4-I (ALL LANDS)
                                            NSO 11-8                     LN I4-II (ALL LANDS)
                                            SEC. 18 LOT 2;               LN 14-12 (ALL LANDS)
                                            SEC. 18 S2NE,SENW;           LN 14-15 (ALL LANDS)
                                            SEC. 20 NWNW;                NSO II-2
                                            TES 16-2 (ALL LANDS)         SEC. 20 SENE;
                                            TL 13-1 (ALL LANDS)          NSO II-8
                                            TL 13-3                      SEC. 18 LOT 2;
                                            SEC. 18 LOTS 1,2;            SEC. 18 S2NE,SENW;
                                            SEC. 18 NE,E2NW;             TES 16-2 (ALL LANDS)
                                            SEC. 20 N2,NESW,N2SE,SESE;   TL I3-I (ALL LANDS)
                                                                         TL 13-3
                                                                         SEC. 18 LOTS 1,2;
                                                                         SEC. 18NE,E2NW;




                                                                                                                             Miles City Field Office
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PARCEL NUMBER PARCEL DESCRIPTION            PROPOSED FOR LEASING        PROPOSED FOR LEASING IF EA   PROPOSED FOR DEFERRAL-NO
                                            ALTERNATIVE B               INCLUDES ALTERNATIVE C       LEASING
MTM 102757-WW   T. 14 N, R. 45 E, PMM, MT   CR 16-1 (ALL LANDS)         T. 14 N, R. 45 E, PMM, MT    T. 14 N, R. 45 E, PMM, MT
                SEC. 2 LOTS 3,4;            LN 14-11 (ALL LANDS)        SEC. 2 LOTS 3,4;             SEC. 2 SW;
                SEC. 2 S2NW,SW;             LN 14-12 (ALL LANDS)        SEC. 2 S2NW;                 SEC. 4 LOTS 1-3;
                SEC. 4 LOTS 1-4;            LN 14-15 (ALL LANDS)        SEC. 4 LOT 4;                SEC. 4 S2NE,SWNW,W2SW,SE;
                SEC. 4 S2N2,S2;             NSO 11-2                    SEC. 4 SENW,E2SW;            SEC. 4 LOTS 1-4;
                PRAIRIE COUNTY              SEC. 4 LOTS 1-3;            PRAIRIE COUNTY               SEC. 4S2N2,S2;
                958.02 AC                   SEC. 4 S2NE,SWNW,W2SW,SE;                                PRAIRIE COUNTY
                ACQ                         NSO 11-4                    CR I6-I (ALL LANDS)
                                            SEC. 4 SWNE, S2NW, N2SW,    LN I4-II (ALL LANDS)         Pending further review of sensitive
                                                 SESW,W2SE;             LN 14-12 (ALL LANDS)         soils and sage grouse areas being
                                            TES 16-2 (ALL LANDS)        LN 14-15 (ALL LANDS)         analyzed in the current MCFO RMP
                                            TL 13-1                     TES 16-2 (ALL LANDS)         planning effort.
                                            SEC. 2 LOT 4;               TL I3-I
                                            SEC. 2 S2NW, NWNW;          SEC. 2 LOT 4;
                                            SEC. 4 LOTS 1-4;            SEC. 2 S2NW;
                                            SEC. 4 S2N2, S2;            TL 13-3 (ALL LANDS)
                                            TL 13-3 (ALL LANDS)
                                            TL 13-4
                                            SEC. 4 LOTS 1,2;
                                            SEC. 4 S2NE,SENW,E2SW,SE;

MTM 105431-HA   T. 26 N, R. 50 E, PMM, MT   CR 16-1 (ALL LANDS)         DEFER ALL LANDS              DEFER ALL LANDS
                SEC. 24 SENE;               LN 14-12 (ALL LANDS)
                MCCONE COUNTY               LN 14-15 (ALL LANDS)                                     Pending further review of badlands
                40.00 AC                    TES 16-2 (ALL LANDS)                                     rock outcrop areas being analyzed in
                PD                                                                                   the current MCFO RMP planning
                                                                                                     effort.




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PARCEL NUMBER PARCEL DESCRIPTION            PROPOSED FOR LEASING       PROPOSED FOR LEASING IF EA PROPOSED FOR DEFERRAL-NO
                                            ALTERNATIVE B              INCLUDES ALTERNATIVE C     LEASING
MTM 105431-HB   m 26 N, R. 52 E, PMM, MT    CR 16-1 (ALL LANDS)        DEFER ALL LANDS            DEFER ALL LANDS
                SEC. 3 LOTS 1-3;            CSU 12-1
                SEC. 3 S2NE,SENW,SE;        SEC. 10 N2,SE;                                       Pending further review of badlands
                SEC. 10 E2;                 LN-14-1                                              rock outcrop areas being analyzed in
                SEC. 15 NWNE,W2SW;          SEC. 10 N2E2;                                        the current MCFO RMP planning
                RICHLAND COUNTY             LN 14-12 (ALL LANDS)                                 effort.
                SB0.48 AC                   LN 14-14 (ALL LANDS)
                PD                          LN 14-15 (ALL LANDS)
                                            NSO 11-2
                                            SEC. 3 LOT 2;
                                            SEC. 3 S2NE; NESE;
                                            TES 16-2 (ALL LANDS)
                                            TL 13-1 (ALL LANDS)


MTM 105431-H6   T. 26 N, R. 55 E, PMM, MT   CR 16-1 (ALL LANDS)        DEFER ALL LANDS           DEFER ALL LANDS
                SEC. 4 LOT 4;               LN 14-12 (ALL LANDS)
                SEC. 4 SWNW,SW;             LN 14-15 (ALL LANDS)                                 Pending further review of sensitive soil
                RICHLAND COUNTY             TES 16-2 (ALL LANDS)                                 areas being analyzed in the current
                S41.91 AC                   TL 13-1 (ALL LANDS)                                  MCFO RMP planning effort.
                PD                          TL 13-3 (ALL LANDS)

MTM 105431-H8   T. 27 N, R. 55 E, PMM, MT   CR 16-1 (ALL LANDS)        DEFER ALL LANDS           DEEFER ALL LANDS
                SEC. 30 LOT 4;              LN 14-12 (ALL LANDS)
                SEC. 30 S2SE;               LN-14-1                                              Pending further review of sensitive soil
                RICHLAND COUNTY             SEC. 30 LOT 4;                                       areas being analyzed in the current
                n6.82 AC                    LN 14-14 (ALL LANDS)                                 MCFO RMP planning effort.
                PD                          LN 14-15 (ALL LANDS)
                                            NSO 11-4
                                            SEC. 30 LOT 4;
                                            TES 16-2 (ALL LANDS)
                                            TL 13-1 (ALL LANDS)
                                            TL 13-3 (ALL LANDS)




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PARCEL NUMBER PARCEL DESCRIPTION            PROPOSED FOR LEASING           PROPOSED FOR LEASING IF EA   PROPOSED FOR DEFERRAL-NO
                                            ALTERNATIVE B                  INCLUDES ALTERNATIVE C       LEASING
MTM 105431-H9   T. 30 N, R. 58 E, PMM, MT   CR 16-1 (ALL LANDS)            T. 30 N, R. 58 E, PMM, MT    T. 30 N, R. 58 E, PMM, MT
                SEC. 1 LOT 1;               LN 14-2 (ALL LANDS)            SEC. 12 NENE;                SEC. 1 LOT 1;
                SEC. 12 NENE,S2NE;          LN 14-12 (ALL LANDS)           ROOSEVELT COUNTY             SEC. 12 S2NE;
                ROOSEVELT COUNTY            LN 14-14 (ALL LANDS)                                        ROOSEVELT COUNTY
                050.02 AC                   LN 14-15 (ALL LANDS)           CRI6-I (ALL LANDS)
                PD                          NSO 11-2 (ALL LANDS)           LN 14-2 (ALL LANDS)          Pending further review of sensitive soil
                                            TES 16-2 (ALL LANDS)           LN 14-12 (ALL LANDS)         areas being analyzed in the current
                                                                           LN 14-14 (ALL LANDS)         MCFO RMP planning effort.
                                                                           LN 14-15 (ALL LANDS)
                                                                           NSO II-2 (ALL LANDS)
                                                                           TES 16-2 (ALL LANDS)


MTM 105431-JA   T. 30 N, R. 59 E, PMM, MT   CR 16-1 (ALL LANDS)            DEFER ALL LANDS              DEFER ALL LANDS
                SEC. 6 LOT 4;               LN 14-12 (ALL LANDS)
                ROOSEVELT COUNTY            LN 14-15 (ALL LANDS)                                        Pending further review of sensitive soil
                S9.94 AC                    NSO 11-2 (ALL LANDS)                                        areas that are being analyzed in the
                PD                          TES 16-2 (ALL LANDS)                                        current MCFO RMP planning effort.

MTM 105431-HC   T. 8 S, R. 51 E, PMM, MT    CR 16-1 (ALL LANDS)            DEFER ALL LANDS              DEFER ALL LANDS
                SEC. 9 SESW,SE;             LN 14-12 (ALL LANDS)
                SEC. 10 NENE,S2NE,S2;       NSO 11-2                                                    Pending further review of sensitive soil
                POWDER RIVER COUNTY         SEC. 9 SESW,NWSE;                                           areas being analyzed in the current
                640.00 AC                   SEC. 10 NENE,S2NE,NESE,SWSE;                                MCFO RMP planning effort.
                PD                          TES 16-2 (ALL LANDS)
                                            TL 13-1
                                            SEC. 10 ALL;
                                            TL 13-3
                                            SEC. 9 SESW;
                                            SEC. 10 S2SE;




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PARCEL NUMBER PARCEL DESCRIPTION           PROPOSED FOR LEASING       PROPOSED FOR LEASING IF EA PROPOSED FOR DEFERRAL-NO
                                           ALTERNATIVE B              INCLUDES ALTERNATIVE C     LEASING
MTM 105431-HD   T. 8 S, R. 51 E, PMM, MT   CR 16-1 (ALL LANDS)        DEFER ALL LANDS            DEFER ALL LANDS
                SEC. 11 ALL;               NSO 11-2
                POWDER RIVER COUNTY        SEC. 11 SWNW,SWSW;                                        Pending further review of sensitive soil
                640.00 AC                  LN 14-12 (ALL LANDS)                                      areas in current MCFO RMP planning
                PD                         TES 16-2 (ALL LANDS)                                      effort.
                                           TL 13-1 (ALL LANDS)
                                           TL 13-3
                                           SEC. 11 N2N2,S2S2;

MTM 105431-HE   T. 8 S, R. 51 E, PMM, MT   CR 16-1 (ALL LANDS)        DEFER ALL LANDS                DEFER ALL LANDS
                SEC. 26 SW;                LN 14-12 (ALL LANDS)
                POWDER RIVER COUNTY        NSO 11-2                                                  Pending further review of sensitive soil
                160.00 AC                  SEC. 26 NESW;                                             areas in current MCFO RMP planning
                PD                         NSO 11-2                                                  effort.
                                           SEC. 26 NESW;
                                           TES 16-2 (ALL LANDS)
                                           TL 13-1 (ALL LANDS)
                                           TL 13-3 (ALL LANDS)


MTM 105431-HG   T. 9 S, R. 51 E, PMM, MT   CR 16-1 (ALL LANDS)        T. 9 S, R. 51 E, PMM, MT
                SEC. 11 NE;                LN 14-11 (ALL LANDS)       SEC. 11 NE;
                POWDER RIVER COUNTY        LN 14-12 (ALL LANDS)       POWDER RIVER COUNTY
                160.00 AC                  NSO 11-8 (ALL LANDS)
                PD                         TES 16-2 (ALL LANDS)       CRI6-I (ALL LANDS)
                                           TL 13-1 (ALL LANDS)        LN I4-II (ALL LANDS)
                                           TL 13-3 (ALL LANDS)        LN 14-12 (ALL LANDS)
                                                                      NSO II-8 (ALL LANDS)
                                                                      TES 16-2 (ALL LANDS)
                                                                      TL I3-I (ALL LANDS)
                                                                      TL 13-3 (ALL LANDS)




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                                           ALTERNATIVE B              INCLUDES ALTERNATIVE C         LEASING
MTM 105431-HH   T. 9 S, R. 51 E, PMM, MT   CR 16-1 (ALL LANDS)        T. 9 S, R. 51 E, PMM, MT       T. 9 S, R, 51 E, PMM, MT
                SEC. 22 E2;                LN 14-12 (ALL LANDS)       SEC. 22 E2NE;                  SEC. 22 W2NE,SE;
                SEC. 27 N2NW,SWNW;         NSO 11-2                   POWDER RIVER COUNTY            SEC. 27 N2NW,SWNW;
                POWDER RIVER COUNTY        SEC. 22 W2NE,SENE,NESE;                                   POWDER RIVER COUNTY
                440.00 AC                  SEC. 27 NENW;              CRI6-I (ALL LANDS)
                PD                         TL 13-1 (ALL LANDS)        LN 14-12 (ALL LANDS)           Pending further review of sensitive
                                           TES 16-2 (ALL LANDS)       NSO II-2                       soils areas in current MCFO RMP
                                                                      SEC. 22 SENE;                  planning effort.
                                                                      TL I3-I (ALL LANDS)
                                                                      TES 16-2 (ALL LANDS)

MTM 105431-HJ   T. 9 S, R. 51 E, PMM, MT   CR 16-1 (ALL LANDS)        T. 9 S, R. 51 E, PMM, MT
                SEC. 27 S2SW;              LN 14-12 (ALL LANDS)       SEC. 27 S2SW;
                SEC. 28 SESE;              NSO 11-2                   SEC. 28 SESE;
                SEC. 33 NENE;              SEC. 27 S2SW;              SEC. 33 NENE;
                SEC. 34 LOT 1;             SEC. 28 SESE;              SEC. 34 LOT 1;
                SEC. 34 W2NW,NWSW;         SEC. 33 NENE;              SEC. 34 W2NW,NWSW;
                POWDER RIVER COUNTY        SEC. 34 NWNW,NWSW;         POWDER RIVER COUNTY
                316.87 AC                  TES 16-2 (ALL LANDS)
                PD                         TL 13-1 (ALL LANDS)        CRI6-I (ALL LANDS)
                                                                      LN 14-12 (ALL LANDS)
                                                                      NSO II-2
                                                                      SEC. 27 S2SW;
                                                                      SEC. 28 SESE;
                                                                      SEC. 33 NENE;
                                                                      SEC. 34 NWNW,NWSW;
                                                                      TES 16-2 (ALL LANDS)
                                                                      TL I3-I (ALL LANDS)




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                                           ALTERNATIVE B              INCLUDES ALTERNATIVE C       LEASING
MTM 105431-HF   T. 8 S, R. 52 E, PMM, MT   CR 16-1 (ALL LANDS)        T. 8 S, R. 52 E, PMM, MT     T. 8 S, R. 52 E, PMM, MT
                SEC. 32 ALL;               LN 14-11 (ALL LANDS)       SEC. 32 N2NW, SESW;          SEC. 32 NE,S2NW,W2SW,NESW,SE;
                POWDER RIVER COUNTY        LN 14-12 (ALL LANDS)       POWDER RIVER COUNTY          POWDER RIVER COUNTY
                640.00 AC                  NSO 11-2
                PD                         SEC. 32 N2NE,W2SW,SESW;    CRI6-I (ALL LANDS)           Pending further review of sensitive soil
                                           TES 16-2 (ALL LANDS)       LN I4-II (ALL LANDS)         areas in current MCFO RMP planning
                                           TL 13-1 (ALL LANDS)        LN 14-12 (ALL LANDS)         effort.
                                           TL 13-3                    NSO II-2
                                           SEC. 32 SWNE,NWNW,S2NW,    SEC. 32 SESW;
                                                SW,W2SE,SESE;         TES 16-2 (ALL LANDS)
                                                                      TL I3-I (ALL LANDS)
                                                                      TL 13-3 (ALL LANDS)

MTM 105431-HK   T. 9 S, R. 52 E, PMM, MT   CR 16-1 (ALL LANDS)        DEFER ALL LANDS              DEFER ALL LANDS
                SEC. 23 ALL;               NSO 11-2
                POWDER RIVER COUNTY        SEC. 23 SWNE,SWSW;                                      Pending further review of crucial mule
                640.00 AC                  TES 16-2 (ALL LANDS)                                    deer winter range habitat in the current
                PD                         TL 13-1 (ALL LANDS)                                     MCFO RMP planning effort.
                                           TL 13-3
                                           SEC. 23 S2NE,S2;


MTM 105431-HL   T. 9 S, R. 52 E, PMM, MT   CR 16-1 (ALL LANDS)        DEFER ALL LANDS              DEFER ALL LANDS
                SEC. 26 ALL;               LN 14-12 (ALL LANDS)
                POWDER RIVER COUNTY        NSO 11-2                                                Pending further review of crucial mule
                640.00 AC                  SEC. 26 S2NE,NENW,NESE;                                 deer winter range habitat in the current
                PD                         TES 16-2 (ALL LANDS)                                    MCFO RMP planning effort.
                                           TL 13-1 (ALL LANDS)
                                           TL 13-3 (ALL LANDS)




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PARCEL NUMBER PARCEL DESCRIPTION           PROPOSED FOR LEASING     PROPOSED FOR LEASING IF EA PROPOSED FOR DEFERRAL-NO
                                           ALTERNATIVE B            INCLUDES ALTERNATIVE C     LEASING
MTM 105431-HM   T. 9 S, R. 52 E, PMM, MT   CR 16-1 (ALL LANDS)      DEFER ALL LANDS            DEFER ALL LANDS
                SEC. 27 E2;                LN 14-12 (ALL LANDS)
                POWDER RIVER COUNTY        NSO 11-2                                           Pending further review of crucial mule
                320.00 AC                  SEC. 27 NWSE;                                      deer winter range habitat in the current
                PD                         TL 13-1 (ALL LANDS)                                MCFO RMP planning effort.
                                           TL 13-3 (ALL LANDS)
                                           TES 16-2 (ALL LANDS)




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    Appendix B - Miles City Field Office Stipulation Descriptions
   Stipulation      Stipulation Name/Brief Description
   Number
   CR 16-1          CULTURAL RESOURCES LEASE STIPULATION
                    This lease may be found to contain historic properties and/or resources protected under the
                    National Historic Preservation Act (NHPA), American Indian Religious Freedom Act,
                    Native American Graves Protection and Repatriation Act, E.O. 13007, or other statutes and
                    executive orders. The BLM will not approve any ground disturbing activities that may
                    affect any such properties or resources until it completes its obligations under applicable
                    requirements of the NHPA and other authorities. The BLM may require modification to
                    exploration or development proposals to protect such properties, or disapprove any activity
                    that is likely to result in adverse effects that cannot be successfully avoided, minimized or
                    mitigated.
   CSU 12-1         CONTROLLED SURFACE USE STIPULATION
                    Surface occupancy or use is subject to the following special operating constraint: Prior to
                    surface disturbance on slopes over 30 percent, an engineering/reclamation plan must be
                    approved by the authorized officer.
   CSU 12-4         CONTROLLED SURFACE USE STIPULATION
                    All surface-disturbing activities, semi-permanent and permanent facilities in Visual
                    Resource Management (VRM) Class II areas may require special design, including
                    location, painting and camouflage, to blend with the natural surroundings and meet the
                    visual quality objectives for the area.
   LN 14-1          LEASE NOTICE
                    Land Use Authorizations incorporate specific surface land uses allowed on Bureau of Land
                    Management (BLM) administered lands by authorized officers and those surface uses
                    acquired by BLM on lands administered by other entities. These BLM authorizations
                    include rights-of-way, leases, permits, conservation easements, and recreation and public
                    purpose leases and patents.
   LN 14-11         LEASE NOTICE GREATER SAGE-GROUSE HABITAT
                    The lease may in part, or in total contain important Greater Sage-Grouse habitats as
                    identified by the BLM, either currently or prospectively. The operator may be required to
                    implement specific measures to reduce impacts of oil and gas operations on the Greater
                    Sage-Grouse populations and habitat quality. Such measures shall be developed during the
                    application for permit to drill on-site and environmental review process and will be
                    consistent with the lease rights granted.
   LN 14-12         LEASE NOTICE PALEONTOLOGICAL RESOURCE INVENTORY
                    REQUIREMENT
                    This lease has been identified as being located within geologic units rated as being
                    moderate to very high potential for containing significant paleontological resources. The
                    locations meet the criteria for class 3, 4 and/or 5 as set forth in the Potential Fossil Yield
                    Classification System, WO IM 2008-009, Attachment 2-2. The BLM is responsible for
                    assuring that the leased lands are examined to determine if paleontological resources are
                    present and to specify mitigation measures. Guidance for application of this requirement
                    can be found in WO IM 2008-009 dated October 15, 2007, and WO IM 2009-011 dated
                    October 10, 2008.
                    Prior to undertaking any surface-disturbing activities on the lands covered by this lease, the
                    lessee or project proponent shall contact the BLM to determine if a paleontological
                    resource inventory is required. If an inventory is required, the lessee or project proponent
                    will complete the inventory subject to the following:
                              • the project proponent must engage the services of a qualified paleontologist,
                               acceptable to the BLM, to conduct the inventory.
                            • the project proponent will, at a minimum, inventory a 10-acre area or larger to
                               incorporate possible project relocation which may result from environmental or
                               other resource considerations.
                    paleontological inventory may identify resources that may require mitigation to the

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   Stipulation   Stipulation Name/Brief Description
   Number
                 satisfaction of the BLM as directed by WO IM 2009-011.incorporate possible project
                 relocation which may result from environmental or other resource considerations.
                 paleontological inventory may identify resources that may require mitigation to the
                 satisfaction of the BLM as directed by WO IM 2009-011.
   LN 14-14      LEASE NOTICE CULTURAL VISUAL SETTING
                 The lease is located adjacent to known historic properties that are or may be eligible for
                 listing on the National Register of Historic Places (NRHP). The lease may in part or whole
                 contribute to the importance of the historic properties and values, and listing on the NRHP.
                 The operator may be required to implement specific measures to reduce impacts of oil and
                 gas operations on historic properties and values. These measures may include, but are not
                 limited to, project design, location, painting and camouflage. Such measures shall be
                 developed during the on-site inspection and environmental review of the application for
                 permit to drill (APD), and shall be consistent with lease rights.

                 The goal of this Lease Notice is to provide information to the lessee and operator that
                 would help design and locate oil and gas facilities to preserve the integrity and value of
                 historical properties that are or may be listed on the
                 National Register of Historic Places.

                 This notice is consistent with the present Montana guidance for cultural resource protection
                 related to oil and gas operations (NTL-MSO-85-1).
   LN 14-15      LEASE NOTICE SPRAGUE’S PIPIT
                 The lease area may contain habitat for the federal candidate Sprague’s pipit. The operator
                 may be required to implement specific measures to reduce impacts of oil and gas
                 operations on Sprague’s pipits, their habitat, and overall population. Such measures would
                 be developed during the application for permit to drill and environmental review processes,
                 consistent with lease rights.

                 If the US Fish and Wildlife Service lists the Sprague’s pipit as threatened or endangered
                 under Endangered Species Act, the BLM would enter into formal consultation on proposed
                 permits that may affect the Sprague’s pipit and its habitat. Restrictions, modifications, or
                 denial of permits could result from the consultation process.
   NSO 11-2      NO SURFACE OCCUPANCY STIPULATION
                 No surface occupancy or use is allowed within riparian areas, 100-year flood plains of
                 major rivers, and on water bodies and streams.
   NSO 11-4      NO SURFACE OCCUPANCY STIPULATION
                 No surface occupancy or use is allowed within one-quarter mile of grouse leks.
   NSO 11-8      NO SURFACE OCCUPANCY STIPULATION
                 No surface occupancy or use is allowed within one-half mile of known ferruginous hawk
                 nest sites which have been active within the past 2 years.
   NSO 11-9      NO SURFACE OCCUPANCY STIPULATION
                 No surface occupancy or use is allowed within one-quarter mile of wetlands identified as
                 piping plover habitat.
   NSO 11-10     NO SURFACE OCCUPANCY STIPULATION
                 No surface occupancy or use is allowed within one-quarter mile of wetlands identified as
                 interior least tern habitat.
   NSO 11-13     NO SURFACE OCCUPANCY STIPULATION
                 No surface occupancy or use is allowed within developed recreation areas and undeveloped
                 recreation areas receiving concentrated public use.
   TES 16-2      ENDANGERED SPECIES ACT SECTION 7 CONSULTATION STIPULATION
                 The lease area may now or hereafter contain plants, animals, or their habitats determined to
                 be threatened, endangered, or other special status species. BLM may recommend
                 modifications to exploration and development, and require modifications to or disapprove

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   Stipulation   Stipulation Name/Brief Description
   Number
                 proposed activity that is likely to result in jeopardy to proposed or listed threatened or
                 endangered species or designated or proposed critical habitat.
   TL 13-1       TIMING LIMITATION STIPULATION
                 No surface use is allowed within crucial winter range for wildlife for the time period
                 December 1 to March 31 to protect crucial white-tailed deer, mule deer, elk, antelope,
                 moose, bighorn sheep, and sage grouse winter range from disturbance during the winter use
                 season, and to facilitate long-term maintenance of wildlife populations. This stipulation
                 does not apply to operation and maintenance of production facilities.
   TL 13-3       TIMING LIMITATION STIPULATION
                 No surface use is allowed from March 1 to June 15 in grouse nesting habitat within two
                 miles of a lek. This stipulation does not apply to operation and maintenance of production
                 facilities.
   TL 13-4       TIMING LIMITATION STIPULATION
                 No surface use is allowed within one-half mile of raptor nest sites which have been active
                 within the past 2 years during the time period March 1 - August 1 to protect nest sites of
                 raptors which have been identified as species of special concern. This stipulation does not
                 apply to operation and maintenance of production facilities.




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   Appendix C
   Reasonably Foreseeable Development Scenario Forecast for the October 21, 2014 Lease
   Sale

   The Reasonably Foreseeable Development (RFD) scenario for the area of analysis is based on
   information contained in the MCFO RFD developed in 2005 and revised in 2012; it is an
   unpublished report that is available by contacting the MCFO. The MCFO RFD contains
   projections of the number of possible oil and gas wells that could be drilled and produced in the
   MCFO area and it is used to analyze the projected wells for the 18 nominated lease parcels,
   located in Richland, Roosevelt, McCone, Prairie, and Powder River counties, proposed for the
   October 21, 2014 lease sale.

   The MCFO RFD contains projections of the number of possible oil and gas wells that could be
   drilled and produced within each of the three development potential areas specified as high,
   medium, and low potential areas. GIS was used to determine the number of projected new
   federal wells within each development potential by taking into consideration the same
   assumptions and methodology used to determine the MCFO RFD. To project the number of
   Federal wells on the nominated acres, the proportionate percentage of nominated lease acres
   within the high, medium, or low potential RFD area is multiplied by the respective total number
   of high, medium, or low potential projected wells. Where the number of wells in a parcel within
   a county had a projection of equal to or greater than 1 in 1000 (0.001) the well number was
   rounded up to one, if the number of wells projected in a parcel within a county had a projection
   of less than 1 in 1000 (.001) the well number was rounded to zero.

   These well numbers are only an estimate based on the MCFO RFD which is based on USGS
   assessments, past and current development, resource expertise, and MBOCG feedback and data,
   and may change in the future if new technology is developed or new fields and formations are
   discovered.

   High Potential
   The 6,005 6,026 lease parcel acres located in McCone, Powder River, Richland, and Roosevelt
   Counties are in the area of High Potential (6,043,000 acres total) development. The RFD
   scenario forecasts a range of 856 to 1,711 oil wells and 1,004 to 2,009 gas wells in this
   development area. The range for federal wells is 197 to 394 oil wells and 231 to 462 gas wells.
   The High Potential lease parcels total approximately 6,005 acres, approximately 0.099 percent of
   the High Potential project area identified in the RFD.

   Medium Potential
   No lease parcels nominated lie within the area of Medium development potential.

   Low Potential
   The 1,599 1,919 lease parcel acres located in Prairie County are in the area of Low Potential
   (13,120,000 acres total) development. The RFD scenario forecasts a range of 325 to 650 oil
   wells and 382 to 764 gas wells in this development area. The range for federal wells is 197 to
   394 oil wells and 231 to 462 gas wells. The Low Potential lease parcels total



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   approximately 1,599 1,919 acres, approximately 0.012 percent of the Low Potential project area
   identified in the RFD.

   Table 1. Nominated Lease Parcel Acres Offered within each County by Alternative

         Alternative       Richland      Roosevelt     McCone       Prairie     Powder River

            Alt A              0             0             0           0              0

            Alt B          1448 1189        200           40      1599-1,919     4617 4597

            Alt C             37 0          0 80           0       1039 521        80 597



   Table 2. Projected Number of Wells within each County by Alternative

         Alternative       Richland      Roosevelt     McCone       Prairie    Powder River

            Alt A               0             0            0           0              0

            Alt B               1             1            1           1              3

            Alt C             10             01            0           1              1




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   Appendix D - Potential Surface Disturbance Associated with Federal Wells

   The potential number of acres disturbed by federal wells and associated access road and utility
   corridor is shown in Table D-1. The potential acres of disturbance reflect acres typically
   disturbed by construction, drilling, and production activities, including infrastructure installation
   throughout the MCFO. Typical federal wells and associated access road and utility corridor
   acres of disturbance were used as assumptions for analysis purposes in this EA. The
   assumptions were not applied to Alternative A because the lease parcel would not be
   recommended for lease; therefore, no wells would be drilled or produced on the lease parcel and
   no surface disturbance would occur on those lands from exploration and development activities.

   Estimated average acres of surface disturbance associated with well pad and access road/utility
   corridor are based on current disturbance of oil, gas, and CBNG APDs being permitted in the
   MCFO within the last five years.

   Standard oil and gas practice typically combines access road and utility corridor (oil/gas/CBNG,
   water, and power) within the same corridor to minimize surface disturbance which requires a
   wider corridor but limits overall surface disturbance.

   It is unknown how many wells would be drilled on multi-well pads; therefore to assist in
   determining acres of surface disturbance, it is assumed that one well would be drilled on one
   well pad.

   Table D-1. Estimated Acres of Disturbance Associated with a Federal Well Pad and Access
   Road and Utility Corridor. ____________________________
                      Well Pad       Access Road/Utility Corridor           Total Disturbance
        Oil              3.00                      1.20                             4.20
        Gas              0.50                      0.55                             1.05
        CBNG             0.25                      0.55                             0.80

   Surface disturbance associated with major transportation lines, processing production areas,
   produced water management areas may not be included as part of the federal APD for
   permitting. It may be permitted and constructed in association with another APD; therefore,
   surface disturbance from associated infrastructure it is not included as acres of surface
   disturbance per well or access road/utility corridor listed in the table.




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   Map 1. All Nominated Lease Parcels




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   Map 2. Nominated Parcels MTM 102757-WT & MTM 102757-WW
                      rtS+fil'rt       iKJfrtTTrt   M-MirW




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   Map 3. Nominated Parcels MTM 105431-HA & MTM 105431-HB




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   Map 4. Nominated Parcels MTM 105431-H6 & MTM 105431-H8
                                             ctw+ts-rt*




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   Map 5. Nominated Parcels MTM 105431-H9 & MTM 105431-JA




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   Map 6. Nominated Parcels MTM 105431-HC, HD, HE, HF, HG, HH, HJ, HK, HL, & HM

                                                             EZlMTM 105431-HC

                                                             Z3 MTM 105431 -HD

                                                             [Z3 MTM 105431-HE

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   Map 7 - Deferred Parcel Areas within the MCFO




                                                                           115


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   Map 8 - Deferred Parcels in Powder River County Area




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   Map 9 - Deferred Parcels in Prairie County Area




                                                                           117


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   Map 10 - Deferred Parcels in McCone and Richland County Areas

              Miles City Field Office May 2014 Deferred Lease Nominations (C)




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    Map 11- Deferred Parcels in Roosevelt County Area




                                                                           119


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    Lynx kittens. ©James Weliver/USFWS
                                                                                                                           management
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    Lynx are making good use of some sections of forest impacted by spruce beetles, according to
                                                                                                                           predator damage management
    ongoing research.
                                                                                                                      ■    in NV
                                                                                                                           Flesh-eating maggots threaten
    “The notion before we started the study was that it was possibly not lynx habitat because it’s
                                                                                                                           endangered Key deer
    very different from what we traditionally think of as lynx habitat,” saidjohn Squires about an
    area in Rio Grande National Forest that was struck by an outbreak of spruce beetles
                                                                                                                           Professionals help students open
    (Dendroctonus rufipennis) in 2013. Squires is a research wildlife biologist at the Rocky
                                                                                                                           doors of opportunity
    Mountain Research Station of the U.S. Forest Service and a member of The Wildlife Society.

    But his research found that Canada lynx (Lynx canadensis] live and produce kittens in certain
                                                                                                           Connect on Facebook
    parts of beetle-killed forests.

    Squires and other project collaborators, including Colorado Parks and Wildlife, Rio Grande                            The Wildlife Society
    National Forest, the Rocky Mountain region of USFS, and Montana State University, trapped                                Like Page   59K likes
    and put GPS collars on four cats in Colorado's Rio Grande Forest so far and will collar more
    animals in the future. They are also documenting the kind of vegetation in parts of the habitat
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    where lynx live in an effort to better understand the cats' preferences.

    “We're doing very detailed vegetation plots and forest mapping to look ^t characteristics of the
    live understory and the dead overstory,” Squires said


    They found that after spruce trees die, young flr trees take advantage of the extra space and
    sunlight and densely populate in some parts of the beetle-kill area. Preliminary findings show
    that the lynx like these areas.

    The finding is important for land-use managers. If Squires and the other researchers can figure
    out what kind of forest the cats prefer, they can provide advice for salvage logging that could
    minimize impacts to lynx.




http://wildlife.org/canada-lynx-persist-in-spruce-beetle-impacted-forests-research-shows/
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    But the public and agencies want to sell the dead trees. Squires said the study is projected to
    continue until the end of 2017. While spruce trees can stand for decades after dying in some
    areas and older dead trees have some commercial uses, logging companies prefer trees that
    died less than flve years ago.


    “In general they want to salvage them as soon as they can after beetle mortality," he said.
    “There’s some urgency to figure out how to do that while still conserving lynx."

    On a larger scale, Squires said this research is part of his larger interest in seeing how lynx
    respond to natural disturbance like beetle kills, fires as they relate to climate change.

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                           Joshua Rapp Learn is a science writer at The Wildlife Society.
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                         Federal Lab Offers Grim Look at
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                                                   Solar Farms Threaten Birds
                      Certain avian species seem to crash into large solar power arrays or get burned by the
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                                                   By John Upton, Climate Central on August 27, 2014




               Yuma clapper rail.        Credit: Fish & Wildlife Services




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               You might never have seen an Yuma clapper rail. Fewer than i,ooo are thought to
               still be sloshing about in cattail-thick marshes from Mexico up to Utah and across to


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               California. But if you were lucky enough to spot one, you might chuckle at its
               oversized toes.


               When officials with the National Fish and Wildlife Forensics Laboratory saw one of
               these endangered birds last year, it was no laughing matter. It was dead. It was one of
               233 birds recovered from the sites of three Californian desert solar power plants as
               part of a federal investigation. The laboratory’s wildlife equivalents of CSI stars
               concluded that many of the birds had been fatally singed, broken, or otherwise fatally
               crippled by the facilities.


               Last week, that long-dead clapper rail stoked a legal action that challenges at least a
               half dozen additional solar plants planned in California and Arizona.


               Conservationists say they’re also worried about yellow-billed cuckoos, which might be
               added to the federal government’s list of threatened species, and
               endangered southwestern willow flycatchers, though none of those birds have been
               found dead at any of the solar sites.


               The effects of wind turbines on birds, which research suggests kill far fewer birds per
               megawatt hour than do fossil fuel plants, have long been a source of consternation for
               many environmentalists. Their bird-killing effects have been serious enough to kill
               and hamper some planned projects. Now, as concentrated solar farms start to sweep
               the globe, solar energy developers are facing similar outcries and opposition for the
               harm that their clean energy facilities can cause to wildlife.


               The construction of solar panel farms and concentrated solar power are both
               booming businesses. In California, industrial-scale facilities like these are helping
               utilities meet a state mandate that 20 percent of electricity sold by 2017 is renewable.
               But if the problem of wildlife impacts festers, the growth of concentrated solar, which
               by one recent estimate could grow to a $9 billion worldwide industry in 2020, up
               from $1 billion in 2013, could be crimped by lawsuits and opposition from
               conservationists.




https://www.scientificamerican.com/article/solar-farms-threaten-birds/
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10/26/2016                                                      Solar Farms Threaten Birds - Scientific American




               Much of the problem appears to lie in the “lake effect,” in which birds and their insect
               prey can mistake a reflective solar facility for a water body, or spot water ponds at the
               site, then hone in on it. Because of the power of the lake effect, the federal
               investigators described such solar farms as “mega-traps” in their report.


               “I strongly believe there’s a way to show the birds that the PV panels are solid
               surfaces, not water,” said Ileene Anderson, a scientist at the Center for Biological
               Diversity, which is preparing to sue over Yuma clapper rail mortality at solar power
               plants.


               The Associated Press reported last week on “streamers” at BrightSource Energy’s
               concentrated solar plant -- a futuristic-looking facility that gamers pass as they drive
               through the desert between Las Vegas and Los Angeles. That’s the name given to
               birds as their feathers ignite, mid-air, after flying through a concentrated beam of
               sunlight. Such hapless birds can be burned to death, killed by brute force when they
               crash to the ground, or eaten a predator swoops in to claim their maimed body. These
               are just some of the ways that large solar plants can kill birds. It’s not known how
               many birds are being felled by the groundswell of such facilities, but the numbers are
               high enough to concern bird and conservation groups -- regardless of the
               environmental benefits of solar power.


               “We can safeguard our irreplaceable wildlife, like the Yuma clapper rail, through
               thoughtful implementation of renewable energy projects,” Anderson said.


               Within days of the AP report, Anderson’s group, which had obtained the federal
               report through a public records request, dispatched a notice of intent to sue. In the
               letter, an attorney for the group threatened to take the U.S. Department of the
               Interior, U.S. Fish & Wildlife Service, and U.S. Bureau of Land Management to court
               in 60 days unless the agencies agreed to more thoroughly review the potential bird
               impacts of other large solar power plants proposed within the Yuma clapper rail’s
               range. The notice alleges violations of the Endangered Species Act.


               The attorney cites findings from the federal investigation report, which showed that
               the Yuma clapper rail had been killed at First Solar’s 4,400-acre Desert Sun Solar


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               Farm in California’s Riverside County. The facility uses a 550-megawatt photovoltaic
               array that produces clean electricity for Californian utility customers. (The group also
               cited a media report of another Yuma clapper rail death at a similar facility.) Birds
               can be killed when they smash into the facility’s solar panels, the investigation
               concluded.


               The other solar farms analyzed by the investigators were of the
               newfangled trough and solar power tower varieties. They included the Genesis Solar
               Energy Project, also in Riverside County, which uses a trough system in which
               parabolic mirrors focus sunrays into a tube where water boils into steam that spins a
               turbine to produce electricity. The mirrors pose similar threats to birds as solar
               panels. The third facility studied was the Ivanpah Solar Electric Generating System in
               Bernardino County, Calif., where birds can be burned as they pass through
               concentrated sunrays that are reflected off thousands of mirrors toward a solar power
               tower, where water is boiled to produce electricity-generating steam.


               The problem of bird deaths at solar power farms is a complex one. Some solar
               developers have been powering down bright lights that had attracted insects at night,
               or switching to LEDs, and using nets to keep birds at bay. But that apparently is not
               enough. “The diversity of birds dying at these solar facilities, and the differences
               among sites, suggest that there is no simple ‘fix’ to reduce avian mortality,” the
               federal report states.


               The report recommends improving bird- and bat-death monitoring through the use
               of sniffer dogs, video cameras, and daily surveys. It also lists recommendations for
               directly reducing avian mortality. Those recommendations include clearing
               vegetation around solar towers to make the area less attractive to birds, retrofitting
               panels and mirrors with designs that help birds realize the solar arrays are not water,
               suspending operations at key migration times, and preventing birds and bats from
               roosting and perching at the facilities. The recommendations are being considered by
               regulators.


               The Center for Biological Diversity supports those proposed measures. It also
               suggests restoring bird habitat elsewhere to draw birds away from the solar facilities,



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               which could help the rails and other species recover. And it wants the government to
               undertake new scientific research -- research that could offer clues for better
               protecting birds from solar power farms.


               “We’d like the FWS to start looking at the potential problem that the Yuma clapper
               rail may be being attracted onto the sites,” Anderson said. “These large-scale solar
               projects in the desert are giant experiments, and we should be learning something
               from them in order to avoid and minimize impacts. We’re so low on the learning
               curve that there’s a lot of unanswered questions.”


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                       Climate Change
                       Evaluating Climate Policy Options, Costs and
                       Benefits
                       On This Page

                             •   Common-sense Approaches Through the Clean Air Act
                             •   Analysis of Proposed Climate Legislation
                             •   Understanding Benefits
                             •   Research Underlying EPA Economic Modeling of Climate Policies


                       EPA analyzes the anticipated economic effects of proposed standards and policies
                       to reduce greenhouse gas emissions. These analyses have shown that there are a
                       variety of cost-effective policies available to reduce greenhouse gas emissions.

                       Policy options range from comprehensive market-based legislation to targeted
                       regulations to reduce emissions and improve the efficiency of vehicles, power
                       plants and large industrial sources. Underlying these analyses are economic
                       models and detailed studies of technologies to reduce emissions.


                       Common-sense Approaches Through the Clean Air
                       Act
                       EPA is taking action under the Clean Air Act to reduce greenhouse gas emissions
                       from the largest sources by increasing the efficiency of our power plants, cars, and
                       trucks. Our analyses show that these regulations will save consumers money at
                       the pump, improve the air we breathe, promote jobs in the green technology
                       sector, and cut millions of tons of harmful greenhouse gas emissions.

                             • EPA's regulatory initiatives for greenhouse gases under the Clean Air Act
                             • Historical economic benefits from taking action under the Clean Air Act


                       Analysis of Proposed Climate Legislation
                       Congress periodically proposes legislation to lower greenhouse gas emissions,
                       and EPA economists analyze these bills as part of the legislative process. EPA
                       analyses have shown that comprehensive, market-based climate legislation can
                       transform the U.S. energy system and reduce greenhouse gas emissions, all at
                       relatively low cost.

                             • EPA Legislative Analyses
                             • Climate Economic Modeling


https://www.epa.gov/climatechange/evaluating-climate-policy-options-costs-and-benefits
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                       Understanding Benefits
                       Taking actions to reduce greenhouse gas emissions yields important economic
                       benefits. These benefits are from the reduced risk to human health and welfare
                       that results from lower emissions of greenhouse gases and less global warming
                       and climate change. EPA and other federal agencies have developed Social Cost
                       of Carbon (SC-CO2) estimates to assess the economic benefits of rulemakings
                       that reduce carbon dioxide (CO2) emissions. When agencies prepare to issue
                       regulations implementing the laws enacted by Congress, they must justify
                       proposed regulations by assessing their cost and benefits to the economy and
                       society. The SC-CO2 is typically used in the benefits part of the cost-benefit
                       analysis. For a regulation that decreases emissions, the SC-CO2 represents the
                       damage avoided--or the benefit of the regulation--for marginal reductions of CO2.

                       As discussed in the supporting technical documentation, (PDF, 21pp, 1.4MB)
                       however, these benefit estimates are not complete because current models do not
                       yet capture all of the important physical, ecological, and economic impacts of
                       rising levels of CO2 in the atmosphere that are recognized in the literature.
                       Nonetheless, these estimates and the discussion of their limitations in the
                       supporting technical documentation represent the best available information about
                       the social benefits of CO2 reductions to inform benefit-cost analysis.

                       EPA is exploring approaches to further understand the benefits of CO2 reductions
                       that complement the analysis conducted with the SC-CO2. While the SC-CO2 is a
                       useful metric to assess marginal changes in CO2 emissions in the context of cost­
                       benefit analysis, bottom-up approaches, such as the Climate Change Impacts and
                       Risks Analysis (CIRA) project, may offer additional insights about the impact of
                       significant global action.

                       CIRA is a peer-reviewed study comparing impacts in a future with significant
                       global action on climate change to a future in which current greenhouse gas
                       emissions continue to rise.

                       In 2015, EPA released a report, Climate Change in the United States: Benefits of
                       Global Action, estimating the physical and monetary benefits to the U.S. of
                       reducing global greenhouse gas emissions. This report summarizes results from
                       the CIRA. Although no specific mitigation policies were analyzed, the report
                       shows that global action on climate change will significantly benefit Americans
                       by saving lives and avoiding costly damages across the U.S. economy.


                       Research Underlying EPA Economic Modeling of
                       Climate Policies:
                       Climate Economic Modeling
                       EPA uses a variety of economic models and analytical tools when conducting
                       climate economic analyses of climate legislation or policy. These models help
                       researchers estimate the future effects of proposed policies on energy production,
                       the economy, emissions of CO2, and land use trends in agriculture and forestry.
https://www.epa.gov/climatechange/evaluating-climate-policy-options-costs-and-benefits
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                       Air Quality and Climate Modeling

                       EPA is creating decision support tools to evaluate policy options for both air
                       quality and climate change

                       Transportation Sector Analyses

                       EPA conducts modeling and feasibility analyses to understand the potential of
                       technologies and strategies to reduce greenhouse gas emissions from the
                       transportation sector.

                       International Emissions Projections for Non CO2 Gases

                       EPA conducts studies of projected global emissions of the methane, nitrous oxide,
                       and fluorinated greenhouse gases which account for about 30 percent of human-
                       caused warming. Projected emissions studies for the non-CO2 gases provide a
                       benchmark that can be used to measure the potential environmental and economic
                       impact of proposed climate policies across all relevant gases.

                       International Mitigation Technologies to Reduce Emissions of
                       Non CO2 Gases

                       Numerous technologies are available to reduce emissions of methane, nitrous
                       oxide, and fluorinated greenhouse gases. EPA develops reports that evaluate the
                       costs of various technologies to reduce non-CO2 greenhouse gas emissions. These
                       reports also provide cumulative marginal abatement cost curves which are used by
                       researchers to represent mitigation costs in their models.




                       Last updated on October 6, 2016




https://www.epa.gov/climatechange/evaluating-climate-policy-options-costs-and-benefits
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    What is an INDC?
    Countries across the globe adopted an historic international climate agreement at the U.N.
    Framework Convention on Climate Change (UNFCCC) Conference of the Parties (COP21) in
    Paris in December 2015. In anticipation of this moment, countries publicly outlined what
    post-2020 climate actions they intended to take under the new international agreement,
    known as their Intended Nationally Determined Contributions (INDCs). The climate actions
    communicated in these INDCs largely determine whether the world achieves the long-term
    goals of the Paris Agreement: to hold the increase in global average temperature to well
    below 2°C, to pursue efforts to limit the increase to 1.5°C, and to achieve net zero emissions
    in the second half of this century.



    For tools, blog posts and publications related to INDCs, visit our INDC resources page.




    How does the process work?
    INDCs pair national policy setting — in which countries determine their contributions in
    the context of their national priorities, circumstances and capabilities — with a global
    framework under the Paris Agreement that drives collective action toward a zero-carbon,
    climate-resilient future.

    The INDCs create a constructive feedback loop between national and international
    decision-making on climate change.

    INDCs are the primary means for governments to communicate internationally the steps
    they will take to address climate change in their own countries. INDCs reflect each
    country’s ambition for reducing emissions, taking into account its domestic circumstances
    and capabilities. Some countries also address how they’ll adapt to climate change impacts,
    and what support they need from, or will provide to, other countries to adopt low-carbon
    pathways and to build climate resilience.


    Do INDCs stay "intended"?
http://www.wri.org/indc-definition
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    The word “intended” was used because countries were communicating proposed climate
    actions ahead of the Paris Agreement being finalized. However as countries formally join
    the Paris Agreement and look forward to implementation of these climate actions - the
    “intended” is dropped and an INDC is converted into a Nationally Determined Contribution
    (NDC).

    This conversion happens when a country submits its respective instrument of ratification,
    accession, or approval to join the Paris Agreement. For more information on this process
    refer to WRI’s blog posts on entry into force and conversion of INDCs to NDCs.

    Under the provisions of the Paris Agreement, countries will be expected to submit an
    updated NDC every five years, which will represent a progression beyond the country’s
    then current NDC to reflect its highest possible ambition.


    Where can we see the INDCs and NDCs?
    All but a small handful of countries have now submitted their INDCs. Visit WRI’s
    interactive Paris Contributions Map to track for all of these INDCs and a summary of the
    climate actions communicated by each country the commitments.

    All INDCs submitted by October ist 2015 were included in a synthesis report by the UNFCCC
    Secretariat that was released in November 2015, and updated in May 2016. The report
    reflects the aggregate emissions impact of INDCs.

    Many countries have also already converted their INDCs to NDCs. For a list of those
    countries that have converted their INDC to their first NDC, visit the UNFCCC’s NDC
    Registry.


    What makes a good INDC?
    Well-designed INDCs signal to the world that the country is doing its part to combat climate
    change and limit future climate risks. In preparing their INDCs, countries should have
    followed a transparent process in order to build trust and accountability with domestic and
    international stakeholders. A good INDC should be ambitious, leading to transformation
    in carbon-intensive sectors and industry; transparent, so that stakeholders can track



http://www.wri.org/indc-definition
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    progress and ensure countries meet their stated goals; and equitable, so that each country­
    does its fair share to address climate change.

    It is important that INDCs be clearly communicated so domestic and international
    stakeholders can anticipate how these actions will contribute to global emissions
    reductions and climate resilience in the future. An INDC should also articulate how the
    country is integrating climate change into other national priorities, such as sustainable
    development and poverty reduction, and send signals to the private sector to contribute to
    these efforts.


    What has WRI done on this topic?
    WRI has worked, and is working, on a variety of projects that aim to assist governments in
    developing and implementing their INDCs and NDCs, assessing, tracking INDCs and
    helping stakeholders to understand and evaluate INDCs and NDCs.

    WRI’s Open Climate Network worked with partners in eight focus countries to evaluate
    current emissions trends and abatement potential out to 2030, a process which helped
    inform initial INDCs. Now, OCN and its partners are using analysis and modeling to
    understand the policy options for delivering on INDCs in major emitting countries. This
    data provides critical information to decision-makers in the world’s largest economies as
    they work towards implementing their INDCs.

    WRI works through our Open Book initiative to enhance INDC transparency. Our CAIT Paris
    Contributions Map tracks and analyzes INDCs.

    Our ACT 2015 project helped catalyze agreement at COP21, including the ways in which
    countries’ commitments and other actions from their INDCs were finalized and linked to
    the 2015 agreement.

    In partnership with the UNDP, WRI prepared an INDC guidance document to support the
    detailed design and preparation of INDCs, including for mitigation and adaptation
    components.

    WRI has also developed a framework and guidance for countries on how to develop and
    communicate an INDC that is fair and ambitious.

    WRI prepared a short framework, called Decoding INDCs, to aide understanding of key
    elements of the INDCs. Decoding INDCs is also available in French and Spanish.
http://www.wri.org/indc-definition
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           CLIMATE CHANGE    ENVIRONMENTAL ACTIVISM   GLOBAL SOUTH



           With a 1.5 Degrees Celsius
           Target, the Climate-Justice
           Movement Is Poised to Score a
           Surprise Win
           Pressure from activists and vulnerable countries has shifted the
           discussion away from a 2 degrees C target—a virtual death
           sentence for millions ofpeople.
           By Mark Hertsgaard

           DECEMBER 7,2015




           Hundreds of environmentalists arrange their bodies to form a message of
           hope and peace in Paris, France, as the World Climate Change Conference
           2015 (COP21) continues near the French capital. (Reuters /Benoit Tessier)


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           news is that the final agreement governments hope to sign
           by week’s end may urge limiting temperature rise to 1.5
           degrees Celsius. This would represent a major shift from the
           current international goal of 2 degrees C as well as a historic
           —and surprising—victory for the world’s poor and most
           vulnerable nations. Their representatives, joined by climate­
           justice activists, have long criticized the 2 degrees C goal as a
           virtual death sentence for millions of people already
           suffering from the sea-level rise, harsher droughts, and other
           impacts unleashed by the 1 degree C of temperature rise
           measured to date.

           “If it were New York City or London that was disappearing
           beneath the waves like some of these Pacific Island states
           are, I guarantee you there wouldn’t be any debate about 2
           degrees versus 1.5 degrees,” Kumi Naidoo, executive director
           of Greenpeace International, told The Nation. “We need to set
           an official target of 1.5 C, challenging as it will be to meet it,
           in order to save as many people as possible.”

           Previously dismissed by most wealthy countries as
           economically unrealistic, the 1.5 degrees C target has
           reemerged at the Paris summit due to a confluence of
           factors: increased recognition by many wealthy countries
           that even 2 degrees C will bring ruinous changes to food,
           water, and other vital systems; a more unified diplomatic
           posture on the part of the 100-plus poor and highly
           vulnerable countries on record supporting a 1.5 degrees C
           target; and relentless pressure from civil society.




           Civil society has been creative, outspoken, ancRvsd plan _ 00003067
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           boisterous during the first week of the UN climate summit,
           despite the official ban on large public gatherings that
           canceled a massive march intended to greet world leaders
           arriving a week ago. If pressure is sustained during the
           second and final week of negotiations, said former heads of
           state, business executives, and climate-justice activists on
           Sunday, the summit could end up endorsing a long-term
           target of 1.5 degrees C, an agreement of unprecedented
           ambition.

           After French authorities banned large outdoor marches in
           Paris following the November 13 terrorist attacks, climate
           activists accepted the decision but quickly devised
           alternative methods of making their voices heard.
           Thousands joined hands to form a human chain along the
           two-mile route of the cancelled march, while hundreds of
           thousands of people demonstrated in cities around the
           world. Also in Paris, activists placed an estimated 20,000
           shoes in the Place de la Republique to symbolize people who
           were prohibited from marching. Pope Francis donated plain
           black dress shoes; Ban Ki-moon, the UN secretary-general,
           donated a pair of jogging shoes.

           On Saturday, Nation contributors Bill McKibben and Naomi
           Klein hosted a mock trial of ExxonMobil at a “People’s
           Climate Summit,” held in the Parisian suburb of Montreuil.
           The next day, activists carried 196 office chairs through the
           square facing the Montreuil city hall—chairs that had been
           “liberated” from banks throughout France. “These chairs
           were requisitioned to reveal the links between the tax
           evasion practiced by big banks and the lack of funding
           needed against climate change, particularly the $100 billion

           a year for adaptation that wealthy countries have promised
           poor countries but that has been blocked by fiRvsdaFlan^ 00003068
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           said Cindy Wiesner of the Grassroots Global Justice Alliance.
           “Thirty trillion dollars disappears every year into the black
           hole of tax havens that these banks control, tax havens that
           benefit criminals and murderers—drug cartels, gun
           traffickers, and the banks themselves. These 196 chairs
           represent the 196 countries whose people deserve a seat at
           the table for a just global economy.”

           “We need civil society to keep the pressure up for the rest of
           this week,” Mary Robinson, the former president of Ireland,
           said Sunday in remarks to a “Development and Climate
           Days” conference urging “zero poverty, zero emissions.” “We
           need to remind negotiators of what world leaders said in
           their speeches on Monday, which was very good,” said
           Robinson, who now heads the Mary Robinson Foundation
           for Climate Justice. “It was about ambition, it was about
           people, it was about justice.”

           The French president, Francois Hollande, for example, said,
           “We cannot accept that the poorest countries, those with the
           lowest greenhouse gas emissions, are the most vulnerable. It
           is therefore on behalf of climate justice that we must act.”
           Hollande added that temperature rise must be limited to 1.5
           C “if possible.”

           Two days later, Jochen Flasbarth, the state secretary of
           Germany’s Ministry of the Environment, said the 1.5 C goal
           “must be mentioned” in the summit’s final agreement and
           confirmed that this was the official position of the German
           government, reported the online news service Climate



           Home. Thus the 1.5 C goal has now been endorsed by the
           host nation of the summit as well as Europe’s strongest
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           On Monday, a delegation from the European Parliament
           came to the summit to support a 2 C target, but “1.5 C is
           obviously a better target,” said Matthias Groote of Germany,
           the spokesperson for the environmental group of the
           delegation. Stressing that he was not authorized to take a
           position for the European Parliament as a whole, Groote
           added that, “personally, of course I would prefer a 1.5 C
           target. At the end of the day, it will not be as expensive as the
           2 C target, so if we can achieve a global agreement on this,
           let’s grab that chance.”

           Also on Monday, Todd Stern, the chief US negotiator in
           Paris, reaffirmed that the United States has heard the
           concerns of poor and vulnerable nations and is open to
           adjusting the final text regarding the 1.5 C goal. “The goal
           isn’t going to change, the goal is to hold the temperature
           [rise] as far below 2 degrees as possible,” Stern told a press
           conference at the Le Bourget convention center. “We are
           working with other countries, with our island state friends
           and other developing countries, and developed countries, on
           language toward that end.”

           The agreement taking shape in the lead up to the Paris
           summit was “not good enough,” as it would produce at least 3
           degrees Gelsius of temperature rise by 2100, Robinson told
           The Nation. But the world is capable of much better, she
           added, noting that she had just attended an event where top
           business executives had pledged that their companies would
           achieve zero net carbon emissions by 2050.

           “Carbon neutral by 2050, we will have 35 years to get there,”
           Richard Branson, the CEO of Virgin, said at the event
           organized by the self-described B Team RobinRVSd Plan - 00003070
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           referenced, which includes Unilever and Marks & Spencer.
           “It’s actually just not that big a deal,” Branson continued, “but
           we need clear long-term goals set by governments this week.
           Give us that goal and we will make it happen.” The B Team
           contends that putting the world on track for zero net
           emissions by 2050 would also “keep the door open” to
           eventually limiting temperature rise to 1.5 C.

           Also giving credence to the possible adoption of the 1.5 C
           goal in any agreement this week in Paris was Saleem ul Huq,
           a scholar and activist who directs the International Center
           for Climate Change and Development in Bangladesh. Huq
           has trained many of the diplomats representing the 48 Least
           Developed Nations at past climate summits, and he remains
           privy to their deliberations.

           “I foresee that we will get an agreement including the 1.5 C
           goal,” Huq told The Nation. “Nobody wants to walk away from
           Paris without an agreement, neither the rich countries nor
           the poor countries. The Least Developed Countries have a
           clear position: World leaders must agree to support and
           protect all of the people on earth, not just some of them. The
           language that rich countries are now offering would commit
           the world to a long-term goal of keeping temperature rise
           ‘well below 2 C.’ Poor countries, though, are insisting that the
           long-term goal must be 1.5 C, and I think they’ll get it.
           President Obama and most world leaders seem receptive to
           this language, and we’ll spend the next week beating up on
           any other nations that try to block it.”


           In the United States, mainstream media focused on war,
           terrorism, and presidential politics are paying relatively little
           attention to the Paris summit. Sunday’s online edition of The
           Washington Post carried five lines about the suiRvsd Plan - 00003071
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           Sunday Ne^v York Times ran a single article. Mainstream
           European media are much more engaged; The Guardian in
           particular is providing in-depth, timely coverage.

           Meanwhile, activists are relying on social media to spread
           their message. Huq noted that the 1.5 C goal already has its
           own hashtag, #lo5C, which he said supporters have been
           tweeting along with selfies of the 1.5 C hand signal: The
           pinkie of the right hand forms the 1, the other four fingers
           are circled to form the decimal point, and all five fingers of
           the left hand are spread to make the five. As he
           demonstrated the gesture for a reporter, Huq broke into a
           beaming smile. •


             I COMMENT




           MARK HERTSGAARD         Mark Hertsgaard, The Nation’s environment
           correspondent, is the author of seven books, including On Bended Knee: The
           Press and the Reagan Presidency.


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   Temperatures                                  E^ect of current pledges and policies on global temperature
   Emissions Gap

   Further Information




                                                 Data underlying the above graph can be downloaded here.



                                                 Addressing global warming

                                                 In the absence of policies global warming is expected, to reach 4.1°C - 4.8°C above pre-industrial by
                                                 the end of the century. The emissions that drive this warming are often called Baseline scenarios
                                                 ('Baselines' in the above Rgure). and are taken from the IPCC AR5 Working Group III. Current policies
                                                 presently in place around the world are projected to reduce baseline emissions and result in about
                                                 3.6°C [1 warming above pre-industrial levels. The unconditional pledges or promises that
                                                 governments have made, including in submitted INDCs as of 7 December 2015, would limit warming
                                                 to about 2.7°C [2J above pre-industrial levels, or in probabilistic terms, likely limit warming below 3°C.

                                                 There remains a substantial gap between what governments have promised to do and the total level
                                                 of actions they have undertaken to date. Furthermore, both the current policy and pledge
                                                 trajectories lie well above emissions pathways consistent with a 1.5°C or 2°C world.



                                                 Evaluating progress towards the below 2°C and 1.5°C limits

                                                 Limiting warming to the globally agreed goal of holding warming below a 2°C increase above pre­
                                                 industrial in the 21st century means that the emissions of greenhouse gases need to be reduced
                                                 rapidly in the coming years and decades, and brought to zero shortly after mid-century. Vulnerable
                                                 countries, small island states and least developed countries, have called for warming to be limited to
                                                 below 1.5°C by 2100. As a consequence the adequacy of the 2°C limit is being reviewed in a formal
                                                 UNFCCC process where the merits of the 1.5°C limit are also being examined 131.

                                                 The CAT evaluates progress towards these global goals by quantifying the aggregate ejects of
                                                 current policies and the pledges (promises) and INDCs put forward by countries, and compares these
                                                 with the emissions levels consistent over time with both the 1.5°C and 2°C warming limits.



http://climateactiontracker.org/globaLhtml
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                                             The CAT Thermometer explained

                                             The temperatures on the CAT thermometer are 'median' warming
                                             estimates in 2100. It means that there is a 50% chance that the
                                             calculated temperature would be exceeded if the given emissions
                                             pathway were followed.

                                             For example, our emissions pathway in the pledge scenario (that
                                             incorporates INDCs until 7 December) gives a 50% chance of warming
                                             being 2.7°C or higher in 2100.



                                             Using probabilities to provide more information

                                             The 'median' is based on the probability distribution generated by the
                                             climate model (MAGICC) when it takes into account uncertainties in
                                             our knowledge of climate sensitivity, the carbon cycle, and effect of
                                             greenhouse gases, aerosols, and other factors that are used to
                                             calculate the temperatures. The probability distribution enables us to
                                             provide more information for policy makers and stakeholders about
                                             the likelihood of goals being met, or speciRc temperatures being
                                             exceeded.



                                             December 2015 - INDCs likely below 3°C and over 90% chance
                                             exceeding 2°C

                                             The emissions pledge pathway that includes INDCs has aover 90% probability of exceeding 2°C, and
                                             only a 'likely' (>66%) chance of remaining below 3°C this century. The current policy pathways have a
                                             higher than 99.5% probability of exceeding 2°C.


                                             Limiting warming to 2°C with ‘likely’ probability

                                             In the CAT we assess pathways against a (>66%) probability of holding warming below 2°C. A median
                                             2°C pathway would give, in effect, only a 'toss of the coin' chance of limiting warming below this
                                             level. It is assumed that policy makers are interested in a higher probability of achieving this limit. A
                                             higher probability of limiting warming below 2°C gives greater conRdence that the emissions
                                             reduction efforts made will be successful in limiting warming to 2°C. This means, of course, that the
                                             median peak warming from a 2°C compatible pathway will be lower than 2°C - in the range of 1.5­
                                             1.7°C (see Rgure above and IPCC AR5 WGIII Ch6).


                                             What governments need to do to achieve the global goal

                                             Fortunately, as shown by the IPCC AR5, substantially more action, sufficient to hold warming below
                                             2°C (and to below 1.5°C by 2100) with likely probability is technically and economically feasible.
                                             According to the IPCC, the costs of reducing emissions to limit warming to below 2°C are modest,
                                             even before taking into account co-beneRts such as increased energy-security and health
                                             improvements due to reduced air pollution. Annualised reductions of consumption growth are
                                             estimated at around 0.06 per cent over the century, relative to a baseline of 1.6 to 3% growth per
                                             year. [41

                                             The IPCC AR5 shows that even starting from emission levels implied by INDCs and current policy
                                             projections, 1.5°C and 2°C pathways are still technically feasible. However, the resulting emission
                                             pathways are increasingly expensive as they are not consistent with the most cost-efficient policies.
                                             Slower-than-optimal emission reductions early on need to be followed by faster reductions later on,
                                             effectively leading to signiRcantly higher costs for the period 2030-2050 than would otherwise be
                                             needed. While the challenges are signiRcant, limiting warming to below 1.5°C by the end of the
                                             century is still feasible from current emissions levels. However, with every decade lost, these
                                             challenges and costs rise and will, at some point, become insurmountable with warming locked in to
                                             1.5 or 2°C and above. [51


                                             Further information
                                             For more information on the global emission pathways and how they are calculated, please see the
                                             detailed analysis and methodology pages.

                                             If you use the provided data or any of the graphs provided on this website, please make sure to
                                             reference the Climate Action Tracker and the Ecofys / Climate Analytics / New Climate / PIK team!

                                             Last temperature update: 7 December 2015. 'Pledges' include all INDCs submitted by 7 December.



http://climateactiontracker.org/globaLhtml
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                                                     [1] 3.6 is the median of the low and high ends of current policy projections (3.3 to 3.8°C). The uncertainty range on the
                                                     Rgure (2.7-4.9°C) originates from carbon-cycle and climate modelling around both the low and high current policy
                                                     projections. Here we give the 68% range; that is the 16th and 84th percentiles of the probability distribution.

                                                     [2] The uncertainty range for pledges on the CAT thermometer (2.2-3.4°C) originates from carbon-cycle and climate
                                                     modelling around both the low and high current policy projections. Here we give the 68% range; that is the 16th and
                                                    84th percentiles of the probability distribution. If the more ambitious end of pledge ranges were reached, warming
                                                    could be limited to a median of 2.5°C. This includes the upper end of country INDCs where a reduction range is speciRed
                                                    (e.g. the 28% end of the 26-28% commitment by the USA), and mitigation commitments that are conditional on Rnance
                                                    (e.g. 101 Mt CO2-e by Trinidad & Tobago).

                                                     [3] http://unfccc.int/science/workstreams/the 2013-2015 review/items/6998.php

                                                     [4] The IPCC AR5 WGIII identiRed many mitigation options to hold warming below 2°C (with a likely chance), and with
                                                    central estimates of 1.5-1.7°C by 2100. The IPCC further shows that "a limited number of studies have explored
                                                    scenarios that are more likely than not to bring temperature change back to below 1.5°C by 2100”. The scenarios
                                                    indicating the feasibility of bringing temperatures down below 1.5°C are "characterised by (1) immediate mitigation
                                                    action; (2) the rapid upscaling of the full portfolio of mitigation technologies; and (3) development along a low-energy
                                                    demand trajectory.” (IPCC WGIII SPM page 17). The 0.06 per cent Rgure is median of the range 0.04 to 0.14, Table SPM.2,
                                                     IPCC AR5 WGIII page 15. For consumption growth Rgures refer to page 16.

                                                     [5] Refer to CAT BrieRng "The CAT Emissions Gap - How close are INDCs to 1.5 and 2 pathways?", September 2015.




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    Recommendations

    Modernizing Federal Forest Management To Mitigate and Prepare For Climate Disruption
    Science-based Recommendations to The Obama Administration in Response to The President's November
    1,2013 Executive Order: Preparing the United States for the Impacts of Climate Change
    PDF of Recommendations.

    PDF of Summary of Recommendations.

    Press Release (below)

    June 26, 2014



                               Forest Carbon Coalition Urges The Obama Administration
                               To Modernize Forest Management to Protect The Climate

    Contact:

    Bob Doppelt, Co-Chair FFCC: (541)744-7072 or bob@irig-cLLprg

    Ernie Niemi, Co-Chair FFCC: emie.niemi@nreconomics.com (delayed response)

    Jim Furnish, Senior Advisor to the FFCC: (240) 271-1650 or . jimfumish@verizon.net

    Eugene, Oregon and Washington D.C.: The Federal Forest Carbon Coalition (FFCC), today issued a suite of science-based
    recommendations to the Obama Administration intended to modernize federal forest management to address the climate crisis. The
    recommendations, Modernizing Federal Forest Management To Mitigate and Prepare For Climate Disruption, emphasize conserving
    carbon already stored in forests while also increasing carbon sequestration, building resilience to climate change-related
    disturbances, and generating social, economic, and ecological co-benefits consistent with the other goals.

    The FFCC is a new first-of-a-kind consortium of over 60 national, regional and local organizations focused on forests, biodiversity,
    fisheries, rivers, faith and spirituality, Native American treaty rights, youth, rural communities, and climate disruption.

    (Website: www.forestcc.org)

    The FFCC’s 17 recommendations are framed around six new interrelated goals that the FFCC believes are needed to help the U.S.
    Departments of Interior and Agriculture and other federal land management agencies comply with the requirements of President
    Obama’s Executive Order 13653, of November 1, 2013: Preparing the United States for the Impacts of Climate Change. The
    President’s Executive Order requires federal agencies to submit plans to CEQ and OMB by July of this year to build resilience for
    and reduce the sources of climate disruption.

    “Although few people realize it, forests play a major role in regulating the Earth’s climate, and federal forests must play a significant
    role in preventing runaway climate disruption,” said Bob Doppelt, Executive Director of the Resource Innovation Group, and co-chair
    of the FfCC. “To address this need, federal forest management agencies must rapidly make a major shift in mindset, science,
    policies, regulations, and practices. Our recommendations are intended to help the agencies begin the transition.”

    “The economic values at stake are large,” said Ernie Niemi, economist with Natural Resource Economics Inc. and co-chair of the
    FFCC. “For example, using the Obama Administration’s own $50 per metric tonne mid-level estimate of the social cost of carbon, if

http://www.forestcc.org/recs
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    even one tenth of the carbon held on federal forests is released into the atmosphere the damage would be in the range of $200
    billion. Our recommendations seek to reorient the management of federal forests to hold onto the stored carbon and prevent this
    major economic damage.”

    “Federal agencies have historically neglected forest carbon,” said Jim Furnish, former Deputy Chief of the U.S. Forest Service and
    Senior Advisor to the FFCC. “We have identified several key policy changes that can really improve carbon storage and lessen
    climate change impacts.“



    The complete set of FFCC recommendations can be obtained at the bottom of this page or this link:

    http://www.theresourceinnovationgroup.org/storage/ffcc/FFCCrecommendationsToObamaAdminJune2014.pdf



    Statements From FFCC Steering Committee Members:

    “For the sake of all children we believe that agencies who manage federal forests need to re-think and re-prioritize the
    purposes and practices of forest management in light of the present day climate reality,” said Valerie Serrels, Associate
    Director of Kids vs Global Warming and the iMatter Campaign, and FfCc steering committee member. “Our
    recommendations provide a map for not only reframing forest management, but also for transformational shifts in
    understanding the context of forestry within today’s new climate paradigm.”

    “We love our forests for their beauty and for providing an abundance of clean water, wildlife, and recreation,” said
    Shelley Silbert, Executive Director of Great Old Broads for Wilderness and FFCC Steering committee member.
    “However, when we think of the economic value of forests, we fail to recognize their critical importance in regulating
    climate disruption. Reorienting the management of our National Forests is essential to our future.”

    “The Tongass is a shining knight in the battle against global warming, and must be managed to protect its world-class
    ability to store carbon,” said Malena Marvin, Executive Director at Southeast Alaska Conservation Council and FFCC
    Steering Committee member. “The good news is that protecting Tongass carbon storage is 100% compatible with a
    Tongass transition that also prioritizes Southeast Alaska’s forest jobs and our $2 billion per year fishing and tourism
    industries.“
    “From the massive Coast Redwoods of California to the towering spruce trees of the Tongass rainforest in Alaska, older
    forests help stabilize the climate, clean our air, give us drinking water, and support the region’s outdoor economies,” said
    Dominick A. DellaSala, Ph.D, President, Chief Scientist at the Geos Institute and an FFCC Steering committee member.
    “The President can make protecting the nation's older forests a signature part of his environmental and climate change
    legacy."

    "If we let them, our public forests can live for centuries, making them great places to store carbon and reduce
    greenhouse pollution," said Doug Heiken of Oregon Wild and an FFCC steering committee member. "Conserving high-
    carbon forests will not only help stabilize the climate, but provide a variety of additional benefits, such as clean water,
    wildlife habitat, and recreation, all of which enhance our quality of life."
    PDF of Recommendations.

    PDF of Summary of Recommendations.



    Subpages (1): GHG NEPA Comments


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    ^     FFCCrecommendationsToObamaAdminJune2014._ TRIG CLI, Jun 25, 2014, 6:26 PM                               v.4                    ♦

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http://www.forestcc.org/recs
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     Incorporating Natural Infrastructure and
     Ecosystem Services in Federal Decision-Making
    OCTOBER 7, 2015 AT 2:30 PM ET BY TAMARA DICKINSON, TIMOTHY MALE, ALI ZAIDI


             ^


    Summary: Today, the Administration released a new memorandum directing Federal
    agencies to factor the value of ecosystem services into Federal planning and
    decision-making.


    Our natural world provides critical contributions that support and protect our
    communities and economy. For instance, Louisiana's coastal wetlands provide billions of
    dollars worth of flood protection and other benefits. Preserving and restoring forests in
    the Catskill Mountains enables New York City to access clean water at a cost several
    times less than the cost of building a new water-filtration plant. And current efforts to
    plant trees along Oregon's salmon-rich rivers will improve local water quality - saving
    costs associated with installing expensive machinery to achieve the same purpose.

    These are just a few examples of the many ways that nature creates benefits that
    contribute to our economic prosperity, protect the health and safety of vulnerable
    populations, and help build more resilient communities. But these “ecosystem services”
    are often overlooked. integrating ecosystem services into planning and decision-making
    can lead to better outcomes, fewer unintended consequences, and more efficient use of
    taxpayer dollars and other resources.

    That is why, today, the Administration is issuing a memorandumdirecting all Federal
    agencies to incorporate the value of natural, or “green,” infrastructure and ecosystem
    services into Federal planning and decision making. The memorandum directs agencies
    to develop and institutionalize policies that promote consideration of ecosystem
    services, where appropriate and practicable, in planning, investment, and regulatory
    contexts. it also establishes a process for the Federal government to develop a more
    detailed guidance on integrating ecosystem-service assessments into relevant programs


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    and projects to help maintain ecosystem and community resilience, sustainable use of
     natural resources, and the recreational value of the Nation's unique landscapes.

    This memorandum complements Ecosystem-Service Assessment: Research Needs for
    Coastal Green Infrastructure, a report released by the Administration in August that
    outlines Federal research priorities to inform the integration of coastal green
    infrastructure and ecosystem services considerations into planning and decision­
    making. Together, they showcase continued Federal progress in response to recent
    recommendations made by the President's Council of Advisors on Science and
    Technology, the Hurricane Sandy Task Force; the State, Local, and Tribal Leaders Task
     Force on Climate Preparedness and Resilience; and the White House Council on Climate
     Preparedness and Resilience.

    Moreover, today's memorandum builds on complementary efforts across the Obama
    Administration. For example:


        • in 2012, the U.S. Forest Service issued a planning rule for National Forest System
          land-management planning. The rule established policies to better value and protect
          ecosystem services on 193 million acres of National Forest.
        • in August, the Gulf Coast Ecosystem Restoration Council released for public
          comment a draft list of projects, using funds from the settlement with Transocean
          Deepwater inc. for initial investments, which will invest in restoring natural barriers to
             future storms and other resources critical to the health and safety of local
          communities and their economies.
        • in September, the U.S. Environmental Protection Agency and the U.S. Department
          of Agriculture hosted a workshop in Lincoln, Nebraska on water-quality markets and
          the importance of quantifying ecosystem services to support water quality trading
          and other innovative approaches to mitigating environmental damages.


     President Obama has taken unprecedented action to combat climate change, while also
    ensuring that Federal investments are climate resilient and made with anticipated future
    conditions in mind. Today's actions, and future actions and events, will enhance our
    ability to recognize and leverage the benefits of natural systems, protect against natural
    hazards, and support social and economic development while keeping our communities
    and our world healthy and livable.




    Tamara Dickinson is Principal Assistant Director for Environment & Energy at the White
    House Office of Science and Technology Policy.


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    Timothy Male is Associate Director for Conservation and Wildlife at the Council on
    Environmental Quality.

    Ali Zaidi is Associate Director for Natural Resources, Energy, and Science at the White
    House Office of Management and Budget.




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   Presidential Memorandum: Mitigating
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   Impacts on Natural Resources from
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                           MEMORANDUM FOR THE SECRETARY OF DEFENSE
                                         THE SECRETARY OF THE iNTERiOR

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                        THE SECRETARY OF AGRiCULTURE
         THE ADMiNiSTRATOR OF THE ENViRONMENTAL PROTECTiON AGENCY
         THE ADMiNiSTRATOR OF THE NATiONAL OCEANiC AND ATMOSPHERiC
                               ADMiNiSTRATiON




   We all have a moral obligation to the next generation to leave America's
   natural resources in better condition than when we inherited them. it is this
   same obligation that contributes to the strength of our economy and quality of
   life today. American ingenuity has provided the tools that we need to avoid
   damage to the most special places in our Nation and to find new ways to
   restore areas that have been degraded.

   Federal agencies implement statutes and regulations that seek simultaneously
  to advance our economic development, infrastructure, and national security
  goals along with environmental goals. As efforts across the country have
  demonstrated, it is possible to achieve strong environmental outcomes while
  encouraging development and providing services to the American people. This
  occurs through policies that direct the planning necessary to address harmful
  impacts on natural resources by avoiding and minimizing impacts, then
  compensating for impacts that do occur. Moreover, when opportunities to
   offset foreseeable harmful impacts to natural resources are available in
   advance, agencies and project proponents have more options to achieve
   positive environmental outcomes and potentially reduce permitting timelines.

   Federal agencies can, however, face barriers that hinder their ability to use
   Federal resources for restoration in advance of regulatory approval of
   development and other activities (e.g., it may not be possible to fund
   restoration before the exact location and scope of a project have been
   approved; or there may be limitations in designing large-scale management
   plans when future development is uncertain). This memorandum will
   encourage private investment in restoration and public-private partnerships,
   and help foster opportunities for businesses or non-profit organizations with
   relevant expertise to successfully achieve restoration and conservation
   objectives.

  One way to increase private investment in natural resource restoration is to
  ensure that Federal policies are clear, work similarly across agencies, and are
  implemented consistently within agencies. By encouraging agencies to share
  and adopt a common set of their best practices to mitigate for harmful impacts
  to natural resources, the Federal Government can create a regulatory
                                                                                                            Rvsd Plan - 00003083
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  environment that allows us to build the economy while protecting healthy
  ecosystems that benefit this and future generations. Similarly, in non-
  regulatory circumstances, private investment can play an expanded role in
  achieving public natural resource restoration goals. For example, performance
  contracts and other Pay for Success approaches offer innovative ways to
  finance the procurement of measurable environmental benefits that meet high
  government standards by paying only for demonstrated outcomes.

  Therefore, by the authority vested in me as President by the Constitution and
  the laws of the United States of America, and to protect the health of our
  economy and environment, i hereby direct the following:

  Section 1. Policy. it shall be the policy of the Departments of Defense, the
  interior, and Agriculture; the Environmental Protection Agency; and the
  National Oceanic and Atmospheric Administration; and all bureaus or agencies
  within them (agencies); to avoid and then minimize harmful effects to land,
  water, wildlife, and other ecological resources (natural resources) caused by
  land- or water-disturbing activities, and to ensure that any remaining harmful
  effects are effectively addressed, consistent with existing mission and legal
  authorities. Agencies shall each adopt a clear and consistent approach for
  avoidance and minimization of, and compensatory mitigation for, the impacts
   of their activities and the projects they approve. That approach should also
   recognize that existing legal authorities contain additional protections for
   some resources that are of such irreplaceable character that minimization and
   compensation measures, while potentially practicable, may not be adequate or
   appropriate, and therefore agencies should design policies to promote
   avoidance of impacts to these resources.

   Large-scale plans and analysis should inform the identification of areas where
   development may be most appropriate, where high natural resource values
   result in the best locations for protection and restoration, or where natural
  resource values are irreplaceable. Furthermore, because doing so lowers long­
  term risks to our environment and reduces timelines of development and other
  projects, agency policies should seek to encourage advance compensation,
  including mitigation bank-based approaches, in order to provide resource gains
  before harmful impacts occur. The design and implementation of those policies
  should be crafted to result in predictability sufficient to provide incentives for
  the private and non-governmental investments often needed to produce
  successful advance compensation. Wherever possible, policies should operate
  similarly across agencies and be implemented consistently within them.


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  To the extent allowed by an agency's authorities, agencies are encouraged to
  pay particular attention to opportunities to promote investment by the non­
  profit and private sectors in restoration or enhancement of natural resources to
  deliver measurable environmental outcomes related to an established natural
  resource goal, including, if appropriate, as part of a restoration plan for natural
  resource damages or for authorized investments made on public lands.

  Sec. 2. Definitions. For the purposes of this memorandum:

   (a) "Agencies" refers to the Department of Defense, Department of the
   interior, Department of Agriculture, Environmental Protection Agency, and
   National Oceanic and Atmospheric Administration, and any of their respective
   bureaus or agencies.

   (b) "Advance compensation" means a form of compensatory mitigation for
  which measurable environmental benefits (defined by performance standards)
  are achieved before a given project's harmful impacts to natural resources
  occur.

   (c) "Durability" refers to a state in which the measurable environmental
   benefits of mitigation will be sustained, at minimum, for as long as the
  associated harmful impacts of the authorized activity continue. The
   "durability" of a mitigation measure is influenced by: (1) the level of protection
  or type of designation provided; and (2) financial and long-term management
  commitments.

  (d) "irreplaceable natural resources" refers to resources recognized through
  existing legal authorities as requiring particular protection from impacts and
  that because of their high value or function and unique character, cannot be
  restored or replaced.

   (e) "Large-scale plan" means any landscape- or watershed-scale planning
  document that addresses natural resource conditions and trends in an
  appropriate planning area, conservation objectives for those natural resources,
  or multiple stakeholder interests and land uses, or that identifies priority sites
  for resource restoration and protection, including irreplaceable natural
   resources.

  (f) "Mitigation" means avoiding, minimizing, rectifying, reducing over time, and
  compensating for impacts on natural resources. As a practical matter, all of
  these actions are captured in the terms avoidance, minimization, and
  compensation. These three actions are generally applied sequentially, and
  therefore compensatory measures should normally not be considered until
                                      «•                r r            .    . ,             „    ,    , Rvsd Plan - 00003085
https://www.whitehouse.gov/the-press-office/2015/11/03/mitigating-impacts-natural-resources-development-ana-encouraging-rerated                         4/8
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   after all appropriate and practicable avoidance and minimization measures
   have been considered.

   Sec. 3. Establishing Federal Principles for Mitigation. To the extent permitted by
  each agency's legal authorities, in addition to any principles that are specific to
  the mission or authorities of individual agencies, the following principles shall
  be applied consistently across agencies to the extent appropriate and
  practicable.

   (a) Agencies should take advantage of available Federal, State, tribal, local, or
   non-governmental large-scale plans and analysis to assist in identifying how
   proposed projects potentially impact natural resources and to guide better
   decision-making for mitigation, including avoidance of irreplaceable natural
   resources. 4

  (b) Agencies' mitigation policies should establish a net benefit goal or, at a
  minimum, a no net loss goal for natural resources the agency manages that are
  important, scarce, or sensitive, or wherever doing so is consistent with agency
  mission and established natural resource objectives. When a resource's value
  is determined to be irreplaceable, the preferred means of achieving either of
  these goals is through avoidance, consistent with applicable legal authorities.
  Agencies should explicitly consider the extent to which the beneficial
   environmental outcomes that will be achieved are demonstrably new and
  would not have occurred in the absence of mitigation (i.e. additionality) when
  determining whether those measures adequately address impacts to natural
  resources.

   (c) With respect to projects and decisions other than in natural resource
   damage cases, agencies should give preference to advance compensation
   mechanisms that are likely to achieve clearly defined environmental
   performance standards prior to the harmful impacts of a project. Agencies
   should look for and use, to the extent appropriate and practicable, available
   advance compensation that has achieved its intended environmental
   outcomes. Where advance compensation options are not appropriate or not
   available, agencies should give preference to other compensatory mitigation
   practices that are likely to succeed in achieving environmental outcomes.

  (d) With respect to natural resource damage restoration plans, natural
  resource trustee agencies should evaluate criteria for whether, where, and
  when consideration of restoration banking or advance restoration projects
  would be appropriate in their guidance developed pursuant to section 4(d) of
  this memorandum. Consideration under established regulations of restoration
                                                                                                            Rvsd Plan - 00003086
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   banking or advance restoration strategies can contribute to the success of
   restoration goals by delivering early, measurable environmental outcomes.

   (e) Agencies should take action to increase public transparency in the
  implementation of their mitigation policies and guidance. Agencies should set
  measurable performance standards at the project and program level to assess
  whether mitigation is effective and should clearly identify the party responsible
  for all aspects of required mitigation measures. Agencies should develop and
  use appropriate tools to measure, monitor, and evaluate effectiveness of
  avoidance, minimization, and compensation policies to better understand and
   explain to the public how they can be improved over time.

   (f) When evaluating proposed mitigation measures, agencies should consider
  the extent to which those measures will address anticipated harm over the
  long term. To that end, agencies should address the durability of compensation
  measures, financial assurances, and the resilience of the measures' benefits to
  potential future environmental change, as well as ecological relevance to
  adversely affected resources.

   (g) Each agency should ensure consistent implementation of its policies and
   standards across the Nation and hold all compensatory mitigation mechanisms
  to equivalent and effective standards when implementing their policies.

  (h) To improve the implementation of effective and durable mitigation projects
  on Federal land, agencies should identify, and make public, locations on Federal
  land of authorized impacts and their associated mitigation projects, including
  their type, extent, efficacy of compliance, and success in achieving
  performance measures. When compensatory actions take place on Federal
  lands and waters that could be open to future multiple uses, agencies should
  describe measures taken to ensure that the compensatory actions are durable.

   Sec. 4. Federal Action to Strengthen Mitigation Policies and Support Private
   investment in Restoration. in support of the policy and principles outlined
   above, agencies identified below shall take the following specific actions.

  (a) Within 180 days of the date of this memorandum, the Department of
  Agriculture, through the U.S. Forest Service, shall develop and implement
  additional manual and handbook guidance that addresses the agency's
  approach to avoidance, minimization, and compensation for impacts to natural
  resources within the National Forest System. The U.S. Forest Service shall
  finalize a mitigation regulation within 2 years of the date of this memorandum.


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   (b) Within 1 year of the date of this memorandum, the Department of the
   interior, through the Bureau of Land Management, shall finalize a mitigation
   policy that will bring consistency to the consideration and application of
   avoidance, minimization, and compensatory actions or development activities
   and projects impacting public lands and resources.

   (c) Within 1 year of the date of this memorandum, the Department of the
   interior, through the U.S. Fish and Wildlife Service, shall finalize a revised
   mitigation policy that applies to all of the U.S. Fish and Wildlife Service's
   authorities and trust responsibilities. The U.S. Fish and Wildlife Service shall
   also finalize an additional policy that applies to compensatory mitigation
   associated with its responsibilities under the Endangered Species Act of 1973.
   Further, the U.S. Fish and Wildlife Service shall finalize a policy that provides
   clarity to and predictability for agencies and State governments, private
   landowners, tribes, and others that take action to conserve species in advance
   of potential future listing under the Endangered Species Act. This policy will
   provide a mechanism to recognize and credit such action as avoidance,
   minimization, and compensatory mitigation.

   (d) Within 1 year of the date of this memorandum, each Federal natural
   resource trustee agency will develop guidance for its agency's trustee
   representatives describing the considerations for evaluating whether, where,
   and when restoration banking or advance restoration projects would be
   appropriate as components of a restoration plan adopted by trustees. Agencies
   developing such guidance will coordinate for consistency.

   (e) Within 1 year of the date of this memorandum, the Department of the
  interior will develop program guidance regarding the use of mitigation projects
  and measures on lands administered by bureaus or offices of the Department
  through a land-use authorization, cooperative agreement, or other appropriate
  mechanism that would authorize a project proponent to conduct actions, or
   otherwise secure conservation benefits, for the purpose of mitigating impacts
   elsewhere. 6

   Sec. 5. General Provisions. (a) This memorandum complements and is not
   intended to supersede existing laws and policies.

   (b) This memorandum shall be implemented consistent with applicable law,
   and subject to the availability of appropriations.

   (c) This memorandum is intended for the internal guidance of the executive
   branch and is inapplicable to the litigation or settlement of natural resource

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   damage claims. The provisions of section 3 this memorandum encouraging
   restoration banking and advance restoration projects also do not apply to the
   selection or implementation of natural resource restoration plans, except to
  the extent determined appropriate in Federal trustee guidance developed
  pursuant to section 4(d) of this memorandum.

  (d) The provisions of this memorandum shall not apply to military testing,
  training, and readiness activities.

   (e) Nothing in this memorandum shall be construed to impair or otherwise
   affect:

   (i) the authority granted by law to an executive department, agency, or the
   head thereof; or

   (ii) the functions of the Director of the Office of Management and Budget
   relating to budgetary, administrative, or legislative proposals.

   (f) This memorandum is not intended to, and does not, create any right or
   benefit, substantive or procedural, enforceable at law or in equity by any party
   against the United States, its departments, agencies, or entities, its officers,
   employees, or agents, or any other person.

  (g) The Secretary of the interior is hereby authorized and directed to publish
  this memorandum in the Federal Register.

                                                        BARACK OBAMA

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    INITIATIVES
    Climate Change                   CEQ Releases Final Guidance on Greenhouse Gases and
    Resilience
                                     Climate Change
    Federal Sustainability
    America's Great                 The Council on Environmental Quality (CEQ) has released final guidance for Federal agencies on
    Outdoors                        how to consider the impacts of their actions on global climate change in their National
                                    Environmental Policy Act (NEPA) reviews. This final guidance provides a framework for agencies to
    National Ocean Policy
                                    consider both the effects of a proposed action on climate change, as indicated by its estimated
    Great Lakes Offshore            greenhouse gas emissions, and the effects of climate change on a proposed action. The final
    Wind                            guidance applies to all types of proposed Federal agency actions that are subject to NEPA analysis
    Steps to Modernize              and guides agencies on how to address the greenhouse gas emissions from Federal actions and the
    and Reinvigorate NEPA           effects of climate change on their proposed actions within the existing NEPA regulatory framework.
     NEPA Pilot Program             Below is the guidance and related information, including a list of greenhouse gas accounting tools
                                    available to Federal agencies.
     NEPA Guidance on
     Efficiencies
                                     • Read the Final Guidance on the Consideration of Greenhouse Gas Emissions and the Effects of
     Guidance on
                                       Climate Change in NEPA Reviews
     Categorical
     Exclusions                      • View list of available GHG accounting tools
     Guidance for                    • Read the fact sheet announcing CEQ’s issuance of the Final Guidance
     Mitigation and
                                     • Read the 2014 Revised Draft Guidance
     Monitoring
                                     • Read the 2010 Draft Guidance
     Guidance for NEPA
     Programmatic
     Reviews
     Revised Draft
     Guidance for GHG
     Emissions
     Submit Comments
     on the Revised Draft
     Guidance for GHG
     Emissions
     Comments on NEPA
     Draft Guidance
     40th Anniversary
     Symposium
    Retrospective
    Regulatory Review
    Plan
    Review of MMS NEPA
    Procedures
    Recovery Through
    Retrofit
    Commitment to Clean
    Water
    Interagency Rapid
    Response Team for
    Transmission



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    Gulf Coast Ecosystem
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    and Guidelines for
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                Rocky Mountain Bighorn Sheep
                      (Ovis canadensis):
             A Technical Conservation Assessment




                    Prepared for the USDA Forest Service,
                          Rocky Mountain Region,
                        Species Conservation Project

                                    February 12, 2007


       John J. Beecham, Ph.D., Cameron P. Collins, M.S., and Timothy D. Reynolds, Ph.D.
                                         TREC, Inc.
                                     4276 E. 300 North
                                     Rigby, Idaho 83442



                                                              Peer Review Administered by
                                                              Society for Conservation Biology



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   Beecham, J.J. Jr., C.P. Collins, and T.D. Reynolds. (2007, February 12). Rocky Mountain Bighorn Sheep (Ovis
          canadensis): a technical conservation assessment. [Online]. USDA Forest Service, Rocky Mountain
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          of access].




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   patience in developing the final Web published product.


                                         Authors’ Biographies
         John Beecham received his Ph.D. from the University of Montana in 1980, his M.S. from the University of
   Idaho in 1970, and his B.S. from Texas Tech University in 1968. He retired in 1999 after 29 years of working as a
   research biologist and manager for the Idaho Department of Fish and Game (IDFG). John conducted field research
   on black bears for 12 years before moving into the headquarters office to manage IDFG’s research program and their
   statewide management programs for black bears, cougars, moose, bighorn sheep, and mountain goats. As the program
   manager for IDFG’s bighorn sheep program, John was IDFG’s management level representative on the multi-state
   Hells Canyon Bighorn Sheep Initiative project from its inception until his retirement in 1999. John also directly
   supervised the field activities of the bighorn sheep research biologist assigned to the project. John went to work for
   the Hornocker Wildlife Institute and the Wildlife Conservation Society (WCS) after retiring from IDFG, where he
   supervised their research efforts in the Greater Yellowstone area on wolverines, black bears, and cougars. John left
   WCS in 2003 and continues to work as a wildlife consultant on a variety of projects.

         Cameron P. (Cam) Collins received his M.S. (Wildlife Resources) in 2004 from the University of Idaho and
   his B.S. (Terrestrial Ecology) in 1995 from Western Washington University. His master’s research investigated
   the ecology of Columbian sharp-tailed grouse associated with reclaimed mined lands and native shrub-steppe in
   Colorado. He has participated in a reintroduction program for the Hawaiian crow, and an investigation of the status of
   the Hawaiian hawk for the U.S. Fish and Wildlife Service. He has also spent time on research projects with northern
   goshawks and northern spotted owls, was part of an effort to eradicate feral ungulates from Santa Catalina Island, and
   has produced a similar conservation assessment for the ferruginous hawk. He is currently conducting a radio-telemetry
   study to investigate the effects of wind power development on the ecology of greater sage-grouse in southeastern
   Idaho for TREC, Inc.

         Timothy D. (Tim) Reynolds is President and owner of TREC, Inc., a Service-disabled, Veteran-owned,
   consulting firm specializing in environmental services and ecological research in Rigby, Idaho. He received his Ph.D.
   in Zoology (Ecology emphasis) from Idaho State University in 1978 and his M.S. (Biology) and B.S. (Biology,
   Comprehensive) from Illinois State University in 1974 and 1972, respectively. During his career he has been a Visiting
   Professor of Biology at Boise State University, Radioecologist for the U.S. Department of Energy, and a Research
   Ecologist and Director of Operations for the Environmental Science and Research Foundation. He has conducted and
                                                             2


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   coordinated ecological research on birds, mammals, reptiles, and ecological aspects of hazardous waste management,
   and selenium inventories of soils and vegetation on selected bighorn sheep winter ranges in Idaho. He has nearly 50
   publications in the technical literature.


                                          Cover Photo Credit
         Rocky Mountain bighorn ram (Ovis canadensis canadensis), Rocky Mountain National Park, Colorado. © Jesse
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   List of Errata

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          Summary of Key Components for Conservation of the
                   Rocky Mountain Bighorn Sheep
         Two species of mountain sheep occur in western North America. Thinhorn mountain sheep (Ovis dalli) are found
   in Alaska and the Yukon, Northwest Territories, and British Columbia in Canada. The bighorn species (O. canadensis)
   was historically distributed from the Canadian provinces of British Columbia and Alberta south to Mexico. Rocky
   Mountain (O. c. canadensis) and a desert subspecies (O. c. nelsoni) of bighorn sheep are found within USDA Forest
   Service Region 2. This conservation assessment focuses on the Rocky Mountain bighorn sheep within Region 2.

          Minimal human impacts and the remoteness of thinhorn mountain sheep habitat have resulted in relatively
   stable populations across their range. However, from the late 1800’s through the mid-1900’s, bighorn sheep
   populations experienced significant declines across their range as a result of diseases introduced from domestic
   livestock, unregulated and market hunting, habitat loss, and competition from domestic livestock. In the 1960’s, many
   western states, including those in Region 2, began active bighorn sheep transplant programs in an effort to augment
   small, remnant sheep populations and to reintroduce bighorns into historic, but vacant, habitat. Although bighorn
   sheep numbers increased throughout the western United States because of these transplant efforts, periodic die-offs
   continued to occur in many herds, including those in Region 2. These die-offs appeared to result from transmission of
   pneumonia pathogens from domestic sheep (Ovis spp.), possibly in conjunction with environmental stressors.

          Threats to the long-term viability of bighorn sheep in Region 2 include diseases transmitted by domestic
   livestock, the lack of connectivity and/or loss of genetic variability (fitness) due to habitat fragmentation, habitat
   loss, increased human disturbance, competition with domestic livestock, and predation on small, isolated herds. The
   relative importance of these threats to the persistence of bighorn sheep in Region 2 varies from area to area. However,
   the risk of disease outbreaks resulting from contact with domestic sheep and goats is widely believed to be the most
   significant threat facing bighorns in Region 2 and elsewhere across their range.

          Despite these risks to population persistence, several areas can be considered strongholds for bighorns in Region
   2. As evidenced by a history free of disease-related die-offs, these areas have a minimal risk of disease outbreaks, or
   if die-offs have occurred, the suspected causes (i.e., domestic sheep or goat herds) have been removed or significantly
   lessened. In addition, the individual bighorn populations in these areas are relatively large and exhibit a functioning
   metapopulation structure, ensuring a significant degree of genetic exchange among herds. Finally, habitat quality is
   not a limiting factor in terms of imposing impediments to seasonal migration or leading to poor herd health due to
   nutritional deficiencies. Obvious strongholds within Region 2 are found in northwestern Wyoming and south-central
   Colorado. Herd units in these two areas are well connected, allowing movement between populations; consist of some
   of the largest populations within Region 2; are free of disease-related die-offs; and occupy habitats where the threat of
   domestic sheep contact has been removed or dramatically reduced. Seasonal movements are not greatly impaired in
   these two areas, and habitat quality is not a limiting factor.

         Several bighorn herds in Region 2 are at risk of extirpation from disease-related die-offs and/or chronically poor
   production, small population size, total or near complete isolation from other bighorn populations, major obstacles to
   seasonal movements, and poor habitat quality leading to poor nutrition. Most of these units are located in southwestern
   Colorado, but additional high-risk areas include South Dakota’s Custer State Park population and all three herds in
   Nebraska. A large number of bighorn herds in Colorado and Wyoming possess both low- and high-risk characteristics.
   Because these herd units face fewer total threats, or less dire threats, than those in high-risk areas, they are most likely
   to benefit from the expenditure of management resources.

         Management and conservation efforts for bighorn sheep in Region 2 should focus on:

         1) eliminating the potential for contact between bighorn sheep and domestic sheep and goats

         2) actively managing the female component of each herd to prevent the herd from exceeding the carrying
            capacity of its range



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       3) managing bighorns and their habitat in a metapopulation context by maintaining connectivity among
          subpopulations

       4) developing and implementing a health screening process to complement translocation programs

       5) periodically augmenting isolated bighorn subpopulations and reintroducing bighorns into historic habitats
          where suitable conditions exist

       6) managing bighorn habitat to restore, enhance, or maintain vegetative openness adjacent to bighorn escape
          cover and along movement corridors

       7) minimizing human disturbance in sensitive habitats (i.e., lambing and winter ranges)

       8) implementing focused predator removal efforts in areas inhabited by small, isolated sheep herds that are
          experiencing heavy predation losses, which could threaten population viability of the herd.




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                   Introduction                                                              Goal
         This conservation assessment is one of many                       Species conservation assessments produced
   being produced to support the Species Conservation               for the Species Conservation Project are designed
   Project for the USDA Forest Service (USFS), Rocky                to provide land managers, biologists, and the public
   Mountain Region (Region 2). The bighorn sheep                    with a thorough discussion of the biology, ecology,
   is the focus of an assessment in part because it is              conservation status, and management of target species
   a Management Indicator Species (MIS) on several                  based on current scientific knowledge. Assessment
   forests in Region 2. More importantly, however,                  goals limit the scope of the work to critical summaries of
   are the crucial implications of an incompatability of            scientific knowledge, discussions of broad implications
   active livestock grazing programs and bighorn sheep              of that knowledge, and outlines of information needs.
   conservation on National Forest System lands. This               The assessment does not seek to prescribe management
   assessment addresses the biology of bighorn sheep                direction. Instead, it provides the ecological background
   throughout its range, with emphasis on Region 2                  upon which management must be based and focuses
   (Figure 1). The broad nature of the assessment leads             on the consequences of changes in the environment
   to some constraints on the specificity of information            that result from management (i.e., management
   for particular locales. This introduction defines the goal       implications) that managers will use to guide land
   of the assessment, outlines its scope, and describes the         management decisions. Furthermore, it discusses
   process used in its production.                                  management approaches used or recommended in
                                                                    western states and provinces.




         Figure 1. Boundaries of lands administered by USDA Forest Service Region 2.
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                            Scope                                     understanding of ecological relationships (Chamberlain
                                                                      1897, Hilborn and Mangel 1997).
          This conservation assessment examines the
   biology, ecology, conservation status, and management                     In this assessment, the strength of evidence for
   of bighorn sheep, with specific reference to the                   particular ideas is noted, and alternative explanations
   geographic and ecological characteristics of Region                are described when appropriate. While well-executed
   2. Although a majority of the literature on this                   experiments represent an optimal approach to developing
   species originates from field investigations outside               knowledge, alternative approaches such as modeling,
   the region, this document places that literature in the            critical assessment of observations, and inference were
   ecological and social contexts of the central Rocky                accepted as sound approaches to understanding bighorn
   Mountains. Similarly, this assessment is concerned                 sheep. Although the published material on mountain
   with characteristics of bighorn sheep in the context of            sheep is quite extensive and covers most facets of their
   the current environment. The evolutionary environment              ecology, new technologies have only recently become
   of the species is considered in conducting the synthesis,          available to address uncertainties regarding genetic
   but it is placed in a current context.                             variability and long-term persistence for small, isolated
                                                                      bighorn populations.
          In producing this assessment, we reviewed
   refereed literature, non-refereed publications, research           Publication of Assessment on the World
   reports, and data accumulated by resource management                              Wide Web
   agencies. Not all publications on bighorn sheep are
   referenced in the assessment, nor were all published                     To facilitate their use, these conservation
   materials considered equally reliable. The volume of               assessments are being published on the USFS Region 2
   published reference material on mountain sheep ecology             World Wide Web site. Placing the documents on the Web
   is very large, and it was physically impossible to review          makes them available to agency biologists, managers,
   all the documents. However, several recent volumes                 and the public more rapidly than publishing them as
   (Toweill and Geist 1999, Valdez and Krausman 1999,                 reports. More important, it facilitates their updating and
   Krausman and Bowyer 2003) synthesize much of the                   ultimate revision, which will be accomplished based on
   published information on both thinhorn and bighorn                 protocols established by USFS Region 2.
   species of mountain sheep and were very useful in
   preparing this assessment. The assessment emphasizes                                   Peer Review
   refereed literature because this is the accepted standard
   in science. Non-refereed publications or reports were                     In keeping with the standards of scientific
   regarded with greater skepticism, but they were                    publication, assessments developed for the Species
   used when refereed information was unavailable.                    Conservation Project have been externally peer reviewed
   Unpublished data (e.g., Natural Heritage Program                   prior to their release on the Web. This assessment was
   records) were important in estimating the geographic               reviewed through a process administered by the Society
   distribution of this species, but these data required              for Conservation Biology, which chose two recognized
   special attention because of the diversity of persons and          experts (on this or related taxa) to provide critical input
   methods used to collect the data.                                  on the manuscript. It also received review by two state
                                                                      bighorn sheep experts.
             Treatment of Uncertainty
                                                                            Management Status and
          Science represents a rigorous, systematic                            Natural History
   approach to obtaining knowledge. Competing ideas
   regarding how the world works are measured against
   observations. However, because our descriptions of
                                                                                    Management Status
   the world are always incomplete and our observations                     Rocky Mountain bighorn sheep (Ovis canadensis
   are limited, science focuses on approaches for dealing             canadensis) are distributed throughout the mountainous
   with uncertainty. A commonly accepted approach to                  regions of western North America from British
   science is based on a progression of critical experiments          Columbia and Alberta south to northern New Mexico
   to develop strong inference (Platt 1964). However, it is           and central Arizona. Although bighorn sheep numbers
   difficult to conduct critical experiments in the ecological        declined dramatically with the settling of the West and
   sciences, and often observations, inference, good                  are currently at less than 10 percent of historic numbers,
   thinking, and models must be relied upon to guide the              they are still considered somewhat secure throughout
                                                                 10


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   much of their range (NatureServe 2003). Bighorn                   to introduce “new” genetic material into individuals
   sheep populations in Colorado, Wyoming, and South                 herds (Fitzsimmons et al. 1997, Benzon personal
   Dakota are classified as secure (NatureServe 2003). The           communication 2005, Childers personal communication
   reality, however, is that many regional sheep herds are           2005). Nebraska has three bighorn sheep herds (Figure
   vulnerable because they consist of small numbers (often           5), two on the Nebraska National Forest (Fort Robinson
   less than 100 animals while many biologists consider              and Montana herds), containing about 115 sheep, and
   herds with less than 200 animals at risk due to extrinsic         one on the Cedar Canyon Wildlife Management Area
   factors), are isolated from adjacent sheep populations            (WMA), with about 65 individuals (Schlichtemeier
   (sometimes by large expanses of unsuitable habitat),              personal communication 2005). Kansas does not have a
   and because many are threatened by disease transmitted            wild, free-ranging bighorn sheep population.
   from domestic livestock (Berger 1990, Krausman et al.
   1993, Goodson 1994, Wehausen 1999).                                Existing Regulatory Mechanisms,
                                                                     Management Plans, and Conservation
          Wyoming has 17 herd units (Figure 2), nine
   of which contain over 200 sheep and are considered
                                                                                 Strategies
   “relatively secure” (Hurley personal communication                      Although the initial decline of bighorns was
   2004). The remaining herd units are comprised of less             primarily a result of competition with domestic
   than 200 individuals each, and they continue to struggle          livestock and exposure to their diseases and parasites,
   to maintain or increase their numbers due to severe               unregulated and market hunting and habitat loss also
   weather, fire suppression, human encroachment, and                contributed to declines prior to 1945 (Sugden 1961,
   disease outbreaks (Toweill and Geist 1999).                       Geist 1971, Stelfox 1971, Goodson 1982, Boyce
                                                                     et al. 1990, Valdez and Krausman 1999). With the
         Colorado has the largest number of bighorn                  establishment of wildlife agencies in the western states,
   sheep in the United States (Figure 3), almost 7,200               bighorn sheep were classified as “Game” animals,
   in 75 herd units. As in Wyoming, some of the larger               and hunting became regulated. In Region 2, all states
   herd units are relatively secure while smaller herds              that support resident bighorn sheep populations (i.e.,
   remain vulnerable (Toweill and Geist 1999). Although              Colorado, Wyoming, Nebraska, South Dakota) have
   it has not been confirmed that desert bighorns existed            established, well-regulated hunting seasons for bighorn
   in Colorado prior to European settlement, because                 sheep that restrict the number and, in some cases, the
   suitable habitat does exist in western canyon lands               sex of sheep that can be harvested by hunting unit. South
   contiguous to occupied habitat in Utah, it is probable            Dakota is currently managing their sheep population
   that desert bighorns did occur historically in far western        according to management goals and objectives
   Colorado but disappeared prior to European settlement.            outlined in their 2000 Rocky Mountain Bighorn
   Colorado began transplanting desert bighorns into                 Sheep Plan (South Dakota Department of Game, Fish,
   western Colorado (Black Ridge herd) in 1979. This                 and Parks 2000). No formalized statewide bighorn
   herd initially increased to over 450 individuals, but it          management plans currently exist for Rocky Mountain
   has not continued to increase in numbers or distribution          bighorn sheep populations in Wyoming, Colorado, or
   as anticipated and remains vulnerable (Ellenberger                Nebraska. Wyoming manages by herd unit (Hurley
   personal communication 2004).                                     personal communication 2006). Colorado developed a
                                                                     management plan in 1995 for desert bighorn sheep in far
          South Dakota, Nebraska, and parts of eastern               western Colorado (Desert Bighorn Sheep Plan 1995).
   Wyoming historically supported the Audubon (Ovis                  The primary authority and responsibility for habitat
   canadensis auduboni) subspecies of bighorn sheep.                 management and enhancement for bighorn sheep reside
   Unregulated and market hunting, along with severe                 with federal land management agencies (i.e., USFS and
   winters decimated this subspecies, which disappeared in           Bureau of Land Management, and to a lesser extent
   the early 1900’s (Toweill and Geist 1999). Present day            the National Park Service and U.S. Fish and Wildlife
   bighorn sheep herds in both South Dakota and Nebraska             Service), in cooperation with the state wildlife agencies
   are the result of transplants of Rocky Mountain bighorns          and state land management agencies on state lands, and
   initiated in 1964 and 1981, respectively (Toweill and             American Indian tribes on tribal lands.
   Geist 1999, Bourassa 2001). Although bighorn sheep
   in South Dakota (Figure 4) are listed as “apparently                     Three major statutes govern the land management
   secure” (NatureServe 2003), only one of four herd                 efforts of federal agencies in the United States,
   units is large enough (over 150 individuals) to remain            including their responsibilities for conserving bighorn
   genetically viable, without intrusive management efforts          sheep and other wildlife: The Multiple-Use and
                                                                11


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                      Figure 2. Distribution of Rocky Mountain bighorn sheep in Wyoming. No distinction is made between active and vacant domestic sheep allotments.
                      Because allotment status can change, users are cautioned to validate current allotment status.
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                                                                                                                               Colorado
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                     Figure 3. Distribution of Rocky Mountain and desert bighorn sheep in Colorado. No distinction is made between active and vacant domestic sheep allotments.
                     Because allotment status can change, users are cautioned to validate current allotment status.
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                     Figure 4. Distribution of Rocky Mountain bighorn sheep in South Dakota. There are no active domestic allotments on Forest Service land in South
                     Dakota.
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                       Figure 5. Distribution of Rocky Mountain bighorn sheep in Nebraska. There are no active domestic allotments on Forest Service land in Nebraska.
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   Sustained Yield Act of 1960, as amended in 1996; the             were selected to represent. Bighorn sheep have been
   National Environmental Policy Act (NEPA) of 1969, as             listed as MIS on several Region 2 forests.
   amended in 1982; and the National Forest Management
   Act (NFMA), as amended in 1982 and again in 2000.                        Under the new 2005 planning rule, sensitive
   The Multiple-Use and Sustained-Yield Act mandates                species and MIS categories may no longer exist.
   that the USFS provide for the multiple use of renewable          Newly designated categories are “species of concern”
   surface resources in a manner that best meets the needs          and “species of interest.” Species of concern are
   of the American public. It also established wildlife as a        “^those species for which the Responsible Official
   primary purpose for which the National Forest System             determines that continued existence is a concern and
   would be managed.                                                listing under the Endangered Species Act (ESA) may
                                                                    become necessary.” Species of interest are defined as
         NEPA requires federal agencies to develop                  “^those species for which the Responsible Official
   interdisciplinary plans for the use of the forest’s              determines that management actions may be necessary
   natural resources, to consider a range of alternatives           or desirable to achieve ecological or other multiple-use
   in the planning process, and to document the impacts             objectives.” As forests revise their plans over the next
   of the various alternatives on the natural resources of          few years, they will transition to the new planning rule.
   the forest. A significant aspect of the NEPA planning            It is likely that bighorn sheep will fall under the species
   process is identifying impacts on species listed or              of interest category, but how this status is reflected
   proposed for listing under the Endangered Species Act            in forest and region-wide management is unclear as
   of 1973, and other species of concern as identified at           the USFS develops its regulations and policies for
   regional or forest levels. Beyond federally listed or            implementing the new rule. However, because of the
   proposed species, the categories of species selected for         public and economic importance of bighorn sheep, and
   analysis by forests depends on the planning rule under           the crucial implications of livestock grazing programs
   which a forest plan was developed.                               on federal lands to the future welfare of bighorn sheep
                                                                    populations, it is anticipated that bighorn sheep will
         NFMA requires the USFS to provide for diversity            continue to be an important focal point for National
   of plant and animal communities, and the 1982 planning           Forest System management in Region 2.
   regulations (36 CFR 219.19) implementing NFMA
   stated that “Fish and wildlife habitat shall be managed                 Other federal laws or executive orders that
   to maintain viable populations of existing native and            provide authority to federal agencies to manage
   desired non-native vertebrate species in the planning            plants, fish, and wildlife resources include Agriculture
   area.” The new 2005 planning rule shifts from the                Appropriation Act, Bald Eagle Act, Endangered
   concept of species viability to ecosystem sustainability,        Species Act, Federal Land Policy and Management Act,
   a framework within which the diversity of plant and              Federal Water Pollution Control Act, Fish and Wildlife
   animal communities should be provided. Where this                Coordination Act, Forest and Rangeland Renewable
   approach is inadequate to maintain or restore the                Resources Planning Act, Sikes Act, and Executive
   conditions necessary to support federally listed species,        Order 11990, Protection of Wetlands. In addition to
   “species of concern,” and “species of interest,” plans           these federal statutes, the USFS implemented their
   must contain provisions specific to those species.               “FULL CURL” program in the late 1990’s, which
                                                                    promotes the protection of bighorn sheep habitat,
          The 1982 planning rule established sensitive              fosters greater cooperation among governmental
   species and Management Indicator Species (MIS) to help           entities, landowners, and the general public in support
   the USFS meet its obligations for maintaining species            of bighorn sheep conservation, and assists USFS
   viability. Within the National Forest System, a sensitive        personnel in implementing provisions in individual
   species is a plant or animal whose population viability          forest plans regarding bighorn habitat management
   is identified as a concern by a Regional Forester because        and enhancement. The “FULL CURL” program aided
   current or predicted downward trends in abundance, or            in the development of a 2001 white paper (authored by
   significant current or predicted downward trends in              Tim Schommer and Melanie Woolever) on domestic
   habitat capability that would reduce its distribution.           sheep-bighorn sheep management titled: A Process
   MIS are intended to represent the status of a larger             for Finding Solutions to the Incompatibility Between
   functional group of species or important habitats. They          Domestic Sheep and Bighorn Sheep. This process paper
   are monitored to reflect the effects of land management          is sanctioned by the agency and recommended for use
   actions on the portion of the ecological system they             in conflict resolution. In the past, the USFS has used

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   Memoranda of Understanding to work cooperatively               morphological data from desert bighorn sheep did not
   with other federal and state agencies to manage                support separating them into four separate subspecies
   domestic and bighorn sheep interactions in California          (Ramey 1993, Wehausen and Ramey 1993). Ramey
   (U.S. Fish and Wildlife Service 2001). In 1992,                (1995) came to the same conclusion after examining
   the BLM established guidelines (BLM, Instruction               mtDNA haplotypes for the four subspecies of desert
   Memorandum 92-264) for managing domestic sheep                 bighorns and suggested they represented one polytypic
   in bighorn sheep habitats to prevent contact between           subspecies, O. c. nelsoni Merriam 1897.
   domestic and bighorn sheep. Those guidelines were
   revised in 1998.                                                      No biogeographic barriers apparently existed in
                                                                  western North America prior to human settlement, which
                Biology and Ecology                               suggests that Rocky Mountain and desert bighorn sheep
                                                                  may have exhibited clinal variation in many phenotypic
   Systematics and description                                    attributes (Valdez and Krausman 1999). Recent mtDNA
                                                                  data for Ovis canadensis canadensis also suggest that
           Mountain sheep are in the order Artiodactyla,          no biogeographic barriers prevented gene flow on a
   family Bovidae, and genus Ovis. Presently, there is            regional scale in the past. However, it is important to
   little consensus regarding the number of species in the        note that recent mtDNA haplotype frequencies among
   genus Ovis (Toweill and Geist 1999, Krausman and               bighorn sheep herds indicate that little gene flow is
   Bowyer 2003). Wild sheep are generally divided into            presently occurring among populations (Luikart and
   three basic forms based on their body conformation and         Allendorph 1996).
   habitat preferences: moufloniforms, which include the
   European (O. musimom) and Asiatic (O. gmelinii and                    Members of the genus Ovis are characterized by
   O. vignei) mouflons; the argaliform, which consists            the presence of interdigital, inguinal, and preorbital
   of the central Asian argali sheep (O. ammon); and the          glands, and the absence of subcaudal glands and a chin
   pachyceriforms, which include the Siberian snow sheep          beard (Valdez and Krausman 1999). Bighorn sheep are
   (O. nivicola) and the North American wild sheep (O.            stocky animals whose pelage color varies seasonally
   dalli and O. canadensis) (Valdez and Krausman 1999).           and geographically from almost white to dark brown,
                                                                  with a dorsal midline of darker hair (Krausman and
          Krausman and Bowyer (2003) list seven                   Bowyer 2003). The muzzle, rump patch, and back of
   subspecies of bighorn sheep in North America, but              their legs are generally white in color. Adult males
   they state that when new DNA information regarding             weigh up to 137 kg (average 79 kg) and adult females
   their genetics becomes available, it is unlikely that          weigh an average of 59 kg; lambs weigh 2.8 to 5.5 kg
   all seven subspecies will continue to be recognized            at birth (Shackleton et al. 1999). Adult male and female
   (Jessup and Ramey 1995, Wehausen and Ramey                     desert bighorns weigh slightly less, averaging 68 and
   2000). Historically, the classification of mountain            52 kg, respectively (Valdez and Krausman 1999). Adult
   sheep into distinct subspecies was based on subjective         male bighorn measurements (mm) are: total length,
   assessment of biogeographic differences in morphology          1321 to 1956; tail, 102 to 152; shoulder height, 813 to
   of their skulls and horns. Cowan (1940) was the first          1118. Measurements for adult females are: total length,
   zoologist to attempt to classify bighorn sheep at the          1168 to 1880; tail, 102 to 127; shoulder height, 76 to 91
   subspecies level (Ramey 2000), and his work remained           (Valdez and Krausman 1999). North American sheep
   the standard for bighorn sheep classification until new        have 32 teeth, with a dental formula of I 0/3, C 0/1, P
   statistical methods and DNA analyses were brought              3/3, M 3/3. The deciduous teeth all erupt within the first
   to bear on the topic (Ramey 2000). Recent analyses             week of life while permanent dentition is not complete
   of anatomical and mitochondrial DNA (mtDNA)                    until 4 years of age (Krausman and Bowyer 2003).
   data suggest that Ovis canadensis auduboni and O. c.
   canadensis should be synomized, and populations of                    The most defining characteristic of bighorn sheep
   O. c. californiana in British Columbia, Washington,            is the large horns of adult males, which may constitute
   Oregon, and southwestern Idaho are not different               8 to 12 percent of their total body mass (Geist 1966).
   from O. c. canadensis (Wehausen and Ramey 2000).               Generally, the horns of desert bighorn sheep flare more
   However, populations of O. c. californiana from the            widely than those of Rocky Mountain bighorns do, but
   central and southern Sierra Nevada possessed a unique          not as much as those of thinhorn sheep. The horns of
   DNA-haplotype from O. c. sierraensis populations in            female bighorn sheep have less mass, are shorter than
   the northern Sierra Nevada (Wehausen 1991, Ramey               those of males are, and are relatively thin and gently
   1993, Ramey 1995, Boyce et al. 1997). An analysis of           curved backwards. In contrast, the massive horns of
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   males sweep out, back, and downward to form a full               Isolation of the pachyceriforms during the Wisconsin
   circle, or curl, at maturity (Krausman and Bowyer 2003).         glaciation probably led to the development of modern
   The horn core of bighorn sheep is a highly vascularized          forms of Rocky Mountain and desert bighorn sheep
   bony structure. Wehausen and Ramey (1993, 2000)                  (Geist 1985a, b, 1987, Pielou 1991, Geist 1999).
   described a clinal relationship in mean core volume
   wherein northern sheep have smaller core volumes                        Deglaciation created extensive montane and
   than sheep living in southern parts of their range.              grassland habitats for mountain sheep and allowed them
   They hypothesized that the larger horn core volumes              to spread throughout most of western North America.
   functioned to dissipate heat in hot environments.                Seton (1929) estimated mountain sheep numbers at
                                                                    approximately two million in the contiguous United
         Bighorn sheep horn growth patterns can be                  States and another two million in Canada and Alaska
   very useful to biologists for estimating an animal’s             during pristine times. However, Valdez (1988) was
   age (Krausman and Bowyer 2003), as horn growth                   not convinced that mountain sheep were uniformly
   is greater during the summer months, producing an                distributed across montane habitats in western North
   alternating pattern of annual growth rings. Biologists           America, and suggested that wild sheep numbers
   are, however, cautious in trying to determine exact age          probably did not exceed 500,000. In Alaska, where
   of older animals from annual growth rings because horn           wild sheep still occupy much of their historical habitats,
   tips are often “broomed” (broken during clashes with             sheep numbers do not exceed 74,000 (Nichols 1975,
   other males) back in older males, obscuring lamb and             Valdez and Krausman 1999).
   yearling growth rings (Shackleton and Hutton 1971).
                                                                          Prior to the arrival of Europeans in western North
         Because horn growth patterns are generally                 America, Rocky Mountain bighorn sheep occupied the
   consistent among sheep populations, they also can be             mountains and river canyons as far north as southern
   useful to wildlife managers for evaluating population            British Columbia and southwestern Alberta (55° N),
   status (Krausman and Bowyer 2003). Low-density                   south through the Rocky Mountains into northern
   populations in good habitat experience greater horn              New Mexico (36° N), and east into the badlands of
   sheath growth than populations at or near carrying               North Dakota, and the Black Hills of South Dakota
   capacity. Good annual horn sheath growth, particularly           and Nebraska. Desert bighorns, adapted to hot, dry
   for yearling and 2-year-old rams, can be indicative of a         environments, were found from southern Nevada and
   fast-growing, highly productive sheep herd.                      Utah (below 40° N), perhaps far western Colorado,
                                                                    south to Baja California (24° N) and east through
   Distribution and abundance                                       Arizona, southern New Mexico, and west Texas
                                                                    (Monson 1980).
          Wild sheep are one of the most widely distributed
   ungulates in the world (Valdez and Krausman 1999).                     Throughout its range, the distribution of bighorn
   Cowan (1940) proposed that North American sheep                  sheep is naturally fragmented due to the patchy nature
   evolved in the Beringian region and migrated into                of their preferred habitat (Valdez and Krausman
   North America during the early Pleistocene era,                  1999). This made bighorn sheep vulnerable to the
   becoming isolated from their Asiatic ancestors when              effects of unregulated hunting and the transmission of
   large glacial masses melted and flooded the Bering               disease from domestic sheep introduced in the mid-
   land bridge connecting Asia to North America (Geist              19th century. The results were large die-offs and the
   1985). Recent fossil discoveries support Cowan’s                 extirpation of many herds (Valdez and Krausman 1999).
   hypothesis (Stokes and Condie 1961, Guthrie 1968,                The number of domestic sheep grazing the 11 western
   Stock and Stokes 1969). Bighorn sheep probably                   states rose to almost 28 million by 1920, and their
   moved southward during the Sangamon Period and                   numbers remained high until 1945 (Goodson 1982). At
   eventually spread from southern California into                  the same time, bighorn numbers declined dramatically
   Wyoming (Martin and Gilbert 1978, Wang 1984). The                from approximately 500,000 pre-1800 (Valdez 1988) to
   first evidence of wild sheep in Region 2 was found in            only 15,000 to 20,000 in 1960 (Buechner 1960).
   Wyoming’s Trap Cave site in north-central Wyoming
   (Wang 1988). These sheep remains dated back over                       After 1945, the domestic sheep industry in the
   100,000 years. However, evidence of bighorn sheep                United States declined. The reduction in domestic
   in this area disappeared during the Wisconsin glacial            sheep numbers, combined with active bighorn sheep
   period and did not reappear until deglaciation began             transplant and habitat enhancement programs, resulted
   tens of thousand of years later (Toweill and Geist 1999).        in significant increases in bighorn numbers (Buechner
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   1960) . Bighorn sheep populations have continued to               elaphus); disturbance from mining, logging, oil and
   increase in numbers and distribution throughout western           gas exploration, road construction, and other human
   North America to the present (Valdez and Krausman                 related causes (Geist 1971, Gallizioli 1977, Leslie 1977,
   1999). By the end of the 20th century, Toweill and Geist          Hamilton et al. 1982, Krausman et al. 1989, Harris 1992,
   (1999) estimated that there were approximately 67,500             Holechek et al. 1995, Valdez and Krausman 1999).
   bighorn sheep in North America: 31,500 to 34,500
   Rocky Mountain bighorns, 10,500 California bighorns,                     Bighorn sheep populations declined to less than
   and 22,500 desert bighorns.                                       25,000 individuals in the continental United States
                                                                     by 1960 (Buechner 1960, Valdez and Krausman
         Within Region 2, the estimated number of Rocky              1999, Toweill and Geist 1999). However, transplant
   Mountain bighorns varies considerably from state                  programs initiated in Canada, the United States, and
   to state. Colorado estimates they have about 7,200;               Mexico were successful in restoring bighorn sheep
   Wyoming has approximately 6,000; South Dakota                     to over 200 historic sites by 1990 (Bailey and Klein
   has less than 500; and Nebraska has less than 200                 1997). Valdez and Krausman (1999) estimated there
   (Tablel).A small population of desert bighorns, now               were more than 185,000 wild sheep in North America
   numbering almost 500 individuals, was established in              by 1991. Shackleton et al. (1999) reported 101,400
   western Colorado in 1979 (Wolf 1990). No California               to 127,300 thinhorn sheep in Canada and Alaska
   bighorn sheep herds occur within Region 2 (Toweill                and 64,500 to 67,500 bighorn sheep in Canada, the
   and Geist 1999).                                                  United States, and Mexico. Although bighorn sheep
                                                                     numbers and distribution have increased dramatically
   Population trend                                                  since 1960 due to transplant and habitat conservation
                                                                     efforts, many individual herds remain small (less than
          Throughout much of western Canada, the western             150 individuals) and susceptible to extirpation (Berger
   United States, and northern Mexico, bighorn sheep                 1990, Fitzsimmons and Buskirk 1992, Krausman et
   abundance and distribution declined precipitously in              al. 1993).
   the 19th century due to human impacts (Bailey 1980,
   Hansen 1980b). The Audubon subspecies (if DNA                            Within Region 2, bighorn sheep populations
   technology demonstrates that it actually existed as a             increased steadily from the 1960’s until 2003. They have
   valid subspecies) was extirpated in the early 1900’s from         since stabilized or decreased slightly in Colorado and
   eastern Montana, eastern Wyoming, western North and               Wyoming while in South Dakota and Nebraska, active
   South Dakota, and from northwestern Nebraska. Rocky               transplant programs continue to result in slight increases
   Mountain and California bighorns suffered the same fate           in total sheep numbers and distribution, although some
   in Washington, Oregon, northern California, Nevada,               populations in these states have not grown significantly
   and New Mexico, and desert bighorns disappeared from              in the last few years. A number of wild sheep herds
   western Texas and some states in Mexico (Valdez and               in Region 2 are small, stagnant, and susceptible to
   Krausman 1999). Factors associated with bighorn sheep             extirpation. Although many domestic sheep allotments
   declines included overgrazing by and competition with             on national forests in the Region 2 have been abandoned
   domestic sheep and cattle in the 1800’s; introduction             or converted to cattle use, many remain active, and most
   of domestic sheep diseases; unregulated hunting,                  bighorn herds within the Region have been exposed to
   including market hunting; habitat loss; competition               disease pathogens in the past. Consequently, many
   from mule deer (Odocoileus hemionus) and elk (Cervus              herds remain vulnerable to disease.

   Table l. Population estimates for Rocky Mountain bighorn sheep in USDA Forest Service Region 2. Estimates are
   from Buechner (1960), Trefethen (1975), Thorn et al. (1985), Valdez and Krausman (1999), Toweill and Geist (1999)
   personal communication with state and federal biologists - CO: B. Watkins; NE: G. Schlichtemeier; SD: T. Benzon,
   E. Childers (NPS); WY: K. Hurley (2005).___________________________________________________________
    State              I960           1975           1985              1991           1998           2003           2005
    Colorado       2,500 - 3,200   No estimate      6,045              6,300          6,995          7,400          7,175
    Nebraska            0              0              12            No estimate        57             194            178
    S. Dakota           22             150           165               380            375          428 - 484         415
    Wyoming        1,800 -2,000       4,500         6,305              6,550          6,725          6,065          6,172
    TOTALS         4,322 - 5,222     >4,650         12,527            13,230         14,152          14115          13,940


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          By far, the largest amount of bighorn habitat and           habitats are prone to disperse (Butts 1980, Geist 1999).
   total sheep are found in Colorado (7,175) and Wyoming              Bighorns occupying high quality habitats at low density
   (6,172). However, only half of Wyoming’s herds and 10              have faster growth rates, breed at an earlier age, have
   of 73 herds in Colorado have more than 200 individuals.            higher fecundity, and live shorter lives than sheep living
   South Dakota has four widely separated herds (three in             in areas where forage resources are in short supply
   the Black Hills National Forest and one in Badlands                (Geist 1999, Toweill and Geist 1999). This appears to
   National Park); one of these (Spring Creek) has more               be an adaptive mechanism to variable habitat quality in
   than 200 individuals while the remaining three are                 which intraspecific competition may become a factor
   small (less than 90) and two of those have experienced             influencing the tendency of sheep to disperse (Geist
   die-offs in the last 10 years. Nebraska currently has              1999, Toweill and Geist 1999). Movements of Rocky
   three small herds of bighorns. The Fort Robinson herd              Mountain bighorn sheep between isolated mountain
   in the northwest corner of the state is the oldest herd            ranges are not common while movements of desert
   in the state. It had about 150 animals until a disease             bighorn sheep from range to range are more frequent
   epizootic reduced its number by half in 2004-2005; it              (Bleich et al. 1990b, Jager 1994).
   now consists of about 60 bighorns. The two remaining
   herds in Nebraska have a similar number of bighorns.                     Many bighorn sheep populations migrate
   All three bighorn herds in Nebraska are located near               between seasonal ranges. Although some populations in
   domestic sheep and are considered vulnerable to a                  mountainous areas of western North America may move
   disease event. The desert bighorn sheep herds located              up to 70 km seasonally, most such movements involve
   in western Colorado remain above the threshold for                 much shorter elevational shifts driven by behavioral,
   minimum population viability, but they have not been               physiological, or environmental factors (Smith 1954,
   increasing in the last few years (Ellenberger personal             Berwick 1968, Spaulding and Mitchell 1970, Geist
   communication 2004).                                               1971, Hebert 1973, Festa-Bianchet 1986a, b, Hengel et
                                                                      al. 1992, Krausman and Bowyer 2003). The movement
   Movement and activity patterns                                     of Dall sheep between seasonal ranges is related to plant
                                                                      phenology, temperature, and snow depth (Hoefs and
          Bighorn sheep habitat in western North America              Cowan 1979). Many Rocky Mountain and California
   is naturally fragmented within a much larger landscape,            bighorn sheep populations also use seasonal ranges, and
   resulting in many populations that are comparatively               movement between them is likely based on the same
   small, often consisting of less than 150 individuals. The          factors. The general pattern of seasonal migrations
   fragmented nature of sheep habitat and the relatively              is for sheep to move to higher elevations in May or
   small size of most bighorn herds suggest that bighorns             June following plant phenology to take advantage of
   evolved with a meta-population structure where small               high quality, highly digestible new vegetative growth
   populations would not persist without movement and                 (Berwick 1968, Geist 1971, Oldemeyer et al. 1971,
   reproduction among herds (Gilpin and Hanski 1989,                  Becker et al. 1978). During the lambing season, adult
   Berger 1990, Bleich et al. 1990b). In the absence of               female sheep may deviate from this pattern and move
   intrusive management programs, dispersal corridors                 to areas that provide more security from predators
   that connect these fragmented habitats and their                   (Festa-Bianchet 1988c, Berger 1991, Bleich et al.
   subpopulations into a metapopulation structure are                 1997, Etchberger and Krausman 1999). Bighorn sheep
   critical to maintaining viable populations of sheep.               migrate to lower elevation winter ranges in October and
                                                                      November (Woolf et al. 1970, Geist 1971, Becker et al.
          The presence of dispersal corridors between                 1978). Rocky Mountain bighorn sheep on winter range
   suitable patches of habitat, and the ability and propensity        are also known to move to high-elevation, wind-swept
   for sheep to move between patches, influences their                ridges in response to heavy snow accumulations at lower
   ability to disperse into suitable, but unoccupied habitats         elevations (Nichols and Erickson 1969, Geist 1971,
   (Noss 1987, Simberloff and Cox 1987, Hudson 1991,                  Geist and Petocz 1977). Desert bighorn sheep are also
   Douglas and Leslie 1999). Although there are few                   known to use distinct spring, summer, and fall-winter
   studies addressing bighorn sheep dispersal behavior,               ranges (Eustis 1962, Geist 1971, Bates et al. 1976, King
   their dispersal rates are believed to be low (Shackleton           and Workman 1982, Elenowitz 1983, Krausman et al.
   et al. 1999). Immigration and emigration are relatively            1989) based primarily on the distribution of seasonal
   insignificant in most bighorn populations because of               rainfall and forage conditions.
   high range fidelity (Geist 1971, Festa-Bianchet 1991a,
   Jorgenson et al. 1997). However, newly established                      Bighorn sheep are not territorial (Lawson and
   (transplanted) populations occupying high quality                  Johnson 1982) but occupy season-specific home
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   ranges. Except during the breeding season, when the               varies widely, but it generally can be described as semi-
   distributions of both sexes overlap for 2 to 3 weeks,             arid to arid. Precipitation varies from 20 to over 40 cm
   adult males and females accompanied by young of the               each year (Smith 1954, Jones 1959, Shallenberger 1966,
   year and yearlings largely remain in separate groups,             Hansen 1980a, Sandoval 1980). Succulent vegetation in
   but they may share the same winter range (Blood 1963,             summer and snow and ice in winter help wild sheep
   Woolf et al. 1970, Geist 1971, Geist and Petocz 1977,             to survive for long periods without freestanding water
   Lawson and Johnson 1982, Bleich et al. 1997). Young               (McCann 1956, Kornet 1978, Van Dyke 1978).
   sheep learn home ranges by following older animals;
   home ranges are typically well established by the time                  Records indicate that historically, bighorn
   the animals are four years old (Geist 1967, 1971). Adult          sheep were sometimes found distant from rugged
   female sheep display greater home range fidelity than             mountainous terrain (Cowan 1940, Smith 1954, Wishart
   males do (Festa-Bianchet 1986a, b). Bighorn sheep                 1958). However, their current distribution is confined
   home range size is usually smallest in winter when                to scattered populations in open or semi-open, often
   forage is scarce or low in quality, but desert bighorns           precipitous, terrain characterized by a mix of steep
   occupy smaller home ranges in summer when they                    or gentle slopes, broken cliffs, rock outcrops, and
   remain close to watering holes (Jones et al. 1957). Daily         canyons and their adjacent river benches and mesa tops
   movements of mountain sheep range from 3 to 16 km                 (Buechner 1960, Sugden 1961, Wilson 1968, Welch
   and are influenced by forage conditions and weather               1969, Drewek 1970, Geist 1971, Merritt 1974, Stelfox
   patterns (Welles and Welles 1961, Blood 1963, Woolf et            1975, Clark 1978, Adams et al. 1982, Holl and Bleich
   al. 1970, Stelfox 1976).                                          1983, Risenhoover and Bailey 1985, Etchberger et al.
                                                                     1989, Bailey and Klein 1997, Shackleton et al. 1999).
          Mountain sheep are generally diurnal, and                  Slope steepness appears to be a significant feature of
   activity patterns involve alternating feeding and resting         Rocky Mountain and California bighorn sheep habitat.
   bouts throughout the day (Augsburger 1970, Geist                  Rocky Mountain bighorns use slopes of 36 to 80 percent
   1971, Seip and Bunnell 1985a). However, Woolf et                  in Montana and Colorado, while avoiding slopes less
   al. (1970) reported that bighorn sheep in Yellowstone             than 20 percent (Frisina 1974, Pallister 1974, Fairbanks
   National Park fed long after sunset in response to heavy          et al. 1987). California bighorns use slopes ranging
   tourist activity. Daily feeding and resting bouts are not         from 6 to 100 percent in Oregon (Van Dyke 1978).
   synchronous within or between groups of sheep (Jones
   1959, Todd 1972). The number of daily feeding periods                   Bighorn sheep are primarily animals of open
   varies and is highest in summer. Feeding activity is              habitats, such as alpine meadows, open grasslands,
   lowest during the winter and is influenced by winter              shrub-steppe, talus slopes, rock outcrops, and cliffs;
   severity and forage quality and quantity. The proportion          in some places, however, they may use areas of
   of time spent feeding appears to be shortest in areas             deciduous and conifer forests, especially where
   where forage quantity and quality were greatest, but it           openings may have been created by clear-cuts or fire
   was also influenced by day length and thermal stresses            (Blood 1961, Demarchi 1965, Erickson 1972, Pallister
   (Welles and Welles 1961, Van Dyke 1978, Eccles 1983).             1974, Goodson 1978, Kornet 1978, Van Dyke 1978,
   Van Dyke (1978) observed that females spent more time             Hansen 1982, Risenhoover and Bailey 1985, Dale
   feeding than males did, possibly due to the physiological         1987). Densely forested areas provide little forage and
   demands of lactation. Eccles and Shackleton (1986)                poor visibility and are rarely used by bighorn sheep,
   found no significant differences in feeding patterns              except for shade in summer, escape from insects,
   based on social class, but they did report that females in        and protection from high winds on very cold days
   poor condition fed longer in the fall and spent more time         (McCann 1956, Geist 1971, Wikeem 1984, Cook
   resting in the winter than their healthy counterparts.            1990). Open forests, however, are used in some areas
                                                                     for foraging and thermal cover (Spaulding and Bone
   Habitat                                                           1970, Demarchi and Mitchell 1973, Pallister 1974,
                                                                     Jorgenson and Turner 1975, Goodson 1978, Kovach
         Bighorn sheep are adapted to a wide variety of              1979, Shackleton et al. 1999).
   habitats across western North America (Lawson and
   Johnson 1982), ranging in elevation form sea level to                    Visibility is an important habitat variable for
   over 4,300 m (Buechner 1960, Welles and Welles 1961,              bighorn sheep, so much so that the structure and
   McCullough and Schneegas 1966, Stelfox and Tabor                  height of vegetation are probably more important than
   1969, Oldemeyer et al. 1971, Shackleton et al. 1999,              composition of plant species because high visibility
   Vitt 2005d). The climate across bighorn sheep range               facilitates the detection of predators (Risenhoover and
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